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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.37226 LORI DUGAN                               VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.37227 LORI DUGAN                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.37228 LORI DUGAN                               VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.37229 LORI HORNBACK                            VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR., SBN                                                      Litigation
        60768ANGELA JAE CHUN, SBN      ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCA VILLA BLATT &
        PENFIELD, LLP
        110 LAUREL STREET
        SAN DIEGO, CA 92101


3.37230 LORI HORNBACK                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.37231 LORI HORNBACK                             VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                       Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.37232 LORI HORNBACK                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAEL S. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.37233 LORI LEE MCCOSLIN                         VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZ, ESQ., SBN                                                     Litigation
        87492WILLIAM P. HARRIS III,     ACCOUNT NO.: NOT AVAILABLE
        ESQ., SBN 123575M. REGINA
        BAGDASARIAN, ESQ., SBN
        296219GEORGE T. STIEFEL,
        ESQ., SBN. 297611
        FRANTZ LAW GROUP, APLC
        770 L STREET, SUITE 950
        SACRAMENTO, CA 95814


3.37234 LORI LEE MCCOSLIN                         VARIOUS                              Wildfire               UNDETERMINED
        RICHARD K. BRIDGFORD, ESQ.,                                                    Litigation
        SBN 119554MICHAEL H.            ACCOUNT NO.: NOT AVAILABLE
        ARTINIAN, ESQ., SBN 203443
        BRIDGFORD, GLEASON, &
        ARTINIAN
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.37235 LORI LEE MCCOSLIN                         VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.37236 LORI LEE MCCOSLIN                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address      Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                          Account Number                            Claim

Wildfire Claims

3.37237 LORI LEE MCCOSLIN                      VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                           Litigation
        DREYER BABICH BUCCOLA        ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.37238 LORI LOYD                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                    Litigation
        A. BAGHDADI                  ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.37239 LORI LOYD                              VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                           Litigation
        DREYER BABICH BUCCOLA        ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.37240 LORI LOYD                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                            Litigation
        WALKUP, MELODIA, KELLY &     ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.37241 LORI LOYD                              VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                Litigation
        262319)DEBORAH S. DIXON      ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.37242 LORI LOYD                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                  Litigation
        111359KRISTINE K.            ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.37243 LORI LOYD                                VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.37244 LORI LOYD                                VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.37245 LORI LOYD                                VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.37246 LORI LOYD                                VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                         Litigation
        VICE PENDINGTEXAS BAR NO.      ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.37247 LORI LUCCY                               VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                      Litigation
        AMANWILLIAM P. HARRIS          ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.37248 LORI LUCCY                               VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                              Litigation
        ABRAHAM, WATKINS, NICHOLS,     ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.37249 LORI MURRAY                              VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                      Litigation
        NO. 197687)                    ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.37250 LORI MURRAY                              VARIOUS                              Wildfire               UNDETERMINED
        NOREEN EVANSRYAN L.                                                           Litigation
        THOMPSONPAIGE BOLDT            ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.37251 LORI MURRAY                              VARIOUS                              Wildfire               UNDETERMINED
        ROY MILLER                                                                    Litigation
        HANSEN AND MILLER LAW FIRM     ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.37252 LORI PHELPS-ZINK                         VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.37253 LORI PHELPS-ZINK                         VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.37254 LORI PHELPS-ZINK                         VARIOUS                              Wildfire               UNDETERMINED
        BRIAN R. STRANGE, ESQ.                                                        Litigation
        (STATE BAR #103252)BRIANNA     ACCOUNT NO.: NOT AVAILABLE
        STRANGE, ESQ. (STATE BAR
        #321882
        STRANGE & BUTLER
        12100 WILSHIRE BOULEVARD,
        SUITE 1900
        LOS ANGELES, CA 90025



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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.37255 LORI PHELPS-ZINK                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.37256 LORI PHELPS-ZINK                         VARIOUS                              Wildfire               UNDETERMINED
        RONALD L.M. GOLDMAN, ESQ.                                                     Litigation
        (STATE BAR #33422) DIANE       ACCOUNT NO.: NOT AVAILABLE
        MARGER MOORE, ESQ. (FLA.
        BAR #268364) (PRO HAE VICE
        APPLICATION PENDING)
        BAUM HEDLUND ARISTEI &
        GOLDMAN, P.C.
        10940 WILSHIRE BOULEVARD.,
        17TH FLOOR
        LOS ANGELES, CALIFORNIA
        90024


3.37257 LORI RUSHING                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.37258 LORI RUSHING                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.37259 LORI RUSHING                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.37260 LORI RUSHING                            VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                  Litigation
        126782AMANDA L. RIDDLE -      ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.37261 LORI VELASCO                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                     Litigation
        A. BAGHDADI                   ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.37262 LORI VELASCO                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA (SBN                                                       Litigation
        110909)                       ACCOUNT NO.: NOT AVAILABLE
        DREYER BABICHBUCCOLA
        WOODCAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.37263 LORI VELASCO                            VARIOUS                              Wildfire               UNDETERMINED
        CHRLSTOPHER C. SIEGLOCK                                                      Litigation
        (BAR NO. 295951) RACHEL       ACCOUNT NO.: NOT AVAILABLE
        SIEGLOCK (BAR NO. 299761)

       KRISTEN REANO(BAR
       NO.321795)
       SIEGLOCK LAW, APC
       1221 CAMINO DEL MAR
       DEL MAR, CA 92014


3.37264 LORI VELASCO                            VARIOUS                              Wildfire               UNDETERMINED
        DAVE FOX (BAR                                                                Litigation
        NO.254651)JOANNA LEE FOX      ACCOUNT NO.: NOT AVAILABLE
        (BAR NO. 212593)COURTNEY
        VASQUEZ (BAR NO. 267081)
        FOX LAW, APC
        125 W. PLAZA STREET, SUITE
        102
        SOLANA BEACH, CA 92075




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.37265 LORIDANA GAREY                           VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                      Litigation
        NO. 197687)                    ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.37266 LORIDANA GAREY                           VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                        Litigation
        STATE BAR NO. 296841)PAIGE     ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.37267 LORIE PAYNE                              VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.37268 LORIE PAYNE                              VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.37269 LORIE PAYNE                              VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                  Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.37270 LORIE PAYNE                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.37271 LORIE PAYNE                             VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                        Litigation
        VICE PENDINGTEXAS BAR NO.     ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.37272 LORIN M DOWNING                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.37273 LORIN M DOWNING                         VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.37274 LORIN M DOWNING                         VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.37275 LORIN M DOWNING                         VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                    Litigation
        MARTINI                       ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.37276 LORIN M DOWNING                         VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                        Litigation
        SINGLETONERIKA L.             ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.37277 LORING, TEDI                            VARIOUS                              Wildfire               UNDETERMINED
        187 RIDGECREST DR.                                                           Litigation
        NAPA, CA 94558                ACCOUNT NO.: NOT AVAILABLE



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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.37278 LORITA JOYCE MORROW                      VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.37279 LORITA JOYCE MORROW                      VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.37280 LORITA JOYCE MORROW                      VARIOUS                              Wildfire               UNDETERMINED
        DOUGLAS BOXER (CAL. STATE                                                     Litigation
        BAR NO. 154226)                ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICE OF DOUGLAS
        BOXER
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.37281 LORITA JOYCE MORROW                      VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.37282 LORNA GOWAN                              VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS III (SBN                                                          Litigation
        296101)ROBERT T. BRYSON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address            Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                                Account Number                            Claim

Wildfire Claims

3.37283 Lorraine Auerbach                            VARIOUS                              Wildfire               UNDETERMINED
        Gregory M. Hatton, Cal. Bar No.                                                   Litigation
        119810Arthur R. Petrie, Ii, Cal.   ACCOUNT NO.: NOT AVAILABLE
        Bar No. 237261John A.
        Mcmahon, Cal. Bar No.
        237261Dan E. Heck, Cal. Bar No.
        210383
        Hatton, Petrie & Stackler
        APCAttorneys at Law
        12 Journey, Suite 255
        Aliso Viejo, CA 92656


3.37284 LORRAINE C SAMPSON                           VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                         Litigation
        MARTINI                            ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.37285 LORRAINE C SAMPSON                           VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                             Litigation
        SINGLETONERIKA L.                  ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.37286 LORRAINE C SAMPSON                           VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                           Litigation
        125868JUSTIN J. EBALLAR,           ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.37287 LORRAINE C SAMPSON                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                                 Litigation
        DREYER BABICH BUCCOLA              ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.37288 LORRAINE C SAMPSON                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                  Litigation
        WALKUP, MELODIA, KELLY &           ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.37289 LORRAINE FAIRES                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.37290 LORRAINE FAIRES                          VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.37291 LORRAINE FAIRES                          VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.37292 LORRAINE FAIRES                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.37293 LORRAINE JARVIS                          VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITREALISON E.                                                       Litigation
        CORDOVADONALD J.               ACCOUNT NO.: NOT AVAILABLE
        MAGILLIGAN
        COTCHETT, PITRE &
        MCCARTHY, LLP
        SAN FRANCISCO AIRPORT
        OFFICE CENTER
        840 MALCOLM ROAD, SUITE 200,
        BURLINGAME CA




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Creditor's Name, Mailing Address           Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                               Account Number                            Claim

Wildfire Claims

3.37294 LORRAINE JARVIS                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                                Litigation
        DREYER BABICH BUCCOLA             ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.37295 LORRAINE JARVIS                             VARIOUS                              Wildfire               UNDETERMINED
        TELE: (310) 477-1700 FAX: (310)                                                  Litigation
        477-1699                          ACCOUNT NO.: NOT AVAILABLE
        MICHAEL A. KELLYKHALDOUN
        BAGHDADIANDREW P.
        MCDEVITT
        WALKUP MELODIA KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, SAN
        FRANCISCO CA


3.37296 LORRAINE JARVIS                             VARIOUS                              Wildfire               UNDETERMINED
        TELEPHONE: (650) 697-6000                                                        Litigation
                                          ACCOUNT NO.: NOT AVAILABLE
        FACSIMILE: (650) 697-
        0577FPITRE@CPMLEGAL.COM

        ACORDOVA@CPMLEGAL.COM
        DMAGILLIGAN@CPMLEGAL.COM
        BRIAN J. PANISH
        PANISH SHEA & BOYLE, LLP
        11111 SANTA MONICA BLVD.,
        SUITE 700, LOS ANGELES CA


3.37297 LORRAINE JARVIS                             VARIOUS                              Wildfire               UNDETERMINED
        TELE: (415) 981-7210 FAX: (415)                                                  Litigation
        391-6965                          ACCOUNT NO.: NOT AVAILABLE


3.37298 LORRAINE MARCHANT                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                       Litigation
        111359KRISTINE K.                 ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.37299 LORRAINE MARCHANT                           VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                             Litigation
        178658DYLAN HUGHES- BAR           ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612



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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.37300 LORRAINE MARCHANT                       VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                     Litigation
        A. BAGHDADI                   ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.37301 LORRAINE MARCHANT                       VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                  Litigation
        126782AMANDA L. RIDDLE -      ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.37302 LORRAINE MCCREEDY                       VARIOUS                              Wildfire               UNDETERMINED
        ALEXANDER M.                                                                 Litigation
        SCHACKNATASHA N. SERINO       ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.37303 LORRAINE MCCREEDY                       VARIOUS                              Wildfire               UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                      Litigation
        WEAVER                        ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.37304 LORRAINE MCCREEDY                       VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN B. MURRAY,                                                           Litigation
        SR.JESSICA HAYES              ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.37305 LORRAINE MCQUILLIAMS                    VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                        Litigation
        VICE PENDINGTEXAS BAR NO.     ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.37306 LORRAINE MCQUILLIAMS                      VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.37307 LORRAINE MCQUILLIAMS                      VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.37308 LORRAINE MCQUILLIAMS                      VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.37309 LORRAINE MCQUILLIAMS                      VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.37310 LORRAINE MUHLBAIER                        VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR.,SBN                                                        Litigation
        60768ANGELA JAE CHUN, SBN       ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCAVILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101


3.37311 LORRAINE MUHLBAIER                        VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAELS. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.37312 LORRAINE MUHLBAIER                      VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                     Litigation
        A. BAGHDADI                   ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.37313 LORRAINE MUHLBAIER                      VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                     Litigation
        TOSDAL LAW FIRM               ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.37314 LORRAINE PERKINSON                      VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITREJOSEPH W.                                                      Litigation
        COTCHETTDONALD                ACCOUNT NO.: NOT AVAILABLE
        MAGILLIGAN
        COTCHETT, PITRE & MCCARTHY
        LLP
        SAN FRANCISCO AIRPORT
        OFFICE CENTER840 MALCOLM
        ROAD, SUITE 200
        BURLINGAME, CA 94010


3.37315 LORRAINE PERKINSON                      VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA, ESQ./                                                     Litigation
        SBN: 110909ROBERT A.          ACCOUNT NO.: NOT AVAILABLE
        BUCCOLA, ESQ./ SBN:
        112880CATIA G. SARAIVA,
        ESQ./ SBN: 232479ANDREA R.
        CROWL, ESQ./ SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.37316 LORRAINE SHY                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.37317 LORRAINE SHY                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.37318 LORRAINE SHY                               VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.37319 LORRAINE SHY                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.37320 LORRAINE SHY                               VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA, ESQ. /                                                       Litigation
        SBN: 110909ANDREA R.             ACCOUNT NO.: NOT AVAILABLE
        CROWL, ESQ. / SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.37321 LORRIANE, DENNIS                           VARIOUS                              Wildfire               UNDETERMINED
        1951 ILLINOIS AVE                                                               Litigation
        SANTA ROSA, CA 95401             ACCOUNT NO.: NOT AVAILABLE


3.37322 LORRIE JORDAN                              VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.37323 LORRIE JORDAN                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.37324 LORRIE JORDAN                            VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                  Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.37325 LORRIE JORDAN                            VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.37326 LORRIE JORDAN                            VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                         Litigation
        VICE PENDINGTEXAS BAR NO.      ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.37327 LOTHEDA I VINCENT                        VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.37328 LOTHEDA I VINCENT                        VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                         Litigation
        SINGLETONERIKA L.              ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.37329 LOTHEDA I VINCENT                        VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                     Litigation
        MARTINI                        ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103




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Including Zip Code                          Account Number                            Claim

Wildfire Claims

3.37330 LOTHEDA I VINCENT                      VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                     Litigation
        125868JUSTIN J. EBALLAR,     ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.37331 LOTHEDA I VINCENT                      VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                           Litigation
        DREYER BABICH BUCCOLA        ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.37332 LOTHROP, CHRISTOPHER                   VARIOUS                              Wildfire               UNDETERMINED
        1358 SHADY OAK PL                                                           Litigation
        SANTA ROSA, CA 95404         ACCOUNT NO.: NOT AVAILABLE


3.37333 LOTTEN, SPENCER                        VARIOUS                              Wildfire               UNDETERMINED
        15030 WOODLAND LOOP                                                         Litigation
        PENN VALLEY, CA 95946        ACCOUNT NO.: NOT AVAILABLE


3.37334 LOU AMATO                              VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                       Litigation
        208783)ERIKA L. VASQUEZ      ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.37335 LOU AMATO                              VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                        Litigation
        VICEPENDING)JOHN P. FISKE    ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.37336 LOU AMATO                              VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                          Litigation
        262319)DEBORAH S. DIXON      ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.37337 LOU AMATO                                VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                    Litigation
        (SBN 69176)IAN C.              ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.37338 LOU AMATO                                VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                    Litigation
        583 I 6)                       ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.37339 LOUDON, LINDA                            VARIOUS                              Wildfire               UNDETERMINED
        1084 ROSS CIR                                                                 Litigation
        NAPA, CA 94558                 ACCOUNT NO.: NOT AVAILABLE


3.37340 LOUIE DEROUX DBA SHARPER                 VARIOUS                              Wildfire               UNDETERMINED
        IMAGE MOBILE DETAILING                                                        Litigation
        SCOTT SUMMY (PRO HAC VICE      ACCOUNT NO.: NOT AVAILABLE
        PENDING)JOHN P. FISKE
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.37341 LOUIE DEROUX DBA SHARPER                 VARIOUS                              Wildfire               UNDETERMINED
        IMAGE MOBILE DETAILING                                                        Litigation
        GERALD SINGLETONERIKA L.       ACCOUNT NO.: NOT AVAILABLE
        VASQUEZ AMANDA LOCURTO
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.37342 LOUIE DEROUX DBA SHARPER                 VARIOUS                              Wildfire               UNDETERMINED
        IMAGE MOBILE DETAILING                                                        Litigation
        NATASHA SERINO                 ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BERNARDO, STE
        400,
        SAN DIEGO, CA 92127




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.37343 LOUIE DEROUX DBA SHARPER                 VARIOUS                              Wildfire               UNDETERMINED
        IMAGE MOBILE DETAILING                                                        Litigation
        JOHN F. MCGUIRE, JR., ESQ.     ACCOUNT NO.: NOT AVAILABLE

       IAN C. FUSSELMAN,
       ESQ.BRETT. J. SCHREIBER,
       ESQ.
       THORSNES BARTOLOTTA
       MCGUIRE LLP
       2550 FIFTH A VENUE, 11TH
       FLOOR
       SAN DIEGO, CALIFORNIA 92103


3.37344 LOUIE DEROUX DBA SHARPER                 VARIOUS                              Wildfire               UNDETERMINED
        IMAGE MOBILE DETAILING                                                        Litigation
        AHMED S. DIABDEBORAH S.        ACCOUNT NO.: NOT AVAILABLE
        DIXONROBERT J. CHAMBERS II
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.37345 LOUIE DEROUX DBA SHARPER                 VARIOUS                              Wildfire               UNDETERMINED
        IMAGE MOBILE DETAILING                                                        Litigation
        TERRY SINGLETON, ESQ.          ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.37346 LOUIS BALSAMO III                        VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.37347 LOUIS BALSAMO III                        VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA (SBN                                                        Litigation
        110909)                        ACCOUNT NO.: NOT AVAILABLE
        DREYER BABICHBUCCOLA
        WOODCAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.37348 LOUIS BALSAMO III                        VARIOUS                              Wildfire               UNDETERMINED
        CHRLSTOPHER C. SIEGLOCK                                                       Litigation
        (BAR NO. 295951) RACHEL        ACCOUNT NO.: NOT AVAILABLE
        SIEGLOCK (BAR NO. 299761)

       KRISTEN REANO(BAR
       NO.321795)
       SIEGLOCK LAW, APC
       1221 CAMINO DEL MAR
       DEL MAR, CA 92014


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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.37349 LOUIS BALSAMO III                       VARIOUS                              Wildfire               UNDETERMINED
        DAVE FOX (BAR                                                                Litigation
        NO.254651)JOANNA LEE FOX      ACCOUNT NO.: NOT AVAILABLE
        (BAR NO. 212593)COURTNEY
        VASQUEZ (BAR NO. 267081)
        FOX LAW, APC
        125 W. PLAZA STREET, SUITE
        102
        SOLANA BEACH, CA 92075


3.37350 LOUIS BALSAMO JR.                       VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                     Litigation
        A. BAGHDADI                   ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.37351 LOUIS BALSAMO JR.                       VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA (SBN                                                       Litigation
        110909)                       ACCOUNT NO.: NOT AVAILABLE
        DREYER BABICHBUCCOLA
        WOODCAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.37352 LOUIS BALSAMO JR.                       VARIOUS                              Wildfire               UNDETERMINED
        CHRLSTOPHER C. SIEGLOCK                                                      Litigation
        (BAR NO. 295951) RACHEL       ACCOUNT NO.: NOT AVAILABLE
        SIEGLOCK (BAR NO. 299761)

       KRISTEN REANO(BAR
       NO.321795)
       SIEGLOCK LAW, APC
       1221 CAMINO DEL MAR
       DEL MAR, CA 92014


3.37353 LOUIS BALSAMO JR.                       VARIOUS                              Wildfire               UNDETERMINED
        DAVE FOX (BAR                                                                Litigation
        NO.254651)JOANNA LEE FOX      ACCOUNT NO.: NOT AVAILABLE
        (BAR NO. 212593)COURTNEY
        VASQUEZ (BAR NO. 267081)
        FOX LAW, APC
        125 W. PLAZA STREET, SUITE
        102
        SOLANA BEACH, CA 92075


3.37354 LOUIS E JOHNSON                         VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                    Litigation
        MARTINI                       ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


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Creditor's Name, Mailing Address      Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                          Account Number                            Claim

Wildfire Claims

3.37355 LOUIS E JOHNSON                        VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                       Litigation
        SINGLETONERIKA L.            ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.37356 LOUIS E JOHNSON                        VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                           Litigation
        DREYER BABICH BUCCOLA        ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.37357 LOUIS E JOHNSON                        VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                            Litigation
        WALKUP, MELODIA, KELLY &     ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.37358 LOUIS E JOHNSON                        VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                     Litigation
        125868JUSTIN J. EBALLAR,     ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.37359 LOUIS R. SEIDNER                       VARIOUS                              Wildfire               UNDETERMINED
        DONALD S. EDGAR                                                             Litigation
        EDGAR LAW FIRM               ACCOUNT NO.: NOT AVAILABLE
        408 COLLEGE AVENUE
        SANTA ROSA, CA 95401


3.37360 LOUIS R. SEIDNER                       VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS IIIROBERT T.                                                    Litigation
        BRYSONKEVIN M. POLLACK       ACCOUNT NO.: NOT AVAILABLE
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.37361 LOUIS URADZIONEK                       VARIOUS                              Wildfire               UNDETERMINED
        NICHOLAS J.P. WAGNER                                                        Litigation
        #109455LAURA E. BROWN        ACCOUNT NO.: NOT AVAILABLE
        #306035
        WAGNER, JONES, KOPFMAN, &
        ARTENIAN LLP
        1111 HERNDON, STE. 317
        FRESNO, CA 93720


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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.37362 LOUIS URADZIONEK                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.37363 LOUIS URADZIONEK                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.37364 LOUIS URADZIONEK                           VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.37365 LOUIS URADZIONEK                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.37366 LOUIS, DANIELLE                            VARIOUS                              Wildfire               UNDETERMINED
        48 WOODWARDIA SQ                                                                Litigation
        SANTA ROSA, CA 95409             ACCOUNT NO.: NOT AVAILABLE


3.37367 LOUISA BOBBY MENDOZA                       VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                            Litigation
        VICEPENDING)JOHN P. FISKE        ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.37368 LOUISA BOBBY MENDOZA                       VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                           Litigation
        208783)ERIKA L. VASQUEZ          ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.37369 LOUISA BOBBY MENDOZA                     VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                            Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.37370 LOUISA BOBBY MENDOZA                     VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                    Litigation
        (SBN 69176)IAN C.              ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.37371 LOUISA BOBBY MENDOZA                     VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                    Litigation
        583 I 6)                       ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.37372 LOUISE A DREW                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                     Litigation
        MARTINI                        ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.37373 LOUISE A DREW                            VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                       Litigation
        125868JUSTIN J. EBALLAR,       ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.37374 LOUISE A DREW                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.37375 LOUISE A DREW                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.37376 LOUISE A DREW                           VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                        Litigation
        SINGLETONERIKA L.             ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.37377 LOUISE BELLMAN                          VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS III (SBN                                                         Litigation
        296101)ROBERT T. BRYSON       ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.37378 LOUISE CAMBRAY-KYLE                     VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                   Litigation
        100077ALISON E. CORDOVA,      ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.37379 LOUISE CAMBRAY-KYLE                     VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA, ESQ. /                                                    Litigation
        SBN: 110909ANDREA R.          ACCOUNT NO.: NOT AVAILABLE
        CROWL, ESQ. / SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.37380 LOUISE CAMBRAY-KYLE                     VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.37381 LOUISE CAMBRAY-KYLE                        VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.37382 LOUISE CAMBRAY-KYLE                        VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.37383 LOUISE HOWELL                              VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.37384 LOUISE HOWELL                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.37385 LOUISE HOWELL                              VARIOUS                              Wildfire               UNDETERMINED
        BRIAN J. PANISH                                                                 Litigation
        PANISH SHEA & BOYLE LLP          ACCOUNT NO.: NOT AVAILABLE
        11111 SANTA MONICA BLVD.,,
        SUITE 700
        LOS ANGELES, CA 90025


3.37386 LOUISE HOWELL                              VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE (SBN                                                             Litigation
        100077)ALISON E. CORDOVA         ACCOUNT NO.: NOT AVAILABLE
        (SBN 284942)JOHN P. THYKEN
        (SBN 286598)
        COTCHETT, PITRE &
        MCCARTHY, LLP
        SAN FRANCISCO AIRPORT
        OFFICE CENTER840 MALCOLM
        ROAD, SUITE 200
        BURLINGAME, CA 94010




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.37387 LOUISE HOWELL                            VARIOUS                              Wildfire               UNDETERMINED
        RICHARD L. HARRIMAN                                                           Litigation
        (SBN66124)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF RICHARD L.
        HARRIMAN
        1078 VIA VERONA DR.
        CHICO, CA 95973


3.37388 LOUISE JAMEL                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.37389 LOUISE JAMEL                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.37390 LOUISE JAMEL                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.37391 LOUISE JAMEL                             VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.37392 LOUISE STRASSER                         VARIOUS                              Wildfire               UNDETERMINED
        ANNE ANDREWSJOHN C.                                                          Litigation
        THORNTONSEAN THOMAS           ACCOUNT NO.: NOT AVAILABLE
        HIGGINS
        ANDREWS & THORNTON
        4701 VON KARMAN AVE., SUITE
        300
        NEWPORT BEACH, CALIFORNIA
        92660


3.37393 LOUNIBOS, HAESOOK/ROBERT                VARIOUS                              Wildfire               UNDETERMINED
        9438 OAK TRAIL CIRCLE                                                        Litigation
        SANTA ROSA, CA 95409          ACCOUNT NO.: NOT AVAILABLE


3.37394 LOUPY, TISHA                            VARIOUS                              Wildfire               UNDETERMINED
        3076 MARLOW ROAD D214                                                        Litigation
        SANTA ROSA, CA 95403          ACCOUNT NO.: NOT AVAILABLE


3.37395 LOVECCHIO, MICHAEL                VARIOUS                                    Wildfire               UNDETERMINED
        CO-COUNSELDEMETRIOS A.                                                       Litigation
        SPARACINO                 ACCOUNT NO.: NOT AVAILABLE
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.37396 LOVECCHIO, MICHAEL                      VARIOUS                              Wildfire               UNDETERMINED
        GERARD SINGLETONERIKA L.                                                     Litigation
        VASQUEZAMANDA LOCUTRO         ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.37397 LOVECCHIO, MICHAEL                      VARIOUS                              Wildfire               UNDETERMINED
        ELLIOT ADLERBRITTANY                                                         Litigation
        ZUMMER                        ACCOUNT NO.: NOT AVAILABLE
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.37398 LOVELESS, GRAYCEN                       VARIOUS                              Wildfire               UNDETERMINED
        3313A VICHY AVE                                                              Litigation
        NAPA, CA 94558                ACCOUNT NO.: NOT AVAILABLE


3.37399 LOVVORN, ERIC                           VARIOUS                              Wildfire               UNDETERMINED
        2349 PROVIDENCE CT.                                                          Litigation
        SANTA ROSA, CA 95401          ACCOUNT NO.: NOT AVAILABLE


3.37400 LOW, MARISSA                            VARIOUS                              Wildfire               UNDETERMINED
        728 MARSH DRIVE                                                              Litigation
        NAPA, CA 94558                ACCOUNT NO.: NOT AVAILABLE


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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.37401 LOW, MEGAN                               VARIOUS                              Wildfire               UNDETERMINED
        3520 BANYAN ST                                                                Litigation
        SANTA ROSA, CA 95403           ACCOUNT NO.: NOT AVAILABLE


3.37402 LOW, RENO, NIKKO, AND                    VARIOUS                              Wildfire               UNDETERMINED
        SAVINA; SUI KING FONG; VAN                                                    Litigation
        AU DUONG                       ACCOUNT NO.: NOT AVAILABLE
        DANIEL G. WHALEN
        ENGSTROM LIPSCOMB & LACK
        10100 SANTA MONICA BLVD.,
        12TH FLOOR
        LOS ANGELES, CA 90067


3.37403 LOWELL BRYAN                             VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC VICE                                                     Litigation
        PENDING)JOHN P. FISKE          ACCOUNT NO.: NOT AVAILABLE
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.37404 LOWELL BRYAN                             VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONERIKA L.                                                      Litigation
        VASQUEZ AMANDA LOCURTO         ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.37405 LOWELL BRYAN                             VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIABDEBORAH S.                                                       Litigation
        DIXONROBERT J. CHAMBERS II     ACCOUNT NO.: NOT AVAILABLE
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.37406 LOWELL BRYAN                             VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                    Litigation
                                       ACCOUNT NO.: NOT AVAILABLE
       IAN C. FUSSELMAN,
       ESQ.BRETT. J. SCHREIBER,
       ESQ.
       THORSNES BARTOLOTTA
       MCGUIRE LLP
       2550 FIFTH A VENUE, 11TH
       FLOOR
       SAN DIEGO, CALIFORNIA 92103


3.37407 LOWELL BRYAN                             VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ.                                                         Litigation
        TERRY SINGLETON, A.P.C.        ACCOUNT NO.: NOT AVAILABLE
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.37408 LOWELL BRYAN                             VARIOUS                              Wildfire               UNDETERMINED
        NATASHA SERINO                                                                Litigation
        LAW OFFICES OF ALEXANDER       ACCOUNT NO.: NOT AVAILABLE
        M. SCHACK
        16870 WEST BERNARDO, STE
        400,
        SAN DIEGO, CA 92127


3.37409 LOWELL HOWELL                            VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                  Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.37410 LOWELL HOWELL                            VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                         Litigation
        VICE PENDINGTEXAS BAR NO.      ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.37411 LOWELL HOWELL                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.37412 LOWELL HOWELL                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.37413 LOWELL HOWELL                            VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443




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Including Zip Code                          Account Number                            Claim

Wildfire Claims

3.37414 LOYD J. BOMAR                          VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                           Litigation
        DREYER BABICH BUCCOLA        ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.37415 LOYD J. BOMAR                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                            Litigation
        WALKUP, MELODIA, KELLY &     ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.37416 LOYD J. BOMAR                          VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                     Litigation
        125868JUSTIN J. EBALLAR,     ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.37417 LOYD J. BOMAR                          VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                       Litigation
        SINGLETONERIKA L.            ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.37418 LOYD J. BOMAR                          VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                      Litigation
        DOMENIC MARTINI              ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103


3.37419 LU, DAVID                              VARIOUS                              Wildfire               UNDETERMINED
        177 KAANAPALI DRIVE                                                         Litigation
        NAPA, CA 94558               ACCOUNT NO.: NOT AVAILABLE


3.37420 LUANA COBB                             VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                    Litigation
        NO. 197687)                  ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.37421 LUANA COBB                               VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                        Litigation
        STATE BAR NO. 296841)PAIGE     ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.37422 LUANA JACKSON-BREHMER                    VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.37423 LUANA JACKSON-BREHMER                    VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                         Litigation
        SINGLETONERIKA L.              ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.37424 LUANA JACKSON-BREHMER                    VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.37425 LUANA JACKSON-BREHMER                    VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                       Litigation
        125868JUSTIN J. EBALLAR,       ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.37426 LUANA JACKSON-BREHMER                    VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                     Litigation
        MARTINI                        ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.37427 LUANNE POWELL                           VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN B. MURRAY, SR. (SBN                                                  Litigation
        9858)JESSICA W. HAYES.,       ACCOUNT NO.: NOT AVAILABLE
        ESQ. (SBN 28927) PRO HAE
        VICE APPLICATIONS TO BE
        FILED
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.37428 LUANNE POWELL                           VARIOUS                              Wildfire               UNDETERMINED
        MATTHEW H. WELTY, ESQ. (SBN                                                  Litigation
        248092)JACK W. WEAVER,        ACCOUNT NO.: NOT AVAILABLE
        ESQ. (SBN 278469)
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.37429 LUANNE POWELL                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                     Litigation
        A. BAGHDADI                   ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.37430 LUANNE POWELL                           VARIOUS                              Wildfire               UNDETERMINED
        ALEXANDER M. SCHACK, ESQ.                                                    Litigation
        (SBN 99126)NATASHA N.         ACCOUNT NO.: NOT AVAILABLE
        SERINO, ESQ. (SBN
        284711)SHANNON F. NOCON,
        ESQ. (SBN 316523)
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BERNARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.37431 LUBICH, STEPHEN                   VARIOUS                                    Wildfire               UNDETERMINED
        CO-COUNSELDEMETRIOS A.                                                       Litigation
        SPARACINO                 ACCOUNT NO.: NOT AVAILABLE
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.37432 LUBICH, STEPHEN                         VARIOUS                              Wildfire               UNDETERMINED
        GERARD SINGLETONERIKA L.                                                     Litigation
        VASQUEZAMANDA LOCUTRO         ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075




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Including Zip Code                          Account Number                            Claim

Wildfire Claims

3.37433 LUBICH, STEPHEN                        VARIOUS                              Wildfire               UNDETERMINED
        ELLIOT ADLERBRITTANY                                                        Litigation
        ZUMMER                       ACCOUNT NO.: NOT AVAILABLE
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.37434 LUCAS CORDOVA                          VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS IIIROBERT T.                                                    Litigation
        BRYSONKEVIN M. POLLACK       ACCOUNT NO.: NOT AVAILABLE
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.37435 LUCAS CORDOVA                          VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                            Litigation
        ABRAHAM, WATKINS, NICHOLS,   ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.37436 LUCAS CORDOVA                          VARIOUS                              Wildfire               UNDETERMINED
        DONALD S. EDGAR                                                             Litigation
        EDGAR LAW FIRM               ACCOUNT NO.: NOT AVAILABLE
        408 COLLEGE AVENUE
        SANTA ROSA, CA 95401


3.37437 LUCAS CORDOVA                          VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                    Litigation
        AMANWILLIAM P. HARRIS        ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.37438 LUCAS, GREGORY                         VARIOUS                              Wildfire               UNDETERMINED
        2428 COLLEGE PARK CIRCLE                                                    Litigation
        SANTA ROSA, CA 95401         ACCOUNT NO.: NOT AVAILABLE


3.37439 LUCATERO, MARIO                        VARIOUS                              Wildfire               UNDETERMINED
        4 RANCHO DRIVE                                                              Litigation
        SONOMA, CA 95476             ACCOUNT NO.: NOT AVAILABLE


3.37440 LUCCHETTI, ROSA MARIE                  VARIOUS                              Wildfire               UNDETERMINED
        499 MOON MNT DRIVE                                                          Litigation
        SONOMA, CA 95476             ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.37441 LUCERITO GARCIA                         VARIOUS                              Wildfire               UNDETERMINED
        MARY E. ALEXANDER,                                                           Litigation
        ESQJENNIFER L. FIORE,         ACCOUNT NO.: NOT AVAILABLE
        ESQSOPHIA M. ASLAMI, ESQ
        MARY ALEXANDER &
        ASSOCIATES, P.C.
        44 MONTGOMERY STREET,
        SUITE 1303
        SAN FRANCISCO, CA 94104


3.37442 LUCERO LOPEZ                            VARIOUS                              Wildfire               UNDETERMINED
        BRIAN J. HEFFERNAN, ESQ.                                                     Litigation
                                      ACCOUNT NO.: NOT AVAILABLE
       ALEXANDRA J. NEWSOM ESQ.
       ENGSTROM, LIPSCOMB &
       LACKA PROFESSIONAL
       CORPORATION
       10100 SANTA MONICA
       BOULEVARD, 12TH FLOOR
       LOS ANGELES, CALIFORNIA
       90067-4107


3.37443 LUCHA, RENE                             VARIOUS                              Wildfire               UNDETERMINED
        901 RUSSELL AVE #107                                                         Litigation
        SANTA ROSA, CA 95403          ACCOUNT NO.: NOT AVAILABLE


3.37444 LUCIA CASCIO                            VARIOUS                              Wildfire               UNDETERMINED
        BRIAN J. HEFFERNAN, ESQ.                                                     Litigation
                                      ACCOUNT NO.: NOT AVAILABLE
       ALEXANDRA J. NEWSOM ESQ.
       ENGSTROM, LIPSCOMB &
       LACKA PROFESSIONAL
       CORPORATION
       10100 SANTA MONICA
       BOULEVARD, 12TH FLOOR
       LOS ANGELES, CALIFORNIA
       90067-4107


3.37445 LUCIA JERONIMO                          VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON BRETT                                                      Litigation
        R. PARKINSONDANIEL E.         ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.37446 LUCIA JERONIMO                          VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFFCOELL M.                                                        Litigation
        SIMMONS                       ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864


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Wildfire Claims

3.37447 LUCIA JERONIMO                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN N. DEMAS                                                                  Litigation
        DEMAS LAW GROUP, P.C.           ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.37448 LUCIA JERONIMO                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. FRIEDEMANN                                                             Litigation
        FRIEDEMANN GOLDBERG LLP         ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.37449 LUCIBELLO, ROBERTA                        VARIOUS                              Wildfire               UNDETERMINED
        1440 NUT TREE LN                                                               Litigation
        SONOMA, CA 95476                ACCOUNT NO.: NOT AVAILABLE


3.37450 LUCICH, JACOB; VINCENT                    VARIOUS                              Wildfire               UNDETERMINED
        LUCICH; RICHARD ARTHUR                                                         Litigation
        LUCICH; JANET LEE LUCICH        ACCOUNT NO.: NOT AVAILABLE
        MIKE DANKOKRISTINE
        MEREDITHSHAWN
        MILLERBRAD BOWEN
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.37451 LUCICH, JACOB; VINCENT                    VARIOUS                              Wildfire               UNDETERMINED
        LUCICH; RICHARD ARTHUR                                                         Litigation
        LUCICH; JANET LEE LUCICH        ACCOUNT NO.: NOT AVAILABLE
        DARIO DE GHETALDI AMANDA
        L. RIDDLE CLARE CAPACCIOLI
        VELASQUEZ
        COREY, LUZAICH, DE
        GHETALDL, NASTARI & RIDDLE
        LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.37452 LUCIDA POMPLUN                            VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFFCOELL M.                                                          Litigation
        SIMMONS                         ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.37453 LUCIDA POMPLUN                            VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON BRETT                                                        Litigation
        R. PARKINSONDANIEL E.           ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.37454 LUCIDA POMPLUN                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. FRIEDEMANN                                                             Litigation
        FRIEDEMANN GOLDBERG LLP         ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.37455 LUCIDA POMPLUN                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN N. DEMAS                                                                  Litigation
        DEMAS LAW GROUP, P.C.           ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.37456 LUCILLE DICKSON                           VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                               Litigation
        ABRAHAM, WATKINS, NICHOLS,      ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.37457 LUCILLE DICKSON                           VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.37458 LUCILLE HARENDZA                          VARIOUS                              Wildfire               UNDETERMINED
        C. BROOKS CUTTERJOHN G.                                                        Litigation
        ROUSSASMATTHEW M.               ACCOUNT NO.: NOT AVAILABLE
        BREINING
        CUTTER LAW P.C.
        401 WATT AVENUE
        SACRAMENTO, CA 95864


3.37459 LUCILLE LA WHUN                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.37460 LUCILLE LA WHUN                          VARIOUS                              Wildfire               UNDETERMINED
        BRIAN R. STRANGE, ESQ.                                                        Litigation
        (STATE BAR #103252)BRIANNA     ACCOUNT NO.: NOT AVAILABLE
        STRANGE, ESQ. (STATE BAR
        #321882
        STRANGE & BUTLER
        12100 WILSHIRE BOULEVARD,
        SUITE 1900
        LOS ANGELES, CA 90025


3.37461 LUCILLE LA WHUN                          VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.37462 LUCILLE LA WHUN                          VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.37463 LUCILLE LA WHUN                          VARIOUS                              Wildfire               UNDETERMINED
        RONALD L.M. GOLDMAN, ESQ.                                                     Litigation
        (STATE BAR #33422) DIANE       ACCOUNT NO.: NOT AVAILABLE
        MARGER MOORE, ESQ. (FLA.
        BAR #268364) (PRO HAE VICE
        APPLICATION PENDING)
        BAUM HEDLUND ARISTEI &
        GOLDMAN, P.C.
        10940 WILSHIRE BOULEVARD.,
        17TH FLOOR
        LOS ANGELES, CALIFORNIA
        90024


3.37464 LUCILLE MARSHALL                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.37465 LUCILLE MARSHALL                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.37466 LUCILLE MARSHALL                         VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.37467 LUCILLE MARSHALL                         VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.37468 LUCINA REYNOSO                           VARIOUS                              Wildfire               UNDETERMINED
        MARY E. ALEXANDER,                                                            Litigation
        ESQJENNIFER L. FIORE, ESQ      ACCOUNT NO.: NOT AVAILABLE
        MARY ALEXANDER &
        ASSOCIATES, P.C.
        44 MONTGOMERY STREET,
        SUITE 1303
        SAN FRANCISCO, CA 94104


3.37469 LUCINDA ANDERSON                         VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.37470 LUCINDA ANDERSON                        VARIOUS                              Wildfire               UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                   Litigation
        ZUMMERAMANDA J.               ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.37471 LUCINDA ANDERSON                        VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                     Litigation
        A. BAGHDADI                   ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.37472 LUCINDA ANDERSON                        VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                   Litigation
        STATE BAR NO. 157400)         ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.37473 LUCINE SMITH                            VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                     Litigation
        AMANWILLIAM P. HARRIS         ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.37474 LUCINE SMITH                            VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                             Litigation
        ABRAHAM, WATKINS, NICHOLS,    ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.37475 LUCRETIA BARTON                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.37476 LUCRETIA BARTON                          VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                  Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.37477 LUCRETIA BARTON                          VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.37478 LUCRETIA BARTON                          VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.37479 LUCRETIA BARTON                          VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                         Litigation
        VICE PENDINGTEXAS BAR NO.      ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.37480 LUCY FLORES                              VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSONPAIGE                                                         Litigation
        BOLDTMIKAL C. WATTSGUY         ACCOUNT NO.: NOT AVAILABLE
        L. WATTS
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        225
        AUSTIN, TEXAS 78704


3.37481 LUCY FLORES                              VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                      Litigation
        NO. 197687)                    ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.37482 LUCY FLORES                             VARIOUS                              Wildfire               UNDETERMINED
        ROY MILLER                                                                   Litigation
        HANSEN & MILLER LAW FIRM      ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.37483 LUCY OBRIEN                             VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                             Litigation
        ABRAHAM, WATKINS, NICHOLS,    ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.37484 LUCY OBRIEN                             VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                     Litigation
        AMANWILLIAM P. HARRIS         ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.37485 LUCY PARKS                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.37486 LUCY PARKS                              VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                   Litigation
        100077ALISON E. CORDOVA,      ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.37487 LUCY PARKS                              VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.37488 LUCY PARKS                                     VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                      Litigation
        71460KHALDOUN A. BAGHDADI            ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.37489 LUCY PARKS                                     VARIOUS                              Wildfire               UNDETERMINED
        TODD B. BECKERBRIAN E.                                                              Litigation
        SHEARJASON BOYER                     ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105


3.37490 Luddon, Leighann Guglielmetti;                 VARIOUS                              Wildfire               UNDETERMINED
        Luddon, James; Guglielmetti,                                                        Litigation
        Bailey (A Minor, By And Through      ACCOUNT NO.: NOT AVAILABLE
        Her Guardian Ad Litem Leighann
        Guglielmetti Luddon); Luddon,
        Riley (A Minor, By and Through His
        Guardian Ad Litem James Luddon)
        Gerard SingletonErika L.
        VasquezAmanda LoCutro
        SINGLETON LAW FIRM
        115 West Plaza Street
        Solana Beach, CA 92075


3.37491 Luddon, Leighann Guglielmetti;                 VARIOUS                              Wildfire               UNDETERMINED
        Luddon, James; Guglielmetti,                                                        Litigation
        Bailey (A Minor, By And Through      ACCOUNT NO.: NOT AVAILABLE
        Her Guardian Ad Litem Leighann
        Guglielmetti Luddon); Luddon,
        Riley (A Minor, By and Through His
        Guardian Ad Litem James Luddon)
        Elliot AdlerBrittany Zummer
        ADLER LAW GROUP, APLC
        420 W. Broadway, Suite 860
        San Diego, CA 92101


3.37492 Luddon, Leighann Guglielmetti;                 VARIOUS                              Wildfire               UNDETERMINED
        Luddon, James; Guglielmetti,                                                        Litigation
        Bailey (A Minor, By And Through      ACCOUNT NO.: NOT AVAILABLE
        Her Guardian Ad Litem Leighann
        Guglielmetti Luddon); Luddon,
        Riley (A Minor, By and Through His
        Guardian Ad Litem James Luddon)
        Co-CounselDemetrios A.
        Sparacino
        SPARACINO LAW CORPORATIOn
        525 B Street, Suite 1500
        San Diego, CA 92101


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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.37493 LUDWIG, MARY                             VARIOUS                              Wildfire               UNDETERMINED
        6593 PENTZ ROAD                                                               Litigation
        PARADISE, CA 95969             ACCOUNT NO.: NOT AVAILABLE


3.37494 LUDWIKA SCHEIN                           VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. THOMPSON                                                            Litigation
        THOMPSON LAW OFFICES, P.C.     ACCOUNT NO.: NOT AVAILABLE
        700 AIRPORT BLVD., SUITE 160
        BURLINGAME, CA 94010


3.37495 LUE, MELISSA                             VARIOUS                              Wildfire               UNDETERMINED
        1491 GREAT HERON DRIVE                                                        Litigation
        SANTA ROSA, CA 95409           ACCOUNT NO.: NOT AVAILABLE


3.37496 LUFT, CAROLYN SUE                 VARIOUS                                     Wildfire               UNDETERMINED
        CO-COUNSELDEMETRIOS A.                                                        Litigation
        SPARACINO                 ACCOUNT NO.: NOT AVAILABLE
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.37497 LUFT, CAROLYN SUE                        VARIOUS                              Wildfire               UNDETERMINED
        ELLIOT ADLERBRITTANY                                                          Litigation
        ZUMMER                         ACCOUNT NO.: NOT AVAILABLE
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.37498 LUFT, CAROLYN SUE                        VARIOUS                              Wildfire               UNDETERMINED
        GERARD SINGLETONERIKA L.                                                      Litigation
        VASQUEZAMANDA LOCUTRO          ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.37499 LUFT, CHRISTINE; DONALD R.               VARIOUS                              Wildfire               UNDETERMINED
        LUFT, JR.                                                                     Litigation
        GERARD SINGLETONERIKA L.       ACCOUNT NO.: NOT AVAILABLE
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.37500 LUFT, CHRISTINE; DONALD R.               VARIOUS                              Wildfire               UNDETERMINED
        LUFT, JR.                                                                     Litigation
        ELLIOT ADLERBRITTANY           ACCOUNT NO.: NOT AVAILABLE
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.37501 LUFT, CHRISTINE; DONALD R.         VARIOUS                                   Wildfire               UNDETERMINED
        LUFT, JR.                                                                    Litigation
        CO-COUNSELDEMETRIOS A.     ACCOUNT NO.: NOT AVAILABLE
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.37502 LUINI, JEANNETTE                        VARIOUS                              Wildfire               UNDETERMINED
        2551 33RD AVE                                                                Litigation
        SAN FRANCISCO, CA 94116       ACCOUNT NO.: NOT AVAILABLE


3.37503 LUIS A FLORES                           VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.37504 LUIS A FLORES                           VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                    Litigation
        MARTINI                       ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.37505 LUIS A FLORES                           VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                        Litigation
        SINGLETONERIKA L.             ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.37506 LUIS A FLORES                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.37507 LUIS A FLORES                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.37508 LUIS AMAYA                               VARIOUS                              Wildfire               UNDETERMINED
        STEVEN J. SKIKOS, ESQ.MARK                                                    Litigation
        G. CRAWFORD,                   ACCOUNT NO.: NOT AVAILABLE
        ESQ.GREGORY T. SKIKOS,
        ESQ.MATTHEW J. SKIKOS,
        ESQ.
        SKIKOS, CRAWFORD, SKIKOS, &
        JOSEPH
        ONE SANSOME STREET, SUITE
        2830
        SAN FRANCISCO, CA 94104


3.37509 LUIS GARCIA                              VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSONPAIGE                                                         Litigation
        BOLDTMIKAL C. WATTSGUY         ACCOUNT NO.: NOT AVAILABLE
        L. WATTS
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        225
        AUSTIN, TEXAS 78704


3.37510 LUIS GARCIA                              VARIOUS                              Wildfire               UNDETERMINED
        ROY MILLER                                                                    Litigation
        HANSEN & MILLER LAW FIRM       ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.37511 LUIS GARCIA                              VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                      Litigation
        NO. 197687)                    ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.37512 LUIS GARCIA FLORES                       VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                         Litigation
        208783)ERIKA L. VASQUEZ        ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.37513 LUIS GARCIA FLORES                       VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                          Litigation
        VICEPENDING)JOHN P. FISKE      ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.37514 LUIS GARCIA FLORES                       VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                            Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.37515 LUIS GARCIA FLORES                       VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                    Litigation
        583 I 6)                       ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.37516 LUIS GARCIA FLORES                       VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                    Litigation
        (SBN 69176)IAN C.              ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.37517 LUIS HERNANDEZ                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.37518 LUIS HERNANDEZ                           VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.37519 LUIS HERNANDEZ                           VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.37520 LUIS HERNANDEZ                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.37521 LUJANO, MANUELA                          VARIOUS                              Wildfire               UNDETERMINED
        2138 RACHEL DR                                                                Litigation
        SANTA ROSA, CA 95401           ACCOUNT NO.: NOT AVAILABLE


3.37522 LUKE BARTOW                              VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                  Litigation
        ERIC RATINOFF LAW CORP.        ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.37523 LUKE BARTOW                              VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                      Litigation
        #117228                        ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.37524 LUKE BARTOW                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.37525 LUKE BARTOW                             VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                  Litigation
         REINER, SLAUGHTER &          ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.37526 LUKE D CLARK                            VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                        Litigation
        SINGLETONERIKA L.             ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.37527 LUKE D CLARK                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.37528 LUKE D CLARK                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.37529 LUKE D CLARK                            VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.37530 LUKE D CLARK                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                    Litigation
        MARTINI                       ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.37531 LUKE FRASER                              VARIOUS                              Wildfire               UNDETERMINED
        ELIZABETH J.                                                                  Litigation
        CABRASERROBERT J.              ACCOUNT NO.: NOT AVAILABLE
        NELSON LEXI J. HAZAM

       FABRICE N. VINCENTANNIKA
       K. MARTINABBY R. WOLF
       LIEFF CABRASER HEIMANN &
       BERNSTEIN, LLP
       275 BATTERY STREET, 29TH
       FLOOR
       SAN FRANCISCO, CA 94111-3339


3.37532 LUKE MORROW                              VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                         Litigation
        VICE PENDINGTEXAS BAR NO.      ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.37533 LUKE MORROW                              VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.37534 LUKE MORROW                              VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                  Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.37535 LUKE MORROW                              VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.37536 LUKE MORROW                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108



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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.37537 LUKE ROBERTSON                           VARIOUS                              Wildfire               UNDETERMINED
        MARY E. ALEXANDER,                                                            Litigation
        ESQJENNIFER L. FIORE,          ACCOUNT NO.: NOT AVAILABLE
        ESQSOPHIA M. ASLAMI, ESQ
        MARY ALEXANDER &
        ASSOCIATES, P.C.
        44 MONTGOMERY STREET,
        SUITE 1303
        SAN FRANCISCO, CA 94104


3.37538 LUKE SCHERBA (DBA STUDIO                 VARIOUS                              Wildfire               UNDETERMINED
        ONE)                                                                          Litigation
        MICHAEL A. KELLYKHALDOUN       ACCOUNT NO.: NOT AVAILABLE
        A. BAGHDADI
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.37539 LUKE SCHERBA (DBA STUDIO                 VARIOUS                              Wildfire               UNDETERMINED
        ONE)                                                                          Litigation
        MIKAL C. WATTS (PRO HAC VICE   ACCOUNT NO.: NOT AVAILABLE
        APPLICATION
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.37540 LUKE SCHERBA (DBA STUDIO                 VARIOUS                              Wildfire               UNDETERMINED
        ONE)                                                                          Litigation
        E. ELLIOT ADLERBRITTANY S.     ACCOUNT NO.: NOT AVAILABLE
        ZUMMERAMANDA J.
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.37541 LUKE SCHERBA (DBA STUDIO                 VARIOUS                              Wildfire               UNDETERMINED
        ONE)                                                                          Litigation
        JOSEPH M. EARLEY III (CAL.     ACCOUNT NO.: NOT AVAILABLE
        STATE BAR NO. 157400)
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928




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Creditor's Name, Mailing Address      Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                          Account Number                            Claim

Wildfire Claims

3.37542 LUKE TIRADOS                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                    Litigation
        A. BAGHDADIDORIS             ACCOUNT NO.: NOT AVAILABLE
        CHENGANDREW P. MCDEVITT
        WALKUP MELODIA KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.37543 LUNA, YENI AND ENRIQUE                 VARIOUS                              Wildfire               UNDETERMINED
        1148 B ST.                                                                  Litigation
        FULTON, CA 95439             ACCOUNT NO.: NOT AVAILABLE


3.37544 LUTZI, TERI MARIE                      VARIOUS                              Wildfire               UNDETERMINED
        (INDIVIDUALLY, AND AS                                                       Litigation
        TRUSTEE OF THE LUTZI 2011    ACCOUNT NO.: NOT AVAILABLE
        REVOCABLE TRUST, UNDER
        INSTRUMENT DATED MARCH 22,
        2011)
        ELLIOT ADLERBRITTANY
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.37545 LUTZI, TERI MARIE                      VARIOUS                              Wildfire               UNDETERMINED
        (INDIVIDUALLY, AND AS                                                       Litigation
        TRUSTEE OF THE LUTZI 2011    ACCOUNT NO.: NOT AVAILABLE
        REVOCABLE TRUST, UNDER
        INSTRUMENT DATED MARCH 22,
        2011)
        GERARD SINGLETONERIKA L.
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.37546 LUTZI, TERI MARIE                  VARIOUS                                  Wildfire               UNDETERMINED
        (INDIVIDUALLY, AND AS                                                       Litigation
        TRUSTEE OF THE LUTZI 2011  ACCOUNT NO.: NOT AVAILABLE
        REVOCABLE TRUST, UNDER
        INSTRUMENT DATED MARCH 22,
        2011)
        CO-COUNSELDEMETRIOS A.
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.37547 LUZ MARIA MALDONADO                      VARIOUS                              Wildfire               UNDETERMINED
        SUAREZ                                                                        Litigation
        RYAN L. THOMPSON (CAL.         ACCOUNT NO.: NOT AVAILABLE
        STATE BAR NO. 296841)PAIGE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.37548 LUZ MARIA MALDONADO                      VARIOUS                              Wildfire               UNDETERMINED
        SUAREZ                                                                        Litigation
        JOHN COX (CAL. STATE BAR       ACCOUNT NO.: NOT AVAILABLE
        NO. 197687)
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.37549 LY, JUJU                                 VARIOUS                              Wildfire               UNDETERMINED
        5965 PACIFIC ST                                                               Litigation
        ROCKLIN, CA 95677              ACCOUNT NO.: NOT AVAILABLE


3.37550 LYDIA BALL                               VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSONPAIGE                                                         Litigation
        BOLDT                          ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.37551 LYDIA BALL                               VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                      Litigation
        NO. 197687)                    ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.37552 LYDIA BALL                               VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSONPAIGE                                                         Litigation
        BOLDTMIKAL C. WATTSGUY         ACCOUNT NO.: NOT AVAILABLE
        L. WATTS
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        225
        AUSTIN, TEXAS 78704


3.37553 LYDIA BALL                               VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX                                                                      Litigation
        LAW OFFICES OF JOHN COX        ACCOUNT NO.: NOT AVAILABLE
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.37554 LYDIA BALL                               VARIOUS                              Wildfire               UNDETERMINED
        ROY MILLER                                                                    Litigation
        HANSEN AND MILLER LAW FINN     ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.37555 LYDIA BALL                               VARIOUS                              Wildfire               UNDETERMINED
        ROY MILLER                                                                    Litigation
        HANSEN & MILLER LAW FIRM       ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.37556 LYDIA BREWSTER                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.37557 LYDIA BREWSTER                           VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                  Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.37558 LYDIA BREWSTER                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.37559 LYDIA BREWSTER                           VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.37560 LYDIA BREWSTER                           VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                         Litigation
        VICE PENDINGTEXAS BAR NO.      ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127



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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.37561 LYDIA LIGHT                             VARIOUS                              Wildfire               UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                      Litigation
        WEAVER                        ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.37562 LYDIA LIGHT                             VARIOUS                              Wildfire               UNDETERMINED
        ALEXANDER M.                                                                 Litigation
        SCHACKNATASHA N. SERINO       ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.37563 LYDIA LIGHT                             VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN B. MURRAY,                                                           Litigation
        SR.JESSICA HAYES              ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.37564 LYDIA SCHRADER                          VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                     Litigation
        #117228                       ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.37565 LYDIA SCHRADER                          VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                  Litigation
         REINER, SLAUGHTER &          ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.37566 LYDIA SCHRADER                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                     Litigation
        A. BAGHDADI                   ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.37567 LYDIA SCHRADER                           VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                  Litigation
        ERIC RATINOFF LAW CORP.        ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.37568 LYLA NIEHAGE                             VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                      Litigation
        J. EBALLAR                     ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024


3.37569 LYLA NIEHAGE                             VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                      Litigation
        AMANWILLIAM P. HARRIS          ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.37570 LYLA SW ALES                             VARIOUS                              Wildfire               UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                       Litigation
        WEAVER                         ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.37571 LYLA SW ALES                             VARIOUS                              Wildfire               UNDETERMINED
        ALEXANDER M.                                                                  Litigation
        SCHACKNATASHA N. SERINO        ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.37572 LYLA SW ALES                             VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN B. MURRAY,                                                            Litigation
        SR.JESSICA HAYES               ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.37573 LYLE FOSTER                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.37574 LYLE FOSTER                              VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.37575 LYLE FOSTER                              VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.37576 LYLE FOSTER                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.37577 LYLE HUNT                                VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                  Litigation
        ERIC RATINOFF LAW CORP.        ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.37578 LYLE HUNT                                VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                      Litigation
        #117228                        ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.37579 LYLE HUNT                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                     Litigation
        A. BAGHDADI                   ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.37580 LYLE HUNT                               VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                  Litigation
         REINER, SLAUGHTER &          ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.37581 LYLE R. WANLESS                         VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                       Litigation
        DOMENIC MARTINI               ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103


3.37582 LYLE R. WANLESS                         VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.37583 LYLE R. WANLESS                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.37584 LYLE R. WANLESS                         VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.37585 LYLE R. WANLESS                           VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.37586 LYN ANNE HAY                              VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITREJOSEPH W.                                                        Litigation
        COTCHETTALISON E.               ACCOUNT NO.: NOT AVAILABLE
        CORDOVAABIGAIL D.
        BLODGETT
        COTCHETT, PITRE &
        MCCARTHY, LLP
        SAN FRANCISCO AIRPORT
        OFFICE CENTER840 MALCOLM
        ROAD, SUITE 200
        BURLINGAME, CA 94010


3.37587 LYN ANNE HAY                              VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.37588 LYN ANNE HAY                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP MELODIA KELLY &          ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.37589 LYN ANNE HAY                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL D. GREEN                                                               Litigation
        ABBEY, WEITZENBERG,             ACCOUNT NO.: NOT AVAILABLE
        WARREN & EMERY, PC
        100 STONY POINT RD, SUITE 200
        SANTA ROSA, CA 95401


3.37590 LYN ANNE HAY                              VARIOUS                              Wildfire               UNDETERMINED
        BRIAN J. PANISH                                                                Litigation
        PANISH SHEA & BOYLE, LLP        ACCOUNT NO.: NOT AVAILABLE
        11111 SANTA MONICA BLVD.,
        SUITE 700
        LOS ANGELES, CA 90025




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.37591 LYN MELLBERG                            VARIOUS                              Wildfire               UNDETERMINED
        BRIAN J. HEFFERNAN, ESQ.                                                     Litigation
                                      ACCOUNT NO.: NOT AVAILABLE
       ALEXANDRA J. NEWSOM ESQ.
       ENGSTROM, LIPSCOMB &
       LACKA PROFESSIONAL
       CORPORATION
       10100 SANTA MONICA
       BOULEVARD, 12TH FLOOR
       LOS ANGELES, CALIFORNIA
       90067-4107


3.37592 LYNCH, KATIE                            VARIOUS                              Wildfire               UNDETERMINED
        P.O. BOX 695                                                                 Litigation
        EL VERANO, CA 95433           ACCOUNT NO.: NOT AVAILABLE


3.37593 LYNDA ALLEN                             VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                     Litigation
        J. EBALLAR                    ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024


3.37594 LYNDA ALLEN                             VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                             Litigation
        ABRAHAM, WATKINS, NICHOLS,    ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.37595 LYNDA ALLEN                             VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                     Litigation
        AMANWILLIAM P. HARRIS         ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.37596 LYNDA ALLEN                             VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                     Litigation
        AMANWILLIAM P. HARRIS         ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.37597 LYNDA ASHLEY                               VARIOUS                              Wildfire               UNDETERMINED
        DONALD S. EDGAR                                                                 Litigation
        EDGAR LAW FIRM                   ACCOUNT NO.: NOT AVAILABLE
        408 COLLEGE AVENUE
        SANTA ROSA, CA 95401


3.37598 LYNDA ASHLEY                               VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS IIIROBERT T.                                                        Litigation
        BRYSONKEVIN M. POLLACK           ACCOUNT NO.: NOT AVAILABLE
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.37599 LYNDA HOWELL                               VARIOUS                              Wildfire               UNDETERMINED
        ELIZABETH LATIMER (STATE                                                        Litigation
        BAR #304697)                     ACCOUNT NO.: NOT AVAILABLE
        LATIMER AND KENKEL LAW
        OFFICES
        330 WALL STREET, SUITE 20
        CHICO, CA TELEPHONE: (530)
        345-1396 FACSIMILE: (530) 345-
        0439


3.37600 LYNDA HOWELL                               VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH FEIST -- SBN                                                             Litigation
        249447JONATHAN J.                ACCOUNT NO.: NOT AVAILABLE
        GRIFFITH -- SBN 266891
        NORTHERN CALIFORNIA LAW
        GROUP, PC.
        2611 ESPLANADE
        CHICO, CA 95973


3.37601 LYNDA HOWELL                               VARIOUS                              Wildfire               UNDETERMINED
        CATHERINE LOMBARDO (SBN #                                                       Litigation
        160461)                          ACCOUNT NO.: NOT AVAILABLE
        THE LOMBARDO LAW FIRM
        433 W ARROW HIGHWAY
        CLAREMONT, CA 9171


3.37602 LYNDA HOWELL                               VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.37603 LYNDA HOWELL                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


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Creditor's Name, Mailing Address     Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                         Account Number                            Claim

Wildfire Claims

3.37604 LYNDA J. SALA                         VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                          Litigation
        DREYER BABICH BUCCOLA       ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.37605 LYNDA J. SALA                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                           Litigation
        WALKUP, MELODIA, KELLY &    ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.37606 LYNDA J. SALA                         VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                    Litigation
        125868JUSTIN J. EBALLAR,    ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.37607 LYNDA J. SALA                         VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                      Litigation
        SINGLETONERIKA L.           ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.37608 LYNDA J. SALA                         VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                     Litigation
        DOMENIC MARTINI             ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103


3.37609 LYNDA MATTHEWS                        VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                   Litigation
        A. BAGHDADI                 ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.37610 LYNDA MATTHEWS                          VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA (SBN                                                       Litigation
        110909)                       ACCOUNT NO.: NOT AVAILABLE
        DREYER BABICHBUCCOLA
        WOODCAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.37611 LYNDA MATTHEWS                          VARIOUS                              Wildfire               UNDETERMINED
        CHRLSTOPHER C. SIEGLOCK                                                      Litigation
        (BAR NO. 295951) RACHEL       ACCOUNT NO.: NOT AVAILABLE
        SIEGLOCK (BAR NO. 299761)

       KRISTEN REANO(BAR
       NO.321795)
       SIEGLOCK LAW, APC
       1221 CAMINO DEL MAR
       DEL MAR, CA 92014


3.37612 LYNDA MATTHEWS                          VARIOUS                              Wildfire               UNDETERMINED
        DAVE FOX (BAR                                                                Litigation
        NO.254651)JOANNA LEE FOX      ACCOUNT NO.: NOT AVAILABLE
        (BAR NO. 212593)COURTNEY
        VASQUEZ (BAR NO. 267081)
        FOX LAW, APC
        125 W. PLAZA STREET, SUITE
        102
        SOLANA BEACH, CA 92075


3.37613 LYNDA OTTEN                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                     Litigation
        A. BAGHDADI                   ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.37614 LYNDA OTTEN                             VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                  Litigation
         REINER, SLAUGHTER &          ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.37615 LYNDA OTTEN                             VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                     Litigation
        #117228                       ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.37616 LYNDA OTTEN                              VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                  Litigation
        ERIC RATINOFF LAW CORP.        ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.37617 LYNDA TATRAI                             VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                      Litigation
        J. EBALLAR                     ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024


3.37618 LYNDA TATRAI                             VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                      Litigation
        AMANWILLIAM P. HARRIS          ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.37619 LYNDALL TRUELOVE                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.37620 LYNDALL TRUELOVE                         VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                         Litigation
        SINGLETONERIKA L.              ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.37621 LYNDALL TRUELOVE                         VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.37622 LYNDALL TRUELOVE                          VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.37623 LYNDALL TRUELOVE                          VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.37624 LYNDI KAY JONES                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.37625 LYNDI KAY JONES                           VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                       Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.37626 LYNDI KAY JONES                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAELS. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.37627 LYNDI KAY JONES                           VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR.,SBN                                                        Litigation
        60768ANGELA JAE CHUN, SBN       ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCAVILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.37628 LYNETTE BELLMAN                           VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS III (SBN                                                           Litigation
        296101)ROBERT T. BRYSON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.37629 LYNETTE GAYE KRONICK                      VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                         Litigation
        STATE BAR NO. 296841)PAIGE      ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.37630 LYNETTE GAYE KRONICK                      VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.37631 LYNETTE MARIE YEAGER                      VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON BRETT                                                        Litigation
        R. PARKINSONDANIEL E.           ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.37632 LYNETTE MARIE YEAGER                      VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFFCOELL M.                                                          Litigation
        SIMMONS                         ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864


3.37633 LYNETTE MARIE YEAGER                      VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. FRIEDEMANN                                                             Litigation
        FRIEDEMANN GOLDBERG LLP         ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.37634 LYNETTE MARIE YEAGER                      VARIOUS                              Wildfire               UNDETERMINED
        JOHN N. DEMAS                                                                  Litigation
        DEMAS LAW GROUP, P.C.           ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.37635 LYNN BADGER                               VARIOUS                              Wildfire               UNDETERMINED
        BRENDAN M. KUNKLEMICHAEL                                                       Litigation
        D. GREENSCOTT R.                ACCOUNT NO.: NOT AVAILABLE
        MONTGOMERY
        ABBEY, WEITZENBERG,
        WARREN & EMERY, PC
        100 STONY POINT RD, SUITE 200
        SANTA ROSA, CA 95401


3.37636 LYNN CAIN                                 VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX                                                                       Litigation
        LAW OFFICES OF JOHN COX         ACCOUNT NO.: NOT AVAILABLE
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.37637 LYNN CAIN                                 VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSONPAIGE                                                          Litigation
        BOLDT                           ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.37638 LYNN CAIN                                 VARIOUS                              Wildfire               UNDETERMINED
        ROY MILLER                                                                     Litigation
        HANSEN & MILLER LAW FIRM        ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.37639 LYNN COCKERHAM                            VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS III (SBN                                                           Litigation
        296101)ROBERT T. BRYSON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.37640 LYNN GROVER                               VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075



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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.37641 LYNN GROVER                             VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                    Litigation
        MARTINI                       ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.37642 LYNN GROVER                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.37643 LYNN GROVER                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.37644 LYNN GROVER                             VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.37645 LYNN M HOUGHTON                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.37646 LYNN M HOUGHTON                         VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                        Litigation
        SINGLETONERIKA L.             ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.37647 LYNN M HOUGHTON                         VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826



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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.37648 LYNN M HOUGHTON                         VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.37649 LYNN M HOUGHTON                         VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                    Litigation
        MARTINI                       ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.37650 LYNN M. JOHNSON                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                     Litigation
        A. BAGHDADI                   ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.37651 LYNN M. JOHNSON                         VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA (SBN                                                       Litigation
        110909)                       ACCOUNT NO.: NOT AVAILABLE
        DREYER BABICHBUCCOLA
        WOODCAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.37652 LYNN M. JOHNSON                         VARIOUS                              Wildfire               UNDETERMINED
        CHRLSTOPHER C. SIEGLOCK                                                      Litigation
        (BAR NO. 295951) RACHEL       ACCOUNT NO.: NOT AVAILABLE
        SIEGLOCK (BAR NO. 299761)

       KRISTEN REANO(BAR
       NO.321795)
       SIEGLOCK LAW, APC
       1221 CAMINO DEL MAR
       DEL MAR, CA 92014


3.37653 LYNN M. JOHNSON                         VARIOUS                              Wildfire               UNDETERMINED
        DAVE FOX (BAR                                                                Litigation
        NO.254651)JOANNA LEE FOX      ACCOUNT NO.: NOT AVAILABLE
        (BAR NO. 212593)COURTNEY
        VASQUEZ (BAR NO. 267081)
        FOX LAW, APC
        125 W. PLAZA STREET, SUITE
        102
        SOLANA BEACH, CA 92075



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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.37654 LYNN MAASKAMP                            VARIOUS                              Wildfire               UNDETERMINED
        THE ARNS LAW FIRM                                                             Litigation
        ROBERT S. ARNS                 ACCOUNT NO.: NOT AVAILABLE
        515 FOLSOM STREET, THIRD
        FLOOR
        SAN FRANCISCO, CA 94105


3.37655 LYNN MAASKAMP                            VARIOUS                              Wildfire               UNDETERMINED
        THOMAS J. BRANDITERENCE                                                       Litigation
        D. EDWARDSJASON B.             ACCOUNT NO.: NOT AVAILABLE
        FRIEDMAN
        THE BRANDI LAW FIRM
        354 PINE STREET, THIRD FLOOR
        SAN FRANCISCO, CALIFORNIA
        94104


3.37656 LYNN MARIE GLEESON                       VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                        Litigation
        STATE BAR NO. 296841)PAIGE     ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.37657 LYNN MARIE GLEESON                       VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                      Litigation
        NO. 197687)                    ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.37658 LYNN MILLER                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.37659 LYNN MILLER                              VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                         Litigation
        SINGLETONERIKA L.              ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.37660 LYNN MILLER                             VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                    Litigation
        MARTINI                       ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.37661 LYNN MILLER                             VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.37662 LYNN MILLER                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.37663 LYNN MOLL                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.37664 LYNN MOLL                               VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                   Litigation
        100077ALISON E. CORDOVA,      ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.37665 LYNN MOLL                               VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.37666 LYNN MOLL                                  VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.37667 LYNN MOLL                                  VARIOUS                              Wildfire               UNDETERMINED
        TODD B. BECKERBRIAN E.                                                          Litigation
        SHEARJASON BOYER                 ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105


3.37668 LYNN SCHAFER                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                        Litigation
        A. BAGHDADI                      ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.37669 LYNN SCHAFER                               VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                     Litigation
        126782AMANDA L. RIDDLE -         ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.37670 LYNN SCHAFER                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                      Litigation
        111359KRISTINE K.                ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.37671 LYNN SCHAFER                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.37672 LYNN SCOFFERN                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.37673 LYNN SCOFFERN                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.37674 LYNN SCOFFERN                            VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.37675 LYNN SCOFFERN                            VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.37676 LYNN SCURI                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                     Litigation
        A. BAGHDADIDORIS              ACCOUNT NO.: NOT AVAILABLE
        CHENGANDREW P. MCDEVITT
        WALKUP MELODIA KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.37677 LYNN SCURI                              VARIOUS                              Wildfire               UNDETERMINED
        TIMOTHY G. TIETJEN (STATE                                                    Litigation
        BAR #104975)                  ACCOUNT NO.: NOT AVAILABLE
        ROUDA, FEDER, TIETJEN &
        MCGUINN
        44 MONTGOMERY STREET,
        SUITE 750
        SAN FRANCISCO, CALIFORNIA
        94104


3.37678 LYNN SPECKERT                           VARIOUS                              Wildfire               UNDETERMINED
        VICTOR                                                                       Litigation
        JACOBELLISSTEPHANIE POLI      ACCOUNT NO.: NOT AVAILABLE
        MERLIN LAW GROUP, P.A.
        1160 BATTERY STREET EAST,
        SUITE 100
        SAN FRANCISCO, CALIFORNIA
        94111


3.37679 LYNN SPECKERT                           VARIOUS                              Wildfire               UNDETERMINED
        WILLIAM A. LEVINLAUREL L.                                                    Litigation
        SIMES RACHEL B.               ACCOUNT NO.: NOT AVAILABLE
        ABRAMSAMY ESKINMEGHAN
        E. MCCORMICK
        LEVIN SIMES LLP
        1160 BATTERY STREET EAST,
        SUITE 100
        SAN FRANCISCO, CALIFORNIA
        94111


3.37680 LYNN WOOD                               VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                  Litigation
        126782AMANDA L. RIDDLE -      ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.37681 LYNN WOOD                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.37682 LYNN WOOD                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.37683 LYNN WOOD                                VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.37684 LYNNE C JOHNSTON                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.37685 LYNNE C JOHNSTON                         VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.37686 LYNNE C JOHNSTON                         VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                       Litigation
        125868JUSTIN J. EBALLAR,       ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.37687 LYNNE C JOHNSTON                        VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                    Litigation
        MARTINI                       ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.37688 LYNNE C JOHNSTON                        VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                        Litigation
        SINGLETONERIKA L.             ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.37689 LYNNE CANDELARIO                        VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS IIIROBERT T.                                                     Litigation
        BRYSONKEVIN M. POLLACK        ACCOUNT NO.: NOT AVAILABLE
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.37690 LYNNE CANDELARIO                        VARIOUS                              Wildfire               UNDETERMINED
        DONALD S. EDGAR                                                              Litigation
        EDGAR LAW FIRM                ACCOUNT NO.: NOT AVAILABLE
        408 COLLEGE AVENUE
        SANTA ROSA, CA 95401


3.37691 LYNNE GRAUBERGER                        VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                     Litigation
        A. BAGHDADI                   ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.37692 LYNNE GRAUBERGER                        VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                  Litigation
        126782AMANDA L. RIDDLE -      ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.37693 LYNNE GRAUBERGER                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.37694 LYNNE GRAUBERGER                         VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.37695 LYNNE KEERANS                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                     Litigation
        MARTINI                        ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.37696 LYNNE KEERANS                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.37697 LYNNE KEERANS                            VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                         Litigation
        VICE PENDINGTEXAS BAR NO.      ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.37698 LYNNE KEERANS                            VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                         Litigation
        SINGLETONERIKA L.              ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.37699 LYNNE KEERANS                            VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.37700 LYNNE KEERANS                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.37701 LYNNE KEERANS                            VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                  Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.37702 LYNNE KEERANS                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.37703 LYNNE KEERANS                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.37704 LYNNE KEERANS                            VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                       Litigation
        125868JUSTIN J. EBALLAR,       ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.37705 LYNNETTE MARCH                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.37706 LYNNETTE MARCH                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.37707 LYNNETTE MARCH                          VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.37708 LYNNETTE MARCH                          VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZ, ESQ., SBN                                                   Litigation
        87492WILLIAM P. HARRIS III,   ACCOUNT NO.: NOT AVAILABLE
        ESQ., SBN 123575M. REGINA
        BAGDASARIAN, ESQ., SBN
        296219GEORGE T. STIEFEL,
        ESQ., SBN. 297611
        FRANTZ LAW GROUP, APLC
        770 L STREET, SUITE 950
        SACRAMENTO, CA 95814


3.37709 LYNNETTE MARCH                          VARIOUS                              Wildfire               UNDETERMINED
        RICHARD K. BRIDGFORD, ESQ.,                                                  Litigation
        SBN 119554MICHAEL H.          ACCOUNT NO.: NOT AVAILABLE
        ARTINIAN, ESQ., SBN 203443
        BRIDGFORD, GLEASON, &
        ARTINIAN
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.37710 LYON, SUSAN                             VARIOUS                              Wildfire               UNDETERMINED
        PO BOX 86                                                                    Litigation
        KENWOOD, CA 95452             ACCOUNT NO.: NOT AVAILABLE


3.37711 LYONS, GERALD                           VARIOUS                              Wildfire               UNDETERMINED
        143 EL RITERO                                                                Litigation
        SONOMA, CA 95476              ACCOUNT NO.: NOT AVAILABLE


3.37712 LYONS, MICHAEL                          VARIOUS                              Wildfire               UNDETERMINED
        17070 PARK AVE                                                               Litigation
        SONOMA, CA 95476              ACCOUNT NO.: NOT AVAILABLE




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.37713 M. ABOUI NASSER                          VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA (SBN                                                        Litigation
        110909)                        ACCOUNT NO.: NOT AVAILABLE
        DREYER BABICHBUCCOLA
        WOODCAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.37714 M. ABOUI NASSER                          VARIOUS                              Wildfire               UNDETERMINED
        CHRLSTOPHER C. SIEGLOCK                                                       Litigation
        (BAR NO. 295951) RACHEL        ACCOUNT NO.: NOT AVAILABLE
        SIEGLOCK (BAR NO. 299761)

       KRISTEN REANO(BAR
       NO.321795)
       SIEGLOCK LAW, APC
       1221 CAMINO DEL MAR
       DEL MAR, CA 92014


3.37715 M. ABOUI NASSER                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.37716 M. ABOUI NASSER                          VARIOUS                              Wildfire               UNDETERMINED
        DAVE FOX (BAR                                                                 Litigation
        NO.254651)JOANNA LEE FOX       ACCOUNT NO.: NOT AVAILABLE
        (BAR NO. 212593)COURTNEY
        VASQUEZ (BAR NO. 267081)
        FOX LAW, APC
        125 W. PLAZA STREET, SUITE
        102
        SOLANA BEACH, CA 92075


3.37717 M. ROBIN DIMATTEO                        VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                      Litigation
        NO. 197687)                    ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.37718 M. ROBIN DIMATTEO                        VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                        Litigation
        STATE BAR NO. 296841)PAIGE     ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


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Including Zip Code                                   Account Number                            Claim

Wildfire Claims

3.37719 MA DEL CARMEN DOMINGUEZ                         VARIOUS                              Wildfire               UNDETERMINED
        GARCIA                                                                               Litigation
        RYAN L. THOMPSON PAIGE                ACCOUNT NO.: NOT AVAILABLE
        BOLDT
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.37720 MA DEL CARMEN DOMINGUEZ                         VARIOUS                              Wildfire               UNDETERMINED
        GARCIA                                                                               Litigation
        JOHN COX (CAL. STATE BAR              ACCOUNT NO.: NOT AVAILABLE
        NO. 197687)
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.37721 MA DEL CARMEN DOMINGUEZ                         VARIOUS                              Wildfire               UNDETERMINED
        GARCIA                                                                               Litigation
        ROY MILLER                            ACCOUNT NO.: NOT AVAILABLE
        HANSEN & MILLER LAW FIRM
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.37722 MACADAM LOJOWSKY                                VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                             Litigation
        NO. 197687)                           ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX,
        P.C.
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.37723 Macadam Lojowsky                                VARIOUS                              Wildfire               UNDETERMINED
        Mikal C. Watts (Pro Hae Vice                                                         Litigation
        application anticipated)Guy           ACCOUNT NO.: NOT AVAILABLE
        Watts, II (Pro Hae Vice application
        anticipated)Ryan L. Thompson
        (Cal. State Bar No. 296841)Paige
        Boldt (Cal. State Bar No. 308772)
        Watts Guerra LLP
        811 Barton Springs Rd., Ste. 725
        Austin, Texas 78704


3.37724 MACARAIG, ROLANDO                               VARIOUS                              Wildfire               UNDETERMINED
        1109-B LA GRANDE AVE                                                                 Litigation
        NAPA, CA 94558                        ACCOUNT NO.: NOT AVAILABLE


3.37725 MACIAS, GLADYS                                  VARIOUS                              Wildfire               UNDETERMINED
        1300 PINE ST                                                                         Litigation
        11                                    ACCOUNT NO.: NOT AVAILABLE
        CALISTOGA, CA 94515



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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.37726 MACINTYRE, JOSEPHINE                    VARIOUS                              Wildfire               UNDETERMINED
        3433 LAKE PARK CT                                                            Litigation
        SANTA ROSA, CA 95403          ACCOUNT NO.: NOT AVAILABLE


3.37727 MACK MCDONALD                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAELA. KELLY (SBN 71460)                                                  Litigation
        WALKUP MELODIA KELLY&         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.37728 MACK MCDONALD                           VARIOUS                              Wildfire               UNDETERMINED
        BRIANJ. PANISH (SBN 116060)                                                  Litigation
        PANISH SHEA &BOYLE, LLP       ACCOUNT NO.: NOT AVAILABLE
        11111 SANTA MONICA BLVD.,
        SUITE 700
        LOS ANGELES, CA 90025


3.37729 MACK MCDONALD                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA (SBN                                                       Litigation
        110909)                       ACCOUNT NO.: NOT AVAILABLE
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.37730 MACK MCDONALD                           VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE (SBN                                                          Litigation
        100077)ALISON E. CORDOVA      ACCOUNT NO.: NOT AVAILABLE
        (SBN 284942)JOHN P. THYKEN
        (SBN 286598)
        COTCHETT, PITRE &
        MCCARTHY, LLP
        SAN FRANCISCO AIRPORT
        OFFICE CENTER840 MALCOLM
        ROAD, SUITE 200
        BURLINGA, CALIFORNIA 94111


3.37731 MACKENZIE BISHOP                        VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                     Litigation
        J. EBALLAR                    ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.37732 MACKENZIE BISHOP                         VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                      Litigation
        AMANWILLIAM P. HARRIS          ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.37733 MACY BENNETT                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.37734 MACY BENNETT                             VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                  Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.37735 MACY BENNETT                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.37736 MACY BENNETT                             VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.37737 MACY BENNETT                             VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                         Litigation
        VICE PENDINGTEXAS BAR NO.      ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.37738 MACY DUNAWAY                             VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                  Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.37739 MACY DUNAWAY                             VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                         Litigation
        VICE PENDINGTEXAS BAR NO.      ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.37740 MACY DUNAWAY                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.37741 MACY DUNAWAY                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.37742 MACY DUNAWAY                             VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.37743 MACY PETERSON                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.37744 MACY PETERSON                            VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                  Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.37745 MACY PETERSON                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.37746 MACY PETERSON                            VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.37747 MACY PETERSON                            VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                         Litigation
        VICE PENDINGTEXAS BAR NO.      ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.37748 MACY RENNKAMP                            VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                      Litigation
        AMANWILLIAM P. HARRIS          ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.37749 MACY RENNKAMP                            VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                              Litigation
        ABRAHAM, WATKINS, NICHOLS,     ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002




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Including Zip Code                          Account Number                            Claim

Wildfire Claims

3.37750 MADALINE BEEMAN                        VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                    Litigation
        A. BAGHDADI                  ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.37751 MADALINE BEEMAN                        VARIOUS                              Wildfire               UNDETERMINED
        DAVE FOX (BAR                                                               Litigation
        NO.254651)JOANNA LEE FOX     ACCOUNT NO.: NOT AVAILABLE
        (BAR NO. 212593)COURTNEY
        VASQUEZ (BAR NO. 267081)
        FOX LAW, APC
        125 W. PLAZA STREET, SUITE
        102
        SOLANA BEACH, CA 92075


3.37752 MADALINE BEEMAN                        VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA (SBN                                                      Litigation
        110909)                      ACCOUNT NO.: NOT AVAILABLE
        DREYER BABICHBUCCOLA
        WOODCAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.37753 MADALINE BEEMAN                        VARIOUS                              Wildfire               UNDETERMINED
        CHRLSTOPHER C. SIEGLOCK                                                     Litigation
        (BAR NO. 295951) RACHEL      ACCOUNT NO.: NOT AVAILABLE
        SIEGLOCK (BAR NO. 299761)

       KRISTEN REANO(BAR
       NO.321795)
       SIEGLOCK LAW, APC
       1221 CAMINO DEL MAR
       DEL MAR, CA 92014


3.37754 MADDEN, MARY                           VARIOUS                              Wildfire               UNDETERMINED
        P.O. BOX 845                                                                Litigation
        FOREST RANCH, CA 95942       ACCOUNT NO.: NOT AVAILABLE


3.37755 MADDOX, PATRICIA                       VARIOUS                              Wildfire               UNDETERMINED
        2412 FOOTHILL BLVD., #71                                                    Litigation
        CALISTOGA, CA 94515          ACCOUNT NO.: NOT AVAILABLE


3.37756 MADDUX, JEREMY AND                     VARIOUS                              Wildfire               UNDETERMINED
        MICHELLE                                                                    Litigation
        ROBERT W. JACKSONBRETT       ACCOUNT NO.: NOT AVAILABLE
        R. PARKINSON
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 W. ALVARADO STREET
        FALLBROOK, CA 92028


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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.37757 MADEIROS, CARL A.                        VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDIAMANDA                                                       Litigation
        L. RIDDLECLARE CAPACCIOLI      ACCOUNT NO.: NOT AVAILABLE
        VELASQUEZ
        700 EL CAMINO REAL
        P.O BOX 669
        MILLBRAE, CA


3.37758 MADEIROS, CARL A.                        VARIOUS                              Wildfire               UNDETERMINED
        DANKO MEREDITH                                                                Litigation
        333 TWIN DOLPHIN DRIVE         ACCOUNT NO.: NOT AVAILABLE
        SUITE 145
        REDWOOD SHORES, CA 94065


3.37759 MADELINE BELTON                          VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.37760 MADELINE BELTON                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.37761 MADELINE BELTON                          VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.37762 MADELINE BELTON                          VARIOUS                              Wildfire               UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                    Litigation
        ZUMMERAMANDA J.                ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101




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Including Zip Code                         Account Number                            Claim

Wildfire Claims

3.37763 MADELINE G. DOLAN                     VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                   Litigation
        A. BAGHDADIDORIS            ACCOUNT NO.: NOT AVAILABLE
        CHENGANDREW P. MCDEVITT
        WALKUP MELODIA KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.37764 MADELINE G. DOLAN                     VARIOUS                              Wildfire               UNDETERMINED
        TIMOTHY G. TIETJEN (STATE                                                  Litigation
        BAR #104975)                ACCOUNT NO.: NOT AVAILABLE
        ROUDA, FEDER, TIETJEN &
        MCGUINN
        44 MONTGOMERY STREET,
        SUITE 750
        SAN FRANCISCO, CALIFORNIA
        94104


3.37765 MADELYN M. BARTON                     VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                     Litigation
        DOMENIC MARTINI             ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103


3.37766 MADELYN M. BARTON                     VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                      Litigation
        SINGLETONERIKA L.           ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.37767 MADELYN M. BARTON                     VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                    Litigation
        125868JUSTIN J. EBALLAR,    ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.37768 MADELYN M. BARTON                     VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                          Litigation
        DREYER BABICH BUCCOLA       ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.37769 MADELYN M. BARTON                        VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.37770 MADIGAN, MELISSA                         VARIOUS                              Wildfire               UNDETERMINED
        2052 AUTUMN WALK DRIVE                                                        Litigation
        SANTA ROSA, CA 95403           ACCOUNT NO.: NOT AVAILABLE


3.37771 MADISON BUJOR                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.37772 MADISON BUJOR                            VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                  Litigation
        ERIC RATINOFF LAW CORP.        ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.37773 MADISON BUJOR                            VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                      Litigation
        #117228                        ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.37774 MADISON BUJOR                            VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                   Litigation
         REINER, SLAUGHTER &           ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.37775 MADISON CORONADO                         VARIOUS                              Wildfire               UNDETERMINED
        TODD B. BECKERBRIAN E.                                                        Litigation
        SHEARJASON BOYER               ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105




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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.37776 MADISON CORONADO                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.37777 MADISON CORONADO                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.37778 MADISON CORONADO                           VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.37779 MADISON CORONADO                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.37780 MADISON GILLEN                             VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                     Litigation
         REINER, SLAUGHTER &             ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.37781 MADISON GILLEN                             VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                        Litigation
        #117228                          ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.37782 MADISON GILLEN                           VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                  Litigation
        ERIC RATINOFF LAW CORP.        ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.37783 MADISON GILLEN                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.37784 MADISON LONG                             VARIOUS                              Wildfire               UNDETERMINED
        TIMOTHY G. TIETJEN (STATE                                                     Litigation
        BAR #104975)                   ACCOUNT NO.: NOT AVAILABLE
        ROUDA, FEDER, TIETJEN &
        MCGUINN
        44 MONTGOMERY STREET,
        SUITE 750
        SAN FRANCISCO, CALIFORNIA
        94104


3.37785 MADISON LONG                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADIDORIS               ACCOUNT NO.: NOT AVAILABLE
        CHENGANDREW P. MCDEVITT
        WALKUP MELODIA KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.37786 MADISON M CAPUANO                        VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.37787 MADISON M CAPUANO                        VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.37788 MADISON M CAPUANO                       VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.37789 MADISON M CAPUANO                       VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                    Litigation
        MARTINI                       ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.37790 MADISON M CAPUANO                       VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                        Litigation
        SINGLETONERIKA L.             ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.37791 MADISON TARNUTZER                       VARIOUS                              Wildfire               UNDETERMINED
        SCOTT J. PREBLE, ESQ. (SBN:                                                  Litigation
        115158)                       ACCOUNT NO.: NOT AVAILABLE
        THE PREBLE LAW FIRM
        2200 WYMORE WAY
        ANTIOCH, CA 94509


3.37792 MADISON WIMBERLY                        VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                     Litigation
        AMANWILLIAM P. HARRIS         ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.37793 MADISON WIMBERLY                        VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                             Litigation
        ABRAHAM, WATKINS, NICHOLS,    ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.37794 MADOC FARMS LLC                          VARIOUS                              Wildfire               UNDETERMINED
        THE ARNS LAW FIRM                                                             Litigation
        ROBERT S. ARNS                 ACCOUNT NO.: NOT AVAILABLE
        515 FOLSOM STREET, THIRD
        FLOOR
        SAN FRANCISCO, CA 94105


3.37795 MADOC FARMS LLC                          VARIOUS                              Wildfire               UNDETERMINED
        THOMAS J. BRANDITERENCE                                                       Litigation
        D. EDWARDSJASON B.             ACCOUNT NO.: NOT AVAILABLE
        FRIEDMAN
        THE BRANDI LAW FIRM
        354 PINE STREET, THIRD FLOOR
        SAN FRANCISCO, CALIFORNIA
        94104


3.37796 MADRID, ANDREA                           VARIOUS                              Wildfire               UNDETERMINED
        2001 RANGE AVE                                                                Litigation
        77                             ACCOUNT NO.: NOT AVAILABLE
        SANTA ROSA, CA 95401


3.37797 MADRIGAL, DIANE                          VARIOUS                              Wildfire               UNDETERMINED
        1827 CODY COURT                                                               Litigation
        SANTA ROSA, CA 95403           ACCOUNT NO.: NOT AVAILABLE


3.37798 MADSEN, RHONDA                           VARIOUS                              Wildfire               UNDETERMINED
        561 SHOCK WAY                                                                 Litigation
        PARADISE, CA 95969             ACCOUNT NO.: NOT AVAILABLE


3.37799 MAE DICKENS                              VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.37800 MAE DICKENS                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.37801 MAE DICKENS                              VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                    Litigation
        100077ALISON E. CORDOVA,       ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010



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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.37802 MAE DICKENS                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.37803 MAE DICKENS                                VARIOUS                              Wildfire               UNDETERMINED
        TODD B. BECKERBRIAN E.                                                          Litigation
        SHEARJASON BOYER                 ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105


3.37804 MAE, SHELLY                                VARIOUS                              Wildfire               UNDETERMINED
        6404 MONTICELLO RD                                                              Litigation
        NAPA, CA 94558                   ACCOUNT NO.: NOT AVAILABLE


3.37805 MAGANA CEIA, LIDUBINA                      VARIOUS                              Wildfire               UNDETERMINED
        1501 FAIR WAY                                                                   Litigation
        6                                ACCOUNT NO.: NOT AVAILABLE
        CALISTOGA, CA 94515


3.37806 MAGANA MARTINEZ, CINDY                     VARIOUS                              Wildfire               UNDETERMINED
        15444 MARTY DRIVE                                                               Litigation
        APT 04                           ACCOUNT NO.: NOT AVAILABLE
        GLEN ELLEN, CA 95442


3.37807 MAGANA, CINDY                              VARIOUS                              Wildfire               UNDETERMINED
        15444 MARTY DRIVE                                                               Litigation
        APT 04                           ACCOUNT NO.: NOT AVAILABLE
        GLEN ELLEN, CA 95442


3.37808 MAGANA, JORGE                              VARIOUS                              Wildfire               UNDETERMINED
        1927 ZINFANDEL AVE                                                              Litigation
        APT 202                          ACCOUNT NO.: NOT AVAILABLE
        SANTA ROSA, CA 95403


3.37809 MAGANA, VINCENTE                           VARIOUS                              Wildfire               UNDETERMINED
        18317 FIRST AVENUE                                                              Litigation
        SONOMA, CA 94576                 ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.37810 MAGAR, BRANDON; SQUIRES,            VARIOUS                                   Wildfire               UNDETERMINED
        COURTNEY; SQUIRES, KARSON                                                     Litigation
        T. (A MINOR, BY AND THROUGH ACCOUNT NO.: NOT AVAILABLE
        HIS GUARDIAN AD LITEM
        COURTNEY SQUIRES)
        CO-COUNSELDEMETRIOS A.
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.37811 MAGAR, BRANDON; SQUIRES,                 VARIOUS                              Wildfire               UNDETERMINED
        COURTNEY; SQUIRES, KARSON                                                     Litigation
        T. (A MINOR, BY AND THROUGH    ACCOUNT NO.: NOT AVAILABLE
        HIS GUARDIAN AD LITEM
        COURTNEY SQUIRES)
        GERARD SINGLETONERIKA L.
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.37812 MAGAR, BRANDON; SQUIRES,                 VARIOUS                              Wildfire               UNDETERMINED
        COURTNEY; SQUIRES, KARSON                                                     Litigation
        T. (A MINOR, BY AND THROUGH    ACCOUNT NO.: NOT AVAILABLE
        HIS GUARDIAN AD LITEM
        COURTNEY SQUIRES)
        ELLIOT ADLERBRITTANY
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.37813 MAGDALENO RODRIGUEZ                      VARIOUS                              Wildfire               UNDETERMINED
        ALVAREZ                                                                       Litigation
        JOHN COX (CAL. STATE BAR       ACCOUNT NO.: NOT AVAILABLE
        NO. 197687)
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.37814 MAGDALENO RODRIGUEZ                      VARIOUS                              Wildfire               UNDETERMINED
        ALVAREZ                                                                       Litigation
        RYAN L. THOMPSON (CAL.         ACCOUNT NO.: NOT AVAILABLE
        STATE BAR NO. 296841)PAIGE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704




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Including Zip Code                         Account Number                            Claim

Wildfire Claims

3.37815 MAGDALENO, ELIZABETH                  VARIOUS                              Wildfire               UNDETERMINED
        4631 QUIGG DRIVE                                                           Litigation
        1410                        ACCOUNT NO.: NOT AVAILABLE
        SANTA ROSA, CA 95409


3.37816 MAGGIE L. MASTERSON                   VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                           Litigation
        WALKUP, MELODIA, KELLY &    ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.37817 MAGGIE L. MASTERSON                   VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                     Litigation
        DOMENIC MARTINI             ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103


3.37818 MAGGIE L. MASTERSON                   VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                    Litigation
        125868JUSTIN J. EBALLAR,    ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.37819 MAGGIE L. MASTERSON                   VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                          Litigation
        DREYER BABICH BUCCOLA       ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.37820 MAGGIE L. MASTERSON                   VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                      Litigation
        SINGLETONERIKA L.           ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.37821 MAGGIO, JAMES                         VARIOUS                              Wildfire               UNDETERMINED
        11225 LAKESHORE DR                                                         Litigation
        CLEARLAKE, CA 95422         ACCOUNT NO.: NOT AVAILABLE


3.37822 MAGNUSSEN, KATHLEEN                   VARIOUS                              Wildfire               UNDETERMINED
        17539 HIGHLAND BLVD                                                        Litigation
        SONOMA, CA 95476            ACCOUNT NO.: NOT AVAILABLE


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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.37823 MAHGREFTEH, EBRAHIM/KAREN                 VARIOUS                              Wildfire               UNDETERMINED
        4046 HEATHER LANE                                                              Litigation
        NAPA, CA 94558                  ACCOUNT NO.: NOT AVAILABLE


3.37824 MAHLANDT, RYAN                            VARIOUS                              Wildfire               UNDETERMINED
        1080 WOODENVALLEY CROSS                                                        Litigation
        RD                              ACCOUNT NO.: NOT AVAILABLE
        C
        NAPA, CA 94558


3.37825 MAHMOUD GHOLAMI                           VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE JOSEPH W.                                                       Litigation
        COTCHETTALISON E.               ACCOUNT NO.: NOT AVAILABLE
        CORDOVAABIGAIL D.
        BLODGETT
        COTCHETT, PITRE &
        MCCARTHY, LLP
        SAN FRANCISCO AIRPORT
        OFFICE CENTER840 MALCOLM
        ROAD, SUITE 200
        BURLINGAME, CA 94010


3.37826 MAHMOUD GHOLAMI                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADIANDREW P.            ACCOUNT NO.: NOT AVAILABLE
        MCDEVITT
        WALKUP MELODIA KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.37827 MAHMOUD GHOLAMI                           VARIOUS                              Wildfire               UNDETERMINED
        BRENDAN M. KUNKLEMICHAEL                                                       Litigation
        D. GREEN                        ACCOUNT NO.: NOT AVAILABLE
        ABBEY, WEITZENBERG,
        WARREN & EMERY, PC
        100 STONY POINT RD, SUITE 200
        SANTA ROSA, CA 95401


3.37828 MAHMOUD GHOLAMI                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.37829 MAHMOUD GHOLAMI                           VARIOUS                              Wildfire               UNDETERMINED
        BRIAN J. PANISHRAHUL                                                           Litigation
        RAVIPUDI                        ACCOUNT NO.: NOT AVAILABLE
        PANISH SHEA & BOYLE, LLP
        11111 SANTA MONICA BLVD.,
        SUITE 700
        LOS ANGELES, CA 90025


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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.37830 MAHONEY, MAUREEN                         VARIOUS                              Wildfire               UNDETERMINED
        2412 FOOT HILL BLVD.                                                          Litigation
        CALISTOGA, CA 94515            ACCOUNT NO.: NOT AVAILABLE


3.37831 MAILI GIBSON                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.37832 MAILI GIBSON                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.37833 MAILI GIBSON                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.37834 MAILI GIBSON                             VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.37835 MAIN, CAMERON                            VARIOUS                              Wildfire               UNDETERMINED
        7600 KNOXVILLE RD                                                             Litigation
        NAPA, CA 94558                 ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.37836 MAKAILA SAGER                             VARIOUS                              Wildfire               UNDETERMINED
        ROBERT S. ARNS JONATHAN                                                        Litigation
        E. DAVIS KEVIN M. OSBORNE       ACCOUNT NO.: NOT AVAILABLE

       SHOUNAK S. DHARAP
       THE ARNS LAW FIRM A
       PROFESSIONAL CORPORATION
       515 FOLSOM STREET, 3RD
       FLOOR
       SAN FRANCISCO, CALIFORNIA
       94105


3.37837 MAKAILA SAGER                             VARIOUS                              Wildfire               UNDETERMINED
        THOMAS J. BRANDITERRENCE                                                       Litigation
        D. EDWARDS                      ACCOUNT NO.: NOT AVAILABLE
        THE BRANDI LAW FIRM
        354 PINE STREET, THIRD FLOOR
        SAN FRANCISCO, CA 94104


3.37838 MAKAYLA A SMITH                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.37839 MAKAYLA A SMITH                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.37840 MAKAYLA A SMITH                           VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.37841 MAKAYLA A SMITH                           VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.37842 MAKAYLA A SMITH                           VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.37843 MAKENNA LASSEN                            VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.37844 MAKENNA LASSEN                            VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                       Litigation
        J. EBALLAR                      ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024


3.37845 MALAKAI AHLERS                            VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON BRETT                                                        Litigation
        R. PARKINSONDANIEL E.           ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.37846 MALAKAI AHLERS                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN N. DEMAS                                                                  Litigation
        DEMAS LAW GROUP, P.C.           ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.37847 MALAKAI AHLERS                            VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFFCOELL M.                                                          Litigation
        SIMMONS                         ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.37848 MALAKAI AHLERS                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. FRIEDEMANN,                                                            Litigation
        FRIEDEMANN GOLDBERG LLP         ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.37849 MALASPINA, ALICIA                         VARIOUS                              Wildfire               UNDETERMINED
        2338 PINECREST DR                                                              Litigation
        SANTA ROSA, CA 95403            ACCOUNT NO.: NOT AVAILABLE


3.37850 MALDONADO, JAMIE                          VARIOUS                              Wildfire               UNDETERMINED
        2023 NORTHFIELD DR                                                             Litigation
        SANTA ROSA, CA 95403            ACCOUNT NO.: NOT AVAILABLE


3.37851 MALDONADO, LUIS                           VARIOUS                              Wildfire               UNDETERMINED
        2755 NAVAJO STREET                                                             Litigation
        SANTA ROSA, CA 95403            ACCOUNT NO.: NOT AVAILABLE


3.37852 MALDONADO, MARIA                          VARIOUS                              Wildfire               UNDETERMINED
        1715 WASHINGTON STREET                                                         Litigation
        8                               ACCOUNT NO.: NOT AVAILABLE
        CALISTOGA, CA 94515


3.37853 MALDONADO, MATTIE                         VARIOUS                              Wildfire               UNDETERMINED
        2006 HIGHWAY 101, PMB 155                                                      Litigation
        FLORENCE, CA 97439              ACCOUNT NO.: NOT AVAILABLE


3.37854 MALIA C SHADLE                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.37855 MALIA C SHADLE                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.37856 MALIA C SHADLE                            VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.37857 MALIA C SHADLE                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.37858 MALIA C SHADLE                            VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.37859 MALIA ELSNER                              VARIOUS                              Wildfire               UNDETERMINED
        JOHN N. DEMAS                                                                  Litigation
        DEMAS LAW GROUP, P.C.           ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.37860 MALIA ELSNER                              VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFFCOELL M.                                                          Litigation
        SIMMONS                         ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864


3.37861 MALIA ELSNER                              VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON BRETT                                                        Litigation
        R. PARKINSONDANIEL E.           ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.37862 MALIA ELSNER                              VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. FRIEDEMANN                                                             Litigation
        FRIEDEMANN GOLDBERG LLP         ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.37863 MALIA LARA MARIE EDAAKIE-                 VARIOUS                              Wildfire               UNDETERMINED
        DORN, BYAN AND THROUGH                                                         Litigation
        HER GUARDIAN AD LITEM           ACCOUNT NO.: NOT AVAILABLE
        KRISTIN EDAAKIE
        MARK P. ROBINSON, JR. (SBN
        054426)
        ROBINSON CALCAGNIE, INC.
        19 CORPORATE PLAZA DRIVE
        NEWPORT BEACH, CALIFORNIA
        92660


3.37864 MALIA LARA MARIE EDAAKIE-                 VARIOUS                              Wildfire               UNDETERMINED
        DORN, BYAN AND THROUGH                                                         Litigation
        HER GUARDIAN AD LITEM           ACCOUNT NO.: NOT AVAILABLE
        KRISTIN EDAAKIE
        MARY E. ALEXANDER, ESQ.
        (SBN: 104173)
        MARY ALEXANDER &
        ASSOCIATES, P.C.
        44 MONTGOMERY STREET,
        SUITE 1303
        SAN FRANCISCO, CA 94104


3.37865 MALIA LARA MARIE EDAAKIE-                 VARIOUS                              Wildfire               UNDETERMINED
        DORN, BYAN AND THROUGH                                                         Litigation
        HER GUARDIAN AD LITEM           ACCOUNT NO.: NOT AVAILABLE
        KRISTIN EDAAKIE
        CATHERINE LOMBARDO (SBN #
        160461)
        THE LOMBARDO LAW FIRM
        433 W ARROW HIGHWAY
        CLAREMONT, CA 9171


3.37866 MALIA LARA MARIE EDAAKIE-                 VARIOUS                              Wildfire               UNDETERMINED
        DORN, BYAN AND THROUGH                                                         Litigation
        HER GUARDIAN AD LITEM           ACCOUNT NO.: NOT AVAILABLE
        KRISTIN EDAAKIE
        MICHAEL A. KELLY
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.37867 MALIA LARA MARIE EDAAKIE-                 VARIOUS                              Wildfire               UNDETERMINED
        DORN, BYAN AND THROUGH                                                         Litigation
        HER GUARDIAN AD LITEM           ACCOUNT NO.: NOT AVAILABLE
        KRISTIN EDAAKIE
        STEVEN M. CAMPORA
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.37868 MALONE, CYNTHIA                           VARIOUS                              Wildfire               UNDETERMINED
        836 MONTROSE CT.                                                               Litigation
        SANTA ROSA, CA 95409            ACCOUNT NO.: NOT AVAILABLE


3.37869 MALONE, GENEA                             VARIOUS                              Wildfire               UNDETERMINED
        1384 TROWER AVE                                                                Litigation
        NAPA, CA 94558                  ACCOUNT NO.: NOT AVAILABLE


3.37870 MALORIE LIMBAUGH                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.37871 MALORIE LIMBAUGH                          VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                   Litigation
        ERIC RATINOFF LAW CORP.         ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.37872 MALORIE LIMBAUGH                          VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.37873 MALORIE LIMBAUGH                          VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                    Litigation
         REINER, SLAUGHTER &            ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.37874 MALTA, JOSEPH EDWARD, JR.         VARIOUS                                      Wildfire               UNDETERMINED
        CO-COUNSELDEMETRIOS A.                                                         Litigation
        SPARACINO                 ACCOUNT NO.: NOT AVAILABLE
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.37875 MALTA, JOSEPH EDWARD, JR.                 VARIOUS                              Wildfire               UNDETERMINED
        GERARD SINGLETONERIKA L.                                                       Litigation
        VASQUEZAMANDA LOCUTRO           ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.37876 MALTA, JOSEPH EDWARD, JR.                 VARIOUS                              Wildfire               UNDETERMINED
        ELLIOT ADLERBRITTANY                                                           Litigation
        ZUMMER                          ACCOUNT NO.: NOT AVAILABLE
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.37877 MALTBY, CATHERINE                         VARIOUS                              Wildfire               UNDETERMINED
        2684 WESTBERRY DR                                                              Litigation
        SANTA ROSA, CA 95403            ACCOUNT NO.: NOT AVAILABLE


3.37878 MALTIN, HARRIET                           VARIOUS                              Wildfire               UNDETERMINED
        PO BOX 980                                                                     Litigation
        ROUGH AND READY, CA 95975       ACCOUNT NO.: NOT AVAILABLE


3.37879 MANDY COONS                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.37880 MANDY COONS                               VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.37881 MANDY COONS                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.37882 MANDY COONS                               VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.37883 MANDY DOUGLAS                             VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR.,SBN                                                        Litigation
        60768ANGELA JAE CHUN, SBN       ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCAVILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101


3.37884 MANDY DOUGLAS                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.37885 MANDY DOUGLAS                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAEL S. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.37886 MANDY DOUGLAS                             VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                       Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.37887 MANIS, DINA                               VARIOUS                              Wildfire               UNDETERMINED
        2535 SHAWNEE STREET                                                            Litigation
        SANTA ROSA, CA 95403            ACCOUNT NO.: NOT AVAILABLE


3.37888 MANISCALCO, TRACY                         VARIOUS                              Wildfire               UNDETERMINED
        5648 RATERS DR                                                                 Litigation
        SANTA ROSA, CA 95409            ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.37889 MANJIT CHADDHA                            VARIOUS                              Wildfire               UNDETERMINED
        MARY E. ALEXANDER,                                                             Litigation
        ESQJENNIFER L. FIORE,           ACCOUNT NO.: NOT AVAILABLE
        ESQSOPHIA M. ASLAMI, ESQ
        MARY ALEXANDER &
        ASSOCIATES, P.C.
        44 MONTGOMERY STREET,
        SUITE 1303
        SAN FRANCISCO, CA 94104


3.37890 MANNEY, GAIL (RENTER); JEFF,              VARIOUS                              Wildfire               UNDETERMINED
        MARY (OWNER)                                                                   Litigation
        DARIO DE GHETALDI AMANDA        ACCOUNT NO.: NOT AVAILABLE
        L. RIDDLE CLARE CAPACCIOLI
        VELASQUEZ
        COREY, LUZAICH, DE
        GHETALDL, NASTARI & RIDDLE
        LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.37891 MANNEY, GAIL (RENTER); JEFF,              VARIOUS                              Wildfire               UNDETERMINED
        MARY (OWNER)                                                                   Litigation
        MIKE DANKOKRISTINE              ACCOUNT NO.: NOT AVAILABLE
        MEREDITHSHAWN
        MILLERBRAD BOWEN
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.37892 MANNY KNOWLES                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                   Litigation
        ERIC RATINOFF LAW CORP.         ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.37893 MANNY KNOWLES                             VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228BRETT R. PARKINSON,      ACCOUNT NO.: NOT AVAILABLE
        ESQ., #230150
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.37894 MANNY KNOWLES                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.37895 MANNY KNOWLES                             VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                    Litigation
         REINER, SLAUGHTER &            ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.37896 MANRIQUEZ, JESSICA                        VARIOUS                              Wildfire               UNDETERMINED
        1413 ANNA ST APT 1                                                             Litigation
        CALISTOGA, CA 94515             ACCOUNT NO.: NOT AVAILABLE


3.37897 MANUEL A. URIBE                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.37898 MANUEL A. URIBE                           VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.37899 MANUEL A. URIBE                           VARIOUS                              Wildfire               UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                     Litigation
        ZUMMERAMANDA J.                 ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101




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Wildfire Claims

3.37900 MANUEL A. URIBE                           VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.37901 MANUEL C. VILLARRIAL                      VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.37902 MANUEL C. VILLARRIAL                      VARIOUS                              Wildfire               UNDETERMINED
        DAVE FOXJOANNA                                                                 Litigation
        FOXCOURTNEY VASQUEZ             ACCOUNT NO.: NOT AVAILABLE
        FOX LAW, APC
        225 W. PLAZA STREET, SUITE
        102
        SOLANA BEACH, CA 92075


3.37903 MANUEL C. VILLARRIAL                      VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.37904 MANUEL C. VILLARRIAL                      VARIOUS                              Wildfire               UNDETERMINED
        CHRISTOPHER C.                                                                 Litigation
        SIEGLOCKRACHEL                  ACCOUNT NO.: NOT AVAILABLE
        SIEGLOCKKRISTEN REANO
        SIEGLOCK LAW, APC
        1121 CAMINO DEL MAR
        DEL MAR, CA 92014


3.37905 MANUEL CHAVIRA ARELLANO                   VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401




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Including Zip Code                                   Account Number                            Claim

Wildfire Claims

3.37906 Manuel Chavira Arellano                         VARIOUS                              Wildfire               UNDETERMINED
        Mikal C. Watts (Pro Hae Vice                                                         Litigation
        application anticipated)Guy           ACCOUNT NO.: NOT AVAILABLE
        Watts, II (Pro Hae Vice application
        anticipated)Ryan L. Thompson
        (Cal. State Bar No. 296841)Paige
        Boldt (Cal. State Bar No. 308772)
        Watts Guerra LLP
        811 Barton Springs Rd., Ste. 725
        Austin, Texas 78704


3.37907 MANUEL FAIRAS-KNOWLES                           VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                           Litigation
        100077ALISON E. CORDOVA,              ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.37908 MANUEL FAIRAS-KNOWLES                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                       Litigation
        71460KHALDOUN A. BAGHDADI             ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.37909 MANUEL FAIRAS-KNOWLES                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                                    Litigation
        DREYER BABICH BUCCOLA                 ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.37910 MANUEL FAIRAS-KNOWLES                           VARIOUS                              Wildfire               UNDETERMINED
        TODD B. BECKERBRIAN E.                                                               Litigation
        SHEARJASON BOYER                      ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105


3.37911 MANUEL FAIRAS-KNOWLES                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                     Litigation
        WALKUP, MELODIA, KELLY &              ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Wildfire Claims

3.37912 MANUEL J. FERNANDES                       VARIOUS                              Wildfire               UNDETERMINED
        SOMERS                                                                         Litigation
        STEVEN M. CAMPORA               ACCOUNT NO.: NOT AVAILABLE
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.37913 MANUEL J. FERNANDES                       VARIOUS                              Wildfire               UNDETERMINED
        SOMERS                                                                         Litigation
        MICHAEL A. KELLY                ACCOUNT NO.: NOT AVAILABLE
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.37914 MANUEL J. FERNANDES                       VARIOUS                              Wildfire               UNDETERMINED
        SOMERS                                                                         Litigation
        PATRICK MCNICHOLAS, ABN         ACCOUNT NO.: NOT AVAILABLE
        125868JUSTIN J. EBALLAR,
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.37915 MANUEL J. FERNANDES                       VARIOUS                              Wildfire               UNDETERMINED
        SOMERS                                                                         Litigation
        GERALD SINGLETONTERRY           ACCOUNT NO.: NOT AVAILABLE
        SINGLETONERIKA L.
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.37916 MANUEL J. FERNANDES                       VARIOUS                              Wildfire               UNDETERMINED
        SOMERS                                                                         Litigation
        JOHN F. MCGUIRE, APCJ.          ACCOUNT NO.: NOT AVAILABLE
        DOMENIC MARTINI
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103


3.37917 MANUEL J. PALMARIN                        VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.37918 MANUEL J. PALMARIN                        VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.37919 MANUEL J. PALMARIN                        VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.37920 MANUEL J. PALMARIN                        VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.37921 MANUEL J. PALMARIN                        VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                         Litigation
        DOMENIC MARTINI                 ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103


3.37922 MANUEL MERJIL                             VARIOUS                              Wildfire               UNDETERMINED
        ELIZABETH J.                                                                   Litigation
        CABRASERROBERT J.               ACCOUNT NO.: NOT AVAILABLE
        NELSON LEXI J. HAZAM

       FABRICE N. VINCENTANNIKA
       K. MARTINABBY R. WOLF
       LIEFF CABRASER HEIMANN &
       BERNSTEIN, LLP
       275 BATTERY STREET, 29TH
       FLOOR
       SAN FRANCISCO, CA 94111-3339


3.37923 MANUEL PENNA                              VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.37924 MANUEL PENNA                              VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.37925 MANUEL PENNA                              VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.37926 MANUEL PENNA                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.37927 MANUEL PENNA                              VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.37928 MANUEL SOUZA                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.37929 MANUEL SOUZA                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.37930 MANUEL SOUZA                              VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.37931 MANUEL SOUZA                              VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.37932 MANUEL VIEYRA                             VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                               Litigation
        ABRAHAM, WATKINS, NICHOLS,      ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.37933 MANUEL VIEYRA                             VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.37934 MANUTO, JOHN                              VARIOUS                              Wildfire               UNDETERMINED
        12118 NORTH AVE.                                                               Litigation
        LOMA RICA, CA 95901             ACCOUNT NO.: NOT AVAILABLE


3.37935 MAPFRE INSURANCE COMPANY                  VARIOUS                              Wildfire               UNDETERMINED
        HOWARD D. MAYCON                                                               Litigation
        COZEN O'CONNOR                  ACCOUNT NO.: NOT AVAILABLE
        601 S. FIGUEROA STREET,
        SUITE 3700
        LOS ANGELES, CA 90017




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.37936 MAPFRE INSURANCE COMPANY                  VARIOUS                              Wildfire               UNDETERMINED
        KEVIN D. BUSHTHOMAS M.                                                         Litigation
        REGANDAVID D. BRISCO            ACCOUNT NO.: NOT AVAILABLE
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101


3.37937 MAPFRE INSURANCE COMPANY                  VARIOUS                              Wildfire               UNDETERMINED
        ALAN J. JANG SALLY NOMA                                                        Litigation
        JANG & ASSOCIATES LLP           ACCOUNT NO.: NOT AVAILABLE
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.37938 MAPLES, EDELINA                           VARIOUS                              Wildfire               UNDETERMINED
        125 VALLEY OAKS DR                                                             Litigation
        SANTA ROSA, CA 95409            ACCOUNT NO.: NOT AVAILABLE


3.37939 MARASIGAN, SANDRA                         VARIOUS                              Wildfire               UNDETERMINED
        200 DORENE WAY                                                                 Litigation
        SONOMA, CA 95476                ACCOUNT NO.: NOT AVAILABLE


3.37940 MARBURY, KIMBERLY                         VARIOUS                              Wildfire               UNDETERMINED
        384 MARK WEST COMMONS CIR                                                      Litigation
        SANTA ROSA, CA 95403            ACCOUNT NO.: NOT AVAILABLE


3.37941 MARC BELON                                VARIOUS                              Wildfire               UNDETERMINED
        RICHARD K. BRIDGFORD,                                                          Litigation
        ESQ.MICHAEL H. ARTINIAN,        ACCOUNT NO.: NOT AVAILABLE
        ESQ.
        BRIDGFORD, GLEASON &
        ARTINIAN
        3558 ROUND BARN BLVD.,
        SUITE 215
        SANTA ROSA, CA 95403


3.37942 MARC BELON                                VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZ, ESQ.PHILIP                                                    Litigation
        C. AMAN, ESQ.WILLIAM P.         ACCOUNT NO.: NOT AVAILABLE
        HARRIS III, ESQ.M. REGINA
        BAGDASARIAN, ESQ.GEORGE
        T. STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.37943 MARC BELON                                VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                       Litigation
        J. EBALLAR                      ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        3558 ROUND BARN BLVD.,
        SUITE 215
        SANTA ROSA, CA 95403


3.37944 MARC C. OWENS                             VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS III (SBN                                                           Litigation
        296101)ROBERT T. BRYSON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.37945 MARC D TAYLOR                             VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.37946 MARC D TAYLOR                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.37947 MARC D TAYLOR                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.37948 MARC D TAYLOR                             VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.37949 MARC D TAYLOR                             VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.37950 MARC KOTHGASSNER                          VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.37951 MARC KOTHGASSNER                          VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                               Litigation
        ABRAHAM, WATKINS, NICHOLS,      ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.37952 MARC MANZELLA                             VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.37953 MARC MANZELLA                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.37954 MARC MANZELLA                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.37955 MARC MANZELLA                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.37956 MARC MATTOX                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.37957 MARC MATTOX                               VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                       Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.37958 MARC MATTOX                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAEL S. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.37959 MARC MATTOX                               VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR., SBN                                                       Litigation
        60768ANGELA JAE CHUN, SBN       ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCA VILLA BLATT &
        PENFIELD, LLP
        110 LAUREL STREET
        SAN DIEGO, CA 92101




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Including Zip Code                                 Account Number                            Claim

Wildfire Claims

3.37960 MARC SCHWAGER                                 VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                           Litigation
        NO. 197687)                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX,
        P.C.
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.37961 Marc Schwager                                 VARIOUS                              Wildfire               UNDETERMINED
        Mikal C. Watts (Pro Hae Vice                                                       Litigation
        application anticipated)Guy Watts   ACCOUNT NO.: NOT AVAILABLE
        (Pro Hae Vice application
        anticipated)Ryan L. Thompson
        (Cal. State Bar No. 296841)Paige
        Boldt (Cal. State Bar No. 308772)
        Watts Guerra LLP
        Watts Guerra LLP
        811 Barton Springs Rd., Ste. 725
        Austin, Texas 78704


3.37962 MARCARIAN, MARK                               VARIOUS                              Wildfire               UNDETERMINED
        5061 DUPONT CT W                                                                   Litigation
        SANTA ROSA, CA 95409                ACCOUNT NO.: NOT AVAILABLE


3.37963 MARCEL BURNS                                  VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                         Litigation
        111359KRISTINE K.                   ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.37964 MARCEL BURNS                                  VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                               Litigation
        178658DYLAN HUGHES- BAR             ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.37965 MARCEL BURNS                                  VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                           Litigation
        A. BAGHDADI                         ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.37966 MARCEL BURNS                              VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.37967 MARCEL MACIAS                             VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.37968 MARCEL MACIAS                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.37969 MARCEL MACIAS                             VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.37970 MARCEL MACIAS                             VARIOUS                              Wildfire               UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                     Litigation
        ZUMMERAMANDA J.                 ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.37971 MARCEL ORBEA                              VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                    Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES- BAR NO.
       209113
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.37972 MARCEL ORBEA                              VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782 AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669


3.37973 MARCEL ORBEA                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.37974 MARCEL ORBEA                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359 KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065


3.37975 MARCELLA VELASQUEZ                        VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.37976 MARCELLA VELASQUEZ                        VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                   Litigation
        ERIC RATINOFF LAW CORP.         ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.37977 MARCELLA VELASQUEZ                        VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.37978 MARCELLA VELASQUEZ                        VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                    Litigation
         REINER, SLAUGHTER &            ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.37979 MARCELLA WILSON                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.37980 MARCELLA WILSON                           VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228BRETT R. PARKINSON,      ACCOUNT NO.: NOT AVAILABLE
        ESQ., #230150
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.37981 MARCELLA WILSON                           VARIOUS                              Wildfire               UNDETERMINED
        BONNIE E. KANE, ESQ., SBN:                                                     Litigation
        167700STEVEN S. KANE, ESQ.,     ACCOUNT NO.: NOT AVAILABLE
        SBN: 061670
        THE KANE LAW FIRM
        402 W. BROADWAY, SUITE 2500
        SAN DIEGO, CA 92101




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.37982 MARCELLA WILSON                           VARIOUS                              Wildfire               UNDETERMINED
        C. BROOKS CUTTER, SBN                                                          Litigation
        121407JOHN G. ROUSSAS,          ACCOUNT NO.: NOT AVAILABLE
        SBN 227325MATTHEW M.
        BREINING, SBN 306788
        CUTTER LAW P.C.
        401 WATT AVENUE

       SACRAMENTO, CA 95864


3.37983 MARCIA D BLANKENCHIP                      VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.37984 MARCIA D BLANKENCHIP                      VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.37985 MARCIA D BLANKENCHIP                      VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.37986 MARCIA D BLANKENCHIP                      VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.37987 MARCIA D BLANKENCHIP                      VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.37988 MARCIA DUNCAN                             VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.37989 MARCIA DUNCAN                             VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSON PAIGE                                                         Litigation
        BOLDT                           ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.37990 MARCIA DUNCAN                             VARIOUS                              Wildfire               UNDETERMINED
        ROY MILLER                                                                     Litigation
        HANSEN & MILLER LAW FIRM        ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.37991 MARCIA HUNTLEY                            VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN B. MURRAY,                                                             Litigation
        SR.JESSICA HAYES                ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.37992 MARCIA HUNTLEY                            VARIOUS                              Wildfire               UNDETERMINED
        ALEXANDER M.                                                                   Litigation
        SCHACKNATASHA N. SERINO         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.37993 MARCIA HUNTLEY                            VARIOUS                              Wildfire               UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                        Litigation
        WEAVER                          ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448




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Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.37994 MARCIA PHILLIPS                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                          Litigation
        111359 KRISTINE K.                   ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

        SHAWN R. MILLER- BAR NO.
        238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.37995 Marcia Phillips                                VARIOUS                              Wildfire               UNDETERMINED
        Dario De Ghetaldi - Bar No. 126782                                                  Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        Amanda L. Riddle - Bar No. 215221

        Steven M. Berki - Bar No. 245426

        Clare Capaccioli Velasquez - Bar
        No. 290466
        Corey, Luzaich, De Ghetaldi &
        Riddle LLP
        700 El Camino RealP.O. Box 669
        Millbrae, CA 94030-0669


3.37996 MARCIA PHILLIPS                                VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                         Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        DYLAN HUGHES - BAR NO.
        209113 STEVEN A. LOPEZ -
        BAR NO. 300540
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.37997 MARCIA WILSON                                  VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                            Litigation
        A. BAGHDADI                          ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.37998 MARCIA WILSON                                  VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                            Litigation
        TOSDAL LAW FIRM                      ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.37999 MARCIA WILSON                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAELS. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.38000 MARCIA WILSON                             VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR.,SBN                                                        Litigation
        60768ANGELA JAE CHUN, SBN       ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCAVILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101


3.38001 MARCO ANTONIO ROBLES                      VARIOUS                              Wildfire               UNDETERMINED
        RODRIGUEZ                                                                      Litigation
        JOHN COX (CAL. STATE BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 197687)
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.38002 MARCO ANTONIO ROBLES                      VARIOUS                              Wildfire               UNDETERMINED
        RODRIGUEZ                                                                      Litigation
        RYAN L. THOMPSON (CAL.          ACCOUNT NO.: NOT AVAILABLE
        STATE BAR NO. 296841)PAIGE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.38003 MARCO LOPEZ                               VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                       Litigation
        J. EBALLAR                      ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38004 MARCO LOPEZ                               VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.38005 MARCOS GUERRERO                           VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC VICE                                                      Litigation
        PENDING)JOHN P. FISKE           ACCOUNT NO.: NOT AVAILABLE
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.38006 MARCOS GUERRERO                           VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONERIKA L.                                                       Litigation
        VASQUEZ AMANDA LOCURTO          ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.38007 MARCOS GUERRERO                           VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIABDEBORAH S.                                                        Litigation
        DIXONROBERT J. CHAMBERS II      ACCOUNT NO.: NOT AVAILABLE
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.38008 MARCOS GUERRERO                           VARIOUS                              Wildfire               UNDETERMINED
        NATASHA SERINO                                                                 Litigation
        LAW OFFICES OF ALEXANDER        ACCOUNT NO.: NOT AVAILABLE
        M. SCHACK
        16870 WEST BERNARDO, STE
        400,
        SAN DIEGO, CA 92127


3.38009 MARCOS GUERRERO                           VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       IAN C. FUSSELMAN,
       ESQ.BRETT. J. SCHREIBER,
       ESQ.
       THORSNES BARTOLOTTA
       MCGUIRE LLP
       2550 FIFTH A VENUE, 11TH
       FLOOR
       SAN DIEGO, CALIFORNIA 92103




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38010 MARCOS GUERRERO                           VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ.                                                          Litigation
        TERRY SINGLETON, A.P.C.         ACCOUNT NO.: NOT AVAILABLE
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.38011 MARCOS SANDOVAL                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38012 MARCOS SANDOVAL                           VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.38013 MARCOS SANDOVAL                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.38014 MARCOS SANDOVAL                           VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.38015 MARCOS SANDOVAL                           VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.38016 MARCUS BUCHANAN                           VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                               Litigation
        ABRAHAM, WATKINS, NICHOLS,      ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38017 MARCUS BUCHANAN                           VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.38018 MARCUS K. MAXWELL                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38019 MARCUS K. MAXWELL                         VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                         Litigation
        DOMENIC MARTINI                 ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103


3.38020 MARCUS K. MAXWELL                         VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.38021 MARCUS K. MAXWELL                         VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.38022 MARCUS K. MAXWELL                         VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38023 MARCUS LITTLEJOHN                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38024 MARCUS LITTLEJOHN                         VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA (SBN                                                         Litigation
        110909)                         ACCOUNT NO.: NOT AVAILABLE
        DREYER BABICHBUCCOLA
        WOODCAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.38025 MARCUS LITTLEJOHN                         VARIOUS                              Wildfire               UNDETERMINED
        CHRLSTOPHER C. SIEGLOCK                                                        Litigation
        (BAR NO. 295951) RACHEL         ACCOUNT NO.: NOT AVAILABLE
        SIEGLOCK (BAR NO. 299761)

       KRISTEN REANO(BAR
       NO.321795)
       SIEGLOCK LAW, APC
       1221 CAMINO DEL MAR
       DEL MAR, CA 92014


3.38026 MARCUS LITTLEJOHN                         VARIOUS                              Wildfire               UNDETERMINED
        DAVE FOX (BAR                                                                  Litigation
        NO.254651)JOANNA LEE FOX        ACCOUNT NO.: NOT AVAILABLE
        (BAR NO. 212593)COURTNEY
        VASQUEZ (BAR NO. 267081)
        FOX LAW, APC
        125 W. PLAZA STREET, SUITE
        102
        SOLANA BEACH, CA 92075


3.38027 MARCUS MONIZ                              VARIOUS                              Wildfire               UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                        Litigation
        WEAVER                          ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.38028 MARCUS MONIZ                              VARIOUS                              Wildfire               UNDETERMINED
        ALEXANDER M.                                                                   Litigation
        SCHACKNATASHA N. SERINO         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38029 MARCUS MONIZ                              VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN B. MURRAY,                                                             Litigation
        SR.JESSICA HAYES                ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.38030 MARCUS R. MEYERS                          VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.38031 MARCUS R. MEYERS                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38032 MARCUS R. MEYERS                          VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.38033 MARCUS R. MEYERS                          VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.38034 MARCUS R. MEYERS                          VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                         Litigation
        DOMENIC MARTINI                 ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38035 MARCUS T. WORTHINGTON                     VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.38036 MARCUS T. WORTHINGTON                     VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                         Litigation
        DOMENIC MARTINI                 ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103


3.38037 MARCUS T. WORTHINGTON                     VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38038 MARCUS T. WORTHINGTON                     VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.38039 MARCUS T. WORTHINGTON                     VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.38040 MARCUS WARFORD                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.38041 MARCUS WARFORD                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38042 MARCUS WARFORD                            VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.38043 MARCUS WARFORD                            VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.38044 MARCUS WARFORD                            VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.38045 MARCUSSEN, DELLA                          VARIOUS                              Wildfire               UNDETERMINED
        DANIEL G. WHALEN                                                               Litigation
        ENGSTROM LIPSCOMB & LACK        ACCOUNT NO.: NOT AVAILABLE
        10100 SANTA MONICA BLVD.,
        12TH FLOOR
        LOS ANGELES, CA 90067


3.38046 MARCUSSEN, LANCE ROZIER                   VARIOUS                              Wildfire               UNDETERMINED
        ELLIOT ADLERBRITTANY                                                           Litigation
        ZUMMER                          ACCOUNT NO.: NOT AVAILABLE
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.38047 MARCUSSEN, LANCE ROZIER           VARIOUS                                      Wildfire               UNDETERMINED
        CO-COUNSELDEMETRIOS A.                                                         Litigation
        SPARACINO                 ACCOUNT NO.: NOT AVAILABLE
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38048 MARCUSSEN, LANCE ROZIER                   VARIOUS                              Wildfire               UNDETERMINED
        GERARD SINGLETONERIKA L.                                                       Litigation
        VASQUEZAMANDA LOCUTRO           ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.38049 MARCY CARSTEN                             VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                          Litigation
        208783)ERIKA L. VASQUEZ         ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.38050 MARCY CARSTEN                             VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                           Litigation
        VICEPENDING)JOHN P. FISKE       ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.38051 MARCY CARSTEN                             VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                     Litigation
        583 I 6)                        ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.38052 MARCY CARSTEN                             VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                             Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.38053 MARCY CARSTEN                             VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
        (SBN 69176)IAN C.               ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38054 MARGARET BECKER                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38055 MARGARET BECKER                           VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                   Litigation
        ERIC RATINOFF LAW CORP.         ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.38056 MARGARET BECKER                           VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.38057 MARGARET BECKER                           VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                    Litigation
         REINER, SLAUGHTER &            ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.38058 MARGARET C. DIFFLEY                       VARIOUS                              Wildfire               UNDETERMINED
        THE ARNS LAW FIRM                                                              Litigation
        ROBERT S. ARNS                  ACCOUNT NO.: NOT AVAILABLE
        515 FOLSOM STREET, THIRD
        FLOOR
        SAN FRANCISCO, CA 94105


3.38059 MARGARET C. DIFFLEY                       VARIOUS                              Wildfire               UNDETERMINED
        THOMAS J. BRANDITERENCE                                                        Litigation
        D. EDWARDSJASON B.              ACCOUNT NO.: NOT AVAILABLE
        FRIEDMAN
        THE BRANDI LAW FIRM
        354 PINE STREET, THIRD FLOOR
        SAN FRANCISCO, CALIFORNIA
        94104




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38060 MARGARET DUMAS                            VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.38061 MARGARET DUMAS                            VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                               Litigation
        ABRAHAM, WATKINS, NICHOLS,      ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.38062 MARGARET DUPREE                           VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.38063 MARGARET DUPREE                           VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                    Litigation
         REINER, SLAUGHTER &            ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.38064 MARGARET DUPREE                           VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                   Litigation
        ERIC RATINOFF LAW CORP.         ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.38065 MARGARET DUPREE                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38066 MARGARET DUQUETTE                         VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                       Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.38067 MARGARET DUQUETTE                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAEL S. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.38068 MARGARET DUQUETTE                         VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR., SBN                                                       Litigation
        60768ANGELA JAE CHUN, SBN       ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCA VILLA BLATT &
        PENFIELD, LLP
        110 LAUREL STREET
        SAN DIEGO, CA 92101


3.38069 MARGARET DUQUETTE                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38070 MARGARET ESTRADA                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.38071 MARGARET ESTRADA                          VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38072 MARGARET ESTRADA                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38073 MARGARET ESTRADA                          VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.38074 MARGARET FRANCES                          VARIOUS                              Wildfire               UNDETERMINED
        YAMAMOTO                                                                       Litigation
        RYAN L. THOMPSON (CAL.          ACCOUNT NO.: NOT AVAILABLE
        STATE BAR NO. 296841)PAIGE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.38075 MARGARET FRANCES                          VARIOUS                              Wildfire               UNDETERMINED
        YAMAMOTO                                                                       Litigation
        JOHN COX (CAL. STATE BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 197687)
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.38076 MARGARET JEAN BARSTOW                     VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38077 MARGARET JEAN BARSTOW                     VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.38078 MARGARET JEAN BARSTOW                     VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.38079 MARGARET JEAN BARSTOW                     VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.38080 MARGARET K. MILES                         VARIOUS                              Wildfire               UNDETERMINED
        ALEXANDER M.                                                                   Litigation
        SCHACKNATASHA N. SERINO         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.38081 MARGARET K. MILES                         VARIOUS                              Wildfire               UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                        Litigation
        WEAVER                          ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38082 MARGARET K. MILES                         VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN B. MURRAY,                                                             Litigation
        SR.JESSICA HAYES                ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.38083 MARGARET L MILLS                          VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.38084 MARGARET L MILLS                          VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.38085 MARGARET L MILLS                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38086 MARGARET L MILLS                          VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.38087 MARGARET L MILLS                          VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928




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Including Zip Code                               Account Number                            Claim

Wildfire Claims

3.38088 MARGARET MACDONALD                          VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                     Litigation
        APPLICATION                       ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.38089 MARGARET MACDONALD                          VARIOUS                              Wildfire               UNDETERMINED
        RAFEY S. BALABANIAN (SBN                                                         Litigation
        315962)TODD LOGAN (SBN            ACCOUNT NO.: NOT AVAILABLE
        305912)J. AARON LAWSON
        (SBN 319306)LILY HOUGH (SBN
        315277)
        EDELSON PC
        123 TOWNSEND STREET, SUITE
        100
        SAN FRANCISCO, CALIFORNIA
        94107


3.38090 MARGARET MACDONALD                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                         Litigation
        A. BAGHDADI                       ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38091 Margaret Macdonald                          VARIOUS                              Wildfire               UNDETERMINED
        Elizabeth J. Cabraser (SBN                                                       Litigation
        083151)Robert J. Nelson (SBN      ACCOUNT NO.: NOT AVAILABLE
        132797)Lexi J. Hazam (SBN
        224457)Fabrice N. Vincent (SBN
        160780)Abby R. Wolf (SBN
        313049)Evan J. Ballan (SBN
        318649)
        Lieff Cabraser Heimann &
        Bernstein, LLP
        275 Battery Street, 29th Floor
        San Francisco, California 94111


3.38092 MARGARET MCGAFFIGAN                         VARIOUS                              Wildfire               UNDETERMINED
        JOHN N. DEMAS                                                                    Litigation
        DEMAS LAW GROUP, P.C.             ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38093 MARGARET MCGAFFIGAN                       VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON BRETT                                                        Litigation
        R. PARKINSONDANIEL E.           ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.38094 MARGARET MCGAFFIGAN                       VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFFCOELL M.                                                          Litigation
        SIMMONS                         ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864


3.38095 MARGARET MCGAFFIGAN                       VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. FRIEDEMANN                                                             Litigation
        FRIEDEMANN GOLDBERG LLP         ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.38096 MARGARET MCMAHON                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38097 MARGARET MCMAHON                          VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                   Litigation
        ERIC RATINOFF LAW CORP.         ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.38098 MARGARET MCMAHON                          VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.38099 MARGARET MCMAHON                          VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                    Litigation
         REINER, SLAUGHTER &            ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38100 MARGARET MUTO                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.38101 MARGARET MUTO                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38102 MARGARET MUTO                             VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.38103 MARGARET MUTO                             VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.38104 MARGARET MUTO                             VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.38105 MARGARET O'MEARA                          VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38106 MARGARET O'MEARA                          VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                         Litigation
        STATE BAR NO. 296841)PAIGE      ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.38107 MARGARET RODGERS                          VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.38108 MARGARET RODGERS                          VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.38109 MARGARET RODGERS                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38110 MARGARET RODGERS                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38111 MARGARET S. LA ROCHELLE                   VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG                                                            Litigation
        MICHAEL S. FEINBERG, APLC       ACCOUNT NO.: NOT AVAILABLE
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.38112 MARGARET S. LA ROCHELLE                   VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL                                                                  Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.38113 MARGARET S. LA ROCHELLE                   VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR., SBN                                                       Litigation
        60768GAYLE M. BLATT, SBN        ACCOUNT NO.: NOT AVAILABLE
        122048ANGELA JAE CHUN,
        SBN 248571
        CASEY GERRY SCHENK
        FRANKCA VILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101


3.38114 MARGARET STANIEK                          VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONERIKA L.                                                       Litigation
        VASQUEZ AMANDA LOCURTO          ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.38115 MARGARET STANIEK                          VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC VICE                                                      Litigation
        PENDING)JOHN P. FISKE           ACCOUNT NO.: NOT AVAILABLE
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.38116 MARGARET STANIEK                          VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       IAN C. FUSSELMAN,
       ESQ.BRETT. J. SCHREIBER,
       ESQ.
       THORSNES BARTOLOTTA
       MCGUIRE LLP
       2550 FIFTH A VENUE, 11TH
       FLOOR
       SAN DIEGO, CALIFORNIA 92103




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38117 MARGARET STANIEK                          VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIABDEBORAH S.                                                        Litigation
        DIXONROBERT J. CHAMBERS II      ACCOUNT NO.: NOT AVAILABLE
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.38118 MARGARET STANIEK                          VARIOUS                              Wildfire               UNDETERMINED
        NATASHA SERINO                                                                 Litigation
        LAW OFFICES OF ALEXANDER        ACCOUNT NO.: NOT AVAILABLE
        M. SCHACK
        16870 WEST BERNARDO, STE
        400,
        SAN DIEGO, CA 92127


3.38119 MARGARET STANIEK                          VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ.                                                          Litigation
        TERRY SINGLETON, A.P.C.         ACCOUNT NO.: NOT AVAILABLE
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.38120 MARGARETE WHITAKER                        VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38121 MARGARETE WHITAKER                        VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.38122 MARGARETE WHITAKER                        VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38123 MARGARETE WHITAKER                        VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.38124 MARGARITA ARACELI MONTES                  VARIOUS                              Wildfire               UNDETERMINED
        HERNANDEZ                                                                      Litigation
        RYAN L. THOMPSONPAIGE           ACCOUNT NO.: NOT AVAILABLE
        BOLDT
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.38125 MARGARITA ARACELI MONTES                  VARIOUS                              Wildfire               UNDETERMINED
        HERNANDEZ                                                                      Litigation
        ROY MILLER                      ACCOUNT NO.: NOT AVAILABLE
        HANSEN AND MILLER LAW FINN
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.38126 MARGARITA ARACELI MONTES                  VARIOUS                              Wildfire               UNDETERMINED
        HERNANDEZ                                                                      Litigation
        JOHN COX                        ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.38127 MARGARITA LLAMAS                          VARIOUS                              Wildfire               UNDETERMINED
        DOUGLAS BOXER (CAL. STATE                                                      Litigation
        BAR NO. 154226)                 ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICE OF DOUGLAS
        BOXER
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38128 MARGARITA LLAMAS                          VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.38129 MARGARITA LLAMAS                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38130 MARGARITA LLAMAS                          VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.38131 MARGARITIA MAI BAGORIO                    VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38132 MARGARITIA MAI BAGORIO                    VARIOUS                              Wildfire               UNDETERMINED
        BRIAN R. STRANGE, ESQ.                                                         Litigation
        (STATE BAR #103252)BRIANNA      ACCOUNT NO.: NOT AVAILABLE
        STRANGE, ESQ. (STATE BAR
        #321882
        STRANGE & BUTLER
        12100 WILSHIRE BOULEVARD,
        SUITE 1900
        LOS ANGELES, CA 90025


3.38133 MARGARITIA MAI BAGORIO                    VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.38134 MARGARITIA MAI BAGORIO                         VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                        Litigation
        BAR #1999994) (PRO HAE VICE          ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.38135 Margaritia Mai Bagorio                         VARIOUS                              Wildfire               UNDETERMINED
        Ronald L.M. Goldman, Esq. (State                                                    Litigation
        Bar #33422) Diane Marger Moore,      ACCOUNT NO.: NOT AVAILABLE
        Esq. (Fla. Bar #268364) (Pro Hae

        Vice Application Pending)
        Baum Hedlund Aristei & Goldman,
        P.C.
        10940 Wilshire Boulevard., 17th
        Floor
        Los Angeles, California 90024


3.38136 Margarito Gordillo                             VARIOUS                              Wildfire               UNDETERMINED
        Dario De Ghetaldi - Bar No. 126782                                                  Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        Amanda L. Riddle - Bar No. 215221

        Steven M. Berki - Bar No. 245426

        Sumble Manzoor- Bar No. 301704
        Corey, Luzaich, De Ghetaldi &
        Riddle LLP
        700 El Camino RealP.O. Box 669
        Millbrae, CA 94030-0669


3.38137 MARGARITO GORDILLO                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                         Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        DYLAN HUGHES - BAR NO.
        209113 STEVEN A. LOPEZ -
        BAR NO. 300540
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.38138 MARGARITO GORDILLO                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                          Litigation
        111359 KRISTINE K.                   ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

        SHAWN R. MILLER- BAR NO.
        238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065



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Including Zip Code                                Account Number                            Claim

Wildfire Claims

3.38139 MARGERY MARSCHINKE,                          VARIOUS                              Wildfire               UNDETERMINED
        INDIVIDUALLY AND ON BEHALF                                                        Litigation
        OF THE ESTATE OF GEORGE            ACCOUNT NO.: NOT AVAILABLE
        MICHAEL POUNDS
        MICHAEL A. KELLY
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38140 Margery Marschinke, individually             VARIOUS                              Wildfire               UNDETERMINED
        and on behalf of the estate of                                                    Litigation
        George Michael Pounds              ACCOUNT NO.: NOT AVAILABLE
        Elizabeth J. Cabraser (Sbn
        083151)Lexi J. Hazam (Sbn
        224457)Abby R. Wolf(Sbn
        313049)
        Lieff Cabraser Heimann &
        Bernstein, LLP
        275 Battery Street, 29Th Floor
        San Francisco, California 94111


3.38141 MARGERY MARSCHINKE,                          VARIOUS                              Wildfire               UNDETERMINED
        INDIVIDUALLY AND ON BEHALF                                                        Litigation
        OF THE ESTATE OF GEORGE            ACCOUNT NO.: NOT AVAILABLE
        MICHAEL POUNDS
        STEVEN M. CAMPORA
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.38142 Margery Marschinke, individually             VARIOUS                              Wildfire               UNDETERMINED
        and on behalf of the estate of                                                    Litigation
        George Michael Pounds              ACCOUNT NO.: NOT AVAILABLE
        Rafey S. Balabanian (Sbn
        315962)Todd Logan (Sbn
        305912)J. Aaron Lawson (Sbn
        319306)Lily Hough (Sbn
        315277)Brandt Silver-Korn (Sbn
        323530)
        Edelson PC
        123 Townsend Street, Suite 100
        San Francisco, California 94107


3.38143 MARGERY MARSCHINKE,                          VARIOUS                              Wildfire               UNDETERMINED
        INDIVIDUALLY AND ON BEHALF                                                        Litigation
        OF THE ESTATE OF GEORGE            ACCOUNT NO.: NOT AVAILABLE
        MICHAEL POUNDS
        CATHERINE LOMBARDO (SBN #
        160461)
        THE LOMBARDO LAW FIRM
        433 W ARROW HIGHWAY
        CLAREMONT, CA 9171



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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38144 MARGOT JACOBS                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359 KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065


3.38145 MARGOT JACOBS                             VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782 AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669


3.38146 MARGOT JACOBS                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                    Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.38147 MARGOT VAN AUKEN                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38148 MARGOT VAN AUKEN                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065



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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.38149 MARGOT VAN AUKEN                           VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                            Litigation
        178658DYLAN HUGHES- BAR          ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.38150 MARGOT VAN AUKEN                           VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                     Litigation
        126782AMANDA L. RIDDLE -         ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.38151 MARGUERITE SHEFFLER                        VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38152 MARGUERITE SHEFFLER                        VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.38153 MARGUERITE SHEFFLER                        VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.38154 MARGUERITE SHEFFLER                        VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108



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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38155 MARGUERITE SHEFFLER                       VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA, ESQ. /                                                      Litigation
        SBN: 110909ANDREA R.            ACCOUNT NO.: NOT AVAILABLE
        CROWL, ESQ. / SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.38156 MARHENKE, MIKE; HOOKER,                   VARIOUS                              Wildfire               UNDETERMINED
        MICHELE (AS TRUSTEE OF THE                                                     Litigation
        1999 MARHENKE FAMILY            ACCOUNT NO.: NOT AVAILABLE
        TRUST) (MIKE MARHENKE IS
        NOT ON DEMAND)
        ELLIOT ADLERBRITTANY
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.38157 MARHENKE, MIKE; HOOKER,                   VARIOUS                              Wildfire               UNDETERMINED
        MICHELE (AS TRUSTEE OF THE                                                     Litigation
        1999 MARHENKE FAMILY            ACCOUNT NO.: NOT AVAILABLE
        TRUST) (MIKE MARHENKE IS
        NOT ON DEMAND)
        GERARD SINGLETONERIKA L.
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.38158 MARHENKE, MIKE; HOOKER,            VARIOUS                                     Wildfire               UNDETERMINED
        MICHELE (AS TRUSTEE OF THE                                                     Litigation
        1999 MARHENKE FAMILY       ACCOUNT NO.: NOT AVAILABLE
        TRUST) (MIKE MARHENKE IS
        NOT ON DEMAND)
        CO-COUNSELDEMETRIOS A.
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.38159 MARIA BALAZ                               VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS III (SBN                                                           Litigation
        296101)ROBERT T. BRYSON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38160 MARIA BALLESTEROS                         VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                          Litigation
        208783)ERIKA L. VASQUEZ         ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.38161 MARIA BALLESTEROS                         VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                           Litigation
        VICEPENDING)JOHN P. FISKE       ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.38162 MARIA BALLESTEROS                         VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                     Litigation
        583 I 6)                        ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.38163 MARIA BALLESTEROS                         VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                             Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.38164 MARIA BALLESTEROS                         VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
        (SBN 69176)IAN C.               ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.38165 MARIA CARMEN RIVERA GARCIA                VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS III (SBN                                                           Litigation
        296101)ROBERT T. BRYSON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38166 MARIA CAROLINA RAMIREZ                    VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.38167 MARIA CAROLINA RAMIREZ                    VARIOUS                              Wildfire               UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                        Litigation
        WEAVER                          ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.38168 MARIA CAROLINA RAMIREZ                    VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                               Litigation
        ABRAHAM, WATKINS, NICHOLS,      ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.38169 MARIA CAROLINA RAMIREZ                    VARIOUS                              Wildfire               UNDETERMINED
        ALEXANDER M.                                                                   Litigation
        SCHACKNATASHA N. SERINO         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.38170 MARIA CAROLINA RAMIREZ                    VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN B. MURRAY,                                                             Litigation
        SR.JESSICA HAYES                ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.38171 MARIA CUEVAS                              VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN B. MURRAY,                                                             Litigation
        SR.JESSICA HAYES                ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38172 MARIA CUEVAS                              VARIOUS                              Wildfire               UNDETERMINED
        ALEXANDER M.                                                                   Litigation
        SCHACKNATASHA N. SERINO         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.38173 MARIA CUEVAS                              VARIOUS                              Wildfire               UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                        Litigation
        WEAVER                          ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.38174 MARIA ELENA DIAZ DOAK                     VARIOUS                              Wildfire               UNDETERMINED
        BONNIE E. KANE, ESQ., SBN:                                                     Litigation
        167700STEVEN S. KANE, ESQ.,     ACCOUNT NO.: NOT AVAILABLE
        SBN: 061670
        THE KANE LAW FIRM
        402 W. BROADWAY, SUITE 2500
        SAN DIEGO, CA 92101


3.38175 MARIA ELENA DIAZ DOAK                     VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228BRETT R. PARKINSON,      ACCOUNT NO.: NOT AVAILABLE
        ESQ., #230150
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.38176 MARIA ELENA DIAZ DOAK                     VARIOUS                              Wildfire               UNDETERMINED
        ANTHONY R. LAURETI, ESQ.,                                                      Litigation
        SBN: 147086                     ACCOUNT NO.: NOT AVAILABLE
        LAURETI & ASSOCIATES, APC
        402 W. BROADWAY, SUITE 2500
        SAN DIEGO, CA 9210 I


3.38177 MARIA ELENA DIAZ DOAK                     VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38178 MARIA G. DOMINGUEZ                        VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS III (SBN                                                           Litigation
        296101)ROBERT T. BRYSON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.38179 MARIA GAITAN                              VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS IIIROBERT T.                                                       Litigation
        BRYSONKEVIN M. POLLACK          ACCOUNT NO.: NOT AVAILABLE
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.38180 MARIA GAITAN                              VARIOUS                              Wildfire               UNDETERMINED
        DONALD S. EDGAR                                                                Litigation
        EDGAR LAW FIRM                  ACCOUNT NO.: NOT AVAILABLE
        408 COLLEGE AVENUE
        SANTA ROSA, CA 95401


3.38181 MARIA GALLEGOS                            VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS III (SBN                                                           Litigation
        296101)ROBERT T. BRYSON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.38182 MARIA GARCIA DE ORTIZ                     VARIOUS                              Wildfire               UNDETERMINED
        MARY E. ALEXANDER,                                                             Litigation
        ESQJENNIFER L. FIORE, ESQ       ACCOUNT NO.: NOT AVAILABLE
        MARY ALEXANDER &
        ASSOCIATES, P.C.
        44 MONTGOMERY STREET,
        SUITE 1303
        SAN FRANCISCO, CA 94104


3.38183 MARIA GAYTAN                              VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX                                                                       Litigation
        LAW OFFICES OF JOHN COX         ACCOUNT NO.: NOT AVAILABLE
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38184 MARIA GAYTAN                              VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSONPAIGE                                                          Litigation
        BOLDT                           ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.38185 MARIA GAYTAN                              VARIOUS                              Wildfire               UNDETERMINED
        ROY MILLER                                                                     Litigation
        HANSEN & MILLER LAW FIRM        ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.38186 MARIA GOMEZ                               VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.38187 MARIA GOMEZ                               VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                         Litigation
        STATE BAR NO. 296841)PAIGE      ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.38188 MARIA GONZALEZ                            VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS IIIROBERT T.                                                       Litigation
        BRYSONKEVIN M. POLLACK          ACCOUNT NO.: NOT AVAILABLE
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.38189 MARIA GONZALEZ                            VARIOUS                              Wildfire               UNDETERMINED
        DONALD S. EDGAR                                                                Litigation
        EDGAR LAW FIRM                  ACCOUNT NO.: NOT AVAILABLE
        408 COLLEGE AVENUE
        SANTA ROSA, CA 95401


3.38190 MARIA GUADALUPE GUTIERREZ                 VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38191 MARIA GUADALUPE GUTIERREZ                 VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                         Litigation
        STATE BAR NO. 296841)PAIGE      ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.38192 MARIA GUERRERO-FUNES                      VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38193 MARIA GUERRERO-FUNES                      VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.38194 MARIA GUERRERO-FUNES                      VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.38195 MARIA GUERRERO-FUNES                      VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.38196 MARIA GUERRERO-FUNES                      VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38197 MARIA HERNANDEZ                           VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC VICE                                                      Litigation
        PENDING)JOHN P. FISKE           ACCOUNT NO.: NOT AVAILABLE
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.38198 MARIA HERNANDEZ                           VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONERIKA L.                                                       Litigation
        VASQUEZ AMANDA LOCURTO          ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.38199 MARIA HERNANDEZ                           VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ.                                                          Litigation
        TERRY SINGLETON, A.P.C.         ACCOUNT NO.: NOT AVAILABLE
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.38200 MARIA HERNANDEZ                           VARIOUS                              Wildfire               UNDETERMINED
        NATASHA SERINO                                                                 Litigation
        LAW OFFICES OF ALEXANDER        ACCOUNT NO.: NOT AVAILABLE
        M. SCHACK
        16870 WEST BERNARDO, STE
        400,
        SAN DIEGO, CA 92127


3.38201 MARIA HERNANDEZ                           VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIABDEBORAH S.                                                        Litigation
        DIXONROBERT J. CHAMBERS II      ACCOUNT NO.: NOT AVAILABLE
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.38202 MARIA HERNANDEZ                           VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       IAN C. FUSSELMAN,
       ESQ.BRETT. J. SCHREIBER,
       ESQ.
       THORSNES BARTOLOTTA
       MCGUIRE LLP
       2550 FIFTH A VENUE, 11TH
       FLOOR
       SAN DIEGO, CALIFORNIA 92103




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38203 MARIA HOWARD                              VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.38204 MARIA HOWARD                              VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.38205 MARIA HOWARD                              VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.38206 MARIA HOWARD                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38207 MARIA HOWARD                              VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.38208 MARIA LEEPER                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38209 MARIA LEEPER                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.38210 MARIA LEEPER                              VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.38211 MARIA LEEPER                              VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.38212 MARIA LOPEZ                               VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS IIIROBERT T.                                                       Litigation
        BRYSONKEVIN M. POLLACK          ACCOUNT NO.: NOT AVAILABLE
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.38213 MARIA LOPEZ                               VARIOUS                              Wildfire               UNDETERMINED
        DONALD S. EDGAR                                                                Litigation
        EDGAR LAW FIRM                  ACCOUNT NO.: NOT AVAILABLE
        408 COLLEGE AVENUE
        SANTA ROSA, CA 95401


3.38214 MARIA LORANGE                             VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401



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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38215 MARIA LORANGE                             VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                         Litigation
        STATE BAR NO. 296841)PAIGE      ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.38216 MARIA MACARTHUR                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38217 MARIA MACARTHUR                           VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.38218 MARIA MACARTHUR                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.38219 MARIA MACARTHUR                           VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.38220 MARIA MACARTHUR                           VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38221 MARIA MADRUGA                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.38222 MARIA MADRUGA                             VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.38223 MARIA MADRUGA                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38224 MARIA MADRUGA                             VARIOUS                              Wildfire               UNDETERMINED
        BRIAN R. STRANGE, ESQ.                                                         Litigation
        (STATE BAR #103252)BRIANNA      ACCOUNT NO.: NOT AVAILABLE
        STRANGE, ESQ. (STATE BAR
        #321882
        STRANGE & BUTLER
        12100 WILSHIRE BOULEVARD,
        SUITE 1900
        LOS ANGELES, CA 90025


3.38225 MARIA MADRUGA                             VARIOUS                              Wildfire               UNDETERMINED
        RONALD L.M. GOLDMAN, ESQ.                                                      Litigation
        (STATE BAR #33422) DIANE        ACCOUNT NO.: NOT AVAILABLE
        MARGER MOORE, ESQ. (FLA.
        BAR #268364) (PRO HAE VICE
        APPLICATION PENDING)
        BAUM HEDLUND ARISTEI &
        GOLDMAN, P.C.
        10940 WILSHIRE BOULEVARD.,
        17TH FLOOR
        LOS ANGELES, CALIFORNIA
        90024


3.38226 MARIA MULVIHILL                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address              Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.38227 MARIA MULVIHILL                                VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                        Litigation
        APPLICATION                          ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.38228 MARIA MULVIHILL                                VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                          Litigation
        STATE BAR NO. 157400)                ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.38229 MARIA MULVIHILL                                VARIOUS                              Wildfire               UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                          Litigation
        ZUMMERAMANDA J.                      ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.38230 Maria Ortega                                   VARIOUS                              Wildfire               UNDETERMINED
        Dario De Ghetaldi - Bar No. 126782                                                  Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        Amanda L. Riddle - Bar No. 215221

        Steven M. Berki - Bar No. 245426

        Clare Capaccioli Velasquez - Bar
        No. 290466
        Corey, Luzaich, De Ghetaldi &
        Riddle LLP
        700 El Camino RealP.O. Box 669
        Millbrae, CA 94030-0669


3.38231 MARIA ORTEGA                                   VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                          Litigation
        111359 KRISTINE K.                   ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

        SHAWN R. MILLER- BAR NO.
        238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38232 MARIA ORTEGA                              VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                    Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.38233 MARIA ORTIZ GARCIA                        VARIOUS                              Wildfire               UNDETERMINED
        MARY E. ALEXANDER,                                                             Litigation
        ESQJENNIFER L. FIORE, ESQ       ACCOUNT NO.: NOT AVAILABLE
        MARY ALEXANDER &
        ASSOCIATES, P.C.
        44 MONTGOMERY STREET,
        SUITE 1303
        SAN FRANCISCO, CA 94104


3.38234 MARIA ORZCO                               VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                         Litigation
        STATE BAR NO. 296841)PAIGE      ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.38235 MARIA ORZCO                               VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.38236 MARIA PARSONS                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38237 MARIA PARSONS                             VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.38238 MARIA PARSONS                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.38239 MARIA PARSONS                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.38240 MARIA REINA HIXON                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38241 MARIA REINA HIXON                         VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38242 MARIA REINA HIXON                         VARIOUS                              Wildfire               UNDETERMINED
        DOUGLAS BOXER (CAL. STATE                                                      Litigation
        BAR NO. 154226)                 ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICE OF DOUGLAS
        BOXER
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.38243 MARIA REINA HIXON                         VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.38244 MARIA REYNOSO                             VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX                                                                       Litigation
        LAW OFFICES OF JOHN COX         ACCOUNT NO.: NOT AVAILABLE
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.38245 MARIA REYNOSO                             VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSONPAIGE                                                          Litigation
        BOLDT                           ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.38246 MARIA REYNOSO                             VARIOUS                              Wildfire               UNDETERMINED
        ROY MILLER                                                                     Litigation
        HANSEN & MILLER LAW FIRM        ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.38247 MARIA ROJAS ANDRADE                       VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSONPAIGE                                                          Litigation
        BOLDT                           ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.38248 MARIA ROJAS ANDRADE                       VARIOUS                              Wildfire               UNDETERMINED
        ROY MILLER                                                                     Litigation
        HANSEN & MILLER LAW FIRM        ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38249 MARIA ROJAS ANDRADE                       VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX                                                                       Litigation
        LAW OFFICES OF JOHN COX         ACCOUNT NO.: NOT AVAILABLE
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.38250 MARIA SHEPHERD                            VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.38251 MARIA SHEPHERD                            VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                               Litigation
        ABRAHAM, WATKINS, NICHOLS,      ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.38252 MARIA SHERMAN                             VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                           Litigation
        VICEPENDING)JOHN P. FISKE       ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.38253 MARIA SHERMAN                             VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                          Litigation
        208783)ERIKA L. VASQUEZ         ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.38254 MARIA SHERMAN                             VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                             Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38255 MARIA SHERMAN                             VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
        (SBN 69176)IAN C.               ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.38256 MARIA SHERMAN                             VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                     Litigation
        583 I 6)                        ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.38257 MARIA STILES                              VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.38258 MARIA STILES                              VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.38259 MARIA STILES                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38260 MARIA STILES                              VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38261 MARIA STILES                              VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.38262 MARIA VIDRIO                              VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.38263 MARIA VIDRIO                              VARIOUS                              Wildfire               UNDETERMINED
        NOREEN EVANSRYAN L.                                                            Litigation
        THOMPSONPAIGE BOLDT             ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.38264 MARIA VIDRIO                              VARIOUS                              Wildfire               UNDETERMINED
        ROY MILLER                                                                     Litigation
        HANSEN AND MILLER LAW FIRM      ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.38265 MARIA WILLIAMS                            VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                       Litigation
        J. EBALLAR                      ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024


3.38266 MARIA WILLIAMS                            VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38267 MARIAM DUFFY                              VARIOUS                              Wildfire               UNDETERMINED
        DANIEL F. CROWLEY, ESQ. (SBN                                                   Litigation
        130261)                         ACCOUNT NO.: NOT AVAILABLE
        DANIEL CROWLEY &
        ASSOCIATES
        P.O. BOX R
        SAN RAFAEL, CALIFORNIA 94913


3.38268 MARIAM DUFFY                         VARIOUS                                   Wildfire               UNDETERMINED
        ROBERT M. BONE, ESQ. (SBN                                                      Litigation
        181526)                      ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICE OF ROBERT M.
        BONE
        645 FOURTH STREET, SUITE 205
        SANTA ROSA, CALIFORNIA 95401


3.38269 MARIAN HAMANN                             VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                               Litigation
        ABRAHAM, WATKINS, NICHOLS,      ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.38270 MARIAN HAMANN                             VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.38271 MARIAN J. O'DOR                           VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                         Litigation
        DOMENIC MARTINI                 ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103


3.38272 MARIAN J. O'DOR                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38273 MARIAN J. O'DOR                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38274 MARIAN J. O'DOR                           VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.38275 MARIAN J. O'DOR                           VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.38276 MARIAN OWENSBY                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                         Litigation
        DOMENIC MARTINI                 ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103


3.38277 MARIAN OWENSBY                            VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.38278 MARIAN OWENSBY                            VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38279 MARIAN OWENSBY                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.38280 MARIAN OWENSBY                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38281 MARIANNA R. LOVE                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38282 MARIANNA R. LOVE                          VARIOUS                              Wildfire               UNDETERMINED
        RONALD L.M. GOLDMAN, ESQ.                                                      Litigation
        (STATE BAR #33422) DIANE        ACCOUNT NO.: NOT AVAILABLE
        MARGER MOORE, ESQ. (FLA.
        BAR #268364) (PRO HAE VICE
        APPLICATION PENDING)
        BAUM HEDLUND ARISTEI &
        GOLDMAN, P.C.
        10940 WILSHIRE BOULEVARD.,
        17TH FLOOR
        LOS ANGELES, CALIFORNIA
        90024


3.38283 MARIANNA R. LOVE                          VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.38284 MARIANNA R. LOVE                          VARIOUS                              Wildfire               UNDETERMINED
        BRIAN R. STRANGE, ESQ.                                                         Litigation
        (STATE BAR #103252)BRIANNA      ACCOUNT NO.: NOT AVAILABLE
        STRANGE, ESQ. (STATE BAR
        #321882
        STRANGE & BUTLER
        12100 WILSHIRE BOULEVARD,
        SUITE 1900
        LOS ANGELES, CA 90025




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38285 MARIANNA R. LOVE                          VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.38286 MARIANNE CLOONAN                          VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.38287 MARIANNE CLOONAN                          VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                         Litigation
        STATE BAR NO. 296841)PAIGE      ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.38288 MARIANNE GRAY                             VARIOUS                              Wildfire               UNDETERMINED
        THOMAS J. BRANDITERENCE                                                        Litigation
        D. EDWARDSJASON B.              ACCOUNT NO.: NOT AVAILABLE
        FRIEDMAN
        THE BRANDI LAW FIRM
        354 PINE STREET, THIRD FLOOR
        SAN FRANCISCO, CALIFORNIA
        94104


3.38289 MARIANNE GRAY                             VARIOUS                              Wildfire               UNDETERMINED
        THE ARNS LAW FIRM                                                              Litigation
        ROBERT S. ARNS                  ACCOUNT NO.: NOT AVAILABLE
        515 FOLSOM STREET, THIRD
        FLOOR
        SAN FRANCISCO, CA 94105


3.38290 MARIANNE KUUSISTO                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38291 MARIANNE KUUSISTO                         VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA (SBN                                                         Litigation
        110909)                         ACCOUNT NO.: NOT AVAILABLE
        DREYER BABICHBUCCOLA
        WOODCAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.38292 MARIANNE KUUSISTO                         VARIOUS                              Wildfire               UNDETERMINED
        CHRLSTOPHER C. SIEGLOCK                                                        Litigation
        (BAR NO. 295951) RACHEL         ACCOUNT NO.: NOT AVAILABLE
        SIEGLOCK (BAR NO. 299761)

       KRISTEN REANO(BAR
       NO.321795)
       SIEGLOCK LAW, APC
       1221 CAMINO DEL MAR
       DEL MAR, CA 92014


3.38293 MARIANNE KUUSISTO                         VARIOUS                              Wildfire               UNDETERMINED
        DAVE FOX (BAR                                                                  Litigation
        NO.254651)JOANNA LEE FOX        ACCOUNT NO.: NOT AVAILABLE
        (BAR NO. 212593)COURTNEY
        VASQUEZ (BAR NO. 267081)
        FOX LAW, APC
        125 W. PLAZA STREET, SUITE
        102
        SOLANA BEACH, CA 92075


3.38294 MARIANNE SOUZA                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38295 MARIANNE SOUZA                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38296 MARIANNE SOUZA                            VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.38297 MARIANNE SOUZA                            VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.38298 MARIBEL PEREZ LARSON                      VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.38299 MARIBEL PEREZ LARSON                      VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                         Litigation
        STATE BAR NO. 296841)PAIGE      ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.38300 MARIBEL VIRELAS CABRERA                   VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSONPAIGE                                                          Litigation
        BOLDT                           ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.38301 MARIBEL VIRELAS CABRERA                   VARIOUS                              Wildfire               UNDETERMINED
        ROY MILLER                                                                     Litigation
        HANSEN AND MILLER LAW FINN      ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38302 MARIBEL VIRELAS CABRERA                   VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX                                                                       Litigation
        LAW OFFICES OF JOHN COX         ACCOUNT NO.: NOT AVAILABLE
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.38303 MARIBETH FORSYTH                          VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                          Litigation
        208783)ERIKA L. VASQUEZ         ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.38304 MARIBETH FORSYTH                          VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                           Litigation
        VICEPENDING)JOHN P. FISKE       ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.38305 MARIBETH FORSYTH                          VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                             Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.38306 MARIBETH FORSYTH                          VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
        (SBN 69176)IAN C.               ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.38307 MARIBETH FORSYTH                          VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                     Litigation
        583 I 6)                        ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38308 MARIBETH WAEGNER                          VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.38309 MARIBETH WAEGNER                          VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                    Litigation
         REINER, SLAUGHTER &            ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.38310 MARIBETH WAEGNER                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38311 MARIBETH WAEGNER                          VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                   Litigation
        ERIC RATINOFF LAW CORP.         ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.38312 MARICELA ESCUTIA                          VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSONPAIGE                                                          Litigation
        BOLDTMIKAL C. WATTSGUY          ACCOUNT NO.: NOT AVAILABLE
        L. WATTS
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        225
        AUSTIN, TEXAS 78704


3.38313 MARICELA ESCUTIA                          VARIOUS                              Wildfire               UNDETERMINED
        ROY MILLER                                                                     Litigation
        HANSEN & MILLER LAW FIRM        ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.38314 MARICELA ESCUTIA                          VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401



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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38315 MARICELA PANTOJA                          VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.38316 MARICELA PANTOJA                          VARIOUS                              Wildfire               UNDETERMINED
        DOUGLAS BOXER (CAL. STATE                                                      Litigation
        BAR NO. 154226)                 ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICE OF DOUGLAS
        BOXER
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.38317 MARICELA PANTOJA                          VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.38318 MARICELA PANTOJA                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38319 MARICRUZ CARLOS                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.38320 MARICRUZ CARLOS                           VARIOUS                              Wildfire               UNDETERMINED
        PEDRO "PETER" DE LA CERDA,                                                     Litigation
        OF COUNSEL - BAR NO. 249085     ACCOUNT NO.: NOT AVAILABLE
        MATTHEWS & ASSOCIATES
        250 VALLOMBROSA AVE STE.
        266
        CHICO, CA 95926




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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.38321 MARICRUZ CARLOS                            VARIOUS                              Wildfire               UNDETERMINED
        CATHERINE LOMBARDO (SBN #                                                       Litigation
        160461)                          ACCOUNT NO.: NOT AVAILABLE
        THE LOMBARDO LAW FIRM
        433 W ARROW HIGHWAY
        CLAREMONT, CA 9171


3.38322 MARICRUZ CARLOS                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38323 MARICRUZ CARLOS                            VARIOUS                              Wildfire               UNDETERMINED
        ELIZABETH LATIMER (STATE                                                        Litigation
        BAR #304697)                     ACCOUNT NO.: NOT AVAILABLE
        LATIMER AND KENKEL LAW
        OFFICES
        330 WALL STREET, SUITE 20
        CHICO, CA TELEPHONE: (530)
        345-1396 FACSIMILE: (530) 345-
        0439


3.38324 MARIE ABERNATHY                            VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                      Litigation
        STATE BAR NO. 157400)            ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.38325 MARIE ABERNATHY                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                        Litigation
        A. BAGHDADI                      ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38326 MARIE ABERNATHY                            VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                    Litigation
        APPLICATION                      ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38327 MARIE ABERNATHY                           VARIOUS                              Wildfire               UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                     Litigation
        ZUMMERAMANDA J.                 ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.38328 MARIE FICKERT                             VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782 AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669


3.38329 MARIE FICKERT                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                    Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES- BAR NO.
       209113
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.38330 MARIE FICKERT                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38331 MARIE FICKERT                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359 KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38332 MARIE GRAVELLE                            VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                    Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.38333 MARIE GRAVELLE                            VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782 AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669


3.38334 MARIE GRAVELLE                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359 KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065


3.38335 MARIE GUTIERREZ                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38336 MARIE GUTIERREZ                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065



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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38337 MARIE GUTIERREZ                           VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.38338 MARIE GUTIERREZ                           VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.38339 MARIE HALCROW                             VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.38340 MARIE HALCROW                             VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                               Litigation
        ABRAHAM, WATKINS, NICHOLS,      ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.38341 MARIE J WALTER                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38342 MARIE J WALTER                            VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075



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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38343 MARIE J WALTER                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.38344 MARIE J WALTER                            VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.38345 MARIE J WALTER                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.38346 MARIE JANIS                               VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.38347 MARIE JANIS                               VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSON PAIGE                                                         Litigation
        BOLDT                           ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.38348 MARIE JANIS                               VARIOUS                              Wildfire               UNDETERMINED
        ROY MILLER                                                                     Litigation
        HANSEN & MILLER LAW FIRM        ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.38349 MARIE LOPUS                               VARIOUS                              Wildfire               UNDETERMINED
        NOREEN EVANSRYAN L.                                                            Litigation
        THOMPSONPAIGE BOLDT             ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38350 MARIE LOPUS                               VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.38351 MARIE LOPUS                               VARIOUS                              Wildfire               UNDETERMINED
        ROY MILLER                                                                     Litigation
        HANSEN AND MILLER LAW FIRM      ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.38352 MARIE PANZA                               VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                          Litigation
        208783)ERIKA L. VASQUEZ         ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.38353 MARIE PANZA                               VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                           Litigation
        VICEPENDING)JOHN P. FISKE       ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.38354 MARIE PANZA                               VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                     Litigation
        583 I 6)                        ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.38355 MARIE PANZA                               VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
        (SBN 69176)IAN C.               ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38356 MARIE PANZA                               VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                             Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.38357 MARIE THOMPSON                            VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS IIIROBERT T.                                                       Litigation
        BRYSONKEVIN M. POLLACK          ACCOUNT NO.: NOT AVAILABLE
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.38358 MARIE TRUITT                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359 KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065


3.38359 MARIE TRUITT                              VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                    Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.38360 MARIE TRUITT                              VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782 AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669




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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.38361 MARIE VALENZA                              VARIOUS                              Wildfire               UNDETERMINED
        MICHELLE M. LUNDE, SBN                                                          Litigation
        246585                           ACCOUNT NO.: NOT AVAILABLE
        SAVAGE, LAMB & LUNDE, PC
        1550 HUMBOLDT ROAD, SUITE
        CHICO, CA 95928


3.38362 MARIE WEAGEL                               VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.38363 MARIE WEAGEL                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38364 MARIE WEAGEL                               VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.38365 MARIE WEAGEL                               VARIOUS                              Wildfire               UNDETERMINED
        NICHOLAS J.P. WAGNER                                                            Litigation
        #109455LAURA E. BROWN            ACCOUNT NO.: NOT AVAILABLE
        #306035
        WAGNER, JONES, KOPFMAN, &
        ARTENIAN LLP
        1111 HERNDON, STE. 317
        FRESNO, CA 93720


3.38366 MARIE WEAGEL                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.38367 MARIE-CLAIRE STARR                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38368 MARIE-CLAIRE STARR                         VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.38369 MARIE-CLAIRE STARR                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.38370 MARIE-CLAIRE STARR                         VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.38371 MARIE-CLAIRE STARR                         VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA, ESQ. /                                                       Litigation
        SBN: 110909ANDREA R.             ACCOUNT NO.: NOT AVAILABLE
        CROWL, ESQ. / SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.38372 MARIKA ZOLL                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                        Litigation
        A. BAGHDADI                      ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38373 MARIKA ZOLL                               VARIOUS                              Wildfire               UNDETERMINED
        DAVE FOXJOANNA                                                                 Litigation
        FOXCOURTNEY VASQUEZ             ACCOUNT NO.: NOT AVAILABLE
        FOX LAW, APC
        225 W. PLAZA STREET, SUITE
        102
        SOLANA BEACH, CA 92075


3.38374 MARIKA ZOLL                               VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.38375 MARIKA ZOLL                               VARIOUS                              Wildfire               UNDETERMINED
        CHRISTOPHER C.                                                                 Litigation
        SIEGLOCKRACHEL                  ACCOUNT NO.: NOT AVAILABLE
        SIEGLOCKKRISTEN REANO
        SIEGLOCK LAW, APC
        1121 CAMINO DEL MAR
        DEL MAR, CA 92014


3.38376 MARILYN A. SMITH                          VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                    Litigation
         REINER, SLAUGHTER &            ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.38377 MARILYN A. SMITH                          VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228BRETT R. PARKINSON,      ACCOUNT NO.: NOT AVAILABLE
        ESQ., #230150
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.38378 MARILYN A. SMITH                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.38379 MARILYN A. SMITH                           VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                    Litigation
        ERIC RATINOFF LAW CORP.          ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.38380 MARILYN BARKER                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.38381 MARILYN BARKER                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38382 MARILYN BARKER                             VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.38383 MARILYN BARKER                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.38384 MARILYN BARKER                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA, ESQ. /                                                       Litigation
        SBN: 110909ANDREA R.             ACCOUNT NO.: NOT AVAILABLE
        CROWL, ESQ. / SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.38385 Marilyn Glabicki                               VARIOUS                              Wildfire               UNDETERMINED
        Dario De Ghetaldi - Bar No. 126782                                                  Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        Amanda L. Riddle - Bar No. 215221

        Steven M. Berki - Bar No. 245426

        Clare Capaccioli Velasquez - Bar
        No. 290466
        Corey, Luzaich, De Ghetaldi &
        Riddle LLP
        700 El Camino RealP.O. Box 669
        Millbrae, CA 94030-0669


3.38386 MARILYN GLABICKI                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                          Litigation
        111359 KRISTINE K.                   ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

        SHAWN R. MILLER- BAR NO.
        238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.38387 MARILYN GLABICKI                               VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                         Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        DYLAN HUGHES - BAR NO.
        209113 STEVEN A. LOPEZ -
        BAR NO. 300540
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.38388 MARILYN GREEN                                  VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                                   Litigation
        DREYER BABICH BUCCOLA                ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.38389 MARILYN GREEN                                  VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                    Litigation
        WALKUP, MELODIA, KELLY &             ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38390 MARILYN GREEN                             VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.38391 MARILYN GREEN                             VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.38392 MARILYN GREEN                             VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                         Litigation
        DOMENIC MARTINI                 ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103


3.38393 MARILYN HOPPER                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.38394 MARILYN HOPPER                            VARIOUS                              Wildfire               UNDETERMINED
        JENNIFER FIORE, ESQ. (SBN:                                                     Litigation
        203618)SOPHIA ACHERMANN,        ACCOUNT NO.: NOT AVAILABLE
        ESQ. (SBN: 262712)
        FIORE ACHERMANN, A LAW
        CORP.
        340 PINE STREET, SUITE 503
        SAN FRANCISCO, CA 94104


3.38395 MARILYN HOPPER                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38396 MARILYN HOPPER                            VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.38397 MARILYN HOPPER                            VARIOUS                              Wildfire               UNDETERMINED
        WILLIAM A. DANIELS                                                             Litigation
        DANIELS LAW                     ACCOUNT NO.: NOT AVAILABLE
        15021 VENTURA BLVD., #883
        SHERMAN OAKS, CA 91403


3.38398 MARILYN I. ANDERSON                       VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR., SBN                                                       Litigation
        60768GAYLE M. BLATT, SBN        ACCOUNT NO.: NOT AVAILABLE
        122048ANGELA JAE CHUN,
        SBN 248571
        CASEY GERRY SCHENK
        FRANKCAVILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101


3.38399 MARILYN I. ANDERSON                       VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL                                                                  Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.38400 MARILYN I. ANDERSON                       VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG                                                            Litigation
        MICHAEL S. FEINBERG, APLC       ACCOUNT NO.: NOT AVAILABLE
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.38401 MARILYN JEAN STEPHENS                     VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401




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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.38402 MARILYN JEAN STEPHENS                      VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                          Litigation
        STATE BAR NO. 296841)PAIGE       ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.38403 MARILYN LITTY                              VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA, ESQ. /                                                       Litigation
        SBN: 110909ANDREA R.             ACCOUNT NO.: NOT AVAILABLE
        CROWL, ESQ. / SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.38404 MARILYN LITTY                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38405 MARILYN LITTY                              VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.38406 MARILYN LITTY                              VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.38407 MARILYN LITTY                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108




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Wildfire Claims

3.38408 MARILYN LOOFBOURROW                       VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.38409 MARILYN LOOFBOURROW                       VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.38410 MARILYN LOOFBOURROW                       VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.38411 MARILYN LOOFBOURROW                       VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38412 MARILYN LOOFBOURROW                       VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.38413 MARILYN PELLETIER                         VARIOUS                              Wildfire               UNDETERMINED
        RAFEY S. BALABANIAN (SBN                                                       Litigation
        315962)TODD LOGAN (SBN          ACCOUNT NO.: NOT AVAILABLE
        305912)J. AARON LAWSON
        (SBN 319306)LILY HOUGH (SBN
        315277)
        EDELSON PC
        123 TOWNSEND STREET, SUITE
        100
        SAN FRANCISCO, CALIFORNIA
        94107




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Creditor's Name, Mailing Address           Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                               Account Number                            Claim

Wildfire Claims

3.38414 Marilyn Pelletier                           VARIOUS                              Wildfire               UNDETERMINED
        Elizabeth J. Cabraser (SBN                                                       Litigation
        083151)Robert J. Nelson (SBN      ACCOUNT NO.: NOT AVAILABLE
        132797)Lexi J. Hazam (SBN
        224457)Fabrice N. Vincent (SBN
        160780)Abby R. Wolf (SBN
        313049)Evan J. Ballan (SBN
        318649)
        Lieff Cabraser Heimann &
        Bernstein, LLP
        275 Battery Street, 29th Floor
        San Francisco, California 94111


3.38415 MARILYN PELLETIER                           VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                     Litigation
        APPLICATION                       ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.38416 MARILYN PELLETIER                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                         Litigation
        A. BAGHDADI                       ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38417 MARILYN QUINT                               VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                                Litigation
        DREYER BABICH BUCCOLA             ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.38418 MARILYN QUINT                               VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                        Litigation
        MARTINI                           ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.38419 MARILYN QUINT                               VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                            Litigation
        SINGLETONERIKA L.                 ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        450 A STREET, 5TH FLOOR
        SAN DIEGO, CA 92101


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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38420 MARILYN QUINT                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38421 MARILYN QUINT                             VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.38422 MARILYN SIMMONS                           VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                         Litigation
        STATE BAR NO. 296841)PAIGE      ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.38423 MARILYN SIMMONS                           VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.38424 MARILYN SMITH-TRACY                       VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38425 MARILYN SMITH-TRACY                       VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                   Litigation
        ERIC RATINOFF LAW CORP.         ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38426 MARILYN SMITH-TRACY                       VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.38427 MARILYN SMITH-TRACY                       VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                    Litigation
         REINER, SLAUGHTER &            ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.38428 MARILYNN DARLINGTON                       VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38429 MARILYNN DARLINGTON                       VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.38430 MARILYNN DARLINGTON                       VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38431 MARILYNN DARLINGTON                       VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.38432 MARINA LAWRENCE                           VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                           Litigation
        VICEPENDING)JOHN P. FISKE       ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.38433 MARINA LAWRENCE                           VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                          Litigation
        208783)ERIKA L. VASQUEZ         ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.38434 MARINA LAWRENCE                           VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
        (SBN 69176)IAN C.               ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.38435 MARINA LAWRENCE                           VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                     Litigation
        583 I 6)                        ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38436 MARINA LAWRENCE                           VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                             Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.38437 MARINA MARTINEZ                           VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                           Litigation
        VICEPENDING)JOHN P. FISKE       ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.38438 MARINA MARTINEZ                           VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                          Litigation
        208783)ERIKA L. VASQUEZ         ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.38439 MARINA MARTINEZ                           VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
        (SBN 69176)IAN C.               ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.38440 MARINA MARTINEZ                           VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                             Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.38441 MARINA MARTINEZ                           VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                     Litigation
        583 I 6)                        ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101



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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38442 MARINA MEZENOVA                           VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.38443 MARINA MEZENOVA                           VARIOUS                              Wildfire               UNDETERMINED
        RONALD L.M. GOLDMAN, ESQ.                                                      Litigation
        (STATE BAR #33422) DIANE        ACCOUNT NO.: NOT AVAILABLE
        MARGER MOORE, ESQ. (FLA.
        BAR #268364) (PRO HAE VICE
        APPLICATION PENDING)
        BAUM HEDLUND ARISTEI &
        GOLDMAN, P.C.
        10940 WILSHIRE BOULEVARD.,
        17TH FLOOR
        LOS ANGELES, CALIFORNIA
        90024


3.38444 MARINA MEZENOVA                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38445 MARINA MEZENOVA                           VARIOUS                              Wildfire               UNDETERMINED
        BRIAN R. STRANGE, ESQ.                                                         Litigation
        (STATE BAR #103252)BRIANNA      ACCOUNT NO.: NOT AVAILABLE
        STRANGE, ESQ. (STATE BAR
        #321882
        STRANGE & BUTLER
        12100 WILSHIRE BOULEVARD,
        SUITE 1900
        LOS ANGELES, CA 90025


3.38446 MARINA MEZENOVA                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38447 MARINA WARE, INDIVIDUALLY                 VARIOUS                              Wildfire               UNDETERMINED
        AND AS SPECIAL                                                                 Litigation
        ADMINISTRATOR OF THE            ACCOUNT NO.: NOT AVAILABLE
        ESTATE OF KIMBERLY WARE,
        DECEASED
        ERIC GIBBS - BAR NO.
        178658DYLAN HUGHES- BAR
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.38448 Marina Ware, Individually And As          VARIOUS                              Wildfire               UNDETERMINED
        Special Administrator Of The                                                   Litigation
        Estate Of Kimberly Ware, Deceased ACCOUNT NO.: NOT AVAILABLE
        Dario De Ghetaldi - Bar No.
        126782Amanda L. Riddle - Bar
        No. 215221Steven M. Berki - Bar
        No. 245426Sumble Manzoor- Bar
        No. 301704
        Corey, Luzaich, De Ghetaldi &
        Riddle LLP
        700 El Camino RealP.O. Box 669
        Millbrae, CA 94030-0669


3.38449 Marina Ware, Individually And As          VARIOUS                              Wildfire               UNDETERMINED
        Special Administrator Of The                                                   Litigation
        Estate Of Kimberly Ware, Deceased ACCOUNT NO.: NOT AVAILABLE
        Michael S. Danko - Bar No.
        111359Kristine K. Meredith - Bar
        No. 158243Shawn R. Miller- Bar
        No. 238447
        Danko Meredith
        333 Twin Dolphin Drive, Suite 145
        Redwood Shores, CA 94065


3.38450 MARINA WARE, INDIVIDUALLY                 VARIOUS                              Wildfire               UNDETERMINED
        AND AS SPECIAL                                                                 Litigation
        ADMINISTRATOR OF THE            ACCOUNT NO.: NOT AVAILABLE
        ESTATE OF KIMBERLY WARE,
        DECEASED
        MICHAEL A. KELLYKHALDOUN
        A. BAGHDADI
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38451 MARINO, REBECCA                           VARIOUS                              Wildfire               UNDETERMINED
        867 LORNA DR                                                                   Litigation
        GLEN ELLEN, CA 95442            ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.38452 MARIO ANGUIANORIVAS                        VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSONPAIGE                                                           Litigation
        BOLDTMIKAL C. WATTSGUY           ACCOUNT NO.: NOT AVAILABLE
        L. WATTS
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        225
        AUSTIN, TEXAS 78704


3.38453 MARIO ANGUIANORIVAS                        VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                        Litigation
        NO. 197687)                      ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.38454 MARIO ANGUIANORIVAS                        VARIOUS                              Wildfire               UNDETERMINED
        ROY MILLER                                                                      Litigation
        HANSEN & MILLER LAW FIRM         ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.38455 MARIO CHA VERA                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.38456 MARIO CHA VERA                             VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.38457 MARIO CHA VERA                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38458 MARIO CHA VERA                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38459 MARIO CHA VERA                            VARIOUS                              Wildfire               UNDETERMINED
        NICHOLAS J.P. WAGNER                                                           Litigation
        #109455LAURA E. BROWN           ACCOUNT NO.: NOT AVAILABLE
        #306035
        WAGNER, JONES, KOPFMAN, &
        ARTENIAN LLP
        1111 HERNDON, STE. 317
        FRESNO, CA 93720


3.38460 MARIO LEMOS                               VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.38461 MARIO LEMOS                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38462 MARIO LEMOS                               VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.38463 MARIO LEMOS                               VARIOUS                              Wildfire               UNDETERMINED
        DOUGLAS BOXER (CAL. STATE                                                      Litigation
        BAR NO. 154226)                 ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICE OF DOUGLAS
        BOXER
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38464 MARIONNE M. MYERS                         VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.38465 MARIONNE M. MYERS                         VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                    Litigation
         REINER, SLAUGHTER &            ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.38466 MARIONNE M. MYERS                         VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                    Litigation
         REINER, SLAUGHTER &            ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.38467 MARIONNE M. MYERS                         VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.38468 MARIONNE M. MYERS                         VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                   Litigation
        ERIC RATINOFF LAW CORP.         ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.38469 MARIONNE M. MYERS                         VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                   Litigation
        ERIC RATINOFF LAW CORP.         ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.38470 MARIONNE M. MYERS                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38471 MARIONNE M. MYERS                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38472 MARISA RUFFONI                            VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                         Litigation
        STATE BAR NO. 296841)PAIGE      ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.38473 MARISA RUFFONI                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.38474 MARISSA BLANYER                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.38475 MARISSA BLANYER                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38476 MARISSA BLANYER                           VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                     Litigation
        100077ALISON E. CORDOVA,        ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010




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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.38477 MARISSA BLANYER                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.38478 MARISSA BLANYER                            VARIOUS                              Wildfire               UNDETERMINED
        TODD B. BECKERBRIAN E.                                                          Litigation
        SHEARJASON BOYER                 ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105


3.38479 MARISSA L. GOMEZ                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.38480 MARISSA L. GOMEZ                           VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                          Litigation
        DOMENIC MARTINI                  ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103


3.38481 MARISSA L. GOMEZ                           VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                           Litigation
        SINGLETONERIKA L.                ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.38482 MARISSA L. GOMEZ                           VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                         Litigation
        125868JUSTIN J. EBALLAR,         ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38483 MARISSA L. GOMEZ                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38484 MARISSA MCCOMBS                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.38485 MARITZA YAMITH MCCUTCHEN                  VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS III (SBN                                                           Litigation
        296101)ROBERT T. BRYSON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.38486 MARIUS BLAAUW                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38487 MARIUS BLAAUW                             VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.38488 MARIUS BLAAUW                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38489 MARIUS BLAAUW                             VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.38490 MARIUS BLAAUW                             VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.38491 MARJA HIMMIST                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38492 MARJA HIMMIST                             VARIOUS                              Wildfire               UNDETERMINED
        ALEXANDER M. SCHACK, ESQ.                                                      Litigation
        (SBN 99126)NATASHA N.           ACCOUNT NO.: NOT AVAILABLE
        SERINO, ESQ. (SBN
        284711)SHANNON F. NOCON,
        ESQ. (SBN 316523)
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BERNARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.38493 MARJA HIMMIST                             VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN B. MURRAY, SR. (SBN                                                    Litigation
        9858)JESSICA W. HAYES.,         ACCOUNT NO.: NOT AVAILABLE
        ESQ. (SBN 28927) PRO HAE
        VICE APPLICATIONS TO BE
        FILED
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38494 MARJA HIMMIST                             VARIOUS                              Wildfire               UNDETERMINED
        MATTHEW H. WELTY, ESQ. (SBN                                                    Litigation
        248092)JACK W. WEAVER,          ACCOUNT NO.: NOT AVAILABLE
        ESQ. (SBN 278469)
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.38495 MARJORIE CLOVER                           VARIOUS                              Wildfire               UNDETERMINED
        NOREEN EVANSRYAN L.                                                            Litigation
        THOMPSONPAIGE BOLDT             ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.38496 MARJORIE CLOVER                           VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.38497 MARJORIE MARAVIOV                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38498 MARJORIE MARAVIOV                         VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.38499 MARJORIE MARAVIOV                         VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101




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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.38500 MARJORIE MARAVIOV                          VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.38501 MARJORIE MARAVIOV                          VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                    Litigation
        BAR #1999994) (PRO HAE VICE      ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.38502 MARJORIE TRAINER                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38503 MARJORIE TRAINER                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.38504 MARJORIE TRAINER                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.38505 MARJORIE TRAINER                           VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38506 MARJORIE TRAINER                          VARIOUS                              Wildfire               UNDETERMINED
        NICHOLAS J.P. WAGNER                                                           Litigation
        #109455LAURA E. BROWN           ACCOUNT NO.: NOT AVAILABLE
        #306035
        WAGNER, JONES, KOPFMAN, &
        ARTENIAN LLP
        1111 HERNDON, STE. 317
        FRESNO, CA 93720


3.38507 MARJORY MOORE                             VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX                                                                       Litigation
        LAW OFFICES OF JOHN COX         ACCOUNT NO.: NOT AVAILABLE
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.38508 MARJORY MOORE                             VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSONPAIGE                                                          Litigation
        BOLDT                           ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.38509 MARJORY MOORE                             VARIOUS                              Wildfire               UNDETERMINED
        ROY MILLER                                                                     Litigation
        HANSEN & MILLER LAW FIRM        ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.38510 MARK "ERNIE" MURRY                        VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38511 MARK "ERNIE" MURRY                        VARIOUS                              Wildfire               UNDETERMINED
        CATHERINE LOMBARDO (SBN #                                                      Litigation
        160461)                         ACCOUNT NO.: NOT AVAILABLE
        THE LOMBARDO LAW FIRM
        433 W ARROW HIGHWAY
        CLAREMONT, CA 9171


3.38512 MARK "ERNIE" MURRY                        VARIOUS                              Wildfire               UNDETERMINED
        PEDRO "PETER" DE LA CERDA,                                                     Litigation
        OF COUNSEL - BAR NO. 249085     ACCOUNT NO.: NOT AVAILABLE
        MATTHEWS & ASSOCIATES
        250 VALLOMBROSA AVE STE.
        266
        CHICO, CA 95926




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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.38513 MARK "ERNIE" MURRY                         VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.38514 MARK "ERNIE" MURRY                         VARIOUS                              Wildfire               UNDETERMINED
        ELIZABETH LATIMER (STATE                                                        Litigation
        BAR #304697)                     ACCOUNT NO.: NOT AVAILABLE
        LATIMER AND KENKEL LAW
        OFFICES
        330 WALL STREET, SUITE 20
        CHICO, CA TELEPHONE: (530)
        345-1396 FACSIMILE: (530) 345-
        0439


3.38515 MARK A. OLIVER                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.38516 MARK A. OLIVER                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.38517 MARK A. OLIVER                             VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.38518 MARK A. OLIVER                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                                 Account Number                            Claim

Wildfire Claims

3.38519 MARK A. OLIVER                                VARIOUS                              Wildfire               UNDETERMINED
        TODD B. BECKERBRIAN E.                                                             Litigation
        SHEARJASON BOYER                    ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105


3.38520 Mark Akey                                     VARIOUS                              Wildfire               UNDETERMINED
        Mikal C. Watts (Pro Hae Vice                                                       Litigation
        application anticipated)Guy Watts   ACCOUNT NO.: NOT AVAILABLE
        (Pro Hae Vice application
        anticipated)Ryan L. Thompson
        (Cal. State Bar No. 296841)Paige
        Boldt (Cal. State Bar No. 308772)
        Watts Guerra LLP
        811 Barton Springs Rd., Ste. 725
        Austin, Texas 78704


3.38521 MARK AKEY                                     VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                           Litigation
        NO. 197687)                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX,
        P.C.
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.38522 MARK ALLEN DUNLAP                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                                  Litigation
        DREYER BABICH BUCCOLA               ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.38523 MARK ALLEN DUNLAP                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                   Litigation
        WALKUP, MELODIA, KELLY &            ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38524 MARK ALLEN DUNLAP                             VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                         Litigation
        100077ALISON E. CORDOVA,            ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.38525 MARK ALLEN DUNLAP                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.38526 MARK ALLEN DUNLAP                          VARIOUS                              Wildfire               UNDETERMINED
        TODD B. BECKERBRIAN E.                                                          Litigation
        SHEARJASON BOYER                 ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105


3.38527 MARK ANDERSON                              VARIOUS                              Wildfire               UNDETERMINED
        ELIZABETH J.                                                                    Litigation
        CABRASERROBERT J.                ACCOUNT NO.: NOT AVAILABLE
        NELSON LEXI J. HAZAM

       FABRICE N. VINCENTANNIKA
       K. MARTINABBY R. WOLF
       LIEFF CABRASER HEIMANN &
       BERNSTEIN, LLP
       275 BATTERY STREET, 29TH
       FLOOR
       SAN FRANCISCO, CA 94111-3339


3.38528 MARK ANDREWS                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                        Litigation
        A. BAGHDADI                      ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38529 MARK ANDREWS                               VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                        Litigation
        TOSDAL LAW FIRM                  ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.38530 MARK ANDREWS                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                        Litigation
        81867                            ACCOUNT NO.: NOT AVAILABLE
        MICHAEL S. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38531 MARK ANDREWS                              VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR., SBN                                                       Litigation
        60768ANGELA JAE CHUN, SBN       ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCA VILLA BLATT &
        PENFIELD, LLP
        110 LAUREL STREET
        SAN DIEGO, CA 92101


3.38532 MARK ANTHONY MATA                         VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                         Litigation
        STATE BAR NO. 296841)PAIGE      ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.38533 MARK ANTHONY MATA                         VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.38534 MARK BATCHELDER                           VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228BRETT R. PARKINSON,      ACCOUNT NO.: NOT AVAILABLE
        ESQ., #230150
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.38535 MARK BATCHELDER                           VARIOUS                              Wildfire               UNDETERMINED
        ANTHONY R. LAURETI, ESQ.,                                                      Litigation
        SBN: 147086                     ACCOUNT NO.: NOT AVAILABLE
        LAURETI & ASSOCIATES, APC
        402 W. BROADWAY, SUITE 2500
        SAN DIEGO, CA 9210 I


3.38536 MARK BATCHELDER                           VARIOUS                              Wildfire               UNDETERMINED
        BONNIE E. KANE, ESQ., SBN:                                                     Litigation
        167700STEVEN S. KANE, ESQ.,     ACCOUNT NO.: NOT AVAILABLE
        SBN: 061670
        THE KANE LAW FIRM
        402 W. BROADWAY, SUITE 2500
        SAN DIEGO, CA 92101




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38537 MARK BATCHELDER                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38538 MARK BAYEK                                VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.38539 MARK BAYEK                                VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                         Litigation
        STATE BAR NO. 296841)PAIGE      ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.38540 MARK BOWMAN                               VARIOUS                              Wildfire               UNDETERMINED
        RICHARD K. BRIDGFORD,                                                          Litigation
        ESQ.MICHAEL H. ARTINIAN,        ACCOUNT NO.: NOT AVAILABLE
        ESQ.
        BRIDGFORD, GLEASON &
        ARTINIAN
        3558 ROUND BARN BLVD.,
        SUITE 215
        SANTA ROSA, CA 95403


3.38541 MARK BOWMAN                               VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZ, ESQ.PHILIP                                                    Litigation
        C. AMAN, ESQ.WILLIAM P.         ACCOUNT NO.: NOT AVAILABLE
        HARRIS III, ESQ.M. REGINA
        BAGDASARIAN, ESQ.GEORGE
        T. STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38542 MARK BOWMAN                               VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                       Litigation
        J. EBALLAR                      ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        3558 ROUND BARN BLVD.,
        SUITE 215
        SANTA ROSA, CA 95403


3.38543 MARK BROCKMAN                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                   Litigation
        ERIC RATINOFF LAW CORP.         ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.38544 MARK BROCKMAN                             VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.38545 MARK BROCKMAN                             VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                    Litigation
         REINER, SLAUGHTER &            ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.38546 MARK BROCKMAN                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38547 MARK BUCK                                 VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38548 MARK BUCK                                 VARIOUS                              Wildfire               UNDETERMINED
        NOREEN EVANSRYAN L.                                                            Litigation
        THOMPSONPAIGE BOLDT             ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.38549 MARK BUCK                                 VARIOUS                              Wildfire               UNDETERMINED
        ROY MILLER                                                                     Litigation
        HANSEN AND MILLER LAW FIRM      ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.38550 MARK CARSTEN                              VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                           Litigation
        VICEPENDING)JOHN P. FISKE       ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.38551 MARK CARSTEN                              VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                          Litigation
        208783)ERIKA L. VASQUEZ         ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.38552 MARK CARSTEN                              VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                             Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.38553 MARK CARSTEN                              VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                     Litigation
        583 I 6)                        ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38554 MARK CARSTEN                              VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
        (SBN 69176)IAN C.               ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.38555 MARK CASTELLUCI                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAEL S. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.38556 MARK CASTELLUCI                           VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                       Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.38557 MARK CASTELLUCI                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38558 MARK CASTELLUCI                           VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR.,SBN                                                        Litigation
        60768ANGELA JAE CHUN, SBN       ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCAVILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101


3.38559 MARK CHRISHOLM                            VARIOUS                              Wildfire               UNDETERMINED
        ROY MILLER                                                                     Litigation
        HANSEN & MILLER LAW FIRM        ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38560 MARK CHRISHOLM                            VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSONPAIGE                                                          Litigation
        BOLDTMIKAL C. WATTSGUY          ACCOUNT NO.: NOT AVAILABLE
        L. WATTS
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        225
        AUSTIN, TEXAS 78704


3.38561 MARK CHRISHOLM                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.38562 MARK DEFLURI                              VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC VICE                                                      Litigation
        PENDING)JOHN P. FISKE           ACCOUNT NO.: NOT AVAILABLE
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.38563 MARK DEFLURI                              VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONERIKA L.                                                       Litigation
        VASQUEZ AMANDA LOCURTO          ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.38564 MARK DEFLURI                              VARIOUS                              Wildfire               UNDETERMINED
        NATASHA SERINO                                                                 Litigation
        LAW OFFICES OF ALEXANDER        ACCOUNT NO.: NOT AVAILABLE
        M. SCHACK
        16870 WEST BERNARDO, STE
        400,
        SAN DIEGO, CA 92127


3.38565 MARK DEFLURI                              VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ.                                                          Litigation
        TERRY SINGLETON, A.P.C.         ACCOUNT NO.: NOT AVAILABLE
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38566 MARK DEFLURI                              VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       IAN C. FUSSELMAN,
       ESQ.BRETT. J. SCHREIBER,
       ESQ.
       THORSNES BARTOLOTTA
       MCGUIRE LLP
       2550 FIFTH A VENUE, 11TH
       FLOOR
       SAN DIEGO, CALIFORNIA 92103


3.38567 MARK DEFLURI                              VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIABDEBORAH S.                                                        Litigation
        DIXONROBERT J. CHAMBERS II      ACCOUNT NO.: NOT AVAILABLE
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.38568 MARK DEW                                  VARIOUS                              Wildfire               UNDETERMINED
        MARK P. ROBINSON, JR. (SBN                                                     Litigation
        54426) DANIEL S. ROBINSON       ACCOUNT NO.: NOT AVAILABLE
        (SBN 244245)
        ROBINSON CALCAGINE, INC.
        19 CORPORATE PLAZA DRIVE
        NEWPORT BEACH, CA 92660


3.38569 MARK DEW                                  VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38570 MARK DEW                                  VARIOUS                              Wildfire               UNDETERMINED
        WILLIAM A. DANIELS                                                             Litigation
        DANIELS LAW                     ACCOUNT NO.: NOT AVAILABLE
        15021 VENTURA BLVD., #883
        SHERMAN OAKS, CA 91403


3.38571 MARK DEW                                  VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38572 MARK DEW                                  VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.38573 MARK DOLAN                                VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.38574 MARK DOLAN                                VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.38575 MARK DOLAN                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38576 MARK DOLAN                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38577 MARK DORNAN                               VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.38578 MARK DORNAN                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38579 MARK DORNAN                               VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.38580 MARK DORNAN                               VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.38581 MARK DORNAN                               VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.38582 MARK E PALMER                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38583 MARK E PALMER                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.38584 MARK E PALMER                             VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.38585 MARK E PALMER                             VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.38586 MARK E PALMER                             VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.38587 MARK EISNITZ                              VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFFCOELL M.                                                          Litigation
        SIMMONS                         ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864


3.38588 MARK EISNITZ                              VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON BRETT                                                        Litigation
        R. PARKINSONDANIEL E.           ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38589 MARK EISNITZ                              VARIOUS                              Wildfire               UNDETERMINED
        JOHN N. DEMAS                                                                  Litigation
        DEMAS LAW GROUP, P.C.           ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.38590 MARK EISNITZ                              VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. FRIEDEMANN                                                             Litigation
        FRIEDEMANN GOLDBERG LLP         ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.38591 MARK ESSMAN                               VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS IIIROBERT T.                                                       Litigation
        BRYSONKEVIN M. POLLACK          ACCOUNT NO.: NOT AVAILABLE
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.38592 MARK FAHEY                                VARIOUS                              Wildfire               UNDETERMINED
        DONALD S. EDGAR                                                                Litigation
        EDGAR LAW FIRM                  ACCOUNT NO.: NOT AVAILABLE
        408 COLLEGE AVENUE
        SANTA ROSA, CA 95401


3.38593 MARK FAHEY                                VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS IIIROBERT T.                                                       Litigation
        BRYSONKEVIN M. POLLACK          ACCOUNT NO.: NOT AVAILABLE
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.38594 MARK FETZER                               VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL                                                                  Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.38595 MARK FETZER                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG                                                            Litigation
        MICHAEL S. FEINBERG, APLC       ACCOUNT NO.: NOT AVAILABLE
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38596 MARK FETZER                               VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR., SBN                                                       Litigation
        60768GAYLE M. BLATT, SBN        ACCOUNT NO.: NOT AVAILABLE
        122048ANGELA JAE CHUN,
        SBN 248571
        CASEY GERRY SCHENK
        FRANKCA VILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101


3.38597 MARK FREEMAN                              VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                          Litigation
        208783)ERIKA L. VASQUEZ         ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.38598 MARK FREEMAN                              VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                           Litigation
        VICEPENDING)JOHN P. FISKE       ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.38599 MARK FREEMAN                              VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                             Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.38600 MARK FREEMAN                              VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
        (SBN 69176)IAN C.               ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38601 MARK FREEMAN                              VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                     Litigation
        583 I 6)                        ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.38602 MARK GORDON                               VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC VICE                                                      Litigation
        PENDING)JOHN P. FISKE           ACCOUNT NO.: NOT AVAILABLE
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.38603 MARK GORDON                               VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONERIKA L.                                                       Litigation
        VASQUEZ AMANDA LOCURTO          ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.38604 MARK GORDON                               VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ.                                                          Litigation
        TERRY SINGLETON, A.P.C.         ACCOUNT NO.: NOT AVAILABLE
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.38605 MARK GORDON                               VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIABDEBORAH S.                                                        Litigation
        DIXONROBERT J. CHAMBERS II      ACCOUNT NO.: NOT AVAILABLE
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.38606 MARK GORDON                               VARIOUS                              Wildfire               UNDETERMINED
        NATASHA SERINO                                                                 Litigation
        LAW OFFICES OF ALEXANDER        ACCOUNT NO.: NOT AVAILABLE
        M. SCHACK
        16870 WEST BERNARDO, STE
        400,
        SAN DIEGO, CA 92127


3.38607 MARK GORDON                               VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       IAN C. FUSSELMAN,
       ESQ.BRETT. J. SCHREIBER,
       ESQ.
       THORSNES BARTOLOTTA
       MCGUIRE LLP
       2550 FIFTH A VENUE, 11TH
       FLOOR
       SAN DIEGO, CALIFORNIA 92103


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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38608 MARK GRASSI                               VARIOUS                              Wildfire               UNDETERMINED
        THOMAS J. BRANDITERENCE                                                        Litigation
        D. EDWARDS                      ACCOUNT NO.: NOT AVAILABLE
        THE BRANDI LAW FIRM
        354 PINE STREET, THIRD FLOOR
        SAN FRANCISCO, CALIFORNIA
        94104


3.38609 MARK GRASSI                               VARIOUS                              Wildfire               UNDETERMINED
        ROBERT S. ARNSJONATHAN E.                                                      Litigation
        DAVISKEVIN M.                   ACCOUNT NO.: NOT AVAILABLE
        OSBORNESHOUNAK S.
        DHARAP
        THE ARNS LAW FIRM
        515 FOLSOM STREET, THIRD
        FLOOR
        SAN FRANCISCO, CA 94105


3.38610 MARK GREENE                               VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                          Litigation
        208783)ERIKA L. VASQUEZ         ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.38611 MARK GREENE                               VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                           Litigation
        VICEPENDING)JOHN P. FISKE       ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.38612 MARK GREENE                               VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                             Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38613 MARK GREENE                               VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
        (SBN 69176)IAN C.               ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.38614 MARK GREENE                               VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                     Litigation
        583 I 6)                        ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.38615 MARK GREENSPAN                            VARIOUS                              Wildfire               UNDETERMINED
        GEOFF J. SPRETER, ESQ. (SBN                                                    Litigation
        257707) BENJAMIN D.             ACCOUNT NO.: NOT AVAILABLE
        PETIPRIN, ESQ. (SBN 256797)
        SPRETER & PETIPRIN, APC
        601 3RD STREET
        CORONADO, CA 92118


3.38616 MARK HANRATTY                             VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                               Litigation
        ABRAHAM, WATKINS, NICHOLS,      ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.38617 MARK HANRATTY                             VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.38618 MARK HANSEN                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38619 MARK HANSEN                               VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.38620 MARK HANSEN                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.38621 MARK HANSEN                               VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.38622 MARK HIDALGO                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38623 MARK HIDALGO                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38624 MARK HIDALGO                              VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.38625 MARK HIDALGO                              VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.38626 MARK J. FALLON                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.38627 MARK J. FALLON                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38628 MARK J. FALLON                            VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.38629 MARK J. FALLON                            VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38630 MARK J. FALLON                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                         Litigation
        DOMENIC MARTINI                 ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103


3.38631 MARK JENNE                                VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.38632 MARK JENNE                                VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.38633 MARK JENNE                                VARIOUS                              Wildfire               UNDETERMINED
        WILLIAM A. DANIELS                                                             Litigation
        DANIELS LAW                     ACCOUNT NO.: NOT AVAILABLE
        15021 VENTURA BLVD., #883
        SHERMAN OAKS, CA 91403


3.38634 MARK JENNE                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38635 MARK JENNE                                VARIOUS                              Wildfire               UNDETERMINED
        MARK P. ROBINSON, JR. (SBN                                                     Litigation
        54426) DANIEL S. ROBINSON       ACCOUNT NO.: NOT AVAILABLE
        (SBN 244245)
        ROBINSON CALCAGINE, INC.
        19 CORPORATE PLAZA DRIVE
        NEWPORT BEACH, CA 92660




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38636 MARK JOHNSON                              VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS III (SBN                                                           Litigation
        296101)ROBERT T. BRYSON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.38637 MARK L. LAZZARINO                         VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.38638 MARK L. LAZZARINO                         VARIOUS                              Wildfire               UNDETERMINED
        RONALD L.M. GOLDMAN, ESQ.                                                      Litigation
        (STATE BAR #33422) DIANE        ACCOUNT NO.: NOT AVAILABLE
        MARGER MOORE, ESQ. (FLA.
        BAR #268364) (PRO HAE VICE
        APPLICATION PENDING)
        BAUM HEDLUND ARISTEI &
        GOLDMAN, P.C.
        10940 WILSHIRE BOULEVARD.,
        17TH FLOOR
        LOS ANGELES, CALIFORNIA
        90024


3.38639 MARK L. LAZZARINO                         VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.38640 MARK L. LAZZARINO                         VARIOUS                              Wildfire               UNDETERMINED
        BRIAN R. STRANGE, ESQ.                                                         Litigation
        (STATE BAR #103252)BRIANNA      ACCOUNT NO.: NOT AVAILABLE
        STRANGE, ESQ. (STATE BAR
        #321882
        STRANGE & BUTLER
        12100 WILSHIRE BOULEVARD,
        SUITE 1900
        LOS ANGELES, CA 90025


3.38641 MARK L. LAZZARINO                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.38642 MARK L. SMITH                              VARIOUS                              Wildfire               UNDETERMINED
        TODD B. BECKERBRIAN E.                                                          Litigation
        SHEARJASON BOYER                 ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105


3.38643 MARK L. SMITH                              VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.38644 MARK L. SMITH                              VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.38645 MARK L. SMITH                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.38646 MARK L. SMITH                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38647 MARK LEVIE                                 VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                        Litigation
        A. BAGHDADIDORIS                 ACCOUNT NO.: NOT AVAILABLE
        CHENGANDREW P. MCDEVITT
        WALKUP MELODIA KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38648 MARK LEVIE                                VARIOUS                              Wildfire               UNDETERMINED
        TIMOTHY G. TIETJEN (STATE                                                      Litigation
        BAR #104975)                    ACCOUNT NO.: NOT AVAILABLE
        ROUDA, FEDER, TIETJEN &
        MCGUINN
        44 MONTGOMERY STREET,
        SUITE 750
        SAN FRANCISCO, CALIFORNIA
        94104


3.38649 MARK LIGHT                                VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.38650 MARK LIGHT                                VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                    Litigation
         REINER, SLAUGHTER &            ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.38651 MARK LIGHT                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38652 MARK LIGHT                                VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                   Litigation
        ERIC RATINOFF LAW CORP.         ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.38653 MARK LORENC                               VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITREJOSEPH W.                                                        Litigation
        COTCHETTALISON E.               ACCOUNT NO.: NOT AVAILABLE
        CORDOVAACORDOVA@CPMLE
        GAL.COM
        COTCHETT, PITRE &
        MCCARTHY, LLP
        SAN FRANCISCO AIRPORT
        OFFICE CENTER
        840 MALCOLM ROAD, SUITE 200,
        BURLINGAME CA




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Creditor's Name, Mailing Address           Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                               Account Number                            Claim

Wildfire Claims

3.38654 MARK LORENC                                 VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORAROBERT                                                          Litigation
        A. BUCCOLACATIA G. SARAIVA        ACCOUNT NO.: NOT AVAILABLE
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.38655 MARK LORENC                                 VARIOUS                              Wildfire               UNDETERMINED
        TELE: (415) 981-7210 FAX: (415)                                                  Litigation
        391-6965                          ACCOUNT NO.: NOT AVAILABLE


3.38656 MARK LORENC                                 VARIOUS                              Wildfire               UNDETERMINED
        TELEPHONE: (650) 697-                                                            Litigation
        6000FACSIMILE: (650) 697-         ACCOUNT NO.: NOT AVAILABLE
        0577FPITRE@CPMLEGAL.COM

        JCOTCHETT@CPMLEGAL.COM
        JCOTCHETT@CPMLEGAL.COM
        BRIAN J. PANISH
        PANISH SHEA & BOYLE, LLP
        11111 SANTA MONICA BLVD.,
        SUITE 700, LOS ANGELES CA


3.38657 MARK LORENC                                 VARIOUS                              Wildfire               UNDETERMINED
        TELE: (310) 477-1700 FAX: (310)                                                  Litigation
        477-1699                          ACCOUNT NO.: NOT AVAILABLE
        MICHAEL A. KELLYKHALDOUN
        BAGHDADIANDREW P.
        MCDEVITT
        WALKUP MELODIA KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, SAN
        FRANCISCO CA


3.38658 MARK MANZELLA                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                         Litigation
        A. BAGHDADI                       ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38659 MARK MANZELLA                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                       Litigation
        111359 KRISTINE K.                ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

        SHAWN R. MILLER- BAR NO.
        238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38660 MARK MANZELLA                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                    Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES- BAR NO.
       209113
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.38661 MARK MANZELLA                             VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782 AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669


3.38662 MARK MCGRATH                              VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                    Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.38663 MARK MCGRATH                              VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782 AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38664 MARK MCGRATH                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359 KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065


3.38665 MARK MOEHNKE                              VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.38666 MARK MOEHNKE                              VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                         Litigation
        STATE BAR NO. 296841)PAIGE      ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.38667 MARK MUHLBAIER                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38668 MARK MUHLBAIER                            VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                       Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.38669 MARK MUHLBAIER                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAELS. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38670 MARK MUHLBAIER                            VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR.,SBN                                                        Litigation
        60768ANGELA JAE CHUN, SBN       ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCAVILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101


3.38671 MARK MURILLO                              VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                           Litigation
        VICEPENDING)JOHN P. FISKE       ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.38672 MARK MURILLO                              VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                          Litigation
        208783)ERIKA L. VASQUEZ         ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.38673 MARK MURILLO                              VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
        (SBN 69176)IAN C.               ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.38674 MARK MURILLO                              VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                             Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.38675 MARK MURILLO                              VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                     Litigation
        583 I 6)                        ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38676 MARK NICHOLS                              VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                          Litigation
        208783)ERIKA L. VASQUEZ         ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.38677 MARK NICHOLS                              VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                           Litigation
        VICEPENDING)JOHN P. FISKE       ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.38678 MARK NICHOLS                              VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                             Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.38679 MARK NICHOLS                              VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
        (SBN 69176)IAN C.               ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.38680 MARK NICHOLS                              VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                     Litigation
        583 I 6)                        ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.38681 MARK ORLANDO                              VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA, ESQ. /                                                      Litigation
        SBN: 110909ANDREA R.            ACCOUNT NO.: NOT AVAILABLE
        CROWL, ESQ. / SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826



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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.38682 MARK ORLANDO                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.38683 MARK ORLANDO                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38684 MARK ORLANDO                               VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.38685 MARK ORLANDO                               VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.38686 MARK PRESSON                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                        Litigation
        A. BAGHDADI                      ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38687 MARK PRESSON                               VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                            Litigation
        178658DYLAN HUGHES- BAR          ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38688 MARK PRESSON                              VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.38689 MARK PRESSON                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.38690 MARK PULIDO                               VARIOUS                              Wildfire               UNDETERMINED
        DAN I. WOLFSAMANTHA R.                                                         Litigation
        MILLER                          ACCOUNT NO.: NOT AVAILABLE
        GILBERT LLP
        1100 NEW YORK AVENUE, NW
        SUITE 700
        WASHINGTON, DC 20005


3.38691 MARK PULIDO                               VARIOUS                              Wildfire               UNDETERMINED
        PETER P. MERINGOLO                                                             Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       REBECCA L. KASSEKERT
       GILBERT LLP
       655 MONTGOMERY STREET,
       7TH FLOOR
       SAN FRANCISCO, CA 94111


3.38692 MARK R REHBURG                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38693 MARK R REHBURG                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38694 MARK R REHBURG                            VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.38695 MARK R REHBURG                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.38696 MARK R REHBURG                            VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.38697 MARK ROSE                                 VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONERIKA L.                                                       Litigation
        VASQUEZ AMANDA LOCURTO          ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.38698 MARK ROSE                                 VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC VICE                                                      Litigation
        PENDING)JOHN P. FISKE           ACCOUNT NO.: NOT AVAILABLE
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.38699 MARK ROSE                                 VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       IAN C. FUSSELMAN,
       ESQ.BRETT. J. SCHREIBER,
       ESQ.
       THORSNES BARTOLOTTA
       MCGUIRE LLP
       2550 FIFTH A VENUE, 11TH
       FLOOR
       SAN DIEGO, CALIFORNIA 92103




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38700 MARK ROSE                                 VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIABDEBORAH S.                                                        Litigation
        DIXONROBERT J. CHAMBERS II      ACCOUNT NO.: NOT AVAILABLE
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.38701 MARK ROSE                                 VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ.                                                          Litigation
        TERRY SINGLETON, A.P.C.         ACCOUNT NO.: NOT AVAILABLE
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.38702 MARK ROSE                                 VARIOUS                              Wildfire               UNDETERMINED
        NATASHA SERINO                                                                 Litigation
        LAW OFFICES OF ALEXANDER        ACCOUNT NO.: NOT AVAILABLE
        M. SCHACK
        16870 WEST BERNARDO, STE
        400,
        SAN DIEGO, CA 92127


3.38703 MARK S SCHWIND                            VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.38704 MARK S SCHWIND                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.38705 MARK S SCHWIND                            VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.38706 MARK S SCHWIND                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108



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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.38707 MARK S SCHWIND                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.38708 MARK SCALESE                               VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.38709 MARK SCALESE                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.38710 MARK SCALESE                               VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.38711 MARK SCALESE                               VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA, ESQ. /                                                       Litigation
        SBN: 110909ANDREA R.             ACCOUNT NO.: NOT AVAILABLE
        CROWL, ESQ. / SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.38712 MARK SCALESE                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38713 MARK SHANKS                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38714 MARK SHANKS                               VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR., SBN                                                       Litigation
        60768ANGELA JAE CHUN, SBN       ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCA VILLA BLATT &
        PENFIELD, LLP
        110 LAUREL STREET
        SAN DIEGO, CA 92101


3.38715 MARK SHANKS                               VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                       Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.38716 MARK SHANKS                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAEL S. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.38717 MARK SHELTON                              VARIOUS                              Wildfire               UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                        Litigation
        WEAVER                          ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.38718 MARK SHELTON                              VARIOUS                              Wildfire               UNDETERMINED
        ALEXANDER M.                                                                   Litigation
        SCHACKNATASHA N. SERINO         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127




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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.38719 MARK SHELTON                               VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN B. MURRAY,                                                              Litigation
        SR.JESSICA HAYES                 ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.38720 MARK SMITH                                 VARIOUS                              Wildfire               UNDETERMINED
        TODD B. BECKERBRIAN E.                                                          Litigation
        SHEARJASON BOYER                 ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105


3.38721 MARK SMITH                                 VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38722 MARK SMITH                                 VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.38723 MARK SMITH                                 VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.38724 MARK SMITH                                 VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38725 MARK STANIEK                              VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC VICE                                                      Litigation
        PENDING)JOHN P. FISKE           ACCOUNT NO.: NOT AVAILABLE
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.38726 MARK STANIEK                              VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONERIKA L.                                                       Litigation
        VASQUEZ AMANDA LOCURTO          ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.38727 MARK STANIEK                              VARIOUS                              Wildfire               UNDETERMINED
        NATASHA SERINO                                                                 Litigation
        LAW OFFICES OF ALEXANDER        ACCOUNT NO.: NOT AVAILABLE
        M. SCHACK
        16870 WEST BERNARDO, STE
        400,
        SAN DIEGO, CA 92127


3.38728 MARK STANIEK                              VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       IAN C. FUSSELMAN,
       ESQ.BRETT. J. SCHREIBER,
       ESQ.
       THORSNES BARTOLOTTA
       MCGUIRE LLP
       2550 FIFTH A VENUE, 11TH
       FLOOR
       SAN DIEGO, CALIFORNIA 92103


3.38729 MARK STANIEK                              VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ.                                                          Litigation
        TERRY SINGLETON, A.P.C.         ACCOUNT NO.: NOT AVAILABLE
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.38730 MARK STANIEK                              VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIABDEBORAH S.                                                        Litigation
        DIXONROBERT J. CHAMBERS II      ACCOUNT NO.: NOT AVAILABLE
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38731 MARK STARK                                VARIOUS                              Wildfire               UNDETERMINED
        ALEXANDER M.                                                                   Litigation
        SCHACKNATASHA N. SERINO         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.38732 MARK STARK                                VARIOUS                              Wildfire               UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                        Litigation
        WEAVER                          ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.38733 MARK STARK                                VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN B. MURRAY,                                                             Litigation
        SR.JESSICA HAYES                ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.38734 MARK THOMPSON                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.38735 MARK THOMPSON                             VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.38736 MARK THOMPSON                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38737 MARK THOMPSON                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.38738 MARK TUCKER                               VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTSGUY WATTS                                                        Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       RYAN L. THOMPSONPAIGE
       BOLDT
       WATTS GUERRA LLP
       811 BARTON SPRINGS RD. STE.
       725
       AUSTIN, TEXAS 78704


3.38739 MARK TUCKER                               VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX                                                                       Litigation
        LAW OFFICES OF JOHN COX,        ACCOUNT NO.: NOT AVAILABLE
        P.C.
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.38740 MARK TURNER                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38741 MARK TURNER                               VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38742 MARK TURNER                               VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.38743 MARK TURNER                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.38744 MARK TYLER                                VARIOUS                              Wildfire               UNDETERMINED
        ROBERT S. ARNSJONATHAN E.                                                      Litigation
        DAVISKEVIN M.                   ACCOUNT NO.: NOT AVAILABLE
        OSBORNESHOUNAK S.
        DHARAP
        THE ARNS LAW FIRM
        515 FOLSOM STREET, THIRD
        FLOOR
        SAN FRANCISCO, CA 94105


3.38745 MARK TYLER                                VARIOUS                              Wildfire               UNDETERMINED
        THOMAS J. BRANDITERENCE                                                        Litigation
        D. EDWARDS                      ACCOUNT NO.: NOT AVAILABLE
        THE BRANDI LAW FIRM
        354 PINE STREET, THIRD FLOOR
        SAN FRANCISCO, CALIFORNIA
        94104


3.38746 MARK VELASQUEZ                            VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                   Litigation
        ERIC RATINOFF LAW CORP.         ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38747 MARK VELASQUEZ                            VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.38748 MARK VELASQUEZ                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38749 MARK VELASQUEZ                            VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                    Litigation
         REINER, SLAUGHTER &            ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.38750 MARK W. SPENCER                           VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                         Litigation
        DOMENIC MARTINI                 ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103


3.38751 MARK W. SPENCER                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.38752 MARK W. SPENCER                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.38753 MARK W. SPENCER                            VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                         Litigation
        125868JUSTIN J. EBALLAR,         ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.38754 MARK W. SPENCER                            VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                           Litigation
        SINGLETONERIKA L.                ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.38755 MARK WILLIAM DUNLAP                        VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.38756 MARK WILLIAM DUNLAP                        VARIOUS                              Wildfire               UNDETERMINED
        TODD B. BECKERBRIAN E.                                                          Litigation
        SHEARJASON BOYER                 ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105


3.38757 MARK WILLIAM DUNLAP                        VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.38758 MARK WILLIAM DUNLAP                        VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38759 MARK WILLIAM DUNLAP                       VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38760 MARK WILLIAMS                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38761 MARK WILLIAMS                             VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                       Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.38762 MARK WILLIAMS                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAELS. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.38763 MARK WILLIAMS                             VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR.,SBN                                                        Litigation
        60768ANGELA JAE CHUN, SBN       ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCAVILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101


3.38764 MARK WILSON                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38765 MARK WILSON                               VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.38766 MARK WILSON                                VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                     Litigation
        126782AMANDA L. RIDDLE -         ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.38767 MARK WILSON                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                      Litigation
        111359KRISTINE K.                ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.38768 MARKEL AMERICAN INSURANCE                  VARIOUS                              Wildfire               UNDETERMINED
        COMPANY                                                                         Litigation
        TIMOTHY E. CARY, ESQ., SBN       ACCOUNT NO.: NOT AVAILABLE
        093608 BONNIE J. BENNETT,
        ESQ., SBN 2403 I 3 NATHAN R.
        HURD, ESQ., SBN 279573 HURDN
        LAW OFFICES OF ROBERT A.
        STUTMAN, P.C.
        12060 CORONA POINTE COURT,
        SUITE 306
        CORONA, CA 92879


3.38769 MARKHAM ODELL                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.38770 MARKHAM ODELL                              VARIOUS                              Wildfire               UNDETERMINED
        TODD B. BECKERBRIAN E.                                                          Litigation
        SHEARJASON BOYER                 ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105




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Creditor's Name, Mailing Address              Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.38771 MARKHAM ODELL                                  VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                          Litigation
        100077ALISON E. CORDOVA,             ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.38772 MARKHAM ODELL                                  VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                    Litigation
        WALKUP, MELODIA, KELLY &             ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38773 MARKHAM ODELL                                  VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                                   Litigation
        DREYER BABICH BUCCOLA                ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.38774 Markland, Richard Scott; Markland,             VARIOUS                              Wildfire               UNDETERMINED
        Dacia Renee; Markland, Jenna                                                        Litigation
        Renee (Minors, By And Through        ACCOUNT NO.: NOT AVAILABLE
        Their Guardian Ad Litem Dacia
        Renee Markland); Markland,
        Joshua Ryan (Minors, By And
        Through Their Guardian Ad Litem
        Dacia Renee Markland); Trimble,
        Tyler Austin
        Co-CounselDemetrios A.
        Sparacino
        SPARACINO LAW CORPORATIOn
        525 B Street, Suite 1500
        San Diego, CA 92101


3.38775 Markland, Richard Scott; Markland,             VARIOUS                              Wildfire               UNDETERMINED
        Dacia Renee; Markland, Jenna                                                        Litigation
        Renee (Minors, By And Through        ACCOUNT NO.: NOT AVAILABLE
        Their Guardian Ad Litem Dacia
        Renee Markland); Markland,
        Joshua Ryan (Minors, By And
        Through Their Guardian Ad Litem
        Dacia Renee Markland); Trimble,
        Tyler Austin
        Gerard SingletonErika L.
        VasquezAmanda LoCutro
        SINGLETON LAW FIRM
        115 West Plaza Street
        Solana Beach, CA 92075




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Creditor's Name, Mailing Address              Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.38776 Markland, Richard Scott; Markland,             VARIOUS                              Wildfire               UNDETERMINED
        Dacia Renee; Markland, Jenna                                                        Litigation
        Renee (Minors, By And Through        ACCOUNT NO.: NOT AVAILABLE
        Their Guardian Ad Litem Dacia
        Renee Markland); Markland,
        Joshua Ryan (Minors, By And
        Through Their Guardian Ad Litem
        Dacia Renee Markland); Trimble,
        Tyler Austin
        Elliot AdlerBrittany Zummer
        ADLER LAW GROUP, APLC
        420 W. Broadway, Suite 860
        San Diego, CA 92101


3.38777 MARKTALLY                                      VARIOUS                              Wildfire               UNDETERMINED
        MICHAELA. KELLY (SBN 71460)                                                         Litigation
        WALKUP MELODIA KELLY&                ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38778 MARKTALLY                                      VARIOUS                              Wildfire               UNDETERMINED
        BRIANJ. PANISH (SBN 116060)                                                         Litigation
        PANISH SHEA &BOYLE, LLP              ACCOUNT NO.: NOT AVAILABLE
        11111 SANTA MONICA BLVD.,
        SUITE 700
        LOS ANGELES, CA 90025


3.38779 MARKTALLY                                      VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA (SBN                                                              Litigation
        110909)                              ACCOUNT NO.: NOT AVAILABLE
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.38780 MARKTALLY                                      VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE (SBN                                                                 Litigation
        100077)ALISON E. CORDOVA             ACCOUNT NO.: NOT AVAILABLE
        (SBN 284942)JOHN P. THYKEN
        (SBN 286598)
        COTCHETT, PITRE &
        MCCARTHY, LLP
        SAN FRANCISCO AIRPORT
        OFFICE CENTER840 MALCOLM
        ROAD, SUITE 200
        BURLINGA, CALIFORNIA 94111


3.38781 MARKUS WRIGHT                                  VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                                    Litigation
        ABRAHAM, WATKINS, NICHOLS,           ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38782 MARKUS WRIGHT                             VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.38783 MARLA GIBSON                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38784 MARLA GIBSON                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.38785 MARLA GIBSON                              VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.38786 MARLA GIBSON                              VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38787 MARLA STEELE                              VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.38788 MARLA STEELE                              VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                               Litigation
        ABRAHAM, WATKINS, NICHOLS,      ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.38789 MARLENE FREEDMAN                          VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC VICE                                                      Litigation
        PENDING)JOHN P. FISKE           ACCOUNT NO.: NOT AVAILABLE
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.38790 MARLENE FREEDMAN                          VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONERIKA L.                                                       Litigation
        VASQUEZ AMANDA LOCURTO          ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.38791 MARLENE FREEDMAN                          VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ.                                                          Litigation
        TERRY SINGLETON, A.P.C.         ACCOUNT NO.: NOT AVAILABLE
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.38792 MARLENE FREEDMAN                          VARIOUS                              Wildfire               UNDETERMINED
        NATASHA SERINO                                                                 Litigation
        LAW OFFICES OF ALEXANDER        ACCOUNT NO.: NOT AVAILABLE
        M. SCHACK
        16870 WEST BERNARDO, STE
        400,
        SAN DIEGO, CA 92127




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38793 MARLENE FREEDMAN                          VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       IAN C. FUSSELMAN,
       ESQ.BRETT. J. SCHREIBER,
       ESQ.
       THORSNES BARTOLOTTA
       MCGUIRE LLP
       2550 FIFTH A VENUE, 11TH
       FLOOR
       SAN DIEGO, CALIFORNIA 92103


3.38794 MARLENE FREEDMAN                          VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIABDEBORAH S.                                                        Litigation
        DIXONROBERT J. CHAMBERS II      ACCOUNT NO.: NOT AVAILABLE
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.38795 MARLENE MORALES                           VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON BRETT                                                        Litigation
        R. PARKINSONDANIEL E.           ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.38796 MARLENE MORALES                           VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFFCOELL M.                                                          Litigation
        SIMMONS                         ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864


3.38797 MARLENE MORALES                           VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. FRIEDEMANN                                                             Litigation
        FRIEDEMANN GOLDBERG LLP         ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.38798 MARLENE MORALES                           VARIOUS                              Wildfire               UNDETERMINED
        JOHN N. DEMAS                                                                  Litigation
        DEMAS LAW GROUP, P.C.           ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38799 MARLENE TANFERANI                         VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.38800 MARLENE TANFERANI                         VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSON PAIGE                                                         Litigation
        BOLDT                           ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.38801 MARLENE TANFERANI                         VARIOUS                              Wildfire               UNDETERMINED
        ROY MILLER                                                                     Litigation
        HANSEN & MILLER LAW FIRM        ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.38802 MARLENE TUTHILL                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359 KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065


3.38803 MARLENE TUTHILL                           VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                    Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES- BAR NO.
       209113
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.38804 MARLENE TUTHILL                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.38805 MARLENE TUTHILL                            VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                     Litigation
        126782 AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669


3.38806 MARLENE WINDSOR                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38807 MARLENE WINDSOR                            VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.38808 MARLENE WINDSOR                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.38809 MARLENE WINDSOR                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.38810 MARLENE WINDSOR                            VARIOUS                              Wildfire               UNDETERMINED
        TODD B. BECKERBRIAN E.                                                          Litigation
        SHEARJASON BOYER                 ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105


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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38811 MARLYN JENVEY BAKER STARK                 VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38812 MARLYN JENVEY BAKER STARK                 VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                   Litigation
        ERIC RATINOFF LAW CORP.         ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.38813 MARLYN JENVEY BAKER STARK                 VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.38814 MARLYN JENVEY BAKER STARK                 VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                    Litigation
         REINER, SLAUGHTER &            ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.38815 MARLYN LOPEZ                              VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                       Litigation
        J. EBALLAR                      ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024


3.38816 MARLYN LOPEZ                              VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38817 MARNE COTTRIEL                            VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.38818 MARNE COTTRIEL                            VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.38819 MARNE COTTRIEL                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38820 MARNE COTTRIEL                            VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.38821 MARNE COTTRIEL                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.38822 MARON, BETTE                              VARIOUS                              Wildfire               UNDETERMINED
        1311 STEELE CANYON                                                             Litigation
        NAPA, CA 94558                  ACCOUNT NO.: NOT AVAILABLE


3.38823 MAROON, RENEE                             VARIOUS                              Wildfire               UNDETERMINED
        1080 LA LONDE LANE                                                             Litigation
        NAPA, CA 94558                  ACCOUNT NO.: NOT AVAILABLE




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38824 MARQUE HENSON                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38825 MARQUE HENSON                             VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.38826 MARQUE HENSON                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.38827 MARQUE HENSON                             VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.38828 MARQUE HENSON                             VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.38829 MARQUES HILL                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359 KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38830 MARQUES HILL                              VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                    Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.38831 MARQUES HILL                              VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782 AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669


3.38832 MARQUEZ GREENE                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38833 MARQUEZ GREENE                            VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                   Litigation
        ERIC RATINOFF LAW CORP.         ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.38834 MARQUEZ GREENE                            VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.38835 MARQUEZ GREENE                            VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                    Litigation
         REINER, SLAUGHTER &            ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


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Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.38836 Marquis Purdy                                  VARIOUS                              Wildfire               UNDETERMINED
        Dario De Ghetaldi - Bar No. 126782                                                  Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        Amanda L. Riddle - Bar No. 215221

        Steven M. Berki - Bar No. 245426

        Clare Capaccioli Velasquez - Bar
        No. 290466
        Corey, Luzaich, De Ghetaldi &
        Riddle LLP
        700 El Camino RealP.O. Box 669
        Millbrae, CA 94030-0669


3.38837 MARQUIS PURDY                                  VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                          Litigation
        111359 KRISTINE K.                   ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

        SHAWN R. MILLER- BAR NO.
        238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.38838 MARQUIS PURDY                                  VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                         Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        DYLAN HUGHES - BAR NO.
        209113 STEVEN A. LOPEZ -
        BAR NO. 300540
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.38839 MARQUITA NASH                                  VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                            Litigation
        AMANWILLIAM P. HARRIS                ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.38840 MARQUITA NASH                                  VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                                    Litigation
        ABRAHAM, WATKINS, NICHOLS,           ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38841 MARRITT, MARISA                           VARIOUS                              Wildfire               UNDETERMINED
        2349 HEIDI PLACE APT. 1                                                        Litigation
        SANTA ROSA, CA 95403            ACCOUNT NO.: NOT AVAILABLE


3.38842 MARSHA BRICK                              VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                           Litigation
        VICEPENDING)JOHN P. FISKE       ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.38843 MARSHA BRICK                              VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                          Litigation
        208783)ERIKA L. VASQUEZ         ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.38844 MARSHA BRICK                              VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                             Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.38845 MARSHA BRICK                              VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                     Litigation
        583 I 6)                        ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.38846 MARSHA BRICK                              VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
        (SBN 69176)IAN C.               ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38847 MARSHA HARLAN                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.38848 MARSHA HARLAN                             VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.38849 MARSHA HARLAN                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.38850 MARSHA HARLAN                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38851 MARSHA IVERSON                            VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38852 MARSHA IVERSON                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.38853 MARSHA IVERSON                            VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.38854 MARSHA IVERSON                            VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.38855 MARSHA IVERSON                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38856 MARSHA SITZMAN                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.38857 MARSHA SITZMAN                            VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                         Litigation
        STATE BAR NO. 296841)PAIGE      ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704




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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.38858 MARSHA TANIA DUNLAP                        VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.38859 MARSHA TANIA DUNLAP                        VARIOUS                              Wildfire               UNDETERMINED
        TODD B. BECKERBRIAN E.                                                          Litigation
        SHEARJASON BOYER                 ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105


3.38860 MARSHA TANIA DUNLAP                        VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.38861 MARSHA TANIA DUNLAP                        VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38862 MARSHA TANIA DUNLAP                        VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.38863 MARSHALL SAYEGH                            VARIOUS                              Wildfire               UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                         Litigation
        WEAVER                           ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38864 MARSHALL SAYEGH                           VARIOUS                              Wildfire               UNDETERMINED
        ALEXANDER M.                                                                   Litigation
        SCHACKNATASHA N. SERINO         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.38865 MARSHALL SAYEGH                           VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN B. MURRAY,                                                             Litigation
        SR.JESSICA HAYES                ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.38866 MARSHALL, CAROL                           VARIOUS                              Wildfire               UNDETERMINED
        6367 PINE VALLEY DR                                                            Litigation
        SANTA ROSA, CA 95409            ACCOUNT NO.: NOT AVAILABLE


3.38867 MARSHALL, CYNTHIA                         VARIOUS                              Wildfire               UNDETERMINED
        1071 STEELE CANYON RD                                                          Litigation
        NAPA, CA 94558                  ACCOUNT NO.: NOT AVAILABLE


3.38868 MARSHALL, DAWN                            VARIOUS                              Wildfire               UNDETERMINED
        4994 PONDEROSA DRIVE                                                           Litigation
        SANTA ROSA, CA 95404            ACCOUNT NO.: NOT AVAILABLE


3.38869 MARSHALL, ROBERT;                 VARIOUS                                      Wildfire               UNDETERMINED
        MARSHALL, JUDITH                                                               Litigation
        CO-COUNSELDEMETRIOS A.    ACCOUNT NO.: NOT AVAILABLE
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.38870 MARSHALL, ROBERT;                         VARIOUS                              Wildfire               UNDETERMINED
        MARSHALL, JUDITH                                                               Litigation
        GERARD SINGLETONERIKA L.        ACCOUNT NO.: NOT AVAILABLE
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.38871 MARSHALL, ROBERT;                         VARIOUS                              Wildfire               UNDETERMINED
        MARSHALL, JUDITH                                                               Litigation
        ELLIOT ADLERBRITTANY            ACCOUNT NO.: NOT AVAILABLE
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38872 MARSHALL, TERRY                           VARIOUS                              Wildfire               UNDETERMINED
        5778 OWL LIGHT TERRACE                                                         Litigation
        SANTA ROSA, CA 95409            ACCOUNT NO.: NOT AVAILABLE


3.38873 MARTA RODRIGUEZ-MAGANA                    VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                           Litigation
        VICEPENDING)JOHN P. FISKE       ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.38874 MARTA RODRIGUEZ-MAGANA                    VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                          Litigation
        208783)ERIKA L. VASQUEZ         ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.38875 MARTA RODRIGUEZ-MAGANA                    VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                             Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.38876 MARTA RODRIGUEZ-MAGANA                    VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
        (SBN 69176)IAN C.               ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.38877 MARTA RODRIGUEZ-MAGANA                    VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                     Litigation
        583 I 6)                        ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38878 MARTHA BESSEGHINI                         VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR.,SBN                                                        Litigation
        60768ANGELA JAE CHUN, SBN       ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCAVILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101


3.38879 MARTHA BESSEGHINI                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38880 MARTHA BESSEGHINI                         VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                       Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.38881 MARTHA BESSEGHINI                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAELS. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.38882 MARTHA DANIELA VERDE                      VARIOUS                              Wildfire               UNDETERMINED
        SALINAS                                                                        Litigation
        BILL ROBINS III (SBN            ACCOUNT NO.: NOT AVAILABLE
        296101)ROBERT T. BRYSON
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.38883 MARTHA DEKAY-BEMIS                        VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                         Litigation
        STATE BAR NO. 296841)PAIGE      ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704




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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.38884 MARTHA DEKAY-BEMIS                         VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                        Litigation
        NO. 197687)                      ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.38885 MARTHA GRAYBILL                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38886 MARTHA GRAYBILL                            VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.38887 MARTHA GRAYBILL                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.38888 MARTHA GRAYBILL                            VARIOUS                              Wildfire               UNDETERMINED
        TODD B. BECKERBRIAN E.                                                          Litigation
        SHEARJASON BOYER                 ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105


3.38889 MARTHA GRAYBILL                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38890 MARTHA HERBERT                            VARIOUS                              Wildfire               UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                        Litigation
        WEAVER                          ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.38891 MARTHA HERBERT                            VARIOUS                              Wildfire               UNDETERMINED
        ALEXANDER M.                                                                   Litigation
        SCHACKNATASHA N. SERINO         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.38892 MARTHA HERBERT                            VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN B. MURRAY,                                                             Litigation
        SR.JESSICA HAYES                ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.38893 MARTHA LAMBERTS                           VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.38894 MARTHA LAMBERTS                           VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.38895 MARTHA LAMBERTS                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.38896 MARTHA LAMBERTS                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                      Litigation
        111359KRISTINE K.                ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.38897 MARTHA LOW                                 VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA, ESQ. /                                                       Litigation
        SBN: 110909ANDREA R.             ACCOUNT NO.: NOT AVAILABLE
        CROWL, ESQ. / SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.38898 MARTHA LOW                                 VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.38899 MARTHA LOW                                 VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38900 MARTHA LOW                                 VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.38901 MARTHA LOW                                 VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38902 MARTHA MARTINEZ                           VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS III (SBN                                                           Litigation
        296101)ROBERT T. BRYSON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.38903 MARTHA MCKENNA                            VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                         Litigation
        STATE BAR NO. 296841)PAIGE      ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.38904 MARTHA MCKENNA                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.38905 MARTHA MICHELLE BUNCH                     VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.38906 MARTHA MICHELLE BUNCH                     VARIOUS                              Wildfire               UNDETERMINED
        DOUGLAS BOXER (CAL. STATE                                                      Litigation
        BAR NO. 154226)                 ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICE OF DOUGLAS
        BOXER
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.38907 MARTHA MICHELLE BUNCH                     VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108



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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38908 MARTHA MICHELLE BUNCH                     VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.38909 MARTHA MILNER                             VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. THOMPSON                                                             Litigation
        THOMPSON LAW OFFICES, P.C.      ACCOUNT NO.: NOT AVAILABLE
        700 AIRPORT BLVD., SUITE 160
        BURLINGAME, CA 94010


3.38910 MARTHA NORTON                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359 KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065


3.38911 MARTHA NORTON                             VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782 AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669


3.38912 MARTHA NORTON                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                    Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38913 MARTHA TROCHA                             VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. THOMPSON                                                             Litigation
        THOMPSON LAW OFFICES, P.C.      ACCOUNT NO.: NOT AVAILABLE
        700 AIRPORT BLVD., SUITE 160
        BURLINGAME, CA 94010


3.38914 MARTIN ALAN MARCINK                       VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38915 MARTIN ALAN MARCINK                       VARIOUS                              Wildfire               UNDETERMINED
        BONNIE E. KANE, ESQ., SBN:                                                     Litigation
        167700STEVEN S. KANE, ESQ.,     ACCOUNT NO.: NOT AVAILABLE
        SBN: 061670
        THE KANE LAW FIRM
        402 W. BROADWAY, SUITE 2500
        SAN DIEGO, CA 92101


3.38916 MARTIN ALAN MARCINK                       VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228BRETT R. PARKINSON,      ACCOUNT NO.: NOT AVAILABLE
        ESQ., #230150
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.38917 MARTIN ALAN MARCINK                       VARIOUS                              Wildfire               UNDETERMINED
        ANTHONY R. LAURETI, ESQ.,                                                      Litigation
        SBN: 147086                     ACCOUNT NO.: NOT AVAILABLE
        LAURETI & ASSOCIATES, APC
        402 W. BROADWAY, SUITE 2500
        SAN DIEGO, CA 9210 I


3.38918 MARTIN COLRIDGE                           VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                         Litigation
        STATE BAR NO. 296841)PAIGE      ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38919 MARTIN COLRIDGE                           VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.38920 MARTIN DUNCAN                             VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.38921 MARTIN DUNCAN                             VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZ, ESQ.PHILIP                                                    Litigation
        C. AMAN, ESQ.WILLIAM P.         ACCOUNT NO.: NOT AVAILABLE
        HARRIS III, ESQ.M. REGINA
        BAGDASARIAN, ESQ.GEORGE
        T. STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.38922 MARTIN DUNCAN                             VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                       Litigation
        J. EBALLAR                      ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024


3.38923 MARTIN DUNCAN                             VARIOUS                              Wildfire               UNDETERMINED
        RICHARD K. BRIDGFORD,                                                          Litigation
        ESQ.MICHAEL H. ARTINIAN,        ACCOUNT NO.: NOT AVAILABLE
        ESQ.
        BRIDGFORD, GLEASON &
        ARTINIAN
        3558 ROUND BARN BLVD.,
        SUITE 215
        SANTA ROSA, CA 95403




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Including Zip Code                                   Account Number                            Claim

Wildfire Claims

3.38924 MARTIN DUNCAN                                   VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                             Litigation
        J. EBALLAR                            ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        3558 ROUND BARN BLVD.,
        SUITE 215
        SANTA ROSA, CA 95403


3.38925 MARTIN INN                                      VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                             Litigation
        NO. 197687)                           ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX,
        P.C.
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.38926 Martin Inn                                      VARIOUS                              Wildfire               UNDETERMINED
        Mikal C. Watts (Pro Hae Vice                                                         Litigation
        application anticipated)Guy           ACCOUNT NO.: NOT AVAILABLE
        Watts, II (Pro Hae Vice application
        anticipated)Ryan L. Thompson
        (Cal. State Bar No. 296841)Paige
        Boldt (Cal. State Bar No. 308772)
        Watts Guerra LLP
        811 Barton Springs Rd., Ste. 725
        Austin, Texas 78704


3.38927 MARTIN J CHERVELLERA                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                     Litigation
        WALKUP, MELODIA, KELLY &              ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38928 MARTIN J CHERVELLERA                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                                    Litigation
        DREYER BABICH BUCCOLA                 ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.38929 MARTIN J CHERVELLERA                            VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                              Litigation
        125868JUSTIN J. EBALLAR,              ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38930 MARTIN J CHERVELLERA                      VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.38931 MARTIN J CHERVELLERA                      VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.38932 MARTIN KECK                               VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228BRETT R. PARKINSON,      ACCOUNT NO.: NOT AVAILABLE
        ESQ., #230150
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.38933 MARTIN KECK                               VARIOUS                              Wildfire               UNDETERMINED
        BONNIE E. KANE, ESQ., SBN:                                                     Litigation
        167700STEVEN S. KANE, ESQ.,     ACCOUNT NO.: NOT AVAILABLE
        SBN: 061670
        THE KANE LAW FIRM
        402 W. BROADWAY, SUITE 2500
        SAN DIEGO, CA 92101


3.38934 MARTIN KECK                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38935 MARTIN KECK                               VARIOUS                              Wildfire               UNDETERMINED
        ANTHONY R. LAURETI, ESQ.,                                                      Litigation
        SBN: 147086                     ACCOUNT NO.: NOT AVAILABLE
        LAURETI & ASSOCIATES, APC
        402 W. BROADWAY, SUITE 2500
        SAN DIEGO, CA 9210 I




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38936 MARTIN PETKOV                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38937 MARTIN PETKOV                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.38938 MARTIN PETKOV                             VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.38939 MARTIN PETKOV                             VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.38940 MARTIN PETKOV                             VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.38941 MARTIN RIVERA GARCIA                      VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS III (SBN                                                           Litigation
        296101)ROBERT T. BRYSON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401




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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.38942 MARTIN SCHUMACHER                          VARIOUS                              Wildfire               UNDETERMINED
        TODD B. BECKERBRIAN E.                                                          Litigation
        SHEARJASON BOYER                 ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105


3.38943 MARTIN SCHUMACHER                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.38944 MARTIN SCHUMACHER                          VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.38945 MARTIN SCHUMACHER                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.38946 MARTIN SCHUMACHER                          VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.38947 MARTIN, AMANDA RHEANNE;                    VARIOUS                              Wildfire               UNDETERMINED
        LOPEZ, ANTHONY RENE;                                                            Litigation
        LOPEZ, NAYELLA BOE (A            ACCOUNT NO.: NOT AVAILABLE
        MINOR, BY AND THROUGH HER
        GUARDIAN AD LITEM ANTHONY
        RENE LOPEZ)
        ELLIOT ADLERBRITTANY
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38948 MARTIN, AMANDA RHEANNE;           VARIOUS                                      Wildfire               UNDETERMINED
        LOPEZ, ANTHONY RENE;                                                           Litigation
        LOPEZ, NAYELLA BOE (A     ACCOUNT NO.: NOT AVAILABLE
        MINOR, BY AND THROUGH HER
        GUARDIAN AD LITEM ANTHONY
        RENE LOPEZ)
        CO-COUNSELDEMETRIOS A.
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.38949 MARTIN, AMANDA RHEANNE;                   VARIOUS                              Wildfire               UNDETERMINED
        LOPEZ, ANTHONY RENE;                                                           Litigation
        LOPEZ, NAYELLA BOE (A           ACCOUNT NO.: NOT AVAILABLE
        MINOR, BY AND THROUGH HER
        GUARDIAN AD LITEM ANTHONY
        RENE LOPEZ)
        GERARD SINGLETONERIKA L.
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.38950 MARTIN, DAVID                             VARIOUS                              Wildfire               UNDETERMINED
        202 CENTRAL HOUSE RD                                                           Litigation
        OROVILLE, CA 95965              ACCOUNT NO.: NOT AVAILABLE


3.38951 MARTIN, DAVIE ALLAN; MARTIN,              VARIOUS                              Wildfire               UNDETERMINED
        DUSTIN HERVEY; MARTIN, NINA                                                    Litigation
        LAVONNE                         ACCOUNT NO.: NOT AVAILABLE
        GERARD SINGLETONERIKA L.
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.38952 MARTIN, DAVIE ALLAN; MARTIN,         VARIOUS                                   Wildfire               UNDETERMINED
        DUSTIN HERVEY; MARTIN, NINA                                                    Litigation
        LAVONNE                      ACCOUNT NO.: NOT AVAILABLE
        CO-COUNSELDEMETRIOS A.
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.38953 MARTIN, DAVIE ALLAN; MARTIN,              VARIOUS                              Wildfire               UNDETERMINED
        DUSTIN HERVEY; MARTIN, NINA                                                    Litigation
        LAVONNE                         ACCOUNT NO.: NOT AVAILABLE
        ELLIOT ADLERBRITTANY
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38954 MARTIN, FRED                              VARIOUS                              Wildfire               UNDETERMINED
        PO BOX 207                                                                     Litigation
        MIDDLETOWN, CA 95461            ACCOUNT NO.: NOT AVAILABLE


3.38955 MARTIN, GEORGE MERRIELL                   VARIOUS                              Wildfire               UNDETERMINED
        GERARD SINGLETONERIKA L.                                                       Litigation
        VASQUEZAMANDA LOCUTRO           ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.38956 MARTIN, GEORGE MERRIELL           VARIOUS                                      Wildfire               UNDETERMINED
        CO-COUNSELDEMETRIOS A.                                                         Litigation
        SPARACINO                 ACCOUNT NO.: NOT AVAILABLE
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.38957 MARTIN, GEORGE MERRIELL                   VARIOUS                              Wildfire               UNDETERMINED
        ELLIOT ADLERBRITTANY                                                           Litigation
        ZUMMER                          ACCOUNT NO.: NOT AVAILABLE
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.38958 MARTIN, JAMES ERNEST                      VARIOUS                              Wildfire               UNDETERMINED
        (INDIVIDUALLY, AND AS AN                                                       Litigation
        AGENT OF MARTIN REALTY)         ACCOUNT NO.: NOT AVAILABLE
        ELLIOT ADLER
        402 W BROADWAY
        SUITE 860
        SAN DIEGO, CA 92101


3.38959 MARTIN, JAMES ERNEST                      VARIOUS                              Wildfire               UNDETERMINED
        (INDIVIDUALLY, AND AS AN                                                       Litigation
        AGENT OF MARTIN REALTY)         ACCOUNT NO.: NOT AVAILABLE
        CO-COUNSEL
        525 B STREET
        SUITE 1500
        SAN DIEGO, CA 92101


3.38960 MARTIN, JAMES ERNEST                      VARIOUS                              Wildfire               UNDETERMINED
        (INDIVIDUALLY, AND AS AN                                                       Litigation
        AGENT OF MARTIN REALTY)         ACCOUNT NO.: NOT AVAILABLE
        GERALD SINGLETON
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.38961 MARTIN, LIZBETH                           VARIOUS                              Wildfire               UNDETERMINED
        1819 MONARCH DR                                                                Litigation
        NAPA, CA 94558                  ACCOUNT NO.: NOT AVAILABLE



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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38962 MARTIN, MICHAEL; BAIRD-                   VARIOUS                              Wildfire               UNDETERMINED
        MARTIN, SHANNON                                                                Litigation
        ELLIOT ADLERBRITTANY            ACCOUNT NO.: NOT AVAILABLE
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.38963 MARTIN, MICHAEL; BAIRD-                   VARIOUS                              Wildfire               UNDETERMINED
        MARTIN, SHANNON                                                                Litigation
        GERARD SINGLETONERIKA L.        ACCOUNT NO.: NOT AVAILABLE
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.38964 MARTIN, MICHAEL; BAIRD-           VARIOUS                                      Wildfire               UNDETERMINED
        MARTIN, SHANNON                                                                Litigation
        CO-COUNSELDEMETRIOS A.    ACCOUNT NO.: NOT AVAILABLE
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.38965 MARTIN, MICHAEL; BAIRD-                   VARIOUS                              Wildfire               UNDETERMINED
        MARTIN, SHANNON; + MINORS                                                      Litigation
        TRAVIS MARTIN AND ADDISON       ACCOUNT NO.: NOT AVAILABLE
        MARTIN THROUGH GAL
        SHANNON BAIRD-MARTIN
        ELLIOT ADLERBRITTANY
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.38966 MARTIN, MICHAEL; BAIRD-                   VARIOUS                              Wildfire               UNDETERMINED
        MARTIN, SHANNON; + MINORS                                                      Litigation
        TRAVIS MARTIN AND ADDISON       ACCOUNT NO.: NOT AVAILABLE
        MARTIN THROUGH GAL
        SHANNON BAIRD-MARTIN
        GERARD SINGLETONERIKA L.
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075




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Including Zip Code                                 Account Number                            Claim

Wildfire Claims

3.38967 MARTIN, MICHAEL; BAIRD-           VARIOUS                                          Wildfire               UNDETERMINED
        MARTIN, SHANNON; + MINORS                                                          Litigation
        TRAVIS MARTIN AND ADDISON ACCOUNT NO.: NOT AVAILABLE
        MARTIN THROUGH GAL
        SHANNON BAIRD-MARTIN
        CO-COUNSELDEMETRIOS A.
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.38968 Martin, Nadine Aderhold                       VARIOUS                              Wildfire               UNDETERMINED
        (Individually, And As Trustee Of                                                   Litigation
        The Martin Family Trust, Dated 7-   ACCOUNT NO.: NOT AVAILABLE
        22-99, and As Representative Of
        The Estate Of Gene Douglas
        Martin)
        Co-CounselDemetrios A.
        Sparacino
        SPARACINO LAW CORPORATIOn
        525 B Street, Suite 1500
        San Diego, CA 92101


3.38969 Martin, Nadine Aderhold                       VARIOUS                              Wildfire               UNDETERMINED
        (Individually, And As Trustee Of                                                   Litigation
        The Martin Family Trust, Dated 7-   ACCOUNT NO.: NOT AVAILABLE
        22-99, and As Representative Of
        The Estate Of Gene Douglas
        Martin)
        Elliot AdlerBrittany Zummer
        ADLER LAW GROUP, APLC
        420 W. Broadway, Suite 860
        San Diego, CA 92101


3.38970 Martin, Nadine Aderhold                       VARIOUS                              Wildfire               UNDETERMINED
        (Individually, And As Trustee Of                                                   Litigation
        The Martin Family Trust, Dated 7-   ACCOUNT NO.: NOT AVAILABLE
        22-99, and As Representative Of
        The Estate Of Gene Douglas
        Martin)
        Gerard SingletonErika L.
        VasquezAmanda LoCutro
        SINGLETON LAW FIRM
        115 West Plaza Street
        Solana Beach, CA 92075


3.38971 MARTIN, NONA                                  VARIOUS                              Wildfire               UNDETERMINED
        6729 HUPP COUTOLENC RD                                                             Litigation
        MAGALIA, CA 95954                   ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38972 MARTIN, ROBERT G (RELATED                 VARIOUS                              Wildfire               UNDETERMINED
        TO DALTON, HELEN AND                                                           Litigation
        SHAMBERGER, RYAN)               ACCOUNT NO.: NOT AVAILABLE
        ELLIOT ADLERBRITTANY
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.38973 MARTIN, ROBERT G (RELATED         VARIOUS                                      Wildfire               UNDETERMINED
        TO DALTON, HELEN AND                                                           Litigation
        SHAMBERGER, RYAN)         ACCOUNT NO.: NOT AVAILABLE
        CO-COUNSELDEMETRIOS A.
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.38974 MARTIN, ROBERT G (RELATED                 VARIOUS                              Wildfire               UNDETERMINED
        TO DALTON, HELEN AND                                                           Litigation
        SHAMBERGER, RYAN)               ACCOUNT NO.: NOT AVAILABLE
        GERARD SINGLETONERIKA L.
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.38975 MARTIN, RUBEN                             VARIOUS                              Wildfire               UNDETERMINED
        1639 TAINTER ST                                                                Litigation
        SAINT HELENA, CA 94574          ACCOUNT NO.: NOT AVAILABLE


3.38976 MARTIN, ZACARIAS                          VARIOUS                              Wildfire               UNDETERMINED
        1195 W. COLLAGE                                                                Litigation
        SANTA ROSA, CA 95401            ACCOUNT NO.: NOT AVAILABLE


3.38977 MARTINDALE, RICHARD                       VARIOUS                              Wildfire               UNDETERMINED
        420 LUCCA CT                                                                   Litigation
        SONOMA, CA 95476                ACCOUNT NO.: NOT AVAILABLE


3.38978 MARTINEZ, ADRIAN                          VARIOUS                              Wildfire               UNDETERMINED
        142 BRUSH CREEK RD                                                             Litigation
        SANTA ROSA, CA 95404            ACCOUNT NO.: NOT AVAILABLE


3.38979 MARTINEZ, CARMEN                          VARIOUS                              Wildfire               UNDETERMINED
        30 W SPAIN STREET # 24                                                         Litigation
        SONOMA, CA 95476                ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38980 MARTINEZ, JACOB                           VARIOUS                              Wildfire               UNDETERMINED
        DANIEL G. WHALEN                                                               Litigation
        ENGSTROM LIPSCOMB & LACK        ACCOUNT NO.: NOT AVAILABLE
        10100 SANTA MONICA BLVD.,
        12TH FLOOR
        LOS ANGELES, CA 90067


3.38981 MARTINEZ, JANET                           VARIOUS                              Wildfire               UNDETERMINED
        2727 TACHEVAH DR. APT # 20                                                     Litigation
        SANTA ROSA, CA 95405            ACCOUNT NO.: NOT AVAILABLE


3.38982 MARTINEZ, JAUN                            VARIOUS                              Wildfire               UNDETERMINED
        6680 SONOMA MNT RD #13                                                         Litigation
        GLEN ELLEN, CA 95442            ACCOUNT NO.: NOT AVAILABLE


3.38983 MARTINEZ, PATRICIA                        VARIOUS                              Wildfire               UNDETERMINED
        2170 TROWER AVE                                                                Litigation
        NAPA, CA 94558                  ACCOUNT NO.: NOT AVAILABLE


3.38984 MARTINEZ, PAUL T.; MARTINEZ,              VARIOUS                              Wildfire               UNDETERMINED
        ANTHONY D., AS TRUSTEES OF                                                     Litigation
        THE MARTINEZ FAMILY TRUST       ACCOUNT NO.: NOT AVAILABLE
        GERARD SINGLETONERIKA L.
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.38985 MARTINEZ, PAUL T.; MARTINEZ,         VARIOUS                                   Wildfire               UNDETERMINED
        ANTHONY D., AS TRUSTEES OF                                                     Litigation
        THE MARTINEZ FAMILY TRUST    ACCOUNT NO.: NOT AVAILABLE
        CO-COUNSELDEMETRIOS A.
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.38986 MARTINEZ, PAUL T.; MARTINEZ,              VARIOUS                              Wildfire               UNDETERMINED
        ANTHONY D., AS TRUSTEES OF                                                     Litigation
        THE MARTINEZ FAMILY TRUST       ACCOUNT NO.: NOT AVAILABLE
        ELLIOT ADLERBRITTANY
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.38987 MARTINEZ, ROBERT                          VARIOUS                              Wildfire               UNDETERMINED
        120 CARINA CT                                                                  Litigation
        SANTA ROSA, CA 95401            ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38988 MARTINEZ, VERONICA                        VARIOUS                              Wildfire               UNDETERMINED
        1714 WASHINGTON ST                                                             Litigation
        APT 13                          ACCOUNT NO.: NOT AVAILABLE
        CALISTOGA, CA 94515


3.38989 MARTY COSTA                               VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS IIIROBERT T.                                                       Litigation
        BRYSONKEVIN M. POLLACK          ACCOUNT NO.: NOT AVAILABLE
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.38990 MARTY PARADISE DBA                        VARIOUS                              Wildfire               UNDETERMINED
        PARADISE TOURS LLC                                                             Litigation
        SCOTT SUMMY (PRO HAC VICE       ACCOUNT NO.: NOT AVAILABLE
        PENDING)JOHN P. FISKE
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.38991 MARTY PARADISE DBA                        VARIOUS                              Wildfire               UNDETERMINED
        PARADISE TOURS LLC                                                             Litigation
        GERALD SINGLETONERIKA L.        ACCOUNT NO.: NOT AVAILABLE
        VASQUEZ AMANDA LOCURTO
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.38992 MARTY PARADISE DBA                        VARIOUS                              Wildfire               UNDETERMINED
        PARADISE TOURS LLC                                                             Litigation
        AHMED S. DIABDEBORAH S.         ACCOUNT NO.: NOT AVAILABLE
        DIXONROBERT J. CHAMBERS II
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.38993 MARTY PARADISE DBA                        VARIOUS                              Wildfire               UNDETERMINED
        PARADISE TOURS LLC                                                             Litigation
        JOHN F. MCGUIRE, JR., ESQ.      ACCOUNT NO.: NOT AVAILABLE

       IAN C. FUSSELMAN,
       ESQ.BRETT. J. SCHREIBER,
       ESQ.
       THORSNES BARTOLOTTA
       MCGUIRE LLP
       2550 FIFTH A VENUE, 11TH
       FLOOR
       SAN DIEGO, CALIFORNIA 92103




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.38994 MARTY PARADISE DBA                        VARIOUS                              Wildfire               UNDETERMINED
        PARADISE TOURS LLC                                                             Litigation
        NATASHA SERINO                  ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BERNARDO, STE
        400,
        SAN DIEGO, CA 92127


3.38995 MARTY PARADISE DBA                        VARIOUS                              Wildfire               UNDETERMINED
        PARADISE TOURS LLC                                                             Litigation
        TERRY SINGLETON, ESQ.           ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.38996 MARTY, ALFRED                             VARIOUS                              Wildfire               UNDETERMINED
        P.O. BOX 1133                                                                  Litigation
        GLEN ELLEN, CA 95442            ACCOUNT NO.: NOT AVAILABLE


3.38997 MARTY, ALFRED                             VARIOUS                              Wildfire               UNDETERMINED
        580 TRINITY RD                                                                 Litigation
        GLEN ELLEN, CA 95442            ACCOUNT NO.: NOT AVAILABLE


3.38998 MARVIN F. OWENSBY                         VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.38999 MARVIN F. OWENSBY                         VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                         Litigation
        DOMENIC MARTINI                 ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103


3.39000 MARVIN F. OWENSBY                         VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39001 MARVIN F. OWENSBY                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39002 MARVIN F. OWENSBY                         VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.39003 MARVIN N BENNETT                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39004 MARVIN N BENNETT                          VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.39005 MARVIN N BENNETT                          VARIOUS                              Wildfire               UNDETERMINED
        DOUGLAS BOXER (CAL. STATE                                                      Litigation
        BAR NO. 154226)                 ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICE OF DOUGLAS
        BOXER
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.39006 MARVIN N BENNETT                          VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39007 MARVIN TROTTER                            VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL                                                                  Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.39008 MARVIN TROTTER                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG                                                            Litigation
        MICHAEL S. FEINBERG, APLC       ACCOUNT NO.: NOT AVAILABLE
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.39009 MARVIN TROTTER                            VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR., SBN                                                       Litigation
        60768GAYLE M. BLATT, SBN        ACCOUNT NO.: NOT AVAILABLE
        122048ANGELA JAE CHUN,
        SBN 248571
        CASEY GERRY SCHENK
        FRANKCA VILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101


3.39010 MARVIN, JAMES MICHAEL                     VARIOUS                              Wildfire               UNDETERMINED
        (INDIVIDUALLY, AND AS DOING                                                    Litigation
        BUSINESS AS BIG JOHN'S)         ACCOUNT NO.: NOT AVAILABLE
        GERALD SINGLETON
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.39011 MARVIN, JAMES MICHAEL                     VARIOUS                              Wildfire               UNDETERMINED
        (INDIVIDUALLY, AND AS DOING                                                    Litigation
        BUSINESS AS BIG JOHN'S)         ACCOUNT NO.: NOT AVAILABLE
        ELLIOT ADLER
        402 W BROADWAY
        SUITE 860
        SAN DIEGO, CA 92101


3.39012 MARVIN, JAMES MICHAEL                     VARIOUS                              Wildfire               UNDETERMINED
        (INDIVIDUALLY, AND AS DOING                                                    Litigation
        BUSINESS AS BIG JOHN'S)         ACCOUNT NO.: NOT AVAILABLE
        CO-COUNSEL
        525 B STREET
        SUITE 1500
        SAN DIEGO, CA 92101


3.39013 MARWAN JARADAH                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108



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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.39014 MARWAN JARADAH                             VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.39015 MARWAN JARADAH                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.39016 MARWAN JARADAH                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.39017 MARWAN JARADAH                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA, ESQ. /                                                       Litigation
        SBN: 110909ANDREA R.             ACCOUNT NO.: NOT AVAILABLE
        CROWL, ESQ. / SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.39018 MARY A. PERRON                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39019 MARY A. PERRON                             VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                          Litigation
        DOMENIC MARTINI                  ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39020 MARY A. PERRON                            VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.39021 MARY A. PERRON                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.39022 MARY A. PERRON                            VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.39023 MARY ANN CEGLARSKI-                       VARIOUS                              Wildfire               UNDETERMINED
        SHERWIN                                                                        Litigation
        RYAN L. THOMPSONPAIGE           ACCOUNT NO.: NOT AVAILABLE
        BOLDT
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.39024 MARY ANN CEGLARSKI-                       VARIOUS                              Wildfire               UNDETERMINED
        SHERWIN                                                                        Litigation
        JOHN COX                        ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.39025 MARY ANN CEGLARSKI-                       VARIOUS                              Wildfire               UNDETERMINED
        SHERWIN                                                                        Litigation
        ROY MILLER                      ACCOUNT NO.: NOT AVAILABLE
        HANSEN & MILLER LAW FIRM
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.39026 MARY ANN CHRISTINE ETTER                  VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39027 MARY ANN CHRISTINE ETTER                  VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.39028 MARY ANN CHRISTINE ETTER                  VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZ, ESQ., SBN                                                     Litigation
        87492WILLIAM P. HARRIS III,     ACCOUNT NO.: NOT AVAILABLE
        ESQ., SBN 123575M. REGINA
        BAGDASARIAN, ESQ., SBN
        296219GEORGE T. STIEFEL,
        ESQ., SBN. 297611
        FRANTZ LAW GROUP, APLC
        770 L STREET, SUITE 950
        SACRAMENTO, CA 95814


3.39029 MARY ANN CHRISTINE ETTER                  VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.39030 MARY ANN CHRISTINE ETTER                  VARIOUS                              Wildfire               UNDETERMINED
        RICHARD K. BRIDGFORD, ESQ.,                                                    Litigation
        SBN 119554MICHAEL H.            ACCOUNT NO.: NOT AVAILABLE
        ARTINIAN, ESQ., SBN 203443
        BRIDGFORD, GLEASON, &
        ARTINIAN
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.39031 MARY BALL                                 VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39032 MARY BALL                                 VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                   Litigation
        ERIC RATINOFF LAW CORP.         ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39033 MARY BALL                                 VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.39034 MARY BALL                                 VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                    Litigation
         REINER, SLAUGHTER &            ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.39035 MARY BAUER                                VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.39036 MARY BAUER                                VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                       Litigation
        J. EBALLAR                      ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024


3.39037 MARY BROWN                                VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612




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Including Zip Code                                 Account Number                            Claim

Wildfire Claims

3.39038 MARY BROWN                                    VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                        Litigation
        126782AMANDA L. RIDDLE -            ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.39039 MARY BROWN                                    VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                           Litigation
        A. BAGHDADI                         ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39040 MARY BROWN                                    VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                         Litigation
        111359KRISTINE K.                   ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.39041 MARY BROWN                                    VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                           Litigation
        NO. 197687)                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX,
        P.C.
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.39042 Mary Brown                                    VARIOUS                              Wildfire               UNDETERMINED
        Mikal C. Watts (Pro Hae Vice                                                       Litigation
        application anticipated)Guy Watts   ACCOUNT NO.: NOT AVAILABLE
        (Pro Hae Vice application
        anticipated)Ryan L. Thompson
        (Cal. State Bar No. 296841)Paige
        Boldt (Cal. State Bar No. 308772)
        Watts Guerra LLP
        Watts Guerra LLP
        811 Barton Springs Rd., Ste. 725
        Austin, Texas 78704




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Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.39043 MARY CHADDHA                                   VARIOUS                              Wildfire               UNDETERMINED
        MARY E. ALEXANDER,                                                                  Litigation
        ESQJENNIFER L. FIORE,                ACCOUNT NO.: NOT AVAILABLE
        ESQSOPHIA M. ASLAMI, ESQ
        MARY ALEXANDER &
        ASSOCIATES, P.C.
        44 MONTGOMERY STREET,
        SUITE 1303
        SAN FRANCISCO, CA 94104


3.39044 MARY CONNAWAY                                  VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                          Litigation
        111359 KRISTINE K.                   ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

        SHAWN R. MILLER- BAR NO.
        238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.39045 Mary Connaway                                  VARIOUS                              Wildfire               UNDETERMINED
        Dario De Ghetaldi - Bar No. 126782                                                  Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        Amanda L. Riddle - Bar No. 215221

        Steven M. Berki - Bar No. 245426

        Clare Capaccioli Velasquez - Bar
        No. 290466
        Corey, Luzaich, De Ghetaldi &
        Riddle LLP
        700 El Camino RealP.O. Box 669
        Millbrae, CA 94030-0669


3.39046 MARY CONNAWAY                                  VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                         Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        DYLAN HUGHES - BAR NO.
        209113 STEVEN A. LOPEZ -
        BAR NO. 300540
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.39047 MARY COURSEN                                   VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                            Litigation
        #117228BRETT R. PARKINSON,           ACCOUNT NO.: NOT AVAILABLE
        ESQ., #230150DANIEL E.
        PASSMORE, ESQ., #312155
        JACKSON &PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39048 MARY COURSEN                              VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ.,                                                           Litigation
        #166204COELL M. SIMMONS,        ACCOUNT NO.: NOT AVAILABLE
        ESQ., #292218
        ERIC RATINOFF LAW CORP
        401 WATT AVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.39049 MARY COURSEN                              VARIOUS                              Wildfire               UNDETERMINED
        JOHN N. DEMAS, ESQ., #161563                                                   Litigation
        DEMAS LAW GROUP, P.C.           ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.39050 MARY COURSEN                              VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. FRIEDEMANN, ESQ.,                                                      Litigation
        #115632                         ACCOUNT NO.: NOT AVAILABLE
        FRIEDEMANN GOLDBERG LLP
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.39051 MARY CRIBBINS-HICKMAN                     VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.39052 MARY CRIBBINS-HICKMAN                     VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSON PAIGE                                                         Litigation
        BOLDT                           ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.39053 MARY CRIBBINS-HICKMAN                     VARIOUS                              Wildfire               UNDETERMINED
        ROY MILLER                                                                     Litigation
        HANSEN & MILLER LAW FIRM        ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.39054 MARY DELL HENSON                          VARIOUS                              Wildfire               UNDETERMINED
        DAVE FOXJOANNA                                                                 Litigation
        FOXCOURTNEY VASQUEZ             ACCOUNT NO.: NOT AVAILABLE
        FOX LAW, APC
        225 W. PLAZA STREET, SUITE
        102
        SOLANA BEACH, CA 92075




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39055 MARY DELL HENSON                          VARIOUS                              Wildfire               UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                     Litigation
        ZUMMER                          ACCOUNT NO.: NOT AVAILABLE
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.39056 MARY DELL HENSON                          VARIOUS                              Wildfire               UNDETERMINED
        CHRISTOPHER C. SIEGLOCK                                                        Litigation
        SIEGLOCK LAW, APC               ACCOUNT NO.: NOT AVAILABLE
        1221 CAMINO DEL MAR
        DEL MAR, CA 92014


3.39057 MARY DERRICK                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39058 MARY DERRICK                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.39059 MARY DERRICK                              VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.39060 MARY DERRICK                              VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39061 MARY DEVINCENZI                           VARIOUS                              Wildfire               UNDETERMINED
        NOREEN EVANSRYAN L.                                                            Litigation
        THOMPSONPAIGE BOLDT             ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.39062 MARY DEVINCENZI                           VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.39063 MARY DEVINCENZI                           VARIOUS                              Wildfire               UNDETERMINED
        ROY MILLER                                                                     Litigation
        HANSEN AND MILLER LAW FIRM      ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.39064 MARY DONOVAN                              VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.39065 MARY DONOVAN                              VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                         Litigation
        STATE BAR NO. 296841)PAIGE      ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.39066 MARY E. HODSON                            VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39067 MARY E. HODSON                            VARIOUS                              Wildfire               UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                     Litigation
        ZUMMERAMANDA J.                 ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.39068 MARY E. HODSON                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39069 MARY E. HODSON                            VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.39070 MARY EDITH GOWINS                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39071 MARY EDITH GOWINS                         VARIOUS                              Wildfire               UNDETERMINED
        BONNIE E. KANE, ESQ., SBN:                                                     Litigation
        167700STEVEN S. KANE, ESQ.,     ACCOUNT NO.: NOT AVAILABLE
        SBN: 061670
        THE KANE LAW FIRM
        402 W. BROADWAY, SUITE 2500
        SAN DIEGO, CA 92101


3.39072 MARY EDITH GOWINS                         VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228BRETT R. PARKINSON,      ACCOUNT NO.: NOT AVAILABLE
        ESQ., #230150
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39073 MARY EDITH GOWINS                         VARIOUS                              Wildfire               UNDETERMINED
        ANTHONY R. LAURETI, ESQ.,                                                      Litigation
        SBN: 147086                     ACCOUNT NO.: NOT AVAILABLE
        LAURETI & ASSOCIATES, APC
        402 W. BROADWAY, SUITE 2500
        SAN DIEGO, CA 9210 I


3.39074 MARY ELIZABETH REALE                      VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39075 MARY ELIZABETH REALE                      VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.39076 MARY ELIZABETH REALE                      VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.39077 MARY ELIZABETH REALE                      VARIOUS                              Wildfire               UNDETERMINED
        DOUGLAS BOXER (CAL. STATE                                                      Litigation
        BAR NO. 154226)                 ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICE OF DOUGLAS
        BOXER
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.39078 MARY FIUMARA                              VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39079 MARY FIUMARA                              VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                         Litigation
        STATE BAR NO. 296841)PAIGE      ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.39080 MARY FREEDLE                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39081 MARY FREEDLE                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.39082 MARY FREEDLE                              VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.39083 MARY FREEDLE                              VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39084 MARY GRAY                                 VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                       Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.39085 MARY GRAY                                 VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAELS. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.39086 MARY GRAY                                 VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39087 MARY GRAY                                 VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR.,SBN                                                        Litigation
        60768ANGELA JAE CHUN, SBN       ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCAVILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101


3.39088 MARY GRIMES                               VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782 AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669


3.39089 MARY GRIMES                               VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                    Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39090 MARY GRIMES                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359 KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065


3.39091 MARY I LAKE                               VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.39092 MARY I LAKE                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39093 MARY I LAKE                               VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.39094 MARY I LAKE                               VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.39095 MARY I LAKE                               VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39096 MARY J TAYLOR                             VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.39097 MARY J TAYLOR                             VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.39098 MARY J TAYLOR                             VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.39099 MARY J TAYLOR                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39100 MARY J TAYLOR                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.39101 MARY JO LOPEZ-KING                        VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39102 MARY JO LOPEZ-KING                        VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39103 MARY JO LOPEZ-KING                        VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.39104 MARY JO LOPEZ-KING                        VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.39105 MARY JO LOPEZ-KING                        VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.39106 MARY JO PALMER                            VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                    Litigation
         REINER, SLAUGHTER &            ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.39107 MARY JO PALMER                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39108 MARY JO PALMER                            VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                   Litigation
        ERIC RATINOFF LAW CORP.         ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864




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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.39109 MARY JO PALMER                             VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                        Litigation
        #117228                          ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.39110 MARY JONES                                 VARIOUS                              Wildfire               UNDETERMINED
        PEDRO "PETER" DE LA CERDA,                                                      Litigation
        OF COUNSEL - BAR NO. 249085      ACCOUNT NO.: NOT AVAILABLE
        MATTHEWS & ASSOCIATES
        250 VALLOMBROSA AVE STE.
        266
        CHICO, CA 95926


3.39111 MARY JONES                                 VARIOUS                              Wildfire               UNDETERMINED
        ELIZABETH LATIMER (STATE                                                        Litigation
        BAR #304697)                     ACCOUNT NO.: NOT AVAILABLE
        LATIMER AND KENKEL LAW
        OFFICES
        330 WALL STREET, SUITE 20
        CHICO, CA TELEPHONE: (530)
        345-1396 FACSIMILE: (530) 345-
        0439


3.39112 MARY JONES                                 VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39113 MARY JONES                                 VARIOUS                              Wildfire               UNDETERMINED
        CATHERINE LOMBARDO (SBN #                                                       Litigation
        160461)                          ACCOUNT NO.: NOT AVAILABLE
        THE LOMBARDO LAW FIRM
        433 W ARROW HIGHWAY
        CLAREMONT, CA 9171


3.39114 MARY JONES                                 VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39115 MARY JUSTIN                               VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                           Litigation
        VICEPENDING)JOHN P. FISKE       ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.39116 MARY JUSTIN                               VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                          Litigation
        208783)ERIKA L. VASQUEZ         ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.39117 MARY JUSTIN                               VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                             Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.39118 MARY JUSTIN                               VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
        (SBN 69176)IAN C.               ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.39119 MARY JUSTIN                               VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                     Litigation
        583 I 6)                        ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.39120 MARY K CLARK                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39121 MARY K CLARK                              VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.39122 MARY K CLARK                              VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.39123 MARY K CLARK                              VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.39124 MARY K CLARK                              VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.39125 MARY K. MORRISON                          VARIOUS                              Wildfire               UNDETERMINED
        RICHARD K. BRIDGFORD, ESQ.,                                                    Litigation
        SBN 119554MICHAEL H.            ACCOUNT NO.: NOT AVAILABLE
        ARTINIAN, ESQ., SBN 203443
        BRIDGFORD, GLEASON, &
        ARTINIAN
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.39126 MARY K. MORRISON                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39127 MARY K. MORRISON                          VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZ, ESQ., SBN                                                     Litigation
        87492WILLIAM P. HARRIS III,     ACCOUNT NO.: NOT AVAILABLE
        ESQ., SBN 123575M. REGINA
        BAGDASARIAN, ESQ., SBN
        296219GEORGE T. STIEFEL,
        ESQ., SBN. 297611
        FRANTZ LAW GROUP, APLC
        770 L STREET, SUITE 950
        SACRAMENTO, CA 95814


3.39128 MARY K. MORRISON                          VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.39129 MARY K. MORRISON                          VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.39130 MARY K. RILEY                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.39131 MARY K. RILEY                             VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39132 MARY K. RILEY                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39133 MARY K. RILEY                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.39134 MARY KIRK                                 VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39135 MARY KIRK                                 VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.39136 MARY KIRK                                 VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39137 MARY KIRK                                 VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.39138 MARY KNOWLES                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39139 MARY KNOWLES                              VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                   Litigation
        ERIC RATINOFF LAW CORP.         ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.39140 MARY KNOWLES                              VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.39141 MARY KNOWLES                              VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                    Litigation
         REINER, SLAUGHTER &            ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.39142 MARY L. FIORE                             VARIOUS                              Wildfire               UNDETERMINED
        JENNIFER FIORE, ESQ. (SBN:                                                     Litigation
        203618)SOPHIA ACHERMANN,        ACCOUNT NO.: NOT AVAILABLE
        ESQ. (SBN: 262712)
        FIORE ACHERMANN, A LAW
        CORP.
        340 PINE STREET, SUITE 503
        SAN FRANCISCO, CA 94104




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39143 MARY L. FIORE                             VARIOUS                              Wildfire               UNDETERMINED
        WILLIAM A. DANIELS                                                             Litigation
        DANIELS LAW                     ACCOUNT NO.: NOT AVAILABLE
        15021 VENTURA BLVD., #883
        SHERMAN OAKS, CA 91403


3.39144 MARY L. FIORE                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.39145 MARY L. FIORE                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39146 MARY L. FIORE                             VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.39147 MARY LEVINSON                             VARIOUS                              Wildfire               UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                        Litigation
        WEAVER                          ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.39148 MARY LEVINSON                             VARIOUS                              Wildfire               UNDETERMINED
        ALEXANDER M.                                                                   Litigation
        SCHACKNATASHA N. SERINO         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.39149 MARY LEVINSON                             VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN B. MURRAY,                                                             Litigation
        SR.JESSICA HAYES                ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130



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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39150 MARY LILLIAN SMITH                        VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                         Litigation
        STATE BAR NO. 296841)PAIGE      ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.39151 MARY LILLIAN SMITH                        VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.39152 MARY LYONS                                VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFFCOELL M.                                                          Litigation
        SIMMONS                         ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864


3.39153 MARY LYONS                                VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON BRETT                                                        Litigation
        R. PARKINSONDANIEL E.           ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.39154 MARY LYONS                                VARIOUS                              Wildfire               UNDETERMINED
        JOHN N. DEMAS                                                                  Litigation
        DEMAS LAW GROUP, P.C.           ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.39155 MARY LYONS                                VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. FRIEDEMANN                                                             Litigation
        FRIEDEMANN GOLDBERG LLP         ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.39156 MARY MARTIN                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAELA. KELLY (SBN 71460)                                                    Litigation
        WALKUP MELODIA KELLY&           ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39157 MARY MARTIN                               VARIOUS                              Wildfire               UNDETERMINED
        BRIANJ. PANISH (SBN 116060)                                                    Litigation
        PANISH SHEA &BOYLE, LLP         ACCOUNT NO.: NOT AVAILABLE
        11111 SANTA MONICA BLVD.,
        SUITE 700
        LOS ANGELES, CA 90025


3.39158 MARY MARTIN                               VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA (SBN                                                         Litigation
        110909)                         ACCOUNT NO.: NOT AVAILABLE
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.39159 MARY MARTIN                               VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE (SBN                                                            Litigation
        100077)ALISON E. CORDOVA        ACCOUNT NO.: NOT AVAILABLE
        (SBN 284942)JOHN P. THYKEN
        (SBN 286598)
        COTCHETT, PITRE &
        MCCARTHY, LLP
        SAN FRANCISCO AIRPORT
        OFFICE CENTER840 MALCOLM
        ROAD, SUITE 200
        BURLINGA, CALIFORNIA 94111


3.39160 MARY MATOSSIAN                            VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782 AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669


3.39161 MARY MATOSSIAN                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359 KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39162 MARY MATOSSIAN                            VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                    Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.39163 MARY MONROE                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG                                                            Litigation
        MICHAEL S. FEINBERG, APLC       ACCOUNT NO.: NOT AVAILABLE
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.39164 MARY MONROE                               VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL                                                                  Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.39165 MARY MONROE                               VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR., SBN                                                       Litigation
        60768GAYLE M. BLATT, SBN        ACCOUNT NO.: NOT AVAILABLE
        122048ANGELA JAE CHUN,
        SBN 248571
        CASEY GERRY SCHENK
        FRANKCA VILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101


3.39166 MARY NEISINGH                             VARIOUS                              Wildfire               UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                        Litigation
        WEAVER                          ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.39167 MARY NEISINGH                             VARIOUS                              Wildfire               UNDETERMINED
        ALEXANDER M.                                                                   Litigation
        SCHACKNATASHA N. SERINO         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39168 MARY NEISINGH                             VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN B. MURRAY,                                                             Litigation
        SR.JESSICA HAYES                ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.39169 MARY NEWKIRK                              VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL                                                                  Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.39170 MARY NEWKIRK                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG                                                            Litigation
        MICHAEL S. FEINBERG, APLC       ACCOUNT NO.: NOT AVAILABLE
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.39171 MARY NEWKIRK                              VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR., SBN                                                       Litigation
        60768GAYLE M. BLATT, SBN        ACCOUNT NO.: NOT AVAILABLE
        122048ANGELA JAE CHUN,
        SBN 248571
        CASEY GERRY SCHENK
        FRANKCA VILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101


3.39172 MARY NICHOLS                              VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782 AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669




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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.39173 MARY NICHOLS                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                      Litigation
        111359 KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065


3.39174 MARY NICHOLS                               VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                     Litigation
                                         ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.39175 MARY NIELAND                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39176 MARY NIELAND                               VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.39177 MARY NIELAND                               VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.39178 MARY NIELAND                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39179 MARY NIELAND                              VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA, ESQ. /                                                      Litigation
        SBN: 110909ANDREA R.            ACCOUNT NO.: NOT AVAILABLE
        CROWL, ESQ. / SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.39180 MARY NORDSKOG                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.39181 MARY NORDSKOG                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.39182 MARY NORDSKOG                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39183 MARY NORDSKOG                             VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39184 MARY P DAVALLE-                           VARIOUS                              Wildfire               UNDETERMINED
        CHERVELLERA                                                                    Litigation
        MICHAEL A. KELLY                ACCOUNT NO.: NOT AVAILABLE
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39185 MARY P DAVALLE-                           VARIOUS                              Wildfire               UNDETERMINED
        CHERVELLERA                                                                    Litigation
        STEVEN M. CAMPORA               ACCOUNT NO.: NOT AVAILABLE
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.39186 MARY P DAVALLE-                           VARIOUS                              Wildfire               UNDETERMINED
        CHERVELLERA                                                                    Litigation
        PATRICK MCNICHOLAS, ABN         ACCOUNT NO.: NOT AVAILABLE
        125868JUSTIN J. EBALLAR,
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.39187 MARY P DAVALLE-                           VARIOUS                              Wildfire               UNDETERMINED
        CHERVELLERA                                                                    Litigation
        JOHN F. MCGUIREJ. DOMENIC       ACCOUNT NO.: NOT AVAILABLE
        MARTINI
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.39188 MARY P DAVALLE-                           VARIOUS                              Wildfire               UNDETERMINED
        CHERVELLERA                                                                    Litigation
        GERALD SINGLETONTERRY           ACCOUNT NO.: NOT AVAILABLE
        SINGLETONERIKA L.
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39189 MARY P. SELVARAJ                          VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA, ESQ./                                                       Litigation
        SBN: 110909ROBERT A.            ACCOUNT NO.: NOT AVAILABLE
        BUCCOLA, ESQ./ SBN:
        112880CATIA G. SARAIVA,
        ESQ./ SBN: 232479ANDREA R.
        CROWL, ESQ./ SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.39190 MARY P. SELVARAJ                          VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITREJOSEPH W.                                                        Litigation
        COTCHETTDONALD                  ACCOUNT NO.: NOT AVAILABLE
        MAGILLIGAN
        COTCHETT, PITRE & MCCARTHY
        LLP
        SAN FRANCISCO AIRPORT
        OFFICE CENTER840 MALCOLM
        ROAD, SUITE 200
        BURLINGAME, CA 94010


3.39191 MARY POECK                                VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                    Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.39192 MARY POECK                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359 KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065




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Creditor's Name, Mailing Address           Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                               Account Number                            Claim

Wildfire Claims

3.39193 MARY POECK                                  VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                      Litigation
        126782 AMANDA L. RIDDLE -         ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

        SUMBLE MANZOOR- BAR NO.
        301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.39194 MARY REDFERN                                VARIOUS                              Wildfire               UNDETERMINED
        RAFEY S. BALABANIAN (SBN                                                         Litigation
        315962)TODD LOGAN (SBN            ACCOUNT NO.: NOT AVAILABLE
        305912)J. AARON LAWSON
        (SBN 319306)LILY HOUGH (SBN
        315277)
        EDELSON PC
        123 TOWNSEND STREET, SUITE
        100
        SAN FRANCISCO, CALIFORNIA
        94107


3.39195 MARY REDFERN                                VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                     Litigation
        APPLICATION                       ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.39196 Mary Redfern                                VARIOUS                              Wildfire               UNDETERMINED
        Elizabeth J. Cabraser (SBN                                                       Litigation
        083151)Robert J. Nelson (SBN      ACCOUNT NO.: NOT AVAILABLE
        132797)Lexi J. Hazam (SBN
        224457)Fabrice N. Vincent (SBN
        160780)Abby R. Wolf (SBN
        313049)Evan J. Ballan (SBN
        318649)
        Lieff Cabraser Heimann &
        Bernstein, LLP
        275 Battery Street, 29th Floor
        San Francisco, California 94111




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39197 MARY REDFERN                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39198 MARY S FINCANNON                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39199 MARY S FINCANNON                          VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.39200 MARY S FINCANNON                          VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.39201 MARY S FINCANNON                          VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.39202 MARY S FINCANNON                          VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39203 MARY SCHEWE                               VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.39204 MARY SCHEWE                               VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.39205 MARY SCHEWE                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.39206 MARY SCHEWE                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39207 MARY SCHWANK                              VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH JOHN TURRI, SBN:                                                        Litigation
        181994ATTILA PANCZEL, SBN:      ACCOUNT NO.: NOT AVAILABLE
        250799
        INSURANCE LITIGATORS &
        COUNSELOR PLC
        445 NORTH STATE STREET
        UKIAH, CA 95482




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39208 MARY SCHWANK                              VARIOUS                              Wildfire               UNDETERMINED
        LAWRENCE G. PAPALE, SBN:                                                       Litigation
        67068                           ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF LAWRENCE G.
        PAPALE
        THE CORNERSTONE
        BUILDING1308 MAIN STREET,
        SUITE 117
        ST. HELENA, CALIFORNIA 94574


3.39209 MARY SHARON SAUNDERS                      VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.39210 MARY SHARON SAUNDERS                      VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.39211 MARY SHARON SAUNDERS                      VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.39212 MARY SHARON SAUNDERS                      VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.39213 Mary Simmons                                   VARIOUS                              Wildfire               UNDETERMINED
        Dario De Ghetaldi - Bar No. 126782                                                  Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        Amanda L. Riddle - Bar No. 215221

        Steven M. Berki - Bar No. 245426

        Clare Capaccioli Velasquez - Bar
        No. 290466
        Corey, Luzaich, De Ghetaldi &
        Riddle LLP
        700 El Camino RealP.O. Box 669
        Millbrae, CA 94030-0669


3.39214 MARY SIMMONS                                   VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                          Litigation
        111359 KRISTINE K.                   ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

        SHAWN R. MILLER- BAR NO.
        238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.39215 MARY SIMMONS                                   VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                         Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        DYLAN HUGHES - BAR NO.
        209113 STEVEN A. LOPEZ -
        BAR NO. 300540
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.39216 MARY SMITH                                     VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL                                                                       Litigation
        TOSDAL LAW FIRM                      ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.39217 MARY SMITH                                     VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS IIIROBERT T.                                                            Litigation
        BRYSONKEVIN M. POLLACK               ACCOUNT NO.: NOT AVAILABLE
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39218 MARY SMITH                                VARIOUS                              Wildfire               UNDETERMINED
        DONALD S. EDGAR                                                                Litigation
        EDGAR LAW FIRM                  ACCOUNT NO.: NOT AVAILABLE
        408 COLLEGE AVENUE
        SANTA ROSA, CA 95401


3.39219 MARY SMITH                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG                                                            Litigation
        MICHAEL S. FEINBERG, APLC       ACCOUNT NO.: NOT AVAILABLE
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.39220 MARY SMITH                                VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR., SBN                                                       Litigation
        60768GAYLE M. BLATT, SBN        ACCOUNT NO.: NOT AVAILABLE
        122048ANGELA JAE CHUN,
        SBN 248571
        CASEY GERRY SCHENK
        FRANKCA VILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101


3.39221 MARY T. DREW                              VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.39222 MARY T. DREW                              VARIOUS                              Wildfire               UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                     Litigation
        ZUMMERAMANDA J.                 ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.39223 MARY T. DREW                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39224 MARY T. DREW                              VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.39225 MARY T. GATES                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39226 MARY T. GATES                             VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.39227 MARY T. GATES                             VARIOUS                              Wildfire               UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                     Litigation
        ZUMMERAMANDA J.                 ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.39228 MARY T. GATES                             VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.39229 MARY TURNER                               VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39230 MARY TURNER                               VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.39231 MARY TURNER                               VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.39232 MARY TURNER                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39233 MARY TURNER                               VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.39234 MARY WALTERS                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39235 MARY WALTERS                              VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                     Litigation
        100077ALISON E. CORDOVA,        ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010




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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.39236 MARY WALTERS                               VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.39237 MARY WALTERS                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.39238 MARY WALTERS                               VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA, ESQ. /                                                       Litigation
        SBN: 110909ANDREA R.             ACCOUNT NO.: NOT AVAILABLE
        CROWL, ESQ. / SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.39239 MARY WATERS                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                        Litigation
        A. BAGHDADI                      ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39240 MARY WATERS                                VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                    Litigation
        APPLICATION                      ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.39241 MARY WATERS                                VARIOUS                              Wildfire               UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                      Litigation
        ZUMMERAMANDA J.                  ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39242 MARY WATERS                               VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.39243 MARY WEATHERS                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.39244 MARY WEATHERS                             VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.39245 MARY WEATHERS                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.39246 MARY WEATHERS                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39247 MARY WHITLOCK                             VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228BRETT R. PARKINSON,      ACCOUNT NO.: NOT AVAILABLE
        ESQ., #230150
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.39248 MARY WHITLOCK                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39249 MARY WHITLOCK                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                   Litigation
        ERIC RATINOFF LAW CORP.         ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.39250 MARY WHITLOCK                             VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.39251 MARY WHITLOCK                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                   Litigation
        ERIC RATINOFF LAW CORP.         ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.39252 MARY WHITLOCK                             VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                    Litigation
         REINER, SLAUGHTER &            ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39253 MARY WHITLOCK                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39254 MARY WHITLOCK                             VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                    Litigation
         REINER, SLAUGHTER &            ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.39255 MARYAM ESKANDANI                          VARIOUS                              Wildfire               UNDETERMINED
        STEVEN J. SKIKOS, ESQ.MARK                                                     Litigation
        G. CRAWFORD,                    ACCOUNT NO.: NOT AVAILABLE
        ESQ.GREGORY T. SKIKOS,
        ESQ.MATTHEW J. SKIKOS,
        ESQ.
        SKIKOS, CRAWFORD, SKIKOS, &
        JOSEPH
        ONE SANSOME STREET, SUITE
        2830
        SAN FRANCISCO, CA 94104


3.39256 MARYANNE GRACE                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.39257 MARYANNE GRACE                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39258 MARYANNE GRACE                            VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                     Litigation
        100077ALISON E. CORDOVA,        ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010




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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.39259 MARYANNE GRACE                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.39260 MARYANNE GRACE                             VARIOUS                              Wildfire               UNDETERMINED
        TODD B. BECKERBRIAN E.                                                          Litigation
        SHEARJASON BOYER                 ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105


3.39261 MARYBETH GUZMAN                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                        Litigation
        A. BAGHDADI                      ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39262 MARYBETH GUZMAN                            VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                     Litigation
        126782AMANDA L. RIDDLE -         ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.39263 MARYBETH GUZMAN                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                      Litigation
        111359KRISTINE K.                ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39264 MARYBETH GUZMAN                           VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.39265 MARY-KATE REED                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39266 MARY-KATE REED                            VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.39267 MARY-KATE REED                            VARIOUS                              Wildfire               UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                     Litigation
        ZUMMERAMANDA J.                 ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.39268 MARY-KATE REED                            VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.39269 MARZA MILLER DBA ANCIENT                  VARIOUS                              Wildfire               UNDETERMINED
        EARTH APOTHECARY                                                               Litigation
        BILL ROBINS III (SBN            ACCOUNT NO.: NOT AVAILABLE
        296101)ROBERT T. BRYSON
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.39270 MARZIGLIANO, JOSEPH                        VARIOUS                              Wildfire               UNDETERMINED
        1411 SOUTH HENDLEY STREET                                                       Litigation
        APT E1                           ACCOUNT NO.: NOT AVAILABLE
        SANTA ROSA, CA 95404


3.39271 MASHELL WELLS                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39272 MASHELL WELLS                              VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.39273 MASHELL WELLS                              VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.39274 MASHELL WELLS                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.39275 MASHELL WELLS                              VARIOUS                              Wildfire               UNDETERMINED
        TODD B. BECKERBRIAN E.                                                          Litigation
        SHEARJASON BOYER                 ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105


3.39276 MASON HUGHES, VIRGINIA                     VARIOUS                              Wildfire               UNDETERMINED
        5929 YERBA BUENA RD                                                             Litigation
        SANTA ROSA, CA 95409             ACCOUNT NO.: NOT AVAILABLE




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39277 MASON K. BARTON                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.39278 MASON K. BARTON                           VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                         Litigation
        DOMENIC MARTINI                 ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103


3.39279 MASON K. BARTON                           VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.39280 MASON K. BARTON                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39281 MASON K. BARTON                           VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.39282 MASON, KATHRYN                            VARIOUS                              Wildfire               UNDETERMINED
        306 WESTBROOK DRIVE                                                            Litigation
        SANTA ROSA, CA 95401            ACCOUNT NO.: NOT AVAILABLE


3.39283 MASON, KEN & LYNN                         VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITREALISON E.                                                        Litigation
        CORDOVA                         ACCOUNT NO.: NOT AVAILABLE
        COTCHETT PITRE & MCCARTHY
        LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39284 MASSACHUSETTS BAY                         VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE COMPANY                                                              Litigation
        MAURA WALSH OCHOA (SBN          ACCOUNT NO.: NOT AVAILABLE
        193799)WAYLON J. PICKETT
        (SBN 248865)
        GROTEFELD HOFFMANN
        700 LARKSPUR LANDING
        CIRCLE, SUITE 280
        LARKSPUR, CA 94939


3.39285 MASSACHUSETTS BAY                         VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE COMPANY                                                              Litigation
        ALAN J. JANG SALLY NOMA         ACCOUNT NO.: NOT AVAILABLE
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.39286 MASSACHUSETTS BAY                         VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE COMPANY                                                              Litigation
        KEVIN D. BUSHTHOMAS M.          ACCOUNT NO.: NOT AVAILABLE
        REGANDAVID D. BRISCO
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101


3.39287 MASSACHUSETTS BAY                         VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE COMPANY                                                              Litigation
        MAURA WALSH OCHOA               ACCOUNT NO.: NOT AVAILABLE

       WAYLON J. PICKETT
       GROTEFELD, HOFFMAN,
       SCHLEITER, GORDON, OCHOA &
       EVINGER, LLP
       700 LARKSPUR LANDING
       CIRCLE, SUITE 280
       LARKSPUR, CA 94939


3.39288 MASSIMILIANO BOLDRINI                     VARIOUS                              Wildfire               UNDETERMINED
        ALEXANDER M.                                                                   Litigation
        SCHACKNATASHA N. SERINO         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39289 MASSIMILIANO BOLDRINI                     VARIOUS                              Wildfire               UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                        Litigation
        WEAVER                          ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.39290 MASSIMILIANO BOLDRINI                     VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN B. MURRAY,                                                             Litigation
        SR.JESSICA HAYES                ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.39291 MASSIP, TOM                               VARIOUS                              Wildfire               UNDETERMINED
        500 OAK BROOK CT                                                               Litigation
        SANTA ROSA, CA 95409            ACCOUNT NO.: NOT AVAILABLE


3.39292 MASUDA, HARRY                             VARIOUS                              Wildfire               UNDETERMINED
        6435 MEADOWRIDGE DRIVE                                                         Litigation
        SANTA ROSA, CA 95409            ACCOUNT NO.: NOT AVAILABLE


3.39293 MATA, CORINA ROSE                 VARIOUS                                      Wildfire               UNDETERMINED
        CO-COUNSELDEMETRIOS A.                                                         Litigation
        SPARACINO                 ACCOUNT NO.: NOT AVAILABLE
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.39294 MATA, CORINA ROSE                         VARIOUS                              Wildfire               UNDETERMINED
        GERARD SINGLETONERIKA L.                                                       Litigation
        VASQUEZAMANDA LOCUTRO           ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.39295 MATA, CORINA ROSE                         VARIOUS                              Wildfire               UNDETERMINED
        ELLIOT ADLERBRITTANY                                                           Litigation
        ZUMMER                          ACCOUNT NO.: NOT AVAILABLE
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.39296 MATA, JOSE ALFREDO                        VARIOUS                              Wildfire               UNDETERMINED
        4105 SILVERADO TRL                                                             Litigation
        NAPA, CA 94558                  ACCOUNT NO.: NOT AVAILABLE


3.39297 MATESON, BONNIE                           VARIOUS                              Wildfire               UNDETERMINED
        14064 YAKIMA CT                                                                Litigation
        MAGALIA, CA 95954               ACCOUNT NO.: NOT AVAILABLE

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Wildfire Claims

3.39298 Mathes, Stephanie and Karen                      VARIOUS                              Wildfire               UNDETERMINED
        Goldsmith, individually and                                                           Litigation
        successors in interest to the Estate   ACCOUNT NO.: NOT AVAILABLE
        of Owen Goldsmith and, Stephanie
        Mathes, representative of the
        Estate of Owen Goldsmith
        Dario de Ghetaldi Amanda L.
        Riddle Clare Capaccioli Velasquez
        COREY, LUZAICH, DE GHETALDl,
        NASTARI & RIDDLE LLP
        700 El Camino RealP.O. Box 669
        Millbrae, CA 94030-0669


3.39299 Mathes, Stephanie and Karen                      VARIOUS                              Wildfire               UNDETERMINED
        Goldsmith, individually and                                                           Litigation
        successors in interest to the Estate   ACCOUNT NO.: NOT AVAILABLE
        of Owen Goldsmith and, Stephanie
        Mathes, representative of the
        Estate of Owen Goldsmith
        Mike DankoKristine
        MeredithShawn MillerBrad
        Bowen
        DANKO MEREDITH
        333 Twin Dolphin Drive, Suite 145
        Redwood Shores, CA 94065


3.39300 MATHEW A. FLATT                                  VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                                Litigation
        DOMENIC MARTINI                        ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103


3.39301 MATHEW A. FLATT                                  VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                                     Litigation
        DREYER BABICH BUCCOLA                  ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.39302 MATHEW A. FLATT                                  VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                      Litigation
        WALKUP, MELODIA, KELLY &               ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39303 MATHEW A. FLATT                           VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.39304 MATHEW A. FLATT                           VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.39305 MATHEW BUXTON                             VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.39306 MATHEW BUXTON                             VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.39307 MATHEW BUXTON                             VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.39308 MATHEW BUXTON                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39309 MATHEW BUXTON                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39310 MATHEW C. MASTERSON                       VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.39311 MATHEW C. MASTERSON                       VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                         Litigation
        DOMENIC MARTINI                 ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103


3.39312 MATHEW C. MASTERSON                       VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.39313 MATHEW C. MASTERSON                       VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39314 MATHEW C. MASTERSON                       VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39315 MATHEW H. PHILLIPS                        VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39316 MATHEW H. PHILLIPS                        VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAEL S. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.39317 MATHEW H. PHILLIPS                        VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                       Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.39318 MATHEW H. PHILLIPS                        VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR.,SBN                                                        Litigation
        60768ANGELA JAE CHUN, SBN       ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCAVILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101


3.39319 MATHEW HILLAR                             VARIOUS                              Wildfire               UNDETERMINED
        TODD B. BECKERBRIAN E.                                                         Litigation
        SHEARJASON BOYER                ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105


3.39320 MATHEW HILLAR                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.39321 MATHEW HILLAR                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108



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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.39322 MATHEW HILLAR                              VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.39323 MATHEW HILLAR                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.39324 MATHEW J MACDONALD                         VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                       Litigation
        MARTINI                          ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.39325 MATHEW J MACDONALD                         VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                         Litigation
        125868JUSTIN J. EBALLAR,         ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.39326 MATHEW J MACDONALD                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39327 MATHEW J MACDONALD                         VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                           Litigation
        SINGLETONERIKA L.                ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39328 MATHEW J MACDONALD                        VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.39329 MATHEWS, CATHRYN                          VARIOUS                              Wildfire               UNDETERMINED
        1168 MONTICELLO ROAD                                                           Litigation
        NAPA, CA 94558                  ACCOUNT NO.: NOT AVAILABLE


3.39330 MATHEWSON, CHARLES AND                    VARIOUS                              Wildfire               UNDETERMINED
        JANE                                                                           Litigation
        10765 SLATTERY RD               ACCOUNT NO.: NOT AVAILABLE
        GLEN ELLEN, CA 95442


3.39331 MATHIS, SUZANNE                           VARIOUS                              Wildfire               UNDETERMINED
        5776 OWL HILL AVE                                                              Litigation
        SANTA ROSA, CA 95409            ACCOUNT NO.: NOT AVAILABLE


3.39332 MATHISON, SUSAN AND TIM                   VARIOUS                              Wildfire               UNDETERMINED
        1550 ESTEE AVE                                                                 Litigation
        NAPA, CA 94558                  ACCOUNT NO.: NOT AVAILABLE


3.39333 MATT BERRY                                VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONERIKA L.                                                       Litigation
        VASQUEZ AMANDA LOCURTO          ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.39334 MATT BERRY                                VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC VICE                                                      Litigation
        PENDING)JOHN P. FISKE           ACCOUNT NO.: NOT AVAILABLE
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.39335 MATT BERRY                                VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIABDEBORAH S.                                                        Litigation
        DIXONROBERT J. CHAMBERS II      ACCOUNT NO.: NOT AVAILABLE
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39336 MATT BERRY                                VARIOUS                              Wildfire               UNDETERMINED
        NATASHA SERINO                                                                 Litigation
        LAW OFFICES OF ALEXANDER        ACCOUNT NO.: NOT AVAILABLE
        M. SCHACK
        16870 WEST BERNARDO, STE
        400,
        SAN DIEGO, CA 92127


3.39337 MATT BERRY                                VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       IAN C. FUSSELMAN,
       ESQ.BRETT. J. SCHREIBER,
       ESQ.
       THORSNES BARTOLOTTA
       MCGUIRE LLP
       2550 FIFTH A VENUE, 11TH
       FLOOR
       SAN DIEGO, CALIFORNIA 92103


3.39338 MATT BERRY                                VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ.                                                          Litigation
        TERRY SINGLETON, A.P.C.         ACCOUNT NO.: NOT AVAILABLE
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.39339 MATT BRACISCO                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39340 MATT BRACISCO                             VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.39341 MATT BRACISCO                             VARIOUS                              Wildfire               UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                     Litigation
        ZUMMERAMANDA J.                 ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39342 MATT BRACISCO                             VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.39343 MATT PAINE                                VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.39344 MATT PAINE                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39345 MATT PAINE                                VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.39346 MATT PAINE                                VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.39347 MATT PAINE                                VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39348 MATT RYPKA                                VARIOUS                              Wildfire               UNDETERMINED
        ALEXANDER M.                                                                   Litigation
        SCHACKNATASHA N. SERINO         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.39349 MATT RYPKA                                VARIOUS                              Wildfire               UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                        Litigation
        WEAVER                          ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.39350 MATT RYPKA                                VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN B. MURRAY,                                                             Litigation
        SR.JESSICA HAYES                ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.39351 MATTEONI DIAZ, LARA                       VARIOUS                              Wildfire               UNDETERMINED
        2282 CLAIBORNE CIR                                                             Litigation
        SANTA ROSA, CA 95403            ACCOUNT NO.: NOT AVAILABLE


3.39352 MATTHEW ALCOVER                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39353 MATTHEW ALCOVER                           VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39354 MATTHEW ALCOVER                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.39355 MATTHEW ALCOVER                           VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.39356 MATTHEW ANDERSON                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39357 MATTHEW ANDERSON                          VARIOUS                              Wildfire               UNDETERMINED
        ALEXANDER M. SCHACK, ESQ.                                                      Litigation
        (SBN 99126)NATASHA N.           ACCOUNT NO.: NOT AVAILABLE
        SERINO, ESQ. (SBN
        284711)SHANNON F. NOCON,
        ESQ. (SBN 316523)
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BERNARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.39358 MATTHEW ANDERSON                          VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN B. MURRAY, SR. (SBN                                                    Litigation
        9858)JESSICA W. HAYES.,         ACCOUNT NO.: NOT AVAILABLE
        ESQ. (SBN 28927) PRO HAE
        VICE APPLICATIONS TO BE
        FILED
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39359 MATTHEW ANDERSON                          VARIOUS                              Wildfire               UNDETERMINED
        MATTHEW H. WELTY, ESQ. (SBN                                                    Litigation
        248092)JACK W. WEAVER,          ACCOUNT NO.: NOT AVAILABLE
        ESQ. (SBN 278469)
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.39360 MATTHEW ANDERSON                          VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                          Litigation
        208783)ERIKA L. VASQUEZ         ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.39361 MATTHEW ANDERSON                          VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                           Litigation
        VICEPENDING)JOHN P. FISKE       ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.39362 MATTHEW ANDERSON                          VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                     Litigation
        583 I 6)                        ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.39363 MATTHEW ANDERSON                          VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
        (SBN 69176)IAN C.               ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.39364 MATTHEW ANDERSON                          VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                             Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39365 MATTHEW B SMITH                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39366 MATTHEW B SMITH                           VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.39367 MATTHEW B SMITH                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.39368 MATTHEW B SMITH                           VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.39369 MATTHEW B SMITH                           VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.39370 MATTHEW B. FOSTER                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG                                                            Litigation
        MICHAEL S. FEINBERG, APLC       ACCOUNT NO.: NOT AVAILABLE
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.39371 MATTHEW B. FOSTER                         VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL                                                                  Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39372 MATTHEW B. FOSTER                         VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR., SBN                                                       Litigation
        60768GAYLE M. BLATT, SBN        ACCOUNT NO.: NOT AVAILABLE
        122048ANGELA JAE CHUN,
        SBN 248571
        CASEY GERRY SCHENK
        FRANKCA VILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101


3.39373 MATTHEW BALL                              VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                    Litigation
         REINER, SLAUGHTER &            ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.39374 MATTHEW BALL                              VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.39375 MATTHEW BALL                              VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                   Litigation
        ERIC RATINOFF LAW CORP.         ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.39376 MATTHEW BALL                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39377 MATTHEW BECERRIL                          VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39378 MATTHEW BECERRIL                          VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.39379 MATTHEW BECERRIL                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.39380 MATTHEW BECERRIL                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39381 MATTHEW BENTLEY                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.39382 MATTHEW BENTLEY                           VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39383 MATTHEW BENTLEY                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39384 MATTHEW BENTLEY                           VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.39385 MATTHEW BOWDEN                            VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR.,SBN                                                        Litigation
        60768ANGELA JAE CHUN, SBN       ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCAVILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101


3.39386 MATTHEW BOWDEN                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39387 MATTHEW BOWDEN                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAEL S. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.39388 MATTHEW BOWDEN                            VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                       Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075




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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.39389 MATTHEW BURKLEO                            VARIOUS                              Wildfire               UNDETERMINED
        TODD B. BECKERBRIAN E.                                                          Litigation
        SHEARJASON BOYER                 ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105


3.39390 MATTHEW BURKLEO                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.39391 MATTHEW BURKLEO                            VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.39392 MATTHEW BURKLEO                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.39393 MATTHEW BURKLEO                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39394 MATTHEW CEGLARSKI-SHERWIN            VARIOUS                                    Wildfire               UNDETERMINED
        RYAN L. THOMPSONPAIGE                                                           Litigation
        BOLDT                        ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39395 MATTHEW CEGLARSKI-SHERWIN            VARIOUS                                   Wildfire               UNDETERMINED
        JOHN COX                                                                       Litigation
        LAW OFFICES OF JOHN COX      ACCOUNT NO.: NOT AVAILABLE
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.39396 MATTHEW CEGLARSKI-SHERWIN         VARIOUS                                      Wildfire               UNDETERMINED
        ROY MILLER                                                                     Litigation
        HANSEN & MILLER LAW FIRM  ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.39397 MATTHEW CHARLES ROSEDIN                   VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39398 MATTHEW CHARLES ROSEDIN                   VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.39399 MATTHEW CHARLES ROSEDIN                   VARIOUS                              Wildfire               UNDETERMINED
        DOUGLAS BOXER (CAL. STATE                                                      Litigation
        BAR NO. 154226)                 ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICE OF DOUGLAS
        BOXER
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.39400 MATTHEW CHARLES ROSEDIN                   VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39401 MATTHEW CHAUVIN                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39402 MATTHEW CHAUVIN                           VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                       Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.39403 MATTHEW CHAUVIN                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAELS. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.39404 MATTHEW CHAUVIN                           VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR.,SBN                                                        Litigation
        60768ANGELA JAE CHUN, SBN       ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCAVILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101


3.39405 MATTHEW COLLINS                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.39406 MATTHEW COLLINS                           VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.39407 MATTHEW COLLINS                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39408 MATTHEW COLLINS                           VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.39409 MATTHEW COLLINS                           VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.39410 MATTHEW COOKSON                           VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.39411 MATTHEW COOKSON                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.39412 MATTHEW COOKSON                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39413 MATTHEW COOKSON                           VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101




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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.39414 MATTHEW COOKSON                            VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                    Litigation
        BAR #1999994) (PRO HAE VICE      ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.39415 MATTHEW CRUMMY                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA, ESQ. /                                                       Litigation
        SBN: 110909ANDREA R.             ACCOUNT NO.: NOT AVAILABLE
        CROWL, ESQ. / SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.39416 MATTHEW CRUMMY                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.39417 MATTHEW CRUMMY                             VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.39418 MATTHEW CRUMMY                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.39419 MATTHEW CRUMMY                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39420 MATTHEW D THOMPSON                        VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39421 MATTHEW D THOMPSON                        VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.39422 MATTHEW D THOMPSON                        VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.39423 MATTHEW D THOMPSON                        VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.39424 MATTHEW D THOMPSON                        VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.39425 MATTHEW DELFAVE                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39426 MATTHEW DELFAVE                           VARIOUS                              Wildfire               UNDETERMINED
        DAVE FOXJOANNA                                                                 Litigation
        FOXCOURTNEY VASQUEZ             ACCOUNT NO.: NOT AVAILABLE
        FOX LAW, APC
        225 W. PLAZA STREET, SUITE
        102
        SOLANA BEACH, CA 92075


3.39427 MATTHEW DELFAVE                           VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.39428 MATTHEW DELFAVE                           VARIOUS                              Wildfire               UNDETERMINED
        CHRISTOPHER C.                                                                 Litigation
        SIEGLOCKRACHEL                  ACCOUNT NO.: NOT AVAILABLE
        SIEGLOCKKRISTEN REANO
        SIEGLOCK LAW, APC
        1121 CAMINO DEL MAR
        DEL MAR, CA 92014


3.39429 MATTHEW DUNLAP                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39430 MATTHEW DUNLAP                            VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.39431 MATTHEW DUNLAP                            VARIOUS                              Wildfire               UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                     Litigation
        ZUMMERAMANDA J.                 ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39432 MATTHEW DUNLAP                            VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.39433 MATTHEW GUERRA                            VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.39434 MATTHEW GUERRA                            VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.39435 MATTHEW GUERRA                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39436 MATTHEW GUERRA                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39437 MATTHEW J. CORDEIRO                       VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADIDORIS                ACCOUNT NO.: NOT AVAILABLE
        CHENGANDREW P. MCDEVITT
        WALKUP MELODIA KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39438 MATTHEW J. CORDEIRO                       VARIOUS                              Wildfire               UNDETERMINED
        TIMOTHY G. TIETJEN (STATE                                                      Litigation
        BAR #104975)                    ACCOUNT NO.: NOT AVAILABLE
        ROUDA, FEDER, TIETJEN &
        MCGUINN
        44 MONTGOMERY STREET,
        SUITE 750
        SAN FRANCISCO, CALIFORNIA
        94104


3.39439 MATTHEW JOHN PLOURD                       VARIOUS                              Wildfire               UNDETERMINED
        BONNIE E. KANE, ESQ., SBN:                                                     Litigation
        167700STEVEN S. KANE, ESQ.,     ACCOUNT NO.: NOT AVAILABLE
        SBN: 061670
        THE KANE LAW FIRM
        402 W. BROADWAY, SUITE 2500
        SAN DIEGO, CA 92101


3.39440 MATTHEW JOHN PLOURD                       VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228BRETT R. PARKINSON,      ACCOUNT NO.: NOT AVAILABLE
        ESQ., #230150
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.39441 MATTHEW JOHN PLOURD                       VARIOUS                              Wildfire               UNDETERMINED
        ANTHONY R. LAURETI, ESQ.,                                                      Litigation
        SBN: 147086                     ACCOUNT NO.: NOT AVAILABLE
        LAURETI & ASSOCIATES, APC
        402 W. BROADWAY, SUITE 2500
        SAN DIEGO, CA 9210 I


3.39442 MATTHEW JOHN PLOURD                       VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39443 MATTHEW KEEGAN                            VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC VICE                                                      Litigation
        PENDING)JOHN P. FISKE           ACCOUNT NO.: NOT AVAILABLE
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.39444 MATTHEW KEEGAN                            VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONERIKA L.                                                       Litigation
        VASQUEZ AMANDA LOCURTO          ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.39445 MATTHEW KEEGAN                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       IAN C. FUSSELMAN,
       ESQ.BRETT. J. SCHREIBER,
       ESQ.
       THORSNES BARTOLOTTA
       MCGUIRE LLP
       2550 FIFTH A VENUE, 11TH
       FLOOR
       SAN DIEGO, CALIFORNIA 92103


3.39446 MATTHEW KEEGAN                            VARIOUS                              Wildfire               UNDETERMINED
        NATASHA SERINO                                                                 Litigation
        LAW OFFICES OF ALEXANDER        ACCOUNT NO.: NOT AVAILABLE
        M. SCHACK
        16870 WEST BERNARDO, STE
        400,
        SAN DIEGO, CA 92127


3.39447 MATTHEW KEEGAN                            VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ.                                                          Litigation
        TERRY SINGLETON, A.P.C.         ACCOUNT NO.: NOT AVAILABLE
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.39448 MATTHEW KEEGAN                            VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIABDEBORAH S.                                                        Litigation
        DIXONROBERT J. CHAMBERS II      ACCOUNT NO.: NOT AVAILABLE
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39449 MATTHEW LOCHNER                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.39450 MATTHEW LOCHNER                           VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.39451 MATTHEW LOCHNER                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39452 MATTHEW LOCHNER                           VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.39453 MATTHEW MERTZ                             VARIOUS                              Wildfire               UNDETERMINED
        TIMOTHY G. TIETJEN (STATE                                                      Litigation
        BAR #104975)                    ACCOUNT NO.: NOT AVAILABLE
        ROUDA, FEDER, TIETJEN &
        MCGUINN
        44 MONTGOMERY STREET,
        SUITE 750
        SAN FRANCISCO, CALIFORNIA
        94104




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39454 MATTHEW MERTZ                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADIDORIS                ACCOUNT NO.: NOT AVAILABLE
        CHENGANDREW P. MCDEVITT
        WALKUP MELODIA KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39455 MATTHEW NGO                               VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.39456 MATTHEW NGO                               VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                         Litigation
        STATE BAR NO. 296841)PAIGE      ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.39457 MATTHEW ORTIZ                             VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.39458 MATTHEW ORTIZ                             VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                               Litigation
        ABRAHAM, WATKINS, NICHOLS,      ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002




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Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.39459 Matthew Papa                                   VARIOUS                              Wildfire               UNDETERMINED
        Dario De Ghetaldi - Bar No. 126782                                                  Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        Amanda L. Riddle - Bar No. 215221

        Steven M. Berki - Bar No. 245426

        Clare Capaccioli Velasquez - Bar
        No. 290466
        Corey, Luzaich, De Ghetaldi &
        Riddle LLP
        700 El Camino RealP.O. Box 669
        Millbrae, CA 94030-0669


3.39460 MATTHEW PAPA                                   VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                          Litigation
        111359 KRISTINE K.                   ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

        SHAWN R. MILLER- BAR NO.
        238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.39461 MATTHEW PAPA                                   VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                         Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        DYLAN HUGHES - BAR NO.
        209113 STEVEN A. LOPEZ -
        BAR NO. 300540
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.39462 MATTHEW PESQUEIRA                              VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                               Litigation
        VICE PENDINGTEXAS BAR NO.            ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.39463 MATTHEW PESQUEIRA                              VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                                   Litigation
        DREYER BABICH BUCCOLA                ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39464 MATTHEW PESQUEIRA                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39465 MATTHEW PESQUEIRA                         VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.39466 MATTHEW PESQUEIRA                         VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.39467 MATTHEW POSEY                             VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.39468 MATTHEW POSEY                             VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                               Litigation
        ABRAHAM, WATKINS, NICHOLS,      ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.39469 MATTHEW ROWNEY                            VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39470 MATTHEW ROWNEY                            VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.39471 MATTHEW ROWNEY                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39472 MATTHEW ROWNEY                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.39473 MATTHEW SCOTT HILL                        VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39474 MATTHEW SCOTT HILL                        VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.39475 MATTHEW SCOTT HILL                        VARIOUS                              Wildfire               UNDETERMINED
        DOUGLAS BOXER (CAL. STATE                                                      Litigation
        BAR NO. 154226)                 ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICE OF DOUGLAS
        BOXER
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


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Creditor's Name, Mailing Address              Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.39476 MATTHEW SCOTT HILL                             VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                          Litigation
        STATE BAR NO. 157400)                ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.39477 MATTHEW THOMPSON                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                          Litigation
        111359 KRISTINE K.                   ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

        SHAWN R. MILLER- BAR NO.
        238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.39478 Matthew Thompson                               VARIOUS                              Wildfire               UNDETERMINED
        Dario De Ghetaldi - Bar No. 126782                                                  Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        Amanda L. Riddle - Bar No. 215221

        Steven M. Berki - Bar No. 245426

        Clare Capaccioli Velasquez - Bar
        No. 290466
        Corey, Luzaich, De Ghetaldi &
        Riddle LLP
        700 El Camino RealP.O. Box 669
        Millbrae, CA 94030-0669


3.39479 MATTHEW THOMPSON                               VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                         Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        DYLAN HUGHES - BAR NO.
        209113 STEVEN A. LOPEZ -
        BAR NO. 300540
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.39480 MATTHEW WARD                                   VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                    Litigation
        WALKUP, MELODIA, KELLY &             ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39481 MATTHEW WARD                              VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.39482 MATTHEW WARD                              VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.39483 MATTHEW WARD                              VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.39484 MATTHEW WARD                              VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.39485 MATTHEW WEINBERG                          VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.39486 MATTHEW WOLFE                             VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX,
        P.C.
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401




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Including Zip Code                                 Account Number                            Claim

Wildfire Claims

3.39487 Matthew Wolfe                                 VARIOUS                              Wildfire               UNDETERMINED
        Mikal C. Watts (Pro Hae Vice                                                       Litigation
        application anticipated)Guy Watts   ACCOUNT NO.: NOT AVAILABLE
        (Pro Hae Vice application
        anticipated)Ryan L. Thompson
        (Cal. State Bar No. 296841)Paige
        Boldt (Cal. State Bar No. 308772)
        Watts Guerra LLP
        Watts Guerra LLP
        811 Barton Springs Rd., Ste. 725
        Austin, Texas 78704


3.39488 MATTHEWS, TIMOTHY;                            VARIOUS                              Wildfire               UNDETERMINED
        SAMANTHA STORGAARD                                                                 Litigation
        GERARD SINGLETONERIKA L.            ACCOUNT NO.: NOT AVAILABLE
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.39489 MATTHEWS, TIMOTHY;                            VARIOUS                              Wildfire               UNDETERMINED
        SAMANTHA STORGAARD                                                                 Litigation
        ELLIOT ADLERBRITTANY                ACCOUNT NO.: NOT AVAILABLE
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.39490 MATTHEWS, TIMOTHY;                VARIOUS                                          Wildfire               UNDETERMINED
        SAMANTHA STORGAARD                                                                 Litigation
        CO-COUNSELDEMETRIOS A.    ACCOUNT NO.: NOT AVAILABLE
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.39491 MATTSON, RONALD                               VARIOUS                              Wildfire               UNDETERMINED
        593 PUTAH CREEK RD                                                                 Litigation
        NAPA, CA 94558                      ACCOUNT NO.: NOT AVAILABLE


3.39492 MAUREEN BAUMGARTNER                           VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS IIIROBERT T.                                                           Litigation
        BRYSONKEVIN M. POLLACK              ACCOUNT NO.: NOT AVAILABLE
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39493 MAUREEN E. FOLEY                          VARIOUS                              Wildfire               UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                        Litigation
        WEAVER                          ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.39494 MAUREEN E. FOLEY                          VARIOUS                              Wildfire               UNDETERMINED
        ALEXANDER M.                                                                   Litigation
        SCHACKNATASHA N. SERINO         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.39495 MAUREEN E. FOLEY                          VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN B. MURRAY,                                                             Litigation
        SR.JESSICA HAYES                ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.39496 MAUREEN GARCIA                            VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.39497 MAUREEN GARCIA                            VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.39498 MAUREEN GARCIA                            VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39499 MAUREEN GARCIA                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.39500 MAUREEN GARCIA                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39501 MAUREEN GARCIA                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39502 MAUREEN GARCIA                            VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.39503 MAUREEN GARCIA                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39504 MAUREEN HOLDEN                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.39505 MAUREEN HOLDEN                            VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSON PAIGE                                                         Litigation
        BOLDT                           ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.39506 MAUREEN HOLDEN                            VARIOUS                              Wildfire               UNDETERMINED
        ROY MILLER                                                                     Litigation
        HANSEN & MILLER LAW FIRM        ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.39507 MAUREEN QUINN                             VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITREJOSEPH W.                                                        Litigation
        COTCHETTALISON E.               ACCOUNT NO.: NOT AVAILABLE
        CORDOVAABIGAIL D.
        BLODGETT
        COTCHETT, PITRE &
        MCCARTHY, LLP
        SAN FRANCISCO AIRPORT
        OFFICE CENTER840 MALCOLM
        ROAD, SUITE 200
        BURLINGAME, CA 94010


3.39508 MAUREEN QUINN                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.39509 MAUREEN SIMONS                            VARIOUS                              Wildfire               UNDETERMINED
        ALEXANDER M.                                                                   Litigation
        SCHACKNATASHA N. SERINO         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39510 MAUREEN SIMONS                            VARIOUS                              Wildfire               UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                        Litigation
        WEAVER                          ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.39511 MAUREEN SIMONS                            VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN B. MURRAY,                                                             Litigation
        SR.JESSICA HAYES                ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.39512 MAUREEN STEWARD                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39513 MAUREEN STEWARD                           VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.39514 MAUREEN STEWARD                           VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.39515 MAUREEN STEWARD                           VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39516 MAUREEN STEWARD                           VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.39517 MAUREEN STEWARD                           VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.39518 MAUREEN STEWARD                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.39519 MAUREEN STEWARD                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39520 MAUREEN STEWARD                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.39521 MAUREN NAVARRO SEVILLA                    VARIOUS                              Wildfire               UNDETERMINED
        ROY MILLER                                                                     Litigation
        HANSEN AND MILLER LAW FINN      ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39522 MAUREN NAVARRO SEVILLA                    VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSONPAIGE                                                          Litigation
        BOLDT                           ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.39523 MAUREN NAVARRO SEVILLA                    VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX                                                                       Litigation
        LAW OFFICES OF JOHN COX         ACCOUNT NO.: NOT AVAILABLE
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.39524 MAURER LYNN                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39525 MAURER LYNN                               VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.39526 MAURER LYNN                               VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.39527 MAURER LYNN                               VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.39528 MAURER LYNN                               VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928



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Including Zip Code                                Account Number                            Claim

Wildfire Claims

3.39529 MAURER, GENE & BERNADINE                     VARIOUS                              Wildfire               UNDETERMINED
        1051 STEELE CANYON RD                                                             Litigation
        NAPA, CA 94558                     ACCOUNT NO.: NOT AVAILABLE


3.39530 MAURICIA MAI BAGORIO                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                  Litigation
        WALKUP, MELODIA, KELLY &           ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39531 MAURICIA MAI BAGORIO                         VARIOUS                              Wildfire               UNDETERMINED
        BRIAN R. STRANGE, ESQ.                                                            Litigation
        (STATE BAR #103252)BRIANNA         ACCOUNT NO.: NOT AVAILABLE
        STRANGE, ESQ. (STATE BAR
        #321882
        STRANGE & BUTLER
        12100 WILSHIRE BOULEVARD,
        SUITE 1900
        LOS ANGELES, CA 90025


3.39532 MAURICIA MAI BAGORIO                         VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                                 Litigation
        DREYER BABICH BUCCOLA              ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.39533 MAURICIA MAI BAGORIO                         VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                      Litigation
        BAR #1999994) (PRO HAE VICE        ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.39534 Mauricia Mai Bagorio                         VARIOUS                              Wildfire               UNDETERMINED
        Ronald L.M. Goldman, Esq. (State                                                  Litigation
        Bar #33422) Diane Marger Moore,    ACCOUNT NO.: NOT AVAILABLE
        Esq. (Fla. Bar #268364) (Pro Hae

        Vice Application Pending)
        Baum Hedlund Aristei & Goldman,
        P.C.
        10940 Wilshire Boulevard., 17th
        Floor
        Los Angeles, California 90024




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39535 MAURINE HANSEN                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39536 MAURINE HANSEN                            VARIOUS                              Wildfire               UNDETERMINED
        DAVE FOXJOANNA                                                                 Litigation
        FOXCOURTNEY VASQUEZ             ACCOUNT NO.: NOT AVAILABLE
        FOX LAW, APC
        225 W. PLAZA STREET, SUITE
        102
        SOLANA BEACH, CA 92075


3.39537 MAURINE HANSEN                            VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.39538 MAURINE HANSEN                            VARIOUS                              Wildfire               UNDETERMINED
        CHRISTOPHER C.                                                                 Litigation
        SIEGLOCKRACHEL                  ACCOUNT NO.: NOT AVAILABLE
        SIEGLOCKKRISTEN REANO
        SIEGLOCK LAW, APC
        1121 CAMINO DEL MAR
        DEL MAR, CA 92014


3.39539 MAURO REVELES                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39540 MAURO REVELES                             VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                    Litigation
         REINER, SLAUGHTER &            ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39541 MAURO REVELES                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                   Litigation
        ERIC RATINOFF LAW CORP.         ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.39542 MAURO REVELES                             VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.39543 MAVERICK KAT-KUOY                         VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.39544 MAVERICK KAT-KUOY                         VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                       Litigation
        J. EBALLAR                      ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024


3.39545 MAVRAKIS, KELLY                           VARIOUS                              Wildfire               UNDETERMINED
        1880 LIVE OAK DRIVE                                                            Litigation
        REDWOOD VALLEY, CA 95470        ACCOUNT NO.: NOT AVAILABLE


3.39546 MAX DWIGHT ULRICH                         VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON BRETT                                                        Litigation
        R. PARKINSONDANIEL E.           ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39547 MAX DWIGHT ULRICH                         VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFFCOELL M.                                                          Litigation
        SIMMONS                         ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864


3.39548 MAX DWIGHT ULRICH                         VARIOUS                              Wildfire               UNDETERMINED
        JOHN N. DEMAS                                                                  Litigation
        DEMAS LAW GROUP, P.C.           ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.39549 MAX DWIGHT ULRICH                         VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. FRIEDEMANN                                                             Litigation
        FRIEDEMANN GOLDBERG LLP         ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.39550 MAXINE CHRISTIAN                          VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.39551 MAXINE CHRISTIAN                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39552 MAXINE CHRISTIAN                          VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.39553 MAXINE CHRISTIAN                          VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39554 MAXINE CHRISTIAN                          VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.39555 MAXINE DERINGTON                          VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN E. MORRISSEY                                                           Litigation
        (187865)BRYAN CAFORIO           ACCOUNT NO.: NOT AVAILABLE
        (261265)KATHRYN P. HOEK
        (219247)DAVIDA BROOK
        (275370)
        SUSMAN GODFREY LLP
        1900 AVENUE OF THE STARS,
        SUITE 1400
        LOS ANGELES, CA 90067-6029


3.39556 MAXINE DERINGTON                          VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.39557 MAXINE DERINGTON                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39558 MAXINE DERINGTON                          VARIOUS                              Wildfire               UNDETERMINED
        CHARLES S.                                                                     Litigation
        ZIMMERMANCALEB LH               ACCOUNT NO.: NOT AVAILABLE
        MARKER
        ZIMMERMAN REED LLP
        2381 ROSECRANS AVE, SUITE
        328
        MANHATTAN BEACH, CA 90245


3.39559 MAXINE DERINGTON                          VARIOUS                              Wildfire               UNDETERMINED
        VINEET BHATIA (PRO HAC VICE                                                    Litigation
        TO BE SUBMITTED)                ACCOUNT NO.: NOT AVAILABLE
        DIXON DIAB & CHAMBERS LLP
        1000 LOUISIANA STREET, SUITE
        5100
        HOUSTON, TEXAS 77002-5096




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39560 MAXINE WONG                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39561 MAXINE WONG                               VARIOUS                              Wildfire               UNDETERMINED
        WILLIAM A. DANIELS                                                             Litigation
        DANIELS LAW                     ACCOUNT NO.: NOT AVAILABLE
        15021 VENTURA BLVD., #883
        SHERMAN OAKS, CA 91403


3.39562 MAXINE WONG                               VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.39563 MAXINE WONG                               VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.39564 MAXINE WONG                               VARIOUS                              Wildfire               UNDETERMINED
        MARK P. ROBINSON, JR. (SBN                                                     Litigation
        54426) DANIEL S. ROBINSON       ACCOUNT NO.: NOT AVAILABLE
        (SBN 244245)
        ROBINSON CALCAGINE, INC.
        19 CORPORATE PLAZA DRIVE
        NEWPORT BEACH, CA 92660


3.39565 MAXUM INDEMNITY COMPANY                   VARIOUS                              Wildfire               UNDETERMINED
        MARK C. BAUMANPATRICK Y.                                                       Litigation
        HOWELL                          ACCOUNT NO.: NOT AVAILABLE
        BAUMAN LOEWE WITT &
        MAXWELL, PLLC
        8765 E. BELL ROAD, SUITE 210
        SCOTTSDALE, AZ 85260


3.39566 MAXUM INDEMNITY COMPANY                   VARIOUS                              Wildfire               UNDETERMINED
        KEVIN D. BUSHTHOMAS M.                                                         Litigation
        REGANDAVID D. BRISCO            ACCOUNT NO.: NOT AVAILABLE
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101



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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39567 MAXUM INDEMNITY COMPANY                   VARIOUS                              Wildfire               UNDETERMINED
        ALAN J. JANG SALLY NOMA                                                        Litigation
        JANG & ASSOCIATES LLP           ACCOUNT NO.: NOT AVAILABLE
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.39568 MAXUM INDEMNITY COMPANY                   VARIOUS                              Wildfire               UNDETERMINED
        HOWARD D. MAYCON                                                               Litigation
        COZEN O'CONNOR                  ACCOUNT NO.: NOT AVAILABLE
        601 S. FIGUEROA STREET,
        SUITE 3700
        LOS ANGELES, CA 90017


3.39569 MAXWELL ROCKWOOD                          VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                          Litigation
        208783)ERIKA L. VASQUEZ         ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.39570 MAXWELL ROCKWOOD                          VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                           Litigation
        VICEPENDING)JOHN P. FISKE       ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.39571 MAXWELL ROCKWOOD                          VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                     Litigation
        583 I 6)                        ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.39572 MAXWELL ROCKWOOD                          VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
        (SBN 69176)IAN C.               ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39573 MAXWELL ROCKWOOD                          VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                             Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.39574 MAY, DEANNA                               VARIOUS                              Wildfire               UNDETERMINED
        1040 BLUERIDGE DR.                                                             Litigation
        NAPA, CA 94558                  ACCOUNT NO.: NOT AVAILABLE


3.39575 MAY, ROBERT                               VARIOUS                              Wildfire               UNDETERMINED
        5532 MARIT DR                                                                  Litigation
        SANTA ROSA, CA 95409            ACCOUNT NO.: NOT AVAILABLE


3.39576 MAYA CARIDAD CORDONA                      VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADIDORIS                ACCOUNT NO.: NOT AVAILABLE
        CHENGANDREW P. MCDEVITT
        WALKUP MELODIA KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39577 MAYA CARIDAD CORDONA                      VARIOUS                              Wildfire               UNDETERMINED
        TIMOTHY G. TIETJEN (STATE                                                      Litigation
        BAR #104975)                    ACCOUNT NO.: NOT AVAILABLE
        ROUDA, FEDER, TIETJEN &
        MCGUINN
        44 MONTGOMERY STREET,
        SUITE 750
        SAN FRANCISCO, CALIFORNIA
        94104


3.39578 MAYA NICHOLLS                             VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                           Litigation
        VICEPENDING)JOHN P. FISKE       ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.39579 MAYA NICHOLLS                             VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                          Litigation
        208783)ERIKA L. VASQUEZ         ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075



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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39580 MAYA NICHOLLS                             VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                     Litigation
        583 I 6)                        ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.39581 MAYA NICHOLLS                             VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                             Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.39582 MAYA NICHOLLS                             VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
        (SBN 69176)IAN C.               ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.39583 MAYACAMA GOLF CLUB, LLC, A                VARIOUS                              Wildfire               UNDETERMINED
        DELAWARE LIMITED LIABILITY                                                     Litigation
        COMPANY                         ACCOUNT NO.: NOT AVAILABLE
        ALEXANDER M.
        SCHACKNATASHA N. SERINO
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.39584 MAYACAMA GOLF CLUB, LLC, A                VARIOUS                              Wildfire               UNDETERMINED
        DELAWARE LIMITED LIABILITY                                                     Litigation
        COMPANY                         ACCOUNT NO.: NOT AVAILABLE
        MATTHEW H. WELTYJACK W.
        WEAVER
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39585 MAYACAMA GOLF CLUB, LLC, A                VARIOUS                              Wildfire               UNDETERMINED
        DELAWARE LIMITED LIABILITY                                                     Litigation
        COMPANY                         ACCOUNT NO.: NOT AVAILABLE
        STEPHEN B. MURRAY,
        SR.JESSICA HAYES
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.39586 MAYACAMA INVESTMENTS, LLC                 VARIOUS                              Wildfire               UNDETERMINED
        ALEXANDER M.                                                                   Litigation
        SCHACKNATASHA N. SERINO         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.39587 MAYACAMA INVESTMENTS, LLC                 VARIOUS                              Wildfire               UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                        Litigation
        WEAVER                          ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.39588 MAYACAMA INVESTMENTS, LLC                 VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN B. MURRAY,                                                             Litigation
        SR.JESSICA HAYES                ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.39589 MAYBURY, ANTHEA                           VARIOUS                              Wildfire               UNDETERMINED
        189 EL ENCANTO WAY                                                             Litigation
        SANTA ROSA, CA 95409            ACCOUNT NO.: NOT AVAILABLE


3.39590 MAYLENE ROSS                              VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39591 MAYLENE ROSS                              VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                       Litigation
        J. EBALLAR                      ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024


3.39592 MAYNARD, SAM                              VARIOUS                              Wildfire               UNDETERMINED
        13520 LOWER LAKESHORE DR                                                       Litigation
        CLEARLAKE, CA 95422             ACCOUNT NO.: NOT AVAILABLE


3.39593 MAYRA ACOSTA                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39594 MAYRA ACOSTA                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.39595 MAYRA ACOSTA                              VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.39596 MAYRA ACOSTA                              VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669



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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39597 MCBRIDE, TERESA                           VARIOUS                              Wildfire               UNDETERMINED
        DANIEL G. WHALEN                                                               Litigation
        ENGSTROM LIPSCOMB & LACK        ACCOUNT NO.: NOT AVAILABLE
        10100 SANTA MONICA BLVD.,
        12TH FLOOR
        LOS ANGELES, CA 90067


3.39598 MCBRIDE, TERESA & KATHLEEN                VARIOUS                              Wildfire               UNDETERMINED
        DANIEL G. WHALEN                                                               Litigation
        ENGSTROM LIPSCOMB & LACK        ACCOUNT NO.: NOT AVAILABLE
        10100 SANTA MONICA BLVD.,
        12TH FLOOR
        LOS ANGELES, CA 90067


3.39599 MCCALL, DAVE                              VARIOUS                              Wildfire               UNDETERMINED
        2179 LONGHORN CIR                                                              Litigation
        SANTA ROSA, CA 95401            ACCOUNT NO.: NOT AVAILABLE


3.39600 MCCANN, CONNIE                            VARIOUS                              Wildfire               UNDETERMINED
        17433 GEHRICKE ROAD                                                            Litigation
        SONOMA, CA 95476                ACCOUNT NO.: NOT AVAILABLE


3.39601 MCCANN, SHANNON                           VARIOUS                              Wildfire               UNDETERMINED
        7600 MARTHA LANE                                                               Litigation
        C/O JEFFREY CURTIS              ACCOUNT NO.: NOT AVAILABLE
        PALERMO, CA 95968


3.39602 MCCARGAR, JACQUELINE                      VARIOUS                              Wildfire               UNDETERMINED
        3 MOCKINGBIRD PL                                                               Litigation
        SANTA ROSA, CA 95409            ACCOUNT NO.: NOT AVAILABLE


3.39603 MCCARTHY, GREGORY                 VARIOUS                                      Wildfire               UNDETERMINED
        CO-COUNSELDEMETRIOS A.                                                         Litigation
        SPARACINO                 ACCOUNT NO.: NOT AVAILABLE
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.39604 MCCARTHY, GREGORY                         VARIOUS                              Wildfire               UNDETERMINED
        ELLIOT ADLERBRITTANY                                                           Litigation
        ZUMMER                          ACCOUNT NO.: NOT AVAILABLE
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.39605 MCCARTHY, GREGORY                         VARIOUS                              Wildfire               UNDETERMINED
        GERARD SINGLETONERIKA L.                                                       Litigation
        VASQUEZAMANDA LOCUTRO           ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075

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Including Zip Code                                 Account Number                            Claim

Wildfire Claims

3.39606 MCCARTHY, MARIA                               VARIOUS                              Wildfire               UNDETERMINED
        371 ROCKGREEN PLACE                                                                Litigation
        SANTA ROSA, CA 95409                ACCOUNT NO.: NOT AVAILABLE


3.39607 MCCARTHY, SHIELA                              VARIOUS                              Wildfire               UNDETERMINED
        1655 JENNINGS AVE                                                                  Litigation
        SANTA ROSA, CA 95401                ACCOUNT NO.: NOT AVAILABLE


3.39608 MCCARTHY, SUSAN                               VARIOUS                              Wildfire               UNDETERMINED
        8308 FRANZ VALLEY RD                                                               Litigation
        CALISTOGA, CA 94515                 ACCOUNT NO.: NOT AVAILABLE


3.39609 McCartney, Brady Shea Thomas;                 VARIOUS                              Wildfire               UNDETERMINED
        Bettencourt, Erica Marie; Taylor,                                                  Litigation
        Charlotte Adele (A Minor, By And    ACCOUNT NO.: NOT AVAILABLE
        Through Her Guardian Ad Litem
        Erica Marie Bettencourt)
        Co-CounselDemetrios A.
        Sparacino
        SPARACINO LAW CORPORATIOn
        525 B Street, Suite 1500
        San Diego, CA 92101


3.39610 McCartney, Brady Shea Thomas;                 VARIOUS                              Wildfire               UNDETERMINED
        Bettencourt, Erica Marie; Taylor,                                                  Litigation
        Charlotte Adele (A Minor, By And    ACCOUNT NO.: NOT AVAILABLE
        Through Her Guardian Ad Litem
        Erica Marie Bettencourt)
        Gerard SingletonErika L.
        VasquezAmanda LoCutro
        SINGLETON LAW FIRM
        115 West Plaza Street
        Solana Beach, CA 92075


3.39611 MCCARTNEY, BRADY SHEA                         VARIOUS                              Wildfire               UNDETERMINED
        THOMAS; BETTENCOURT,                                                               Litigation
        ERICA MARIE; TAYLOR,                ACCOUNT NO.: NOT AVAILABLE
        CHARLOTTE ADELE (A MINOR,
        BY AND THROUGH HER
        GUARDIAN AD LITEM ERICA
        MARIE BETTENCOURT)
        ELLIOT ADLERBRITTANY
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101




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Including Zip Code                                 Account Number                            Claim

Wildfire Claims

3.39612 MCCARTNEY, PHILIP JAMES;          VARIOUS                                          Wildfire               UNDETERMINED
        MCCARTNEY, REBECCA ANN                                                             Litigation
        CO-COUNSELDEMETRIOS A.    ACCOUNT NO.: NOT AVAILABLE
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.39613 MCCARTNEY, PHILIP JAMES;                      VARIOUS                              Wildfire               UNDETERMINED
        MCCARTNEY, REBECCA ANN                                                             Litigation
        GERARD SINGLETONERIKA L.            ACCOUNT NO.: NOT AVAILABLE
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.39614 MCCARTNEY, PHILIP JAMES;                      VARIOUS                              Wildfire               UNDETERMINED
        MCCARTNEY, REBECCA ANN                                                             Litigation
        ELLIOT ADLERBRITTANY                ACCOUNT NO.: NOT AVAILABLE
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.39615 MCCHINAK, STEPHANIE                           VARIOUS                              Wildfire               UNDETERMINED
        5973 YERBA BUENA ROAD                                                              Litigation
        SANTA ROSA, CA 95409                ACCOUNT NO.: NOT AVAILABLE


3.39616 MCCHINAK, STEPHANIE                           VARIOUS                              Wildfire               UNDETERMINED
        5973 YERBA BUENA RD                                                                Litigation
        SANTA ROSA, CA 95409                ACCOUNT NO.: NOT AVAILABLE


3.39617 MCCLINTLOCK, RICHARD                          VARIOUS                              Wildfire               UNDETERMINED
        5501 HIGHYWAY 20                                                                   Litigation
        UKIAH, CA 95482                     ACCOUNT NO.: NOT AVAILABLE


3.39618 McCluskey, Erin Holmes;                       VARIOUS                              Wildfire               UNDETERMINED
        McCluskey, Linda Holmes and                                                        Litigation
        McCluskey, Patrick Francis          ACCOUNT NO.: NOT AVAILABLE
        (Individually And As Trustees Of
        The Patrick Francis McCluskey And
        Linda Holmes McCluskey Truist,
        And Through Erin Holmes
        McCluskey, Their Power Of
        Attomey Dated January 13,201
        Co-CounselDemetrios A.
        Sparacino
        SPARACINO LAW CORPORATIOn
        525 B Street, Suite 1500
        San Diego, CA 92101




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Including Zip Code                                 Account Number                            Claim

Wildfire Claims

3.39619 McCluskey, Erin Holmes;                       VARIOUS                              Wildfire               UNDETERMINED
        McCluskey, Linda Holmes and                                                        Litigation
        McCluskey, Patrick Francis          ACCOUNT NO.: NOT AVAILABLE
        (Individually And As Trustees Of
        The Patrick Francis McCluskey And
        Linda Holmes McCluskey Truist,
        And Through Erin Holmes
        McCluskey, Their Power Of
        Attomey Dated January 13,201
        Elliot AdlerBrittany Zummer
        ADLER LAW GROUP, APLC
        420 W. Broadway, Suite 860
        San Diego, CA 92101


3.39620 McCluskey, Erin Holmes;                       VARIOUS                              Wildfire               UNDETERMINED
        McCluskey, Linda Holmes and                                                        Litigation
        McCluskey, Patrick Francis          ACCOUNT NO.: NOT AVAILABLE
        (Individually And As Trustees Of
        The Patrick Francis McCluskey And
        Linda Holmes McCluskey Truist,
        And Through Erin Holmes
        McCluskey, Their Power Of
        Attomey Dated January 13,201
        Gerard SingletonErika L.
        VasquezAmanda LoCutro
        SINGLETON LAW FIRM
        115 West Plaza Street
        Solana Beach, CA 92075


3.39621 MCCOMBS, MICHAEL LEE AND                      VARIOUS                              Wildfire               UNDETERMINED
        MCCOMBS, PATRICIA ANN                                                              Litigation
        (INDIVIDUALLY AND AS                ACCOUNT NO.: NOT AVAILABLE
        TRUSTEES OF THE MIKE AND
        PATTI MCCOMBS 2011
        REVOCABLE TRUST)
        GERARD SINGLETONERIKA L.
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.39622 MCCOMBS, MICHAEL LEE AND          VARIOUS                                          Wildfire               UNDETERMINED
        MCCOMBS, PATRICIA ANN                                                              Litigation
        (INDIVIDUALLY AND AS      ACCOUNT NO.: NOT AVAILABLE
        TRUSTEES OF THE MIKE AND
        PATTI MCCOMBS 2011
        REVOCABLE TRUST)
        CO-COUNSELDEMETRIOS A.
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39623 MCCOMBS, MICHAEL LEE AND                  VARIOUS                              Wildfire               UNDETERMINED
        MCCOMBS, PATRICIA ANN                                                          Litigation
        (INDIVIDUALLY AND AS            ACCOUNT NO.: NOT AVAILABLE
        TRUSTEES OF THE MIKE AND
        PATTI MCCOMBS 2011
        REVOCABLE TRUST)
        ELLIOT ADLERBRITTANY
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.39624 MCCRACKEN, JAMES                          VARIOUS                              Wildfire               UNDETERMINED
        136 ANACAPA DRIVE                                                              Litigation
        SANTA ROSA, CA 95403            ACCOUNT NO.: NOT AVAILABLE


3.39625 MCCRADY, STEPHANIE                        VARIOUS                              Wildfire               UNDETERMINED
        68 DEEDLER CT                                                                  Litigation
        SANTA ROSA, CA 95403            ACCOUNT NO.: NOT AVAILABLE


3.39626 MCCUEN, TRENTON                           VARIOUS                              Wildfire               UNDETERMINED
        JOHN GOMEZAHMED DIAB                                                           Litigation
        GOMEZ TRIAL ATTORNEYS           ACCOUNT NO.: NOT AVAILABLE
        655 W. BROADWAY, SUITE 1700
        SAN DIEGO, CA 92101


3.39627 MCCUEN, TRENTON                           VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SAMMY, ESQ.BRITT K.                                                      Litigation
        STROTTMAN, ESQ.JOHN             ACCOUNT NO.: NOT AVAILABLE
        FISKE, ESQ.
        BARON & BUDD
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.39628 MCCURDY, AMBER                            VARIOUS                              Wildfire               UNDETERMINED
        1431 EL CAPITAN WAY                                                            Litigation
        NAPA, CA 94559                  ACCOUNT NO.: NOT AVAILABLE


3.39629 MCDANIEL, JESSICA                         VARIOUS                              Wildfire               UNDETERMINED
        1913 HOLIDAY ST                                                                Litigation
        SANTA ROSA, CA 95403            ACCOUNT NO.: NOT AVAILABLE


3.39630 MCDERMOTT, JUDY                           VARIOUS                              Wildfire               UNDETERMINED
        528 WESTGATE DR                                                                Litigation
        NAPA, CA 94558-1239             ACCOUNT NO.: NOT AVAILABLE


3.39631 MCFARLAND, BLAINE                         VARIOUS                              Wildfire               UNDETERMINED
        960 ALTRURIA DRIVE                                                             Litigation
        312                             ACCOUNT NO.: NOT AVAILABLE
        SANTA ROSA, CA 95403

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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39632 MCFARLAND, JUDITH                         VARIOUS                              Wildfire               UNDETERMINED
        740 MONTCLAIR DR                                                               Litigation
        SANTA ROSA, CA 95409            ACCOUNT NO.: NOT AVAILABLE


3.39633 MCFARLAND, NANCY                          VARIOUS                              Wildfire               UNDETERMINED
        4720 PAULETTE PLACE                                                            Litigation
        SANTA ROSA, CA 95403            ACCOUNT NO.: NOT AVAILABLE


3.39634 MCGAHAN, MICHAEL                          VARIOUS                              Wildfire               UNDETERMINED
        5279 WOLF TRAIL                                                                Litigation
        MARYSVILLE, CA 95901            ACCOUNT NO.: NOT AVAILABLE


3.39635 MCGEE, ALAN                               VARIOUS                              Wildfire               UNDETERMINED
        5910 MOUNTAIN HAWK DR                                                          Litigation
        SANTA ROSA, CA 95409            ACCOUNT NO.: NOT AVAILABLE


3.39636 MCGEE, TOM                                VARIOUS                              Wildfire               UNDETERMINED
        543 WESTGATE DR                                                                Litigation
        NAPA, CA 94558                  ACCOUNT NO.: NOT AVAILABLE


3.39637 MCGREW, SHANDA                            VARIOUS                              Wildfire               UNDETERMINED
        ELLIOT ADLERBRITTANY                                                           Litigation
        ZUMMER                          ACCOUNT NO.: NOT AVAILABLE
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.39638 MCGREW, SHANDA                            VARIOUS                              Wildfire               UNDETERMINED
        GERARD SINGLETONERIKA L.                                                       Litigation
        VASQUEZAMANDA LOCUTRO           ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.39639 MCGREW, SHANDA                    VARIOUS                                      Wildfire               UNDETERMINED
        CO-COUNSELDEMETRIOS A.                                                         Litigation
        SPARACINO                 ACCOUNT NO.: NOT AVAILABLE
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.39640 MCGUIRE, ERIC                             VARIOUS                              Wildfire               UNDETERMINED
        P.O. BOX 119                                                                   Litigation
        FOREST RANCH, CA 95942          ACCOUNT NO.: NOT AVAILABLE


3.39641 MCINNIS, GARRETT                          VARIOUS                              Wildfire               UNDETERMINED
        1083 LA GRANDE AVE                                                             Litigation
        NAPA, CA 94558                  ACCOUNT NO.: NOT AVAILABLE



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Including Zip Code                                   Account Number                            Claim

Wildfire Claims

3.39642 MCINNIS, TANYA                                  VARIOUS                              Wildfire               UNDETERMINED
        407 OAK POINT COURT                                                                  Litigation
        SANTA ROSA, CA 95409                  ACCOUNT NO.: NOT AVAILABLE


3.39643 MCKENZIE, AMIE                                  VARIOUS                              Wildfire               UNDETERMINED
        306 MENDOCINO AVE # 509                                                              Litigation
        SANTA ROSA, CA 95401                  ACCOUNT NO.: NOT AVAILABLE


3.39644 MCKEON, ADAM                                    VARIOUS                              Wildfire               UNDETERMINED
        15014 CANYON DR                                                                      Litigation
        MAGALIA, CA 95954                     ACCOUNT NO.: NOT AVAILABLE


3.39645 McKeown, Kathinka and Neil                      VARIOUS                              Wildfire               UNDETERMINED
        (Bolton); McKeown, Robert, a                                                         Litigation
        minor through GAL McKeown             ACCOUNT NO.: NOT AVAILABLE
        (Ansel); McKeown, Cayah, a minor
        through GAL McKeown, Kathinka
        (Ansel) (Not on Demand) Brennan,
        Kieran; BMK, LLC (Ansel)
        ROBERT W. JACKSON, BRETT R.
        PARKINSON
        205 W. ALVARADO STREET
        FALLBROOK, CA 2028


3.39646 MCKIM, JUDITH                                   VARIOUS                              Wildfire               UNDETERMINED
        5565 SONOMA HIGHWAY                                                                  Litigation
        SANTA ROSA, CA 95409                  ACCOUNT NO.: NOT AVAILABLE


3.39647 MCKINNEY, GEORGE                                VARIOUS                              Wildfire               UNDETERMINED
        307 STONE CREEK CIRCLE                                                               Litigation
        SANTA ROSA, CA 95409                  ACCOUNT NO.: NOT AVAILABLE


3.39648 McKinney, Michael James                         VARIOUS                              Wildfire               UNDETERMINED
        (Individually, And As Agents Of                                                      Litigation
        Flicker Oaks LLC and Flicker Oaks     ACCOUNT NO.: NOT AVAILABLE
        LLC, A California Limited Liability
        Company); Miller, Deborah Laurie
        (Individually, And As Agents Of
        Flicker Oaks LLC and Flicker Oaks
        LLC, A California Limited Liab
        Gerard SingletonErika L.
        VasquezAmanda LoCutro
        SINGLETON LAW FIRM
        115 West Plaza Street
        Solana Beach, CA 92075




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Including Zip Code                                   Account Number                            Claim

Wildfire Claims

3.39649 McKinney, Michael James                         VARIOUS                              Wildfire               UNDETERMINED
        (Individually, And As Agents Of                                                      Litigation
        Flicker Oaks LLC and Flicker Oaks     ACCOUNT NO.: NOT AVAILABLE
        LLC, A California Limited Liability
        Company); Miller, Deborah Laurie
        (Individually, And As Agents Of
        Flicker Oaks LLC and Flicker Oaks
        LLC, A California Limited Liab
        Co-CounselDemetrios A.
        Sparacino
        SPARACINO LAW CORPORATIOn
        525 B Street, Suite 1500
        San Diego, CA 92101


3.39650 McKinney, Michael James                         VARIOUS                              Wildfire               UNDETERMINED
        (Individually, And As Agents Of                                                      Litigation
        Flicker Oaks LLC and Flicker Oaks     ACCOUNT NO.: NOT AVAILABLE
        LLC, A California Limited Liability
        Company); Miller, Deborah Laurie
        (Individually, And As Agents Of
        Flicker Oaks LLC and Flicker Oaks
        LLC, A California Limited Liab
        Elliot AdlerBrittany Zummer
        ADLER LAW GROUP, APLC
        420 W. Broadway, Suite 860
        San Diego, CA 92101


3.39651 MCKONE, TIMOTHY E. AND                          VARIOUS                              Wildfire               UNDETERMINED
        ANITA                                                                                Litigation
        FRANK M. PITRE, ALISON E.             ACCOUNT NO.: NOT AVAILABLE
        CORDOVA
        843 MALCOM ROAD
        SUITE 203
        BURLINGAME, CA 94013


3.39652 MCLEAN, TINA                                    VARIOUS                              Wildfire               UNDETERMINED
        307 CARLSON WAY                                                                      Litigation
        NAPA, CA 94558                        ACCOUNT NO.: NOT AVAILABLE


3.39653 MCLOUGHLIN, DANIEL                              VARIOUS                              Wildfire               UNDETERMINED
        2207 MOUNT VEEDER ROAD                                                               Litigation
        NAPA, CA 94558                        ACCOUNT NO.: NOT AVAILABLE


3.39654 MCMANN, MARY BETH                               VARIOUS                              Wildfire               UNDETERMINED
        537 WESTGATE DR                                                                      Litigation
        NAPA, CA 94558                        ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39655 MCMILLAN, TROY ALLEN;                     VARIOUS                              Wildfire               UNDETERMINED
        MCMILLAN, MICHELLE LEE                                                         Litigation
        ELLIOT ADLERBRITTANY            ACCOUNT NO.: NOT AVAILABLE
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.39656 MCMILLAN, TROY ALLEN;                     VARIOUS                              Wildfire               UNDETERMINED
        MCMILLAN, MICHELLE LEE                                                         Litigation
        GERARD SINGLETONERIKA L.        ACCOUNT NO.: NOT AVAILABLE
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.39657 MCMILLAN, TROY ALLEN;             VARIOUS                                      Wildfire               UNDETERMINED
        MCMILLAN, MICHELLE LEE                                                         Litigation
        CO-COUNSELDEMETRIOS A.    ACCOUNT NO.: NOT AVAILABLE
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.39658 MCMINN, CHRIS                             VARIOUS                              Wildfire               UNDETERMINED
        PO BOX 2126                                                                    Litigation
        SANTA ROSA, CA 95405            ACCOUNT NO.: NOT AVAILABLE


3.39659 MCMURTRY, JUDY ALISON                     VARIOUS                              Wildfire               UNDETERMINED
        ELLIOT ADLERBRITTANY                                                           Litigation
        ZUMMER                          ACCOUNT NO.: NOT AVAILABLE
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.39660 MCMURTRY, JUDY ALISON                     VARIOUS                              Wildfire               UNDETERMINED
        GERARD SINGLETONERIKA L.                                                       Litigation
        VASQUEZAMANDA LOCUTRO           ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.39661 MCMURTRY, JUDY ALISON             VARIOUS                                      Wildfire               UNDETERMINED
        CO-COUNSELDEMETRIOS A.                                                         Litigation
        SPARACINO                 ACCOUNT NO.: NOT AVAILABLE
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101




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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.39662 MCNALLY, CAITLIN                           VARIOUS                              Wildfire               UNDETERMINED
        48 LARK CENTER DR.                                                              Litigation
        8                                ACCOUNT NO.: NOT AVAILABLE
        SANTA ROSA, CA 95403


3.39663 MCNALLY, JOHN                              VARIOUS                              Wildfire               UNDETERMINED
        4809 GLENCANNON ST                                                              Litigation
        SANTA ROSA, CA 95405             ACCOUNT NO.: NOT AVAILABLE


3.39664 MCSWEENEY, ANNE SHIRLEY                    VARIOUS                              Wildfire               UNDETERMINED
        ELLIOT ADLERBRITTANY                                                            Litigation
        ZUMMER                           ACCOUNT NO.: NOT AVAILABLE
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.39665 MCSWEENEY, ANNE SHIRLEY           VARIOUS                                       Wildfire               UNDETERMINED
        CO-COUNSELDEMETRIOS A.                                                          Litigation
        SPARACINO                 ACCOUNT NO.: NOT AVAILABLE
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.39666 MCSWEENEY, ANNE SHIRLEY                    VARIOUS                              Wildfire               UNDETERMINED
        GERARD SINGLETONERIKA L.                                                        Litigation
        VASQUEZAMANDA LOCUTRO            ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.39667 MCTIGHE, SARAH                             VARIOUS                              Wildfire               UNDETERMINED
        P.O. BOX 44                                                                     Litigation
        SMARTVILLE, CA 95977             ACCOUNT NO.: NOT AVAILABLE


3.39668 MCTIGHE, SARAH                             VARIOUS                              Wildfire               UNDETERMINED
        23430 BIG OAK DR                                                                Litigation
        SMARTVILLE, CA 95977             ACCOUNT NO.: NOT AVAILABLE


3.39669 Mead Vineyard Management, LLC              VARIOUS                              Wildfire               UNDETERMINED
        Steven M. Campora, Esq./ SBN:                                                   Litigation
        110909Robert A. Buccola, Esq./   ACCOUNT NO.: NOT AVAILABLE
        SBN: 112880Catia G. Saraiva,
        Esq./ SBN: 232479Andrea R.
        Crowl, Esq./ SBN: 313624
        Dreyer Babich Buccola Wood
        Campora, LLP
        20 Bicentennial Circle
        Sacramento, CA 95826




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39670 MEADE, LEANDRE                            VARIOUS                              Wildfire               UNDETERMINED
        6131 MONTECITO BLVD                                                            Litigation
        APT 16                          ACCOUNT NO.: NOT AVAILABLE
        SANTA ROSA, CA 95409


3.39671 MEAGAN DUBER                              VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON BRETT                                                        Litigation
        R. PARKINSONDANIEL E.           ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.39672 MEAGAN DUBER                              VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFFCOELL M.                                                          Litigation
        SIMMONS                         ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864


3.39673 MEAGAN DUBER                              VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. FRIEDEMANN                                                             Litigation
        FRIEDEMANN GOLDBERG LLP         ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.39674 MEAGAN DUBER                              VARIOUS                              Wildfire               UNDETERMINED
        JOHN N. DEMAS                                                                  Litigation
        DEMAS LAW GROUP, P.C.           ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.39675 MEAGHAN ODELL                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39676 MEAGHAN ODELL                             VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                     Litigation
        100077ALISON E. CORDOVA,        ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010




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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.39677 MEAGHAN ODELL                              VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.39678 MEAGHAN ODELL                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.39679 MEAGHAN ODELL                              VARIOUS                              Wildfire               UNDETERMINED
        TODD B. BECKERBRIAN E.                                                          Litigation
        SHEARJASON BOYER                 ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105


3.39680 MEDIA SANDERS                              VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.39681 MEDIA SANDERS                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39682 MEDIA SANDERS                              VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                         Litigation
        125868JUSTIN J. EBALLAR,         ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928




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Creditor's Name, Mailing Address             Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                                 Account Number                            Claim

Wildfire Claims

3.39683 MEDIA SANDERS                                 VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                              Litigation
        SINGLETONERIKA L.                   ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        450 A STREET, 5TH FLOOR
        SAN DIEGO, CA 92101


3.39684 MEDIA SANDERS                                 VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                          Litigation
        MARTINI                             ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.39685 MEDIN, SHERILYN & MICHAEL                     VARIOUS                              Wildfire               UNDETERMINED
        P.O. BOX 986                                                                       Litigation
        PARADISE, CA 95967                  ACCOUNT NO.: NOT AVAILABLE


3.39686 Medina, Abel; Epifania Medina;                VARIOUS                              Wildfire               UNDETERMINED
        Edgar Ornelas; Eduar Medina;                                                       Litigation
        Dolores Percostegui; Teresa         ACCOUNT NO.: NOT AVAILABLE
        Medina; Guliani M. Medina Flores;
        Malinallilzin Medina Ocadio
        Co-CounselDemetrios A.
        Sparacino
        SPARACINO LAW CORPORATIOn
        525 B Street, Suite 1500
        San Diego, CA 92101


3.39687 Medina, Abel; Epifania Medina;                VARIOUS                              Wildfire               UNDETERMINED
        Edgar Ornelas; Eduar Medina;                                                       Litigation
        Dolores Percostegui; Teresa         ACCOUNT NO.: NOT AVAILABLE
        Medina; Guliani M. Medina Flores;
        Malinallilzin Medina Ocadio
        Gerard SingletonErika L.
        VasquezAmanda LoCutro
        SINGLETON LAW FIRM
        115 West Plaza Street
        Solana Beach, CA 92075


3.39688 MEDINA, ABEL; EPIFANIA                        VARIOUS                              Wildfire               UNDETERMINED
        MEDINA; EDGAR ORNELAS;                                                             Litigation
        EDUAR MEDINA; DOLORES               ACCOUNT NO.: NOT AVAILABLE
        PERCOSTEGUI; TERESA
        MEDINA; GULIANI M. MEDINA
        FLORES; MALINALLILZIN
        MEDINA OCADIO
        ELLIOT ADLERBRITTANY
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39689 MEDINA, ARTEMIO                           VARIOUS                              Wildfire               UNDETERMINED
        3400 JEFFERSON ST                                                              Litigation
        APT 307                         ACCOUNT NO.: NOT AVAILABLE
        NAPA, CA 94558


3.39690 MEDINA, CELIA                             VARIOUS                              Wildfire               UNDETERMINED
        1518 SURREY DR                                                                 Litigation
        SANTA ROSA, CA 95401            ACCOUNT NO.: NOT AVAILABLE


3.39691 MEDINA, OLIVIA                            VARIOUS                              Wildfire               UNDETERMINED
        1701 MOUNT VEEDER RD                                                           Litigation
        NAPA, CA 94558                  ACCOUNT NO.: NOT AVAILABLE


3.39692 MEDINA, ROSA                              VARIOUS                              Wildfire               UNDETERMINED
        37 WOODWARDIA SQ                                                               Litigation
        37                              ACCOUNT NO.: NOT AVAILABLE
        SANTA ROSA, CA 95409


3.39693 MEE FORBES                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39694 MEE FORBES                                VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.39695 MEE FORBES                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39696 MEE FORBES                                VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.39697 MEEKO T BUTROS                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39698 MEEKO T BUTROS                            VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.39699 MEEKO T BUTROS                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.39700 MEEKO T BUTROS                            VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.39701 MEEKO T BUTROS                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.39702 MEEKO, CHRYSTAL                           VARIOUS                              Wildfire               UNDETERMINED
        30 WEST SPAIN ST                                                               Litigation
        SONOMA, CA 95476                ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39703 MEGAN AMUNDSON                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39704 MEGAN AMUNDSON                            VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.39705 MEGAN AMUNDSON                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.39706 MEGAN AMUNDSON                            VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.39707 MEGAN AMUNDSON                            VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.39708 MEGAN BECKLEY                             VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                               Litigation
        ABRAHAM, WATKINS, NICHOLS,      ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39709 MEGAN BECKLEY                             VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.39710 MEGAN BOONE                               VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                       Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.39711 MEGAN BOONE                               VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR.,SBN                                                        Litigation
        60768ANGELA JAE CHUN, SBN       ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCAVILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101


3.39712 MEGAN BOONE                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAEL S. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.39713 MEGAN BOONE                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39714 MEGAN BROWN                               VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39715 MEGAN BROWN                               VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.39716 MEGAN BROWN                               VARIOUS                              Wildfire               UNDETERMINED
        JOHN R. GARNER (SBN 246729)                                                    Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       MARIA E. MINNEY (SBN 289131)
       GARNER & ASSOCIATES
       P.O. BOX 908109 N. MARSHALL
       AVENUE
       WILLOWS, CA 95988


3.39717 MEGAN BROWN                               VARIOUS                              Wildfire               UNDETERMINED
        IVY T. NGO (SBN                                                                Litigation
        249860)JAMES P. RUDOLPH         ACCOUNT NO.: NOT AVAILABLE
        (SBN 244396)
        FRANKLIN D. AZAR &
        ASSOCIATES
        14426 EAST EVANS AVENUE
        AURORA, CO 80014


3.39718 MEGAN BROWN                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39719 MEGAN BROWN                               VARIOUS                              Wildfire               UNDETERMINED
        JOHN R. GARNER (SBN                                                            Litigation
        246729)MARIA E. MINNEY (SBN     ACCOUNT NO.: NOT AVAILABLE
        289131)
        GARNER & ASSOCIATES
        P.O. BOX 908109 N. MARSHALL
        AVE.
        WILLOWS, CA 95988


3.39720 MEGAN BROWN                               VARIOUS                              Wildfire               UNDETERMINED
        IVY T. NGO (SBN 249860)                                                        Litigation
        FRANKLIN D. AZAR &              ACCOUNT NO.: NOT AVAILABLE
        ASSOCIATES
        14426 EAST EVANS AVENUE
        AURORA, CO 80014




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39721 MEGAN CORCORAN                            VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSONPAIGE                                                          Litigation
        BOLDT                           ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.39722 MEGAN CORCORAN                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX                                                                       Litigation
        LAW OFFICES OF JOHN COX         ACCOUNT NO.: NOT AVAILABLE
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.39723 MEGAN CORCORAN                            VARIOUS                              Wildfire               UNDETERMINED
        ROY MILLER                                                                     Litigation
        HANSEN & MILLER LAW FIRM        ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.39724 MEGAN HERIC                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39725 MEGAN HERIC                               VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                    Litigation
         REINER, SLAUGHTER &            ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.39726 MEGAN HERIC                               VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                   Litigation
        ERIC RATINOFF LAW CORP.         ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.39727 MEGAN HERIC                               VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39728 MEGAN LUCEY                               VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.39729 MEGAN LUCEY                               VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                               Litigation
        ABRAHAM, WATKINS, NICHOLS,      ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.39730 MEGAN MURILLO                             VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.39731 MEGAN MURILLO                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39732 MEGAN MURILLO                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39733 MEGAN MURILLO                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.39734 MEGAN OSBOURN                             VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                    Litigation
         REINER, SLAUGHTER &            ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.39735 MEGAN OSBOURN                             VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.39736 MEGAN OSBOURN                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                   Litigation
        ERIC RATINOFF LAW CORP.         ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.39737 MEGAN OSBOURN                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39738 MEGAN POSTOLKA(MINOR)                     VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39739 MEGAN POSTOLKA(MINOR)                     VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826



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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39740 MEGAN POSTOLKA(MINOR)                     VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.39741 MEGAN POSTOLKA(MINOR)                     VARIOUS                              Wildfire               UNDETERMINED
        WILLIAM A. DANIELS                                                             Litigation
        DANIELS LAW                     ACCOUNT NO.: NOT AVAILABLE
        15021 VENTURA BLVD., #883
        SHERMAN OAKS, CA 91403


3.39742 MEGAN POSTOLKA(MINOR)                     VARIOUS                              Wildfire               UNDETERMINED
        KEVIN 0. MOON, STATE BAR                                                       Litigation
        NO. 246792CHRISTOPHER D.        ACCOUNT NO.: NOT AVAILABLE
        MOON, STATE BAR NO. 246622
        MOON LAW APC
        499 SEAPORT COURT, SUITE 200
        REDWOOD CITY, CALIFORNIA
        94063


3.39743 MEGAN RENEE EVANS                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39744 MEGAN RENEE EVANS                         VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.39745 MEGAN RENEE EVANS                         VARIOUS                              Wildfire               UNDETERMINED
        DOUGLAS BOXER (CAL. STATE                                                      Litigation
        BAR NO. 154226)                 ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICE OF DOUGLAS
        BOXER
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39746 MEGAN RENEE EVANS                         VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.39747 MEGAN WISE                                VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.39748 MEGAN WISE                                VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZ, ESQ., SBN                                                     Litigation
        87492WILLIAM P. HARRIS III,     ACCOUNT NO.: NOT AVAILABLE
        ESQ., SBN 123575M. REGINA
        BAGDASARIAN, ESQ., SBN
        296219GEORGE T. STIEFEL,
        ESQ., SBN. 297611
        FRANTZ LAW GROUP, APLC
        770 L STREET, SUITE 950
        SACRAMENTO, CA 95814


3.39749 MEGAN WISE                                VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.39750 MEGAN WISE                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39751 MEGAN WISE                                VARIOUS                              Wildfire               UNDETERMINED
        RICHARD K. BRIDGFORD, ESQ.,                                                    Litigation
        SBN 119554MICHAEL H.            ACCOUNT NO.: NOT AVAILABLE
        ARTINIAN, ESQ., SBN 203443
        BRIDGFORD, GLEASON, &
        ARTINIAN
        236 BROADWAY SUITE B
        CHICO, CA 95928




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39752 MEGHAN LONG                               VARIOUS                              Wildfire               UNDETERMINED
        TIMOTHY G. TIETJEN (STATE                                                      Litigation
        BAR #104975)                    ACCOUNT NO.: NOT AVAILABLE
        ROUDA, FEDER, TIETJEN &
        MCGUINN
        44 MONTGOMERY STREET,
        SUITE 750
        SAN FRANCISCO, CALIFORNIA
        94104


3.39753 MEGHAN LONG                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADIDORIS                ACCOUNT NO.: NOT AVAILABLE
        CHENGANDREW P. MCDEVITT
        WALKUP MELODIA KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39754 MEHRIZI PROPERTIES LLC                    VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39755 MEHRIZI PROPERTIES LLC                    VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA (SBN                                                         Litigation
        110909)                         ACCOUNT NO.: NOT AVAILABLE
        DREYER BABICHBUCCOLA
        WOODCAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.39756 MEHRIZI PROPERTIES LLC                    VARIOUS                              Wildfire               UNDETERMINED
        CHRLSTOPHER C. SIEGLOCK                                                        Litigation
        (BAR NO. 295951) RACHEL         ACCOUNT NO.: NOT AVAILABLE
        SIEGLOCK (BAR NO. 299761)

       KRISTEN REANO(BAR
       NO.321795)
       SIEGLOCK LAW, APC
       1221 CAMINO DEL MAR
       DEL MAR, CA 92014




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39757 MEHRIZI PROPERTIES LLC                    VARIOUS                              Wildfire               UNDETERMINED
        DAVE FOX (BAR                                                                  Litigation
        NO.254651)JOANNA LEE FOX        ACCOUNT NO.: NOT AVAILABLE
        (BAR NO. 212593)COURTNEY
        VASQUEZ (BAR NO. 267081)
        FOX LAW, APC
        125 W. PLAZA STREET, SUITE
        102
        SOLANA BEACH, CA 92075


3.39758 MEHRTENS, FRED                            VARIOUS                              Wildfire               UNDETERMINED
        240 SILVER CREEK CIRCLE                                                        Litigation
        SANTA ROSA, CA 95409            ACCOUNT NO.: NOT AVAILABLE


3.39759 MEI HUI CHEN                              VARIOUS                              Wildfire               UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                        Litigation
        WEAVER                          ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.39760 MEI HUI CHEN                              VARIOUS                              Wildfire               UNDETERMINED
        ALEXANDER M.                                                                   Litigation
        SCHACKNATASHA N. SERINO         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.39761 MEI HUI CHEN                              VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN B. MURRAY,                                                             Litigation
        SR.JESSICA HAYES                ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.39762 MEIRING, ROBERT LAWRENCE;                 VARIOUS                              Wildfire               UNDETERMINED
        MEIRING, ROBERTA ANN                                                           Litigation
        ELLIOT ADLERBRITTANY            ACCOUNT NO.: NOT AVAILABLE
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.39763 MEIRING, ROBERT LAWRENCE;                 VARIOUS                              Wildfire               UNDETERMINED
        MEIRING, ROBERTA ANN                                                           Litigation
        GERARD SINGLETONERIKA L.        ACCOUNT NO.: NOT AVAILABLE
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


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Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.39764 MEIRING, ROBERT LAWRENCE;         VARIOUS                                           Wildfire               UNDETERMINED
        MEIRING, ROBERTA ANN                                                                Litigation
        CO-COUNSELDEMETRIOS A.    ACCOUNT NO.: NOT AVAILABLE
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.39765 Meiring, Robert Lawrence; Meiring,             VARIOUS                              Wildfire               UNDETERMINED
        Roberta Ann; Avila, Amanda Marie;                                                   Litigation
        Avila, Marc Richard; Avila, Dylan    ACCOUNT NO.: NOT AVAILABLE
        Marcanthony (Minors, By And
        Through Their Guardian Ad Litem
        Amanda Marie Avila); Avila, Kaylee
        Ann (Minors, By And Through Their
        Guardian Ad Litem Amand
        Co-CounselDemetrios A.
        Sparacino
        SPARACINO LAW CORPORATIOn
        525 B Street, Suite 1500
        San Diego, CA 92101


3.39766 Meiring, Robert Lawrence; Meiring,             VARIOUS                              Wildfire               UNDETERMINED
        Roberta Ann; Avila, Amanda Marie;                                                   Litigation
        Avila, Marc Richard; Avila, Dylan    ACCOUNT NO.: NOT AVAILABLE
        Marcanthony (Minors, By And
        Through Their Guardian Ad Litem
        Amanda Marie Avila); Avila, Kaylee
        Ann (Minors, By And Through Their
        Guardian Ad Litem Amand
        Elliot AdlerBrittany Zummer
        ADLER LAW GROUP, APLC
        420 W. Broadway, Suite 860
        San Diego, CA 92101


3.39767 Meiring, Robert Lawrence; Meiring,             VARIOUS                              Wildfire               UNDETERMINED
        Roberta Ann; Avila, Amanda Marie;                                                   Litigation
        Avila, Marc Richard; Avila, Dylan    ACCOUNT NO.: NOT AVAILABLE
        Marcanthony (Minors, By And
        Through Their Guardian Ad Litem
        Amanda Marie Avila); Avila, Kaylee
        Ann (Minors, By And Through Their
        Guardian Ad Litem Amand
        Gerard SingletonErika L.
        VasquezAmanda LoCutro
        SINGLETON LAW FIRM
        115 West Plaza Street
        Solana Beach, CA 92075




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39768 MEL PREIMESBERGER                         VARIOUS                              Wildfire               UNDETERMINED
        MARY E. ALEXANDER,                                                             Litigation
        ESQJENNIFER L. FIORE, ESQ       ACCOUNT NO.: NOT AVAILABLE
        MARY ALEXANDER &
        ASSOCIATES, P.C.
        44 MONTGOMERY STREET,
        SUITE 1303
        SAN FRANCISCO, CA 94104


3.39769 MELANA R. CAVENECIA                       VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS III (SBN                                                           Litigation
        296101)ROBERT T. BRYSON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.39770 MELANIA KANG                              VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                          Litigation
        208783)ERIKA L. VASQUEZ         ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.39771 MELANIA KANG                              VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                           Litigation
        VICEPENDING)JOHN P. FISKE       ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.39772 MELANIA KANG                              VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                     Litigation
        583 I 6)                        ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.39773 MELANIA KANG                              VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                             Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39774 MELANIA KANG                              VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
        (SBN 69176)IAN C.               ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.39775 MELANIE CARLSTON                          VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                           Litigation
        VICEPENDING)JOHN P. FISKE       ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.39776 MELANIE CARLSTON                          VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                          Litigation
        208783)ERIKA L. VASQUEZ         ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.39777 MELANIE CARLSTON                          VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
        (SBN 69176)IAN C.               ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.39778 MELANIE CARLSTON                          VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                     Litigation
        583 I 6)                        ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39779 MELANIE CARLSTON                          VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                             Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.39780 MELANIE CONNOR                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39781 MELANIE CONNOR                            VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.39782 MELANIE CONNOR                            VARIOUS                              Wildfire               UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                     Litigation
        ZUMMERAMANDA J.                 ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.39783 MELANIE CONNOR                            VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.39784 MELANIE CROOK                             VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39785 MELANIE CROOK                             VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.39786 MELANIE CROOK                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39787 MELANIE CROOK                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.39788 MELANIE CROOK                             VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.39789 MELANIE CURLEY,                           VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782 AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39790 MELANIE CURLEY,                           VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                    Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.39791 MELANIE CURLEY,                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359 KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065


3.39792 MELANIE MARK                              VARIOUS                              Wildfire               UNDETERMINED
        ALEXANDER M.                                                                   Litigation
        SCHACKNATASHA N. SERINO         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.39793 MELANIE MARK                              VARIOUS                              Wildfire               UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                        Litigation
        WEAVER                          ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.39794 MELANIE MARK                              VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN B. MURRAY,                                                             Litigation
        SR.JESSICA HAYES                ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.39795 MELANIE RICHISEN                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.39796 MELANIE RICHISEN                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.39797 MELANIE RICHISEN                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.39798 MELANIE RICHISEN                           VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.39799 MELANIE RICHISEN                           VARIOUS                              Wildfire               UNDETERMINED
        NICHOLAS J.P. WAGNER                                                            Litigation
        #109455LAURA E. BROWN            ACCOUNT NO.: NOT AVAILABLE
        #306035
        WAGNER, JONES, KOPFMAN, &
        ARTENIAN LLP
        1111 HERNDON, STE. 317
        FRESNO, CA 93720


3.39800 MELANY COLLETT                             VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                                Litigation
        ABRAHAM, WATKINS, NICHOLS,       ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.39801 MELANY COLLETT                             VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                        Litigation
        AMANWILLIAM P. HARRIS            ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39802 MELBERG, KEIF                             VARIOUS                              Wildfire               UNDETERMINED
        461 ANZA COURT                                                                 Litigation
        SONOMA, CA 95476                ACCOUNT NO.: NOT AVAILABLE


3.39803 MELENDY, CRAIG                            VARIOUS                              Wildfire               UNDETERMINED
        914 CECELIA DRIVE                                                              Litigation
        GLEN ELLEN, CA 95442            ACCOUNT NO.: NOT AVAILABLE


3.39804 MELIA ADELL JOHNSON                       VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39805 MELIA ADELL JOHNSON                       VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR., SBN                                                       Litigation
        60768ANGELA JAE CHUN, SBN       ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCA VILLA BLATT &
        PENFIELD, LLP
        110 LAUREL STREET
        SAN DIEGO, CA 92101


3.39806 MELIA ADELL JOHNSON                       VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                       Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.39807 MELIA ADELL JOHNSON                       VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAEL S. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.39808 MELICAN, NANCY                            VARIOUS                              Wildfire               UNDETERMINED
        130 W. AGUA CALIENTE RD.                                                       Litigation
        SONOMA, CA 95476                ACCOUNT NO.: NOT AVAILABLE


3.39809 MELINA GALLEHER                           VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928



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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39810 MELINA GALLEHER                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39811 MELINA GALLEHER                           VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.39812 MELINA GALLEHER                           VARIOUS                              Wildfire               UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                     Litigation
        ZUMMERAMANDA J.                 ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.39813 MELINDA ANN TACKITT                       VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.39814 MELINDA ANN TACKITT                       VARIOUS                              Wildfire               UNDETERMINED
        DOUGLAS BOXER (CAL. STATE                                                      Litigation
        BAR NO. 154226)                 ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICE OF DOUGLAS
        BOXER
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.39815 MELINDA ANN TACKITT                       VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39816 MELINDA ANN TACKITT                       VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.39817 MELINDA BACHMAN                           VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                          Litigation
        208783)ERIKA L. VASQUEZ         ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.39818 MELINDA BACHMAN                           VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                           Litigation
        VICEPENDING)JOHN P. FISKE       ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.39819 MELINDA BACHMAN                           VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                     Litigation
        583 I 6)                        ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.39820 MELINDA BACHMAN                           VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                             Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39821 MELINDA BACHMAN                           VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
        (SBN 69176)IAN C.               ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.39822 MELINDA BROCK                             VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.39823 MELINDA BROCK                             VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                       Litigation
        J. EBALLAR                      ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024


3.39824 MELINDA DUNN                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39825 MELINDA DUNN                              VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.39826 MELINDA DUNN                              VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39827 MELINDA DUNN                              VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.39828 MELINDA DUNN                              VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.39829 MELINDA GREENBERG                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39830 MELINDA GREENBERG                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.39831 MELINDA GREENBERG                         VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39832 MELINDA GREENBERG                         VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.39833 MELINDA NICHOLS                           VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                          Litigation
        208783)ERIKA L. VASQUEZ         ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.39834 MELINDA NICHOLS                           VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                           Litigation
        VICEPENDING)JOHN P. FISKE       ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.39835 MELINDA NICHOLS                           VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                             Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.39836 MELINDA NICHOLS                           VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                     Litigation
        583 I 6)                        ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39837 MELINDA NICHOLS                           VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
        (SBN 69176)IAN C.               ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.39838 MELINDA S O'KELLY                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39839 MELINDA S O'KELLY                         VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.39840 MELINDA S O'KELLY                         VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.39841 MELINDA S O'KELLY                         VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.39842 MELINDA S O'KELLY                         VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.39843 MELINDA STINSON                            VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                        Litigation
        AMANWILLIAM P. HARRIS            ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.39844 MELINDA STINSON                            VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                                Litigation
        ABRAHAM, WATKINS, NICHOLS,       ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.39845 MELISSA BELTRAMO                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.39846 MELISSA BELTRAMO                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39847 MELISSA BELTRAMO                           VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.39848 MELISSA BELTRAMO                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39849 MELISSA BELTRAMO                          VARIOUS                              Wildfire               UNDETERMINED
        TODD B. BECKERBRIAN E.                                                         Litigation
        SHEARJASON BOYER                ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105


3.39850 MELISSA BUJOR                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39851 MELISSA BUJOR                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                   Litigation
        ERIC RATINOFF LAW CORP.         ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.39852 MELISSA BUJOR                             VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.39853 MELISSA BUJOR                             VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                    Litigation
         REINER, SLAUGHTER &            ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.39854 MELISSA COLE                              VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782 AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39855 MELISSA COLE                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359 KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065


3.39856 MELISSA COLE                              VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                    Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.39857 MELISSA D REYES                           VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.39858 MELISSA D REYES                           VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.39859 MELISSA D REYES                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.39860 MELISSA D REYES                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39861 MELISSA D REYES                           VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.39862 MELISSA EDNEY                             VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                          Litigation
        208783)ERIKA L. VASQUEZ         ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.39863 MELISSA EDNEY                             VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                           Litigation
        VICEPENDING)JOHN P. FISKE       ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.39864 MELISSA EDNEY                             VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                     Litigation
        583 I 6)                        ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.39865 MELISSA EDNEY                             VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                             Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.39866 MELISSA EDNEY                             VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
        (SBN 69176)IAN C.               ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39867 MELISSA HEMPSMYER                         VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.39868 MELISSA HEMPSMYER                         VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                               Litigation
        ABRAHAM, WATKINS, NICHOLS,      ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.39869 MELISSA IANNONE                           VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                           Litigation
        VICEPENDING)JOHN P. FISKE       ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.39870 MELISSA IANNONE                           VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                          Litigation
        208783)ERIKA L. VASQUEZ         ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.39871 MELISSA IANNONE                           VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                     Litigation
        583 I 6)                        ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.39872 MELISSA IANNONE                           VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
        (SBN 69176)IAN C.               ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103



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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39873 MELISSA IANNONE                           VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                             Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.39874 MELISSA J DEWELL                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39875 MELISSA J DEWELL                          VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.39876 MELISSA J DEWELL                          VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.39877 MELISSA J DEWELL                          VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.39878 MELISSA J DEWELL                          VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39879 MELISSA JONES                             VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                           Litigation
        VICEPENDING)JOHN P. FISKE       ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.39880 MELISSA JONES                             VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                          Litigation
        208783)ERIKA L. VASQUEZ         ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.39881 MELISSA JONES                             VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
        (SBN 69176)IAN C.               ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.39882 MELISSA JONES                             VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                     Litigation
        583 I 6)                        ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.39883 MELISSA JONES                             VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                             Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.39884 MELISSA L WHITE                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39885 MELISSA L WHITE                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.39886 MELISSA L WHITE                           VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.39887 MELISSA L WHITE                           VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.39888 MELISSA L WHITE                           VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.39889 MELISSA LEHRER                            VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                       Litigation
        J. EBALLAR                      ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024


3.39890 MELISSA LEHRER                            VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39891 MELISSA LOPEZ                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.39892 MELISSA LOPEZ                             VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.39893 MELISSA LOPEZ                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39894 MELISSA LOPEZ                             VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.39895 MELISSA LOPEZ                             VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.39896 MELISSA LUCAS                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39897 MELISSA LUCAS                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.39898 MELISSA LUCAS                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.39899 MELISSA LUCAS                             VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.39900 MELISSA MILHOLLAND                        VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA, ESQ./                                                       Litigation
        SBN: 110909ROBERT A.            ACCOUNT NO.: NOT AVAILABLE
        BUCCOLA, ESQ./ SBN:
        112880CATIA G. SARAIVA,
        ESQ./ SBN: 232479ANDREA R.
        CROWL, ESQ./ SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.39901 MELISSA MYERS                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39902 MELISSA MYERS                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.39903 MELISSA MYERS                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.39904 MELISSA MYERS                             VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.39905 MELISSA NOWLIN                            VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS III (SBN                                                           Litigation
        296101)ROBERT T. BRYSON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.39906 MELITA COMBS                              VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                               Litigation
        ABRAHAM, WATKINS, NICHOLS,      ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39907 MELITA COMBS                              VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.39908 MELODY PAIGE CARDONA                      VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADIDORIS                ACCOUNT NO.: NOT AVAILABLE
        CHENGANDREW P. MCDEVITT
        WALKUP MELODIA KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39909 MELODY PAIGE CARDONA                      VARIOUS                              Wildfire               UNDETERMINED
        TIMOTHY G. TIETJEN (STATE                                                      Litigation
        BAR #104975)                    ACCOUNT NO.: NOT AVAILABLE
        ROUDA, FEDER, TIETJEN &
        MCGUINN
        44 MONTGOMERY STREET,
        SUITE 750
        SAN FRANCISCO, CALIFORNIA
        94104


3.39910 MELONIE COEN                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAEL S. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.39911 MELONIE COEN                              VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR., SBN                                                       Litigation
        60768ANGELA JAE CHUN, SBN       ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCA VILLA BLATT &
        PENFIELD, LLP
        110 LAUREL STREET
        SAN DIEGO, CA 92101


3.39912 MELONIE COEN                              VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                       Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39913 MELONIE COEN                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39914 MELTON, DIANE                             VARIOUS                              Wildfire               UNDETERMINED
        7 SCHNEITER LN                                                                 Litigation
        BANGOR, CA 95914                ACCOUNT NO.: NOT AVAILABLE


3.39915 MELVIN BOYBOSA                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA, ESQ./                                                       Litigation
        SBN: 110909ROBERT A.            ACCOUNT NO.: NOT AVAILABLE
        BUCCOLA, ESQ./ SBN:
        112880CATIA G. SARAIVA,
        ESQ./ SBN: 232479ANDREA R.
        CROWL, ESQ./ SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.39916 MELVIN EAGLE                              VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFFCOELL M.                                                          Litigation
        SIMMONS                         ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864


3.39917 MELVIN EAGLE                              VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON BRETT                                                        Litigation
        R. PARKINSONDANIEL E.           ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.39918 MELVIN EAGLE                              VARIOUS                              Wildfire               UNDETERMINED
        JOHN N. DEMAS                                                                  Litigation
        DEMAS LAW GROUP, P.C.           ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.39919 MELVIN EAGLE                              VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. FRIEDEMANN                                                             Litigation
        FRIEDEMANN GOLDBERG LLP         ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403



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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39920 MELVIN LEROY RUSSELL                      VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.39921 MELVIN LEROY RUSSELL                      VARIOUS                              Wildfire               UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                     Litigation
        ZUMMERAMANDA J.                 ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.39922 MELVIN LEROY RUSSELL                      VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.39923 MELVIN LEROY RUSSELL                      VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39924 MELVIN ROYAL                              VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.39925 MELVIN ROYAL                              VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                               Litigation
        ABRAHAM, WATKINS, NICHOLS,      ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002



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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39926 MELVYN LIM                                VARIOUS                              Wildfire               UNDETERMINED
        ELIZABETH J.                                                                   Litigation
        CABRASERROBERT J.               ACCOUNT NO.: NOT AVAILABLE
        NELSON LEXI J. HAZAM

       FABRICE N. VINCENTANNIKA
       K. MARTINABBY R. WOLF
       LIEFF CABRASER HEIMANN &
       BERNSTEIN, LLP
       275 BATTERY STREET, 29TH
       FLOOR
       SAN FRANCISCO, CA 94111-3339


3.39927 MELYNDA LEE BURBAGE                       VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.39928 MELYNDA LEE BURBAGE                       VARIOUS                              Wildfire               UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                     Litigation
        ZUMMERAMANDA J.                 ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.39929 MELYNDA LEE BURBAGE                       VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39930 MELYNDA LEE BURBAGE                       VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39931 MEMORY L. MACDONALD                       VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.39932 MEMORY L. MACDONALD                       VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39933 MEMORY L. MACDONALD                       VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.39934 MEMORY L. MACDONALD                       VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.39935 MEMORY L. MACDONALD                       VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                         Litigation
        DOMENIC MARTINI                 ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103


3.39936 MENDOCINO COUNTY                          VARIOUS                              Wildfire               UNDETERMINED
        KATHARINE I. ELLIOTT                                                           Litigation
        MENDOCINO COUNTY COUNSEL        ACCOUNT NO.: NOT AVAILABLE
        501 LOW GAP ROAD, RM 1030
        UKIAH, CALIFORNIA 95482


3.39937 MENDOCINO COUNTY                          VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIABDEBORAH S.                                                        Litigation
        DIXONROBERT J. CHAMBERS II      ACCOUNT NO.: NOT AVAILABLE
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101



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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39938 MENDOCINO COUNTY                          VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONERIKA L.                                                       Litigation
        VASQUEZ AMANDA LOCURTO          ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.39939 MENDOCINO COUNTY                          VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                           Litigation
        VICEPENDING)JOHN P.             ACCOUNT NO.: NOT AVAILABLE
        FISKEVICTORIA E. SHERLIN
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.39940 MENDOCINO COUNTY                          VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       IAN C. FUSSELMAN,
       ESQ.BRETT. J. SCHREIBER,
       ESQ.
       THORSNES BARTOLOTTA
       MCGUIRE LLP
       2550 FIFTH A VENUE, 11TH
       FLOOR
       SAN DIEGO, CALIFORNIA 92103


3.39941 MENDOCINO COUNTY                          VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ.                                                          Litigation
        TERRY SINGLETON, A.P.C.         ACCOUNT NO.: NOT AVAILABLE
        1950 FIFTH AVENUE, SUITE 200

       SAN DIEGO, CA 92101


3.39942 MENDOZA SALVADOR BARRIGA                  VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                               Litigation
        ABRAHAM, WATKINS, NICHOLS,      ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.39943 MENDOZA SALVADOR BARRIGA                  VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39944 MENDOZA, BLANCA                           VARIOUS                              Wildfire               UNDETERMINED
        15399 ARNOLD DRIVE                                                             Litigation
        GLEN ELLEN, CA 95442            ACCOUNT NO.: NOT AVAILABLE


3.39945 MENDOZA, ERNESTO                          VARIOUS                              Wildfire               UNDETERMINED
        18055 MULBERRY AVE                                                             Litigation
        SONOMA, CA 95476                ACCOUNT NO.: NOT AVAILABLE


3.39946 MENDOZA, JOAQUIN                          VARIOUS                              Wildfire               UNDETERMINED
        222 REED CIR                                                                   Litigation
        NAPA, CA 94558                  ACCOUNT NO.: NOT AVAILABLE


3.39947 MENDOZA, KAREN                            VARIOUS                              Wildfire               UNDETERMINED
        18220 COMSTOCK AVE                                                             Litigation
        SONOMA, CA 95476                ACCOUNT NO.: NOT AVAILABLE


3.39948 MENDOZA, SALVADOR                         VARIOUS                              Wildfire               UNDETERMINED
        15424 MARTY DRIVE                                                              Litigation
        GLEN ELLEN, CA 95442            ACCOUNT NO.: NOT AVAILABLE


3.39949 MENDOZA, SEAN                             VARIOUS                              Wildfire               UNDETERMINED
        1561 YARDLEY ST                                                                Litigation
        SANTA ROSA, CA 95403            ACCOUNT NO.: NOT AVAILABLE


3.39950 MENICUCCI, MICHAEL                        VARIOUS                              Wildfire               UNDETERMINED
        86 AUTUMN LEAF DR.                                                             Litigation
        SANTA ROSA, CA 95409            ACCOUNT NO.: NOT AVAILABLE


3.39951 MENT-ETEN, ROBIN                          VARIOUS                              Wildfire               UNDETERMINED
        11532 SHANGRIA LANE                                                            Litigation
        GRASS VALLEY, CA 95949          ACCOUNT NO.: NOT AVAILABLE


3.39952 MERA KHIROYA SHAUGHNESSY                  VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, STATE BAR                                                      Litigation
        NO. 100077                      ACCOUNT NO.: NOT AVAILABLE
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CALIFORNIA
        94010




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39953 MERA KHIROYA SHAUGHNESSY                  VARIOUS                              Wildfire               UNDETERMINED
        BRIAN PANISH, STATE BAR NO.                                                    Litigation
        116060RAHUL RAVIPUDI,           ACCOUNT NO.: NOT AVAILABLE
        STATE BAR NO. 204519LYSSA
        A. ROBERTS, STATE BAR NO.
        235049
        PANISH SHEA & BOYLE LLP
        11111 SANTA MONICA
        BOULEVARD, SUITE 700
        LOS ANGELES, CALIFORNIA
        90025


3.39954 MERA KHIROYA SHAUGHNESSY                  VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY, STATE BAR                                                    Litigation
        NO. 71460                       ACCOUNT NO.: NOT AVAILABLE
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CALIFORNIA
        94108


3.39955 MERCADO, ERNESTO                          VARIOUS                              Wildfire               UNDETERMINED
        GERARD SINGLETONERIKA L.                                                       Litigation
        VASQUEZAMANDA LOCUTRO           ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.39956 MERCADO, ERNESTO                          VARIOUS                              Wildfire               UNDETERMINED
        ELLIOT ADLERBRITTANY                                                           Litigation
        ZUMMER                          ACCOUNT NO.: NOT AVAILABLE
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.39957 MERCADO, ERNESTO                  VARIOUS                                      Wildfire               UNDETERMINED
        CO-COUNSELDEMETRIOS A.                                                         Litigation
        SPARACINO                 ACCOUNT NO.: NOT AVAILABLE
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.39958 MERCEDES CALDERON                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39959 MERCEDES CALDERON                         VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                         Litigation
        DOMENIC MARTINI                 ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103


3.39960 MERCEDES CALDERON                         VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.39961 MERCEDES CALDERON                         VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.39962 MERCEDES CALDERON                         VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.39963 MERCEDES KUEFFER                          VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                         Litigation
        DOMENIC MARTINI                 ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103


3.39964 MERCEDES KUEFFER                          VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39965 MERCEDES KUEFFER                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39966 MERCEDES KUEFFER                          VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.39967 MERCEDES KUEFFER                          VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.39968 MERCURY CASUALTY COMPANY                  VARIOUS                              Wildfire               UNDETERMINED
        VICENTE VALENCIA, JR.                                                          Litigation
        RAFFALOW, BRETOI, LUTZ &        ACCOUNT NO.: NOT AVAILABLE
        STELE
        444 W. OCEAN BLVD., SUITE
        1800
        LONG BEACH, CA 90802


3.39969 MERCURY CASUALTY COMPANY                  VARIOUS                              Wildfire               UNDETERMINED
        1408 CLAY ST.                                                                  Litigation
        NAPA, CA 94559                  ACCOUNT NO.: NOT AVAILABLE


3.39970 MERCURY CASUALTY COMPANY                  VARIOUS                              Wildfire               UNDETERMINED
        P.O. BOX 4600                                                                  Litigation
        CUCAMONGA, CA 94559             ACCOUNT NO.: NOT AVAILABLE


3.39971 MERCURY CASUALTY COMPANY                  VARIOUS                              Wildfire               UNDETERMINED
        TIMOTHYE CARY SBN                                                              Litigation
        093608NATHAN R. HURD SBN        ACCOUNT NO.: NOT AVAILABLE
        279593
        LAW OFFICES OF ROBERT A.
        STUTMAN, P.C.
        1260 CORONA POINTE COURT,
        SUITE 306
        CORONA, CALIFORNIA 92879




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39972 MERCURY INSURANCE                         VARIOUS                              Wildfire               UNDETERMINED
        COMPANY                                                                        Litigation
        VICENTE VALENCIA, JR.           ACCOUNT NO.: NOT AVAILABLE
        RAFFALOW, BRETOI, LUTZ &
        STELE
        444 W. OCEAN BLVD., SUITE
        1800
        LONG BEACH, CA 90802


3.39973 MERCURY INSURANCE,                        VARIOUS                              Wildfire               UNDETERMINED
        PROPERTY SUBROGATION                                                           Litigation
        PO BOX 10730                    ACCOUNT NO.: NOT AVAILABLE
        SANTA ANA, CA 92711


3.39974 MERIT HAUCK                               VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL                                                                  Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.39975 MERIT HAUCK                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG                                                            Litigation
        MICHAEL S. FEINBERG, APLC       ACCOUNT NO.: NOT AVAILABLE
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.39976 MERIT HAUCK                               VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR., SBN                                                       Litigation
        60768GAYLE M. BLATT, SBN        ACCOUNT NO.: NOT AVAILABLE
        122048ANGELA JAE CHUN,
        SBN 248571
        CASEY GERRY SCHENK
        FRANKCA VILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101


3.39977 MERLE MARTIN                              VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.39978 MERLE MARTIN                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.39979 MERLE MARTIN                               VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                           Litigation
        SINGLETONERIKA L.                ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.39980 MERLE MARTIN                               VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.39981 MERLE MARTIN                               VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                         Litigation
        125868JUSTIN J. EBALLAR,         ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.39982 MERLENE WITCHER                            VARIOUS                              Wildfire               UNDETERMINED
        PEDRO "PETER" DE LA CERDA,                                                      Litigation
        OF COUNSEL - BAR NO. 249085      ACCOUNT NO.: NOT AVAILABLE
        MATTHEWS & ASSOCIATES
        250 VALLOMBROSA AVE STE.
        266
        CHICO, CA 95926


3.39983 MERLENE WITCHER                            VARIOUS                              Wildfire               UNDETERMINED
        ELIZABETH LATIMER (STATE                                                        Litigation
        BAR #304697)                     ACCOUNT NO.: NOT AVAILABLE
        LATIMER AND KENKEL LAW
        OFFICES
        330 WALL STREET, SUITE 20
        CHICO, CA TELEPHONE: (530)
        345-1396 FACSIMILE: (530) 345-
        0439


3.39984 MERLENE WITCHER                            VARIOUS                              Wildfire               UNDETERMINED
        CATHERINE LOMBARDO (SBN #                                                       Litigation
        160461)                          ACCOUNT NO.: NOT AVAILABLE
        THE LOMBARDO LAW FIRM
        433 W ARROW HIGHWAY
        CLAREMONT, CA 9171




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39985 MERLENE WITCHER                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39986 MERLENE WITCHER                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.39987 MERLIN HEMBEL                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.39988 MERLIN HEMBEL                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.39989 MERLIN HEMBEL                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.39990 MERLIN HEMBEL                             VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669



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Wildfire Claims

3.39991 MERRELL, TODD                             VARIOUS                              Wildfire               UNDETERMINED
        91 LIGHTHOUSE LANE                                                             Litigation
        BANGOR, CA 95914                ACCOUNT NO.: NOT AVAILABLE


3.39992 MERRILL WALROTH                           VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.39993 MERRILL WALROTH                           VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                               Litigation
        ABRAHAM, WATKINS, NICHOLS,      ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.39994 MERRILL, JENNIFER                         VARIOUS                              Wildfire               UNDETERMINED
        1848 MADISON CT.                                                               Litigation
        CONCORD, CA 94521               ACCOUNT NO.: NOT AVAILABLE


3.39995 MERRILL, KARN                             VARIOUS                              Wildfire               UNDETERMINED
        4910 DEERWOOD DR                                                               Litigation
        SANTA ROSA, CA 95403            ACCOUNT NO.: NOT AVAILABLE


3.39996 MESHELL, THOMAS                           VARIOUS                              Wildfire               UNDETERMINED
        2601 MCBRIDE LN APT 106                                                        Litigation
        SANTA ROSA, CA 95403            ACCOUNT NO.: NOT AVAILABLE


3.39997 MESSANA, MARTHA & RUSS                    VARIOUS                              Wildfire               UNDETERMINED
        2020 RIEBLI RD.                                                                Litigation
        SANTA ROSA, CA 95404            ACCOUNT NO.: NOT AVAILABLE


3.39998 METRO DIRECT PROPERTY &                   VARIOUS                              Wildfire               UNDETERMINED
        CASUALTY INSURANCE                                                             Litigation
        COMPANY                         ACCOUNT NO.: NOT AVAILABLE
        HOWARD D. MAYCON
        COZEN O'CONNOR
        601 S. FIGUEROA STREET,
        SUITE 3700
        LOS ANGELES, CA 90017




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.39999 METRO DIRECT PROPERTY &                   VARIOUS                              Wildfire               UNDETERMINED
        CASUALTY INSURANCE                                                             Litigation
        COMPANY                         ACCOUNT NO.: NOT AVAILABLE
        ALAN J. JANG SALLY NOMA
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.40000 METRO DIRECT PROPERTY &                   VARIOUS                              Wildfire               UNDETERMINED
        CASUALTY INSURANCE                                                             Litigation
        COMPANY                         ACCOUNT NO.: NOT AVAILABLE
        KEVIN D. BUSHTHOMAS M.
        REGANDAVID D. BRISCO
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101


3.40001 METROPOLITAN DIRECT                       VARIOUS                              Wildfire               UNDETERMINED
        PROPERTY & CASUALTY                                                            Litigation
        INSURANCE COMPANY               ACCOUNT NO.: NOT AVAILABLE
        HOWARD D. MAYCON
        COZEN O'CONNOR
        601 S. FIGUEROA STREET,
        SUITE 3700
        LOS ANGELES, CA 90017


3.40002 METROPOLITAN DIRECT                       VARIOUS                              Wildfire               UNDETERMINED
        PROPERTY & CASUALTY                                                            Litigation
        INSURANCE COMPANY               ACCOUNT NO.: NOT AVAILABLE
        KEVIN D. BUSHTHOMAS M.
        REGANDAVID D. BRISCO
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101


3.40003 METROPOLITAN DIRECT                       VARIOUS                              Wildfire               UNDETERMINED
        PROPERTY & CASUALTY                                                            Litigation
        INSURANCE COMPANY               ACCOUNT NO.: NOT AVAILABLE
        ALAN J. JANG SALLY NOMA
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40004 METROPOLITAN DIRECT                       VARIOUS                              Wildfire               UNDETERMINED
        PROPERTY AND CASUALTY                                                          Litigation
        INSURANCE COMPANY               ACCOUNT NO.: NOT AVAILABLE
        THOMAS M. REGAN (SBN
        113800)KEVIN BUSH (SBN
        120480)DAVID D. BRISCO (SBN
        238270)PETER LYNCH, ESQ.
        (SBN 123603)
        COZEN O'CONNOR
        501 W. BROADWAY, SUITE 1610
        SAN DIEGO, CA 92101


3.40005 METTLER, PAULA                            VARIOUS                              Wildfire               UNDETERMINED
        2434 ALLEGHENY DR                                                              Litigation
        NAPA, CA 94558                  ACCOUNT NO.: NOT AVAILABLE


3.40006 METZ, SIERRA                              VARIOUS                              Wildfire               UNDETERMINED
        637 WEST 1ST AVE #A                                                            Litigation
        CHICO, CA 95926                 ACCOUNT NO.: NOT AVAILABLE


3.40007 MEY SAECHAO                               VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.40008 MEY SAECHAO                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40009 MEY SAECHAO                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40010 MEY SAECHAO                               VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.40011 MEYER, FRANK H.                           VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI AMANDA                                                       Litigation
        L. RIDDLE CLARE CAPACCIOLI      ACCOUNT NO.: NOT AVAILABLE
        VELASQUEZ
        COREY, LUZAICH, DE
        GHETALDL, NASTARI & RIDDLE
        LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.40012 MEYER, FRANK H.                           VARIOUS                              Wildfire               UNDETERMINED
        MIKE DANKOKRISTINE                                                             Litigation
        MEREDITHSHAWN                   ACCOUNT NO.: NOT AVAILABLE
        MILLERBRAD BOWEN
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.40013 MEYER, JEANETTE                           VARIOUS                              Wildfire               UNDETERMINED
        6200 CAVEDALE RD                                                               Litigation
        GLEN ELLEN, CA 95442            ACCOUNT NO.: NOT AVAILABLE


3.40014 MEYERS, AL                                VARIOUS                              Wildfire               UNDETERMINED
        3321 CRAIGIE CT                                                                Litigation
        NAPA, CA 94558                  ACCOUNT NO.: NOT AVAILABLE


3.40015 MEYERS, CHRIS                             VARIOUS                              Wildfire               UNDETERMINED
        PO BOX 8333                                                                    Litigation
        SAN JOSE, CA 95125              ACCOUNT NO.: NOT AVAILABLE


3.40016 MIA CHRITINE HERRERA                      VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40017 MIA CHRITINE HERRERA                      VARIOUS                              Wildfire               UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                     Litigation
        ZUMMERAMANDA J.                 ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.40018 MIA CHRITINE HERRERA                      VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.40019 MIA CHRITINE HERRERA                      VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40020 MIA MEZA                                  VARIOUS                              Wildfire               UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                        Litigation
        WEAVER                          ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.40021 MIA MEZA                                  VARIOUS                              Wildfire               UNDETERMINED
        ALEXANDER M.                                                                   Litigation
        SCHACKNATASHA N. SERINO         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.40022 MIA MEZA                                  VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN B. MURRAY,                                                             Litigation
        SR.JESSICA HAYES                ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40023 MIA PETERSON                              VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON BRETT                                                        Litigation
        R. PARKINSONDANIEL E.           ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.40024 MIA PETERSON                              VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFFCOELL M.                                                          Litigation
        SIMMONS                         ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864


3.40025 MIA PETERSON                              VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON BRETT                                                        Litigation
        R. PARKINSONDANIEL E.           ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.40026 MIA PETERSON                              VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFFCOELL M.                                                          Litigation
        SIMMONS                         ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864


3.40027 MIA PETERSON                              VARIOUS                              Wildfire               UNDETERMINED
        JOHN N. DEMAS                                                                  Litigation
        DEMAS LAW GROUP, P.C.           ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.40028 MIA PETERSON                              VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. FRIEDEMANN                                                             Litigation
        FRIEDEMANN GOLDBERG LLP         ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.40029 MIA PETERSON                              VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. FRIEDEMANN                                                             Litigation
        FRIEDEMANN GOLDBERG LLP         ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403




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Including Zip Code                                 Account Number                            Claim

Wildfire Claims

3.40030 MIA PETERSON                                  VARIOUS                              Wildfire               UNDETERMINED
        JOHN N. DEMAS                                                                      Litigation
        DEMAS LAW GROUP, P.C.               ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.40031 MICAH JAMES CARDONA                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                           Litigation
        A. BAGHDADIDORIS                    ACCOUNT NO.: NOT AVAILABLE
        CHENGANDREW P. MCDEVITT
        WALKUP MELODIA KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40032 MICAH JAMES CARDONA                           VARIOUS                              Wildfire               UNDETERMINED
        TIMOTHY G. TIETJEN (STATE                                                          Litigation
        BAR #104975)                        ACCOUNT NO.: NOT AVAILABLE
        ROUDA, FEDER, TIETJEN &
        MCGUINN
        44 MONTGOMERY STREET,
        SUITE 750
        SAN FRANCISCO, CALIFORNIA
        94104


3.40033 MICAH MALAN                                   VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                           Litigation
        NO. 197687)                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX,
        P.C.
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.40034 Micah Malan                                   VARIOUS                              Wildfire               UNDETERMINED
        Mikal C. Watts (Pro Hae Vice                                                       Litigation
        application anticipated)Guy Watts   ACCOUNT NO.: NOT AVAILABLE
        (Pro Hae Vice application
        anticipated)Ryan L. Thompson
        (Cal. State Bar No. 296841)Paige
        Boldt (Cal. State Bar No. 308772)
        Watts Guerra LLP
        811 Barton Springs Rd., Ste. 725
        Austin, Texas 78704


3.40035 MICAH STAINBACK                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                   Litigation
        WALKUP, MELODIA, KELLY &            ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40036 MICAH STAINBACK                           VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.40037 MICAH STAINBACK                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.40038 MICAH STAINBACK                           VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.40039 MICAH STAINBACK                           VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.40040 MICHAEL A FLORES                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40041 MICHAEL A FLORES                          VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.40042 MICHAEL A FLORES                          VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40043 MICHAEL A FLORES                          VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.40044 MICHAEL A FLORES                          VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.40045 MICHAEL A. GRAZIANO                       VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40046 MICHAEL A. GRAZIANO                       VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                         Litigation
        DOMENIC MARTINI                 ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103


3.40047 MICHAEL A. GRAZIANO                       VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.40048 MICHAEL A. GRAZIANO                       VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40049 MICHAEL A. GRAZIANO                       VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.40050 MICHAEL A. PARKER                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40051 MICHAEL A. PARKER                         VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.40052 MICHAEL A. PARKER                         VARIOUS                              Wildfire               UNDETERMINED
        DOUGLAS BOXER (CAL. STATE                                                      Litigation
        BAR NO. 154226)                 ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICE OF DOUGLAS
        BOXER
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.40053 MICHAEL A. PARKER                         VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.40054 MICHAEL ANDERSON                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40055 MICHAEL ANDERSON                          VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.40056 MICHAEL ANDERSON                          VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.40057 MICHAEL ANDERSON                          VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.40058 MICHAEL ANDERSON                          VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.40059 MICHAEL ANTHONY GUARINO                   VARIOUS                              Wildfire               UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                     Litigation
        ZUMMERAMANDA J.                 ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.40060 MICHAEL ANTHONY GUARINO                   VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40061 MICHAEL ANTHONY GUARINO                   VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40062 MICHAEL ANTHONY GUARINO                   VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.40063 MICHAEL APPLEBAUM                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40064 MICHAEL APPLEBAUM                         VARIOUS                              Wildfire               UNDETERMINED
        BONNIE E. KANE, ESQ., SBN:                                                     Litigation
        167700STEVEN S. KANE, ESQ.,     ACCOUNT NO.: NOT AVAILABLE
        SBN: 061670
        THE KANE LAW FIRM
        402 W. BROADWAY, SUITE 2500
        SAN DIEGO, CA 92101


3.40065 MICHAEL APPLEBAUM                         VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228BRETT R. PARKINSON,      ACCOUNT NO.: NOT AVAILABLE
        ESQ., #230150
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.40066 MICHAEL APPLEBAUM                         VARIOUS                              Wildfire               UNDETERMINED
        ANTHONY R. LAURETI, ESQ.,                                                      Litigation
        SBN: 147086                     ACCOUNT NO.: NOT AVAILABLE
        LAURETI & ASSOCIATES, APC
        402 W. BROADWAY, SUITE 2500
        SAN DIEGO, CA 9210 I




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40067 MICHAEL ARTHUR SANCHEZ                    VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS III (SBN                                                           Litigation
        296101)ROBERT T. BRYSON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.40068 MICHAEL B. ZACHWIEJA                      VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40069 MICHAEL B. ZACHWIEJA                      VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA (SBN                                                         Litigation
        110909)                         ACCOUNT NO.: NOT AVAILABLE
        DREYER BABICHBUCCOLA
        WOODCAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.40070 MICHAEL B. ZACHWIEJA                      VARIOUS                              Wildfire               UNDETERMINED
        CHRLSTOPHER C. SIEGLOCK                                                        Litigation
        (BAR NO. 295951) RACHEL         ACCOUNT NO.: NOT AVAILABLE
        SIEGLOCK (BAR NO. 299761)

       KRISTEN REANO(BAR
       NO.321795)
       SIEGLOCK LAW, APC
       1221 CAMINO DEL MAR
       DEL MAR, CA 92014


3.40071 MICHAEL B. ZACHWIEJA                      VARIOUS                              Wildfire               UNDETERMINED
        DAVE FOX (BAR                                                                  Litigation
        NO.254651)JOANNA LEE FOX        ACCOUNT NO.: NOT AVAILABLE
        (BAR NO. 212593)COURTNEY
        VASQUEZ (BAR NO. 267081)
        FOX LAW, APC
        125 W. PLAZA STREET, SUITE
        102
        SOLANA BEACH, CA 92075


3.40072 MICHAEL BARRETT                           VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40073 MICHAEL BARRETT                           VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.40074 MICHAEL BARRETT                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.40075 MICHAEL BARRETT                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40076 MICHAEL BEAULAC                           VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFFCOELL M.                                                          Litigation
        SIMMONS                         ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864


3.40077 MICHAEL BEAULAC                           VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON BRETT                                                        Litigation
        R. PARKINSONDANIEL E.           ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.40078 MICHAEL BEAULAC                           VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. FRIEDEMANN                                                             Litigation
        FRIEDEMANN GOLDBERG LLP         ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40079 MICHAEL BEAULAC                           VARIOUS                              Wildfire               UNDETERMINED
        JOHN N. DEMAS                                                                  Litigation
        DEMAS LAW GROUP, P.C.           ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.40080 MICHAEL BECKER                            VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS IIIROBERT T.                                                       Litigation
        BRYSONKEVIN M. POLLACK          ACCOUNT NO.: NOT AVAILABLE
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.40081 MICHAEL BENEDICT                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.40082 MICHAEL BENEDICT                          VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.40083 MICHAEL BENEDICT                          VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.40084 MICHAEL BENEDICT                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108



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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40085 MICHAEL BITKER                            VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                   Litigation
        ERIC RATINOFF LAW CORP.         ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.40086 MICHAEL BITKER                            VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.40087 MICHAEL BITKER                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40088 MICHAEL BITKER                            VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                    Litigation
         REINER, SLAUGHTER &            ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.40089 MICHAEL BRAY, INDIVIDUALLY                VARIOUS                              Wildfire               UNDETERMINED
        AND AS TRUSTEE OF THE BRAY                                                     Litigation
        TRUST                           ACCOUNT NO.: NOT AVAILABLE
        MICHAEL A. KELLYKHALDOUN
        A. BAGHDADI
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40090 MICHAEL BRAY, INDIVIDUALLY                VARIOUS                              Wildfire               UNDETERMINED
        AND AS TRUSTEE OF THE BRAY                                                     Litigation
        TRUST                           ACCOUNT NO.: NOT AVAILABLE
        MICHAEL S. DANKO - BAR NO.
        111359KRISTINE K.
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065



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Including Zip Code                                 Account Number                            Claim

Wildfire Claims

3.40091 MICHAEL BRAY, INDIVIDUALLY                    VARIOUS                              Wildfire               UNDETERMINED
        AND AS TRUSTEE OF THE BRAY                                                         Litigation
        TRUST                               ACCOUNT NO.: NOT AVAILABLE
        ERIC GIBBS - BAR NO.
        178658DYLAN HUGHES- BAR
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.40092 Michael Bray, Individually And As             VARIOUS                              Wildfire               UNDETERMINED
        Trustee Of The Bray Trust                                                          Litigation
        Dario De Ghetaldi - Bar No.         ACCOUNT NO.: NOT AVAILABLE
        126782Amanda L. Riddle - Bar
        No. 215221Steven M. Berki - Bar
        No. 245426Sumble Manzoor- Bar
        No. 301704
        Corey, Luzaich, De Ghetaldi &
        Riddle LLP
        700 El Camino RealP.O. Box 669
        Millbrae, CA 94030-0669


3.40093 MICHAEL BROOKS                                VARIOUS                              Wildfire               UNDETERMINED
        WILLIAM A. DANIELS                                                                 Litigation
        DANIELS LAW                         ACCOUNT NO.: NOT AVAILABLE
        15021 VENTURA BLVD., #883
        SHERMAN OAKS, CA 91403


3.40094 MICHAEL BROOKS                                VARIOUS                              Wildfire               UNDETERMINED
        MARK P. ROBINSON, JR. (SBN                                                         Litigation
        54426) DANIEL S. ROBINSON           ACCOUNT NO.: NOT AVAILABLE
        (SBN 244245)
        ROBINSON CALCAGINE, INC.
        19 CORPORATE PLAZA DRIVE
        NEWPORT BEACH, CA 92660


3.40095 MICHAEL BROOKS                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                   Litigation
        WALKUP, MELODIA, KELLY &            ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40096 MICHAEL BROOKS                                VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                            Litigation
        125868JUSTIN J. EBALLAR,            ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928




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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.40097 MICHAEL BROOKS                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.40098 MICHAEL BROWN                              VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.40099 MICHAEL BROWN                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40100 MICHAEL BROWN                              VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.40101 MICHAEL BROWN                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.40102 MICHAEL BROWN                              VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA, ESQ. /                                                       Litigation
        SBN: 110909ANDREA R.             ACCOUNT NO.: NOT AVAILABLE
        CROWL, ESQ. / SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40103 MICHAEL BUCK                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40104 MICHAEL BUCK                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.40105 MICHAEL BUCK                              VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.40106 MICHAEL BUCK                              VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.40107 MICHAEL BUNCE                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.40108 MICHAEL BUNCE                              VARIOUS                              Wildfire               UNDETERMINED
        NICHOLAS J.P. WAGNER                                                            Litigation
        #109455LAURA E. BROWN            ACCOUNT NO.: NOT AVAILABLE
        #306035
        WAGNER, JONES, KOPFMAN, &
        ARTENIAN LLP
        1111 HERNDON, STE. 317
        FRESNO, CA 93720


3.40109 MICHAEL BUNCE                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.40110 MICHAEL BUNCE                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40111 MICHAEL BUNCE                              VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.40112 MICHAEL CALDWELL                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.40113 MICHAEL CALDWELL                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40114 MICHAEL CALDWELL                          VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.40115 MICHAEL CALDWELL                          VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.40116 MICHAEL CALDWELL                          VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.40117 MICHAEL CAMPBELL                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40118 MICHAEL CAMPBELL                          VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.40119 MICHAEL CAMPBELL                          VARIOUS                              Wildfire               UNDETERMINED
        CATHERINE LOMBARDO (SBN #                                                      Litigation
        160461)                         ACCOUNT NO.: NOT AVAILABLE
        THE LOMBARDO LAW FIRM
        433 W ARROW HIGHWAY
        CLAREMONT, CA 9171




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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.40120 MICHAEL CAMPBELL                           VARIOUS                              Wildfire               UNDETERMINED
        ELIZABETH LATIMER (STATE                                                        Litigation
        BAR #304697)                     ACCOUNT NO.: NOT AVAILABLE
        LATIMER AND KENKEL LAW
        OFFICES
        330 WALL STREET, SUITE 20
        CHICO, CA TELEPHONE: (530)
        345-1396 FACSIMILE: (530) 345-
        0439


3.40121 MICHAEL CAMPBELL                           VARIOUS                              Wildfire               UNDETERMINED
        PEDRO "PETER" DE LA CERDA,                                                      Litigation
        OF COUNSEL - BAR NO. 249085      ACCOUNT NO.: NOT AVAILABLE
        MATTHEWS & ASSOCIATES
        250 VALLOMBROSA AVE STE.
        266
        CHICO, CA 95926


3.40122 MICHAEL CAMPELL                            VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                           Litigation
        SINGLETONERIKA L.                ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.40123 MICHAEL CAMPELL                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                       Litigation
        MARTINI                          ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.40124 MICHAEL CAMPELL                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40125 MICHAEL CAMPELL                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40126 MICHAEL CAMPELL                           VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.40127 MICHAEL CANOVAS                           VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                           Litigation
        VICEPENDING)JOHN P. FISKE       ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.40128 MICHAEL CANOVAS                           VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                          Litigation
        208783)ERIKA L. VASQUEZ         ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.40129 MICHAEL CANOVAS                           VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                             Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.40130 MICHAEL CANOVAS                           VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
        (SBN 69176)IAN C.               ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.40131 MICHAEL CANOVAS                           VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                     Litigation
        583 I 6)                        ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101



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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40132 MICHAEL CANTARUTTI                        VARIOUS                              Wildfire               UNDETERMINED
        RICHARD SAX                                                                    Litigation
        LAW OFFICES OF RICHARD SAX      ACCOUNT NO.: NOT AVAILABLE
        448 SEBASTOPOL AVENUE
        SANTA ROSA, CA 95401


3.40133 MICHAEL CANTARUTTI                        VARIOUS                              Wildfire               UNDETERMINED
        RICHARD SAX                                                                    Litigation
        LAW OFFICES OF RICHARD SAX      ACCOUNT NO.: NOT AVAILABLE
        448 SEBASTOPOL AVENUE
        SANTA ROSA, CA 95401


3.40134 MICHAEL CANTARUTTI                        VARIOUS                              Wildfire               UNDETERMINED
        RICHARD SAX                                                                    Litigation
        LAW OFFICES OF RICHARD SAX      ACCOUNT NO.: NOT AVAILABLE
        448 SEBASTOPOL AVENUE
        SANTA ROSA, CA 95401


3.40135 MICHAEL CANTARUTTI                        VARIOUS                              Wildfire               UNDETERMINED
        RICHARD SAX                                                                    Litigation
        LAW OFFICES OF RICHARD SAX      ACCOUNT NO.: NOT AVAILABLE
        448 SEBASTOPOL AVENUE
        SANTA ROSA, CA 95401


3.40136 MICHAEL CARLSTON                          VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                           Litigation
        VICEPENDING)JOHN P. FISKE       ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.40137 MICHAEL CARLSTON                          VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                          Litigation
        208783)ERIKA L. VASQUEZ         ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.40138 MICHAEL CARLSTON                          VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                             Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40139 MICHAEL CARLSTON                          VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
        (SBN 69176)IAN C.               ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.40140 MICHAEL CARLSTON                          VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                     Litigation
        583 I 6)                        ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.40141 MICHAEL CARTER                            VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS III (SBN                                                           Litigation
        296101)ROBERT T. BRYSON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.40142 MICHAEL CHANEY                            VARIOUS                              Wildfire               UNDETERMINED
        MARY E. ALEXANDER,                                                             Litigation
        ESQJENNIFER L. FIORE, ESQ       ACCOUNT NO.: NOT AVAILABLE
        MARY ALEXANDER &
        ASSOCIATES, P.C.
        44 MONTGOMERY STREET,
        SUITE 1303
        SAN FRANCISCO, CA 94104


3.40143 MICHAEL CHARVEL                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40144 MICHAEL CHARVEL                           VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                     Litigation
        100077ALISON E. CORDOVA,        ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010



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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.40145 MICHAEL CHARVEL                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.40146 MICHAEL CHARVEL                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.40147 MICHAEL CHARVEL                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA, ESQ. /                                                       Litigation
        SBN: 110909ANDREA R.             ACCOUNT NO.: NOT AVAILABLE
        CROWL, ESQ. / SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.40148 MICHAEL CHARVET                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                        Litigation
        A. BAGHDADI                      ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40149 MICHAEL CHARVET                            VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                    Litigation
        ERIC RATINOFF LAW CORP.          ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.40150 MICHAEL CHARVET                            VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                        Litigation
        #117228                          ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40151 MICHAEL CHARVET                           VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                    Litigation
         REINER, SLAUGHTER &            ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.40152 MICHAEL CLEMENS                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40153 MICHAEL CLEMENS                           VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782 AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669


3.40154 MICHAEL CLEMENS                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359 KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065


3.40155 MICHAEL CLEMENS                           VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                    Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES- BAR NO.
       209113
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612




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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.40156 MICHAEL CORONADO                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.40157 MICHAEL CORONADO                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40158 MICHAEL CORONADO                           VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.40159 MICHAEL CORONADO                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.40160 MICHAEL CORONADO                           VARIOUS                              Wildfire               UNDETERMINED
        TODD B. BECKERBRIAN E.                                                          Litigation
        SHEARJASON BOYER                 ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105


3.40161 MICHAEL CRAWFORD                           VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSONPAIGE                                                           Litigation
        BOLDT                            ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40162 MICHAEL CRAWFORD                          VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.40163 MICHAEL CRAWFORD                          VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX                                                                       Litigation
        LAW OFFICES OF JOHN COX         ACCOUNT NO.: NOT AVAILABLE
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.40164 MICHAEL CRAWFORD                          VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                         Litigation
        STATE BAR NO. 296841)PAIGE      ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.40165 MICHAEL CRAWFORD                          VARIOUS                              Wildfire               UNDETERMINED
        ROY MILLER                                                                     Litigation
        HANSEN & MILLER LAW FIRM        ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.40166 MICHAEL D LOPEZ                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40167 MICHAEL D LOPEZ                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.40168 MICHAEL D LOPEZ                           VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928



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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40169 MICHAEL D LOPEZ                           VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.40170 MICHAEL D LOPEZ                           VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.40171 MICHAEL D. DELLAR                         VARIOUS                              Wildfire               UNDETERMINED
        TIMOTHY G. TIETJEN (STATE                                                      Litigation
        BAR #104975)                    ACCOUNT NO.: NOT AVAILABLE
        ROUDA, FEDER, TIETJEN &
        MCGUINN
        44 MONTGOMERY STREET,
        SUITE 750
        SAN FRANCISCO, CALIFORNIA
        94104


3.40172 MICHAEL D. DELLAR                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADIDORIS                ACCOUNT NO.: NOT AVAILABLE
        CHENGANDREW P. MCDEVITT
        WALKUP MELODIA KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40173 MICHAEL D. DESPAIN                        VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.40174 MICHAEL D. DESPAIN                        VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                         Litigation
        DOMENIC MARTINI                 ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40175 MICHAEL D. DESPAIN                        VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40176 MICHAEL D. DESPAIN                        VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.40177 MICHAEL D. DESPAIN                        VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.40178 MICHAEL D. SNYDER                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40179 MICHAEL D. SNYDER                         VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                       Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.40180 MICHAEL D. SNYDER                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAELS. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.40181 MICHAEL D. SNYDER                         VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR.,SBN                                                        Litigation
        60768ANGELA JAE CHUN, SBN       ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCAVILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101


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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40182 MICHAEL DEFRIETAS                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40183 MICHAEL DEFRIETAS                         VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                   Litigation
        ERIC RATINOFF LAW CORP.         ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.40184 MICHAEL DEFRIETAS                         VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.40185 MICHAEL DEFRIETAS                         VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                    Litigation
         REINER, SLAUGHTER &            ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.40186 MICHAEL DEL SANTO                         VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS IIIROBERT T.                                                       Litigation
        BRYSONKEVIN M. POLLACK          ACCOUNT NO.: NOT AVAILABLE
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.40187 MICHAEL DELNERO                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.40188 MICHAEL DELNERO                           VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40189 MICHAEL DELNERO                           VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.40190 MICHAEL DELNERO                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40191 MICHAEL DELNERO                           VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.40192 MICHAEL DELZELL                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.40193 MICHAEL DELZELL                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40194 MICHAEL DELZELL                           VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40195 MICHAEL DELZELL                           VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.40196 MICHAEL DELZELL                           VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.40197 MICHAEL DERN                              VARIOUS                              Wildfire               UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                        Litigation
        WEAVER                          ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.40198 MICHAEL DERN                              VARIOUS                              Wildfire               UNDETERMINED
        ALEXANDER M.                                                                   Litigation
        SCHACKNATASHA N. SERINO         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.40199 MICHAEL DERN                              VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN B. MURRAY,                                                             Litigation
        SR.JESSICA HAYES                ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.40200 MICHAEL DESMOND                           VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40201 MICHAEL DESMOND                           VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                       Litigation
        J. EBALLAR                      ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024


3.40202 MICHAEL DESTINY                           VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                    Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.40203 MICHAEL DESTINY                           VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782 AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669


3.40204 MICHAEL DESTINY                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359 KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065


3.40205 MICHAEL DOWLING                           VARIOUS                              Wildfire               UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                        Litigation
        WEAVER                          ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40206 MICHAEL DOWLING                           VARIOUS                              Wildfire               UNDETERMINED
        ALEXANDER M.                                                                   Litigation
        SCHACKNATASHA N. SERINO         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.40207 MICHAEL DOWLING                           VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN B. MURRAY,                                                             Litigation
        SR.JESSICA HAYES                ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.40208 MICHAEL DREW                              VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON BRETT                                                        Litigation
        R. PARKINSONDANIEL E.           ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.40209 MICHAEL DREW                              VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFFCOELL M.                                                          Litigation
        SIMMONS                         ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864


3.40210 MICHAEL DREW                              VARIOUS                              Wildfire               UNDETERMINED
        JOHN N. DEMAS                                                                  Litigation
        DEMAS LAW GROUP, P.C.           ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.40211 MICHAEL DREW                              VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. FRIEDEMANN                                                             Litigation
        FRIEDEMANN GOLDBERG LLP         ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.40212 MICHAEL DURAN                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108



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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40213 MICHAEL DURAN                             VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.40214 MICHAEL DURAN                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.40215 MICHAEL DURAN                             VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.40216 MICHAEL DURAN                             VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.40217 MICHAEL ERICKSON                          VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.40218 MICHAEL ERICKSON                          VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                    Litigation
         REINER, SLAUGHTER &            ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40219 MICHAEL ERICKSON                          VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                   Litigation
        ERIC RATINOFF LAW CORP.         ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.40220 MICHAEL ERICKSON                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40221 MICHAEL ERWIN                             VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON BRETT                                                        Litigation
        R. PARKINSONDANIEL E.           ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.40222 MICHAEL ERWIN                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFFCOELL M.                                                          Litigation
        SIMMONS                         ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864


3.40223 MICHAEL ERWIN                             VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. FRIEDEMANN                                                             Litigation
        FRIEDEMANN GOLDBERG LLP         ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.40224 MICHAEL ERWIN                             VARIOUS                              Wildfire               UNDETERMINED
        JOHN N. DEMAS                                                                  Litigation
        DEMAS LAW GROUP, P.C.           ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.40225 MICHAEL ESNARD                            VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                         Litigation
        STATE BAR NO. 296841)PAIGE      ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40226 MICHAEL ESNARD                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.40227 MICHAEL F LOPEZ                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.40228 MICHAEL F LOPEZ                           VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.40229 MICHAEL F LOPEZ                           VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.40230 MICHAEL F LOPEZ                           VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.40231 MICHAEL F LOPEZ                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40232 MICHAEL F. SIKUT                          VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS III (SBN                                                           Litigation
        296101)ROBERT T. BRYSON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.40233 MICHAEL FAIRES                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40234 MICHAEL FAIRES                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.40235 MICHAEL FAIRES                            VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.40236 MICHAEL FAIRES                            VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40237 MICHAEL FAULKNER                          VARIOUS                              Wildfire               UNDETERMINED
        ELIZABETH J.                                                                   Litigation
        CABRASERROBERT J.               ACCOUNT NO.: NOT AVAILABLE
        NELSON LEXI J. HAZAM

       FABRICE N. VINCENTANNIKA
       K. MARTINABBY R. WOLF
       LIEFF CABRASER HEIMANN &
       BERNSTEIN, LLP
       275 BATTERY STREET, 29TH
       FLOOR
       SAN FRANCISCO, CA 94111-3339


3.40238 MICHAEL FECHNER                           VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.40239 MICHAEL FECHNER                           VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSON PAIGE                                                         Litigation
        BOLDT                           ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.40240 MICHAEL FECHNER                           VARIOUS                              Wildfire               UNDETERMINED
        ROY MILLER                                                                     Litigation
        HANSEN & MILLER LAW FIRM        ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.40241 MICHAEL FICKLIN                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA (SBN                                                         Litigation
        110909)                         ACCOUNT NO.: NOT AVAILABLE
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.40242 MICHAEL FICKLIN                           VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE (SBN                                                            Litigation
        100077)ALISON E. CORDOVA        ACCOUNT NO.: NOT AVAILABLE
        (SBN 284942)JOHN P. THYKEN
        (SBN 286598)
        COTCHETT, PITRE &
        MCCARTHY, LLP
        SAN FRANCISCO AIRPORT
        OFFICE CENTER840 MALCOLM
        ROAD, SUITE 200
        BURLINGA, CALIFORNIA 94111


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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40243 MICHAEL FICKLIN                           VARIOUS                              Wildfire               UNDETERMINED
        BRIANJ. PANISH (SBN 116060)                                                    Litigation
        PANISH SHEA &BOYLE, LLP         ACCOUNT NO.: NOT AVAILABLE
        11111 SANTA MONICA BLVD.,
        SUITE 700
        LOS ANGELES, CA 90025


3.40244 MICHAEL FICKLIN                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAELA. KELLY (SBN 71460)                                                    Litigation
        WALKUP MELODIA KELLY&           ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40245 MICHAEL GARCIA                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.40246 MICHAEL GARCIA                            VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.40247 MICHAEL GARCIA                            VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.40248 MICHAEL GARCIA                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108



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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.40249 MICHAEL GENNA                              VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.40250 MICHAEL GENNA                              VARIOUS                              Wildfire               UNDETERMINED
        NICHOLAS J.P. WAGNER                                                            Litigation
        #109455LAURA E. BROWN            ACCOUNT NO.: NOT AVAILABLE
        #306035
        WAGNER, JONES, KOPFMAN, &
        ARTENIAN LLP
        1111 HERNDON, STE. 317
        FRESNO, CA 93720


3.40251 MICHAEL GENNA                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.40252 MICHAEL GENNA                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40253 MICHAEL GENNA                              VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.40254 MICHAEL GIRARD                             VARIOUS                              Wildfire               UNDETERMINED
        DONALD S. EDGAR                                                                 Litigation
        EDGAR LAW FIRM                   ACCOUNT NO.: NOT AVAILABLE
        408 COLLEGE AVENUE
        SANTA ROSA, CA 95401




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40255 MICHAEL GIRARD                            VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS IIIROBERT T.                                                       Litigation
        BRYSONKEVIN M. POLLACK          ACCOUNT NO.: NOT AVAILABLE
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.40256 MICHAEL GRAHAM                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40257 MICHAEL GRAHAM                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.40258 MICHAEL GRAHAM                            VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.40259 MICHAEL GRAHAM                            VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40260 MICHAEL GUTIERREZ                         VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS IIIROBERT T.                                                       Litigation
        BRYSONKEVIN M. POLLACK          ACCOUNT NO.: NOT AVAILABLE
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.40261 MICHAEL GUTIERREZ                         VARIOUS                              Wildfire               UNDETERMINED
        DONALD S. EDGAR                                                                Litigation
        EDGAR LAW FIRM                  ACCOUNT NO.: NOT AVAILABLE
        408 COLLEGE AVENUE
        SANTA ROSA, CA 95401


3.40262 MICHAEL HANNIS                            VARIOUS                              Wildfire               UNDETERMINED
        DONALD S. EDGAR                                                                Litigation
        EDGAR LAW FIRM                  ACCOUNT NO.: NOT AVAILABLE
        408 COLLEGE AVENUE
        SANTA ROSA, CA 95401


3.40263 MICHAEL HANNIS                            VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS IIIROBERT T.                                                       Litigation
        BRYSONKEVIN M. POLLACK          ACCOUNT NO.: NOT AVAILABLE
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.40264 MICHAEL HANSON                            VARIOUS                              Wildfire               UNDETERMINED
        BRENDAN M. KUNKLEMICHAEL                                                       Litigation
        D. GREENSCOTT R.                ACCOUNT NO.: NOT AVAILABLE
        MONTGOMERY
        ABBEY, WEITZENBERG,
        WARREN & EMERY, PC
        100 STONY POINT RD, SUITE
        2006
        SANTA ROSA, CA 95401


3.40265 MICHAEL HARTNETT                          VARIOUS                              Wildfire               UNDETERMINED
        ALEXANDER M.                                                                   Litigation
        SCHACKNATASHA N. SERINO         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40266 MICHAEL HARTNETT                          VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN B. MURRAY,                                                             Litigation
        SR.JESSICA HAYES                ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.40267 MICHAEL HARTNETT                          VARIOUS                              Wildfire               UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                        Litigation
        WEAVER                          ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.40268 MICHAEL HAYES                             VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                          Litigation
        208783)ERIKA L. VASQUEZ         ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.40269 MICHAEL HAYES                             VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                           Litigation
        VICEPENDING)JOHN P. FISKE       ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.40270 MICHAEL HAYES                             VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                     Litigation
        583 I 6)                        ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.40271 MICHAEL HAYES                             VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
        (SBN 69176)IAN C.               ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40272 MICHAEL HAYES                             VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                             Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.40273 MICHAEL HENRY MARKS                       VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                               Litigation
        ABRAHAM, WATKINS, NICHOLS,      ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.40274 MICHAEL HENRY MARKS                       VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.40275 MICHAEL HICKMAN                           VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.40276 MICHAEL HICKMAN                           VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSON PAIGE                                                         Litigation
        BOLDT                           ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.40277 MICHAEL HICKMAN                           VARIOUS                              Wildfire               UNDETERMINED
        ROY MILLER                                                                     Litigation
        HANSEN & MILLER LAW FIRM        ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403




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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.40278 MICHAEL HILL                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.40279 MICHAEL HILL                               VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.40280 MICHAEL HILL                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40281 MICHAEL HILL                               VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.40282 MICHAEL HILL                               VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA, ESQ. /                                                       Litigation
        SBN: 110909ANDREA R.             ACCOUNT NO.: NOT AVAILABLE
        CROWL, ESQ. / SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.40283 MICHAEL HOAGLUND                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40284 MICHAEL HOAGLUND                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40285 MICHAEL HOAGLUND                          VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.40286 MICHAEL HOAGLUND                          VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.40287 MICHAEL HOAGLUND                          VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.40288 MICHAEL HOHENTHANER                       VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40289 MICHAEL HOHENTHANER                       VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                    Litigation
         REINER, SLAUGHTER &            ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40290 MICHAEL HOHENTHANER                       VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                   Litigation
        ERIC RATINOFF LAW CORP.         ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.40291 MICHAEL HOHENTHANER                       VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.40292 MICHAEL HOMLITAS                          VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.40293 MICHAEL HOMLITAS                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40294 MICHAEL HOMLITAS                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.40295 MICHAEL HOMLITAS                          VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40296 MICHAEL HOSLER                            VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                    Litigation
         REINER, SLAUGHTER &            ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.40297 MICHAEL HOSLER                            VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                   Litigation
        ERIC RATINOFF LAW CORP.         ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.40298 MICHAEL HOSLER                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40299 MICHAEL HOSLER                            VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.40300 MICHAEL J TAYLOR                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40301 MICHAEL J TAYLOR                          VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.40302 MICHAEL J TAYLOR                          VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826



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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40303 MICHAEL J TAYLOR                          VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.40304 MICHAEL J TAYLOR                          VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.40305 MICHAEL J WILLIAMS                        VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.40306 MICHAEL J WILLIAMS                        VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40307 MICHAEL J WILLIAMS                        VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.40308 MICHAEL J WILLIAMS                        VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40309 MICHAEL J WILLIAMS                        VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.40310 MICHAEL J ZUNIGA                          VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.40311 MICHAEL J ZUNIGA                          VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.40312 MICHAEL J ZUNIGA                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40313 MICHAEL J ZUNIGA                          VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.40314 MICHAEL J ZUNIGA                          VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40315 MICHAEL J. WOOD                           VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS III (SBN                                                           Litigation
        296101)ROBERT T. BRYSON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.40316 MICHAEL JAMES                             VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782 AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669


3.40317 MICHAEL JAMES                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359 KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065


3.40318 MICHAEL JAMES                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                    Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.40319 MICHAEL JOHNSON                           VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                           Litigation
        VICEPENDING)JOHN P. FISKE       ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40320 MICHAEL JOHNSON                           VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                          Litigation
        208783)ERIKA L. VASQUEZ         ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.40321 MICHAEL JOHNSON                           VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                             Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.40322 MICHAEL JOHNSON                           VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
        (SBN 69176)IAN C.               ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.40323 MICHAEL JOHNSON                           VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                     Litigation
        583 I 6)                        ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.40324 MICHAEL K. MERTZ                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADIDORIS                ACCOUNT NO.: NOT AVAILABLE
        CHENGANDREW P. MCDEVITT
        WALKUP MELODIA KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40325 MICHAEL K. MERTZ                          VARIOUS                              Wildfire               UNDETERMINED
        TIMOTHY G. TIETJEN (STATE                                                      Litigation
        BAR #104975)                    ACCOUNT NO.: NOT AVAILABLE
        ROUDA, FEDER, TIETJEN &
        MCGUINN
        44 MONTGOMERY STREET,
        SUITE 750
        SAN FRANCISCO, CALIFORNIA
        94104


3.40326 MICHAEL KAROL                             VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.40327 MICHAEL KAROL                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40328 MICHAEL KAROL                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.40329 MICHAEL KAROL                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40330 MICHAEL KEVIN MARTIN                      VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.40331 MICHAEL KEVIN MARTIN                      VARIOUS                              Wildfire               UNDETERMINED
        DOUGLAS BOXER (CAL. STATE                                                      Litigation
        BAR NO. 154226)                 ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICE OF DOUGLAS
        BOXER
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.40332 MICHAEL KEVIN MARTIN                      VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40333 MICHAEL KEVIN MARTIN                      VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.40334 MICHAEL KIDNEIGH                          VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.40335 MICHAEL KIDNEIGH                          VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                               Litigation
        ABRAHAM, WATKINS, NICHOLS,      ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.40336 MICHAEL KRZANICH                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.40337 MICHAEL KRZANICH                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA, ESQ. /                                                       Litigation
        SBN: 110909ANDREA R.             ACCOUNT NO.: NOT AVAILABLE
        CROWL, ESQ. / SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.40338 MICHAEL KRZANICH                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.40339 MICHAEL KRZANICH                           VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                    Litigation
        BAR #1999994) (PRO HAE VICE      ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.40340 MICHAEL KRZANICH                           VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                           Litigation
        VICE PENDINGTEXAS BAR NO.        ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.40341 MICHAEL KRZANICH                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40342 MICHAEL KRZANICH                          VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                     Litigation
        100077ALISON E. CORDOVA,        ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.40343 MICHAEL KRZANICH                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40344 MICHAEL KRZANICH                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40345 MICHAEL KRZANICH                          VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.40346 MICHAEL L WILLIAMS                        VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.40347 MICHAEL L WILLIAMS                        VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40348 MICHAEL L WILLIAMS                        VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.40349 MICHAEL L WILLIAMS                        VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.40350 MICHAEL L WILLIAMS                        VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.40351 MICHAEL L. GORIS                          VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS III (SBN                                                           Litigation
        296101)ROBERT T. BRYSON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.40352 MICHAEL L. KIDSON                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADIDORIS                ACCOUNT NO.: NOT AVAILABLE
        CHENGANDREW P. MCDEVITT
        WALKUP MELODIA KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40353 MICHAEL L. KIDSON                         VARIOUS                              Wildfire               UNDETERMINED
        TIMOTHY G. TIETJEN (STATE                                                      Litigation
        BAR #104975)                    ACCOUNT NO.: NOT AVAILABLE
        ROUDA, FEDER, TIETJEN &
        MCGUINN
        44 MONTGOMERY STREET,
        SUITE 750
        SAN FRANCISCO, CALIFORNIA
        94104




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40354 MICHAEL L. NEADE                          VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                         Litigation
        DOMENIC MARTINI                 ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103


3.40355 MICHAEL L. NEADE                          VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.40356 MICHAEL L. NEADE                          VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.40357 MICHAEL L. NEADE                          VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.40358 MICHAEL L. NEADE                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40359 MICHAEL LAMBERTS                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40360 MICHAEL LAMBERTS                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.40361 MICHAEL LAMBERTS                          VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.40362 MICHAEL LAMBERTS                          VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.40363 MICHAEL LARMORE                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40364 MICHAEL LARMORE                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAEL S. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.40365 MICHAEL LARMORE                           VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                       Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40366 MICHAEL LARMORE                           VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR.,SBN                                                        Litigation
        60768ANGELA JAE CHUN, SBN       ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCAVILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101


3.40367 MICHAEL LOZANO                            VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                    Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES- BAR NO.
       209113
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.40368 MICHAEL LOZANO                            VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782 AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669


3.40369 MICHAEL LOZANO                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359 KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065


3.40370 MICHAEL LOZANO                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40371 MICHAEL LUCAS                             VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.40372 MICHAEL LUCAS                             VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                         Litigation
        STATE BAR NO. 296841)PAIGE      ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.40373 MICHAEL LUCCY                             VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                               Litigation
        ABRAHAM, WATKINS, NICHOLS,      ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.40374 MICHAEL LUCCY                             VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.40375 MICHAEL LUCERO                            VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.40376 MICHAEL LUCERO                            VARIOUS                              Wildfire               UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                     Litigation
        ZUMMERAMANDA J.                 ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40377 MICHAEL LUCERO                            VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.40378 MICHAEL LUCERO                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40379 MICHAEL LUNSFORD                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.40380 MICHAEL LUNSFORD                          VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.40381 MICHAEL LUNSFORD                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40382 MICHAEL LUNSFORD                          VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.40383 MICHAEL M. LOWE                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40384 MICHAEL M. LOWE                           VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.40385 MICHAEL M. LOWE                           VARIOUS                              Wildfire               UNDETERMINED
        DOUGLAS BOXER (CAL. STATE                                                      Litigation
        BAR NO. 154226)                 ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICE OF DOUGLAS
        BOXER
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.40386 MICHAEL M. LOWE                           VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40387 MICHAEL MARLER                            VARIOUS                              Wildfire               UNDETERMINED
        ELIZABETH J.                                                                   Litigation
        CABRASERROBERT J.               ACCOUNT NO.: NOT AVAILABLE
        NELSON LEXI J. HAZAM

       FABRICE N. VINCENTANNIKA
       K. MARTINABBY R. WOLF
       LIEFF CABRASER HEIMANN &
       BERNSTEIN, LLP
       275 BATTERY STREET, 29TH
       FLOOR
       SAN FRANCISCO, CA 94111-3339


3.40388 MICHAEL MCCANN                            VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                   Litigation
        ERIC RATINOFF LAW CORP.         ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.40389 MICHAEL MCCANN                            VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.40390 MICHAEL MCCANN                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40391 MICHAEL MCCANN                            VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                    Litigation
         REINER, SLAUGHTER &            ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.40392 MICHAEL MCCAULEY                          VARIOUS                              Wildfire               UNDETERMINED
        DONALD S. EDGAR                                                                Litigation
        EDGAR LAW FIRM                  ACCOUNT NO.: NOT AVAILABLE
        408 COLLEGE AVENUE
        SANTA ROSA, CA 95401




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40393 MICHAEL MCCAULEY                          VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS IIIROBERT T.                                                       Litigation
        BRYSONKEVIN M. POLLACK          ACCOUNT NO.: NOT AVAILABLE
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.40394 MICHAEL MCCORMICK                         VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                           Litigation
        VICEPENDING)JOHN P. FISKE       ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.40395 MICHAEL MCCORMICK                         VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                          Litigation
        208783)ERIKA L. VASQUEZ         ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.40396 MICHAEL MCCORMICK                         VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                             Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.40397 MICHAEL MCCORMICK                         VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
        (SBN 69176)IAN C.               ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.40398 MICHAEL MCCORMICK                         VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                     Litigation
        583 I 6)                        ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40399 MICHAEL MCCULLOCH                         VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC VICE                                                      Litigation
        PENDING)JOHN P. FISKE           ACCOUNT NO.: NOT AVAILABLE
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.40400 MICHAEL MCCULLOCH                         VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONERIKA L.                                                       Litigation
        VASQUEZ AMANDA LOCURTO          ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.40401 MICHAEL MCCULLOCH                         VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       IAN C. FUSSELMAN,
       ESQ.BRETT. J. SCHREIBER,
       ESQ.
       THORSNES BARTOLOTTA
       MCGUIRE LLP
       2550 FIFTH A VENUE, 11TH
       FLOOR
       SAN DIEGO, CALIFORNIA 92103


3.40402 MICHAEL MCCULLOCH                         VARIOUS                              Wildfire               UNDETERMINED
        NATASHA SERINO                                                                 Litigation
        LAW OFFICES OF ALEXANDER        ACCOUNT NO.: NOT AVAILABLE
        M. SCHACK
        16870 WEST BERNARDO, STE
        400,
        SAN DIEGO, CA 92127


3.40403 MICHAEL MCCULLOCH                         VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ.                                                          Litigation
        TERRY SINGLETON, A.P.C.         ACCOUNT NO.: NOT AVAILABLE
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.40404 MICHAEL MCCULLOCH                         VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIABDEBORAH S.                                                        Litigation
        DIXONROBERT J. CHAMBERS II      ACCOUNT NO.: NOT AVAILABLE
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40405 MICHAEL MCDONALD                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40406 MICHAEL MCDONALD                          VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                   Litigation
        ERIC RATINOFF LAW CORP.         ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.40407 MICHAEL MCDONALD                          VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.40408 MICHAEL MCDONALD                          VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                    Litigation
         REINER, SLAUGHTER &            ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.40409 MICHAEL MCNAMAR                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.40410 MICHAEL MCNAMAR                           VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612




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Creditor's Name, Mailing Address              Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.40411 MICHAEL MCNAMAR                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                            Litigation
        A. BAGHDADI                          ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40412 MICHAEL MCNAMAR                                VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                         Litigation
        126782AMANDA L. RIDDLE -             ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.40413 MICHAEL MCNAY                                  VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                          Litigation
        111359 KRISTINE K.                   ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

        SHAWN R. MILLER- BAR NO.
        238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.40414 Michael McNay                                  VARIOUS                              Wildfire               UNDETERMINED
        Dario De Ghetaldi - Bar No. 126782                                                  Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        Amanda L. Riddle - Bar No. 215221

        Steven M. Berki - Bar No. 245426

        Clare Capaccioli Velasquez - Bar
        No. 290466
        Corey, Luzaich, De Ghetaldi &
        Riddle LLP
        700 El Camino RealP.O. Box 669
        Millbrae, CA 94030-0669


3.40415 MICHAEL MCNAY                                  VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                         Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        DYLAN HUGHES - BAR NO.
        209113 STEVEN A. LOPEZ -
        BAR NO. 300540
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612

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Creditor's Name, Mailing Address               Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                                   Account Number                            Claim

Wildfire Claims

3.40416 MICHAEL MCQUEENEY                               VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                             Litigation
        NO. 197687)                           ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX,
        P.C.
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.40417 Michael McQueeney                               VARIOUS                              Wildfire               UNDETERMINED
        Mikal C. Watts (Pro Hae Vice                                                         Litigation
        application anticipated)Guy           ACCOUNT NO.: NOT AVAILABLE
        Watts, II (Pro Hae Vice application
        anticipated)Ryan L. Thompson
        (Cal. State Bar No. 296841)Paige
        Boldt (Cal. State Bar No. 308772)
        Watts Guerra LLP
        811 Barton Springs Rd., Ste. 725
        Austin, Texas 78704


3.40418 MICHAEL MEDEIROS                                VARIOUS                              Wildfire               UNDETERMINED
        DAVE FOX (BAR                                                                        Litigation
        NO.254651)JOANNA LEE FOX              ACCOUNT NO.: NOT AVAILABLE
        (BAR NO. 212593)COURTNEY
        VASQUEZ (BAR NO. 267081)
        FOX LAW, APC
        125 W. PLAZA STREET, SUITE
        102
        SOLANA BEACH, CA 92075


3.40419 MICHAEL MEDEIROS                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                             Litigation
        A. BAGHDADI                           ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40420 MICHAEL MEDEIROS                                VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA (SBN                                                               Litigation
        110909)                               ACCOUNT NO.: NOT AVAILABLE
        DREYER BABICHBUCCOLA
        WOODCAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40421 MICHAEL MEDEIROS                          VARIOUS                              Wildfire               UNDETERMINED
        CHRLSTOPHER C. SIEGLOCK                                                        Litigation
        (BAR NO. 295951) RACHEL         ACCOUNT NO.: NOT AVAILABLE
        SIEGLOCK (BAR NO. 299761)

       KRISTEN REANO(BAR
       NO.321795)
       SIEGLOCK LAW, APC
       1221 CAMINO DEL MAR
       DEL MAR, CA 92014


3.40422 MICHAEL MEDIN                             VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.40423 MICHAEL MEDIN                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.40424 MICHAEL MEDIN                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40425 MICHAEL MEDIN                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065




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Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.40426 Michael Mendes                                 VARIOUS                              Wildfire               UNDETERMINED
        Dario De Ghetaldi - Bar No. 126782                                                  Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        Amanda L. Riddle - Bar No. 215221

        Steven M. Berki - Bar No. 245426

        Clare Capaccioli Velasquez - Bar
        No. 290466
        Corey, Luzaich, De Ghetaldi &
        Riddle LLP
        700 El Camino RealP.O. Box 669
        Millbrae, CA 94030-0669


3.40427 MICHAEL MENDES                                 VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                          Litigation
        111359 KRISTINE K.                   ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

        SHAWN R. MILLER- BAR NO.
        238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.40428 MICHAEL MENDES                                 VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                         Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        DYLAN HUGHES - BAR NO.
        209113 STEVEN A. LOPEZ -
        BAR NO. 300540
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.40429 MICHAEL MILLER                                 VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                                   Litigation
        DREYER BABICH BUCCOLA                ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.40430 MICHAEL MILLER                                 VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                            Litigation
        A. BAGHDADI                          ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40431 MICHAEL MILLER                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40432 MICHAEL MILLER                            VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.40433 MICHAEL MILLER                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359 KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065


3.40434 MICHAEL MILLER                            VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                    Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES- BAR NO.
       209113
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.40435 MICHAEL MILLER                            VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.40436 MICHAEL MILLER                            VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40437 MICHAEL MILLER                            VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782 AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669


3.40438 MICHAEL MILLER DBA MOON                   VARIOUS                              Wildfire               UNDETERMINED
        VALLEY CIRCUITS                                                                Litigation
        BILL ROBINS IIIROBERT T.        ACCOUNT NO.: NOT AVAILABLE
        BRYSONKEVIN M. POLLACK
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.40439 MICHAEL MOODY                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.40440 MICHAEL MOODY                             VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.40441 MICHAEL MOODY                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065



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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40442 MICHAEL MOODY                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40443 MICHAEL MOORE                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.40444 MICHAEL MOORE                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40445 MICHAEL MOORE                             VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.40446 MICHAEL MOORE                             VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN B. MURRAY, SR. (SBN                                                    Litigation
        9858)JESSICA W. HAYES.,         ACCOUNT NO.: NOT AVAILABLE
        ESQ. (SBN 28927) PRO HAE
        VICE APPLICATIONS TO BE
        FILED
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40447 MICHAEL MOORE                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.40448 MICHAEL MOORE                             VARIOUS                              Wildfire               UNDETERMINED
        ALEXANDER M. SCHACK, ESQ.                                                      Litigation
        (SBN 99126)NATASHA N.           ACCOUNT NO.: NOT AVAILABLE
        SERINO, ESQ. (SBN
        284711)SHANNON F. NOCON,
        ESQ. (SBN 316523)
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BERNARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.40449 MICHAEL MOORE                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40450 MICHAEL MOORE                             VARIOUS                              Wildfire               UNDETERMINED
        MATTHEW H. WELTY, ESQ. (SBN                                                    Litigation
        248092)JACK W. WEAVER,          ACCOUNT NO.: NOT AVAILABLE
        ESQ. (SBN 278469)
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.40451 MICHAEL MORETTA                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40452 MICHAEL MORETTA                           VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                   Litigation
        ERIC RATINOFF LAW CORP.         ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864



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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40453 MICHAEL MORETTA                           VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.40454 MICHAEL MORETTA                           VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                    Litigation
         REINER, SLAUGHTER &            ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.40455 MICHAEL MOTLEY                            VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                               Litigation
        ABRAHAM, WATKINS, NICHOLS,      ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.40456 MICHAEL MOTLEY                            VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.40457 MICHAEL MURRAY                            VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                               Litigation
        ABRAHAM, WATKINS, NICHOLS,      ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.40458 MICHAEL MURRAY                            VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105




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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.40459 MICHAEL NEEDHAM                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40460 MICHAEL NEEDHAM                            VARIOUS                              Wildfire               UNDETERMINED
        NICHOLAS J.P. WAGNER                                                            Litigation
        #109455LAURA E. BROWN            ACCOUNT NO.: NOT AVAILABLE
        #306035
        WAGNER, JONES, KOPFMAN, &
        ARTENIAN LLP
        1111 HERNDON, STE. 317
        FRESNO, CA 93720


3.40461 MICHAEL NEEDHAM                            VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.40462 MICHAEL NEEDHAM                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.40463 MICHAEL NEEDHAM                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.40464 MICHAEL NEIGHBORS                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                        Litigation
        A. BAGHDADI                      ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40465 MICHAEL NEIGHBORS                         VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                       Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.40466 MICHAEL NEIGHBORS                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAEL S. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.40467 MICHAEL NEIGHBORS                         VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR., SBN                                                       Litigation
        60768ANGELA JAE CHUN, SBN       ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCA VILLA BLATT &
        PENFIELD, LLP
        110 LAUREL STREET
        SAN DIEGO, CA 92101


3.40468 MICHAEL NELSON                            VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.40469 MICHAEL NELSON                            VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                       Litigation
        J. EBALLAR                      ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024


3.40470 MICHAEL NIMZ                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40471 MICHAEL NIMZ                              VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.40472 MICHAEL NIMZ                              VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.40473 MICHAEL NIMZ                              VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.40474 MICHAEL NIMZ                              VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.40475 MICHAEL NUTT                              VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.40476 MICHAEL NUTT                              VARIOUS                              Wildfire               UNDETERMINED
        PEDRO "PETER" DE LA CERDA,                                                     Litigation
        OF COUNSEL - BAR NO. 249085     ACCOUNT NO.: NOT AVAILABLE
        MATTHEWS & ASSOCIATES
        250 VALLOMBROSA AVE STE.
        266
        CHICO, CA 95926




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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.40477 MICHAEL NUTT                               VARIOUS                              Wildfire               UNDETERMINED
        CATHERINE LOMBARDO (SBN #                                                       Litigation
        160461)                          ACCOUNT NO.: NOT AVAILABLE
        THE LOMBARDO LAW FIRM
        433 W ARROW HIGHWAY
        CLAREMONT, CA 9171


3.40478 MICHAEL NUTT                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40479 MICHAEL NUTT                               VARIOUS                              Wildfire               UNDETERMINED
        ELIZABETH LATIMER (STATE                                                        Litigation
        BAR #304697)                     ACCOUNT NO.: NOT AVAILABLE
        LATIMER AND KENKEL LAW
        OFFICES
        330 WALL STREET, SUITE 20
        CHICO, CA TELEPHONE: (530)
        345-1396 FACSIMILE: (530) 345-
        0439


3.40480 MICHAEL O'DONNELL                          VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS III (SBN                                                            Litigation
        296101)ROBERT T. BRYSON          ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.40481 MICHAEL OLAH                               VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                     Litigation
                                         ACCOUNT NO.: NOT AVAILABLE
        DYLAN HUGHES- BAR NO.
        209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40482 MICHAEL OLAH                              VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782 AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669


3.40483 MICHAEL OLAH                              VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.40484 MICHAEL OLAH                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.40485 MICHAEL OLAH                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359 KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065


3.40486 MICHAEL OLAH                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40487 MICHAEL OLAH                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40488 MICHAEL OLAH                              VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.40489 MICHAEL OLIVER                            VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.40490 MICHAEL OLIVER                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40491 MICHAEL OLIVER                            VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40492 MICHAEL OLIVER                            VARIOUS                              Wildfire               UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                     Litigation
        ZUMMERAMANDA J.                 ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.40493 MICHAEL OSBORN                            VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS IIIROBERT T.                                                       Litigation
        BRYSONKEVIN M. POLLACK          ACCOUNT NO.: NOT AVAILABLE
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.40494 MICHAEL OSBORN                            VARIOUS                              Wildfire               UNDETERMINED
        DONALD S. EDGAR                                                                Litigation
        EDGAR LAW FIRM                  ACCOUNT NO.: NOT AVAILABLE
        408 COLLEGE AVENUE
        SANTA ROSA, CA 95401


3.40495 MICHAEL OSBOURN                           VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                    Litigation
         REINER, SLAUGHTER &            ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.40496 MICHAEL OSBOURN                           VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.40497 MICHAEL OSBOURN                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40498 MICHAEL OSBOURN                           VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                   Litigation
        ERIC RATINOFF LAW CORP.         ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864



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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40499 MICHAEL OSTROW                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX                                                                       Litigation
        LAW OFFICES OF JOHN COX         ACCOUNT NO.: NOT AVAILABLE
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.40500 MICHAEL OSTROW                            VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSONPAIGE                                                          Litigation
        BOLDT                           ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.40501 MICHAEL OSTROW                            VARIOUS                              Wildfire               UNDETERMINED
        ROY MILLER                                                                     Litigation
        HANSEN & MILLER LAW FIRM        ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.40502 MICHAEL PATLAND                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG                                                            Litigation
        MICHAEL S. FEINBERG, APLC       ACCOUNT NO.: NOT AVAILABLE
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.40503 MICHAEL PATLAND                           VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL                                                                  Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.40504 MICHAEL PATLAND                           VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR., SBN                                                       Litigation
        60768GAYLE M. BLATT, SBN        ACCOUNT NO.: NOT AVAILABLE
        122048ANGELA JAE CHUN,
        SBN 248571
        CASEY GERRY SCHENK
        FRANKCA VILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101




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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.40505 MICHAEL PATTON                             VARIOUS                              Wildfire               UNDETERMINED
        ELIZABETH J.                                                                    Litigation
        CABRASERROBERT J.                ACCOUNT NO.: NOT AVAILABLE
        NELSON LEXI J. HAZAM

       FABRICE N. VINCENTANNIKA
       K. MARTINABBY R. WOLF
       LIEFF CABRASER HEIMANN &
       BERNSTEIN, LLP
       275 BATTERY STREET, 29TH
       FLOOR
       SAN FRANCISCO, CA 94111-3339


3.40506 MICHAEL PAVONE                             VARIOUS                              Wildfire               UNDETERMINED
        J. GARY GWILLIAMRANDALL E.                                                      Litigation
        STRAUSSROBERT J.                 ACCOUNT NO.: NOT AVAILABLE
        SCHWARTZ
        GWILLIAM, IVARY, CHIOSSO,
        CAVALLI & BREWER
        1999 HARRISON ST., SUITE 1600,
        OAKLAND, CA 94612


3.40507 MICHAEL PAVONE                             VARIOUS                              Wildfire               UNDETERMINED
        OMAR I. HABBAS                                                                  Litigation
        HABBAS & ASSOCIATES              ACCOUNT NO.: NOT AVAILABLE
        675 N. FIRST STREET, SUITE
        1000
        SAN JOSE, CA 95112


3.40508 MICHAEL PAVONE                             VARIOUS                              Wildfire               UNDETERMINED
        WILLIAM A. DANIELS                                                              Litigation
        DANIELS LAW                      ACCOUNT NO.: NOT AVAILABLE
        15021 VENTURA BLVD., #883
        SHERMAN OAKS, CA 91403


3.40509 MICHAEL PERRY                              VARIOUS                              Wildfire               UNDETERMINED
        WILLIAM A. LEVINLAUREL L.                                                       Litigation
        SIMES RACHEL B.                  ACCOUNT NO.: NOT AVAILABLE
        ABRAMSMEGHAN E.
        MCCORMICK
        LEVIN SIMES LLP
        44 MONTGOMERY ST., 32ND
        FLOOR
        SAN FRANCISCO, CALIFORNIA
        94104


3.40510 MICHAEL PETERSEN                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40511 MICHAEL PETERSEN                          VARIOUS                              Wildfire               UNDETERMINED
        BRIAN R. STRANGE, ESQ.                                                         Litigation
        (STATE BAR #103252)BRIANNA      ACCOUNT NO.: NOT AVAILABLE
        STRANGE, ESQ. (STATE BAR
        #321882
        STRANGE & BUTLER
        12100 WILSHIRE BOULEVARD,
        SUITE 1900
        LOS ANGELES, CA 90025


3.40512 MICHAEL PETERSEN                          VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.40513 MICHAEL PETERSEN                          VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.40514 MICHAEL PETERSEN                          VARIOUS                              Wildfire               UNDETERMINED
        RONALD L.M. GOLDMAN, ESQ.                                                      Litigation
        (STATE BAR #33422) DIANE        ACCOUNT NO.: NOT AVAILABLE
        MARGER MOORE, ESQ. (FLA.
        BAR #268364) (PRO HAE VICE
        APPLICATION PENDING)
        BAUM HEDLUND ARISTEI &
        GOLDMAN, P.C.
        10940 WILSHIRE BOULEVARD.,
        17TH FLOOR
        LOS ANGELES, CALIFORNIA
        90024


3.40515 MICHAEL PETERSON                          VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS III (SBN                                                           Litigation
        296101)ROBERT T. BRYSON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40516 MICHAEL PILLSBURY                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.40517 MICHAEL PILLSBURY                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40518 MICHAEL PILLSBURY                         VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.40519 MICHAEL PILLSBURY                         VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.40520 MICHAEL PULLIAM                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA, ESQ. /                                                      Litigation
        SBN: 110909ANDREA R.            ACCOUNT NO.: NOT AVAILABLE
        CROWL, ESQ. / SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.40521 MICHAEL PULLIAM                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.40522 MICHAEL PULLIAM                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40523 MICHAEL PULLIAM                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.40524 MICHAEL PULLIAM                            VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.40525 MICHAEL RAMEY                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40526 MICHAEL RAMEY                              VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010




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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.40527 MICHAEL RAMEY                              VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.40528 MICHAEL RAMEY                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.40529 MICHAEL RAMEY                              VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA, ESQ. /                                                       Litigation
        SBN: 110909ANDREA R.             ACCOUNT NO.: NOT AVAILABLE
        CROWL, ESQ. / SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.40530 MICHAEL RAMEY &                            VARIOUS                              Wildfire               UNDETERMINED
        ASSOCIATES INC.                                                                 Litigation
        MICHAEL A. KELLY                 ACCOUNT NO.: NOT AVAILABLE
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40531 MICHAEL RAMEY &                            VARIOUS                              Wildfire               UNDETERMINED
        ASSOCIATES INC.                                                                 Litigation
        FRANK M. PITRE, ESQ./ SBN:       ACCOUNT NO.: NOT AVAILABLE
        100077ALISON E. CORDOVA,
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.40532 MICHAEL RAMEY &                            VARIOUS                              Wildfire               UNDETERMINED
        ASSOCIATES INC.                                                                 Litigation
        STEVEN M. CAMPORA                ACCOUNT NO.: NOT AVAILABLE
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.40533 MICHAEL RAMEY &                            VARIOUS                              Wildfire               UNDETERMINED
        ASSOCIATES INC.                                                                 Litigation
        MICHAEL A. KELLY , ESQ. / SBN:   ACCOUNT NO.: NOT AVAILABLE
        71460KHALDOUN A. BAGHDADI
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.40534 MICHAEL RAMEY &                            VARIOUS                              Wildfire               UNDETERMINED
        ASSOCIATES INC.                                                                 Litigation
        STEVEN M. CAMPORA, ESQ. /        ACCOUNT NO.: NOT AVAILABLE
        SBN: 110909ANDREA R.
        CROWL, ESQ. / SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.40535 MICHAEL RANNEY                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                        Litigation
        A. BAGHDADI                      ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40536 MICHAEL RANNEY                             VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                     Litigation
        126782AMANDA L. RIDDLE -         ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.40537 MICHAEL RANNEY                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                      Litigation
        111359KRISTINE K.                ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40538 MICHAEL RANNEY                            VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.40539 MICHAEL RAWLIN                            VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS III (SBN                                                           Litigation
        296101)ROBERT T. BRYSON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.40540 MICHAEL REASON                            VARIOUS                              Wildfire               UNDETERMINED
        C. BROOKS CUTTERJOHN G.                                                        Litigation
        ROUSSASMATTHEW M.               ACCOUNT NO.: NOT AVAILABLE
        BREINING
        CUTTER LAW P.C.
        401 WATT AVENUE
        SACRAMENTO, CA 95864


3.40541 MICHAEL REGAN                             VARIOUS                              Wildfire               UNDETERMINED
        ALEXANDER M.                                                                   Litigation
        SCHACKNATASHA N. SERINO         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.40542 MICHAEL REGAN                             VARIOUS                              Wildfire               UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                        Litigation
        WEAVER                          ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.40543 MICHAEL REGAN                             VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN B. MURRAY,                                                             Litigation
        SR.JESSICA HAYES                ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40544 MICHAEL RENWICK                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40545 MICHAEL RENWICK                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.40546 MICHAEL RENWICK                           VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.40547 MICHAEL RENWICK                           VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.40548 MICHAEL RICHARDS                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40549 MICHAEL RICHARDS                          VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.40550 MICHAEL RICHARDS                          VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.40551 MICHAEL RICHARDS                          VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.40552 MICHAEL RICHARDS                          VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.40553 MICHAEL RICHARDSON                        VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAEL S. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.40554 MICHAEL RICHARDSON                        VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                       Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40555 MICHAEL RICHARDSON                        VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40556 MICHAEL RICHARDSON                        VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR., SBN                                                       Litigation
        60768ANGELA JAE CHUN, SBN       ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCA VILLA BLATT &
        PENFIELD, LLP
        110 LAUREL STREET
        SAN DIEGO, CA 92101


3.40557 MICHAEL RODE                              VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                          Litigation
        208783)ERIKA L. VASQUEZ         ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.40558 MICHAEL RODE                              VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                           Litigation
        VICEPENDING)JOHN P. FISKE       ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.40559 MICHAEL RODE                              VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                             Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.40560 MICHAEL RODE                              VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                     Litigation
        583 I 6)                        ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40561 MICHAEL RODE                              VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
        (SBN 69176)IAN C.               ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.40562 MICHAEL ROLLINS                           VARIOUS                              Wildfire               UNDETERMINED
        JOHN N. DEMAS                                                                  Litigation
        DEMAS LAW GROUP, P.C.           ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.40563 MICHAEL ROLLINS                           VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFFCOELL M.                                                          Litigation
        SIMMONS                         ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864


3.40564 MICHAEL ROLLINS                           VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON BRETT                                                        Litigation
        R. PARKINSONDANIEL E.           ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.40565 MICHAEL ROLLINS                           VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. FRIEDEMANN                                                             Litigation
        FRIEDEMANN GOLDBERG LLP         ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.40566 MICHAEL RUDIS                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40567 MICHAEL RUDIS                             VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228BRETT R. PARKINSON,      ACCOUNT NO.: NOT AVAILABLE
        ESQ., #230150
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.40568 MICHAEL RUDIS                             VARIOUS                              Wildfire               UNDETERMINED
        BONNIE E. KANE, ESQ., SBN:                                                     Litigation
        167700STEVEN S. KANE, ESQ.,     ACCOUNT NO.: NOT AVAILABLE
        SBN: 061670
        THE KANE LAW FIRM
        402 W. BROADWAY, SUITE 2500
        SAN DIEGO, CA 92101


3.40569 MICHAEL RUDIS                             VARIOUS                              Wildfire               UNDETERMINED
        ARA JABAGCHOURIAN                                                              Litigation
        LAW OFFICES OF ARA              ACCOUNT NO.: NOT AVAILABLE
        JABAGCHOURIAN, P.C.
        1650 S. AMPHLETT BOULEVARD,
        SUITE 216
        SAN MATEO, CA 94402


3.40570 MICHAEL RUSSO                             VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, STATE BAR                                                      Litigation
        NO. 100077                      ACCOUNT NO.: NOT AVAILABLE
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CALIFORNIA
        94010


3.40571 MICHAEL RUSSO                             VARIOUS                              Wildfire               UNDETERMINED
        BRIAN PANISH, STATE BAR NO.                                                    Litigation
        116060RAHUL RAVIPUDI,           ACCOUNT NO.: NOT AVAILABLE
        STATE BAR NO. 204519LYSSA
        A. ROBERTS, STATE BAR NO.
        235049
        PANISH SHEA & BOYLE LLP
        11111 SANTA MONICA
        BOULEVARD, SUITE 700
        LOS ANGELES, CALIFORNIA
        90025




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40572 MICHAEL RUSSO                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY, STATE BAR                                                    Litigation
        NO. 71460                       ACCOUNT NO.: NOT AVAILABLE
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CALIFORNIA
        94108


3.40573 MICHAEL RYAN                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.40574 MICHAEL RYAN                              VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.40575 MICHAEL RYAN                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40576 MICHAEL RYAN                              VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40577 MICHAEL S. LASNOVER                       VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.40578 MICHAEL S. LASNOVER                       VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                               Litigation
        ABRAHAM, WATKINS, NICHOLS,      ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.40579 MICHAEL S. MORRIS                         VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                         Litigation
        DOMENIC MARTINI                 ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103


3.40580 MICHAEL S. MORRIS                         VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.40581 MICHAEL S. MORRIS                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40582 MICHAEL S. MORRIS                         VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40583 MICHAEL S. MORRIS                         VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.40584 MICHAEL SCHLENKER                         VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.40585 MICHAEL SCHLENKER                         VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.40586 MICHAEL SCHLENKER                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40587 MICHAEL SCHLENKER                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40588 MICHAEL SCHULTE                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40589 MICHAEL SCHULTE                           VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                   Litigation
        ERIC RATINOFF LAW CORP.         ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.40590 MICHAEL SCHULTE                           VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.40591 MICHAEL SCHULTE                           VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                    Litigation
         REINER, SLAUGHTER &            ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.40592 MICHAEL SEMERIA                           VARIOUS                              Wildfire               UNDETERMINED
        TODD B. BECKERBRIAN E.                                                         Litigation
        SHEARJASON BOYER                ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105


3.40593 MICHAEL SEMERIA                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.40594 MICHAEL SEMERIA                            VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.40595 MICHAEL SEMERIA                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.40596 MICHAEL SEMERIA                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.40597 MICHAEL SILPAN                             VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                     Litigation
         REINER, SLAUGHTER &             ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.40598 MICHAEL SILPAN                             VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                        Litigation
        #117228                          ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.40599 MICHAEL SILPAN                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                    Litigation
        ERIC RATINOFF LAW CORP.          ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40600 MICHAEL SILPAN                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40601 MICHAEL SIMONSEN                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359 KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065


3.40602 MICHAEL SIMONSEN                          VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782 AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669


3.40603 MICHAEL SIMONSEN                          VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                    Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.40604 MICHAEL SLIGHTOM                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.40605 MICHAEL SLIGHTOM                           VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.40606 MICHAEL SLIGHTOM                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.40607 MICHAEL SLIGHTOM                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.40608 MICHAEL SLIGHTOM                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA, ESQ. /                                                       Litigation
        SBN: 110909ANDREA R.             ACCOUNT NO.: NOT AVAILABLE
        CROWL, ESQ. / SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.40609 MICHAEL SNOW, AS                           VARIOUS                              Wildfire               UNDETERMINED
        SUCCESSOR IN INTEREST TO                                                        Litigation
        THE ESTATE OF DECEDENT           ACCOUNT NO.: NOT AVAILABLE
        FLORENCE BONITA SNOW
        MICHAEL A. KELLYKHALDOUN
        A. BAGHDADI
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address              Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.40610 MICHAEL SNOW, AS                               VARIOUS                              Wildfire               UNDETERMINED
        SUCCESSOR IN INTEREST TO                                                            Litigation
        THE ESTATE OF DECEDENT               ACCOUNT NO.: NOT AVAILABLE
        FLORENCE BONITA SNOW
        MICHAEL S. FEINBERG, SBN
        81867
        MICHAELS. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.40611 Michael Snow, as Successor in                  VARIOUS                              Wildfire               UNDETERMINED
        Interest to the Estate of Decedent                                                  Litigation
        Florence Bonita Snow                 ACCOUNT NO.: NOT AVAILABLE
        Abbas Kazerounian, Esq. (Sbn
        249203)Mohammad Kazerouni,
        Esq. (Sbn 252835)Assal Assassi,
        Esq. (Sbn 274249)
        Kazerouni Law Group, Apc
        245 Fischer Avenue, Unit Di
        Costa Mesa, Ca 92626


3.40612 MICHAEL SNOW, AS                               VARIOUS                              Wildfire               UNDETERMINED
        SUCCESSOR IN INTEREST TO                                                            Litigation
        THE ESTATE OF DECEDENT               ACCOUNT NO.: NOT AVAILABLE
        FLORENCE BONITA SNOW
        FRANCIS O. SCARPULLA (SBN
        41059)PATRICK B. CLAYTON
        (SBN 240191)
        LAW OFFICES OF FRANCIS O.
        SCARPULLA
        456 MONTGOMERY STREET,
        17TH FLOOR
        SAN FRANCISCO, CA 94104


3.40613 MICHAEL SOUTHWICK                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                    Litigation
        WALKUP, MELODIA, KELLY &             ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40614 MICHAEL SOUTHWICK                              VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                               Litigation
        VICE PENDINGTEXAS BAR NO.            ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40615 MICHAEL SOUTHWICK                         VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.40616 MICHAEL SOUTHWICK                         VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.40617 MICHAEL SOUTHWICK                         VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.40618 MICHAEL STALCUP                           VARIOUS                              Wildfire               UNDETERMINED
        DAVE A. FOXJOANNA L.                                                           Litigation
        FOXCOURTNEY VASQUEZ             ACCOUNT NO.: NOT AVAILABLE
        FOX LAW, APC
        225 W. PLAZA STREET, SUITE
        102
        SOLANO BEACH, CA 92075


3.40619 MICHAEL STALCUP                           VARIOUS                              Wildfire               UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                     Litigation
        ZUMMER                          ACCOUNT NO.: NOT AVAILABLE
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.40620 MICHAEL STALCUP                           VARIOUS                              Wildfire               UNDETERMINED
        CHRISTOPHER C.                                                                 Litigation
        SIEGLOCKRACHEL SIEGLOCK         ACCOUNT NO.: NOT AVAILABLE
        SIEGLOCK LAW, APC
        1221 CAMINO DEL MAR


3.40621 MICHAEL STIPE                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108



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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40622 MICHAEL STIPE                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.40623 MICHAEL STIPE                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.40624 MICHAEL STIPE                             VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.40625 MICHAEL SUTCYK                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40626 MICHAEL SUTCYK                            VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.40627 MICHAEL SUTCYK                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40628 MICHAEL SUTCYK                            VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.40629 MICHAEL SUTCYK                            VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.40630 MICHAEL SWEENEY                           VARIOUS                              Wildfire               UNDETERMINED
        C. BROOKS CUTTERJOHN G.                                                        Litigation
        ROUSSASMATTHEW M.               ACCOUNT NO.: NOT AVAILABLE
        BREINING
        CUTTER LAW P.C.
        401 WATT AVENUE
        SACRAMENTO, CA 95864


3.40631 MICHAEL TATRAI                            VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                       Litigation
        J. EBALLAR                      ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024


3.40632 MICHAEL TATRAI                            VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40633 MICHAEL TCHUDI                            VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.40634 MICHAEL TCHUDI                            VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.40635 MICHAEL TCHUDI                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40636 MICHAEL TCHUDI                            VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.40637 MICHAEL TCHUDI                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.40638 MICHAEL THIEDE                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40639 MICHAEL THIEDE                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40640 MICHAEL THIEDE                            VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.40641 MICHAEL THIEDE                            VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.40642 MICHAEL THIEDE                            VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.40643 MICHAEL TIPTON                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40644 MICHAEL TIPTON                            VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40645 MICHAEL TIPTON                            VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.40646 MICHAEL TIPTON                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.40647 MICHAEL TRACY                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.40648 MICHAEL TRACY                             VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.40649 MICHAEL TRACY                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40650 MICHAEL TRACY                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.40651 MICHAEL TURNEY POUNDS                     VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.40652 MICHAEL TURNEY POUNDS                     VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40653 MICHAEL TURNEY POUNDS                     VARIOUS                              Wildfire               UNDETERMINED
        CATHERINE LOMBARDO (SBN #                                                      Litigation
        160461)                         ACCOUNT NO.: NOT AVAILABLE
        THE LOMBARDO LAW FIRM
        433 W ARROW HIGHWAY
        CLAREMONT, CA 9171


3.40654 MICHAEL TURNEY POUNDS                     VARIOUS                              Wildfire               UNDETERMINED
        RAFEY S. BALABANIAN (SBN                                                       Litigation
        315962)TODD LOGAN (SBN          ACCOUNT NO.: NOT AVAILABLE
        305912)J. AARON LAWSON
        (SBN 319306)LILY HOUGH (SBN
        315277)BRANDT SILVER-KORN
        (SBN 323530)
        EDELSON PC
        123 TOWNSEND STREET, SUITE
        100
        SAN FRANCISCO, CALIFORNIA
        94107




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40655 MICHAEL TURNEY POUNDS                     VARIOUS                              Wildfire               UNDETERMINED
        ELIZABETH J. CABRASER (SBN                                                     Litigation
        083151)LEXI J. HAZAM (SBN       ACCOUNT NO.: NOT AVAILABLE
        224457)ABBY R. WOLF(SBN
        313049)
        LIEFF CABRASER HEIMANN &
        BERNSTEIN, LLP
        275 BATTERY STREET, 29TH
        FLOOR
        SAN FRANCISCO, CALIFORNIA
        94111


3.40656 MICHAEL VANDENDRIESSCHE                   VARIOUS                              Wildfire               UNDETERMINED
        THOMAS J. BRANDI                                                               Litigation
        #53208TERRENCE D.               ACCOUNT NO.: NOT AVAILABLE
        EDWARDS, #168095JASON B.
        FRIEDMAN #277888
        THE BRANDI LAW FIRM
        354 PINE STREET, THIRD FLOOR
        SAN FRANCISCO, CALIFORNIA
        94104


3.40657 MICHAEL VANDENDRIESSCHE                   VARIOUS                              Wildfire               UNDETERMINED
        ROBERT S. ARNS, #65071                                                         Litigation
        THE ARNS LAW FIRM               ACCOUNT NO.: NOT AVAILABLE
        515 FOLSOM STREET, THIRD
        FLOOR
        7 SAN FRANCISCO, CA 94105


3.40658 MICHAEL VERLANDER                    VARIOUS                                   Wildfire               UNDETERMINED
        LEE S. HARRIS, SBN                                                             Litigation
        76699ADRIAN HERN, SBN        ACCOUNT NO.: NOT AVAILABLE
        202958
        GOLDSTEIN, GELLMAN,
        MELBOSTAD, HARRIS &
        MCSPARRAN LLP
        1388 SUTTER STREET, SUITE
        1000
        SAN FRANCISCO, CA 94109-5494


3.40659 MICHAEL VRBETA                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40660 MICHAEL VRBETA                            VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.40661 MICHAEL VRBETA                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.40662 MICHAEL VRBETA                            VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.40663 MICHAEL VRBETA                            VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.40664 MICHAEL W COLE                            VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.40665 MICHAEL W COLE                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40666 MICHAEL W COLE                            VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.40667 MICHAEL W COLE                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40668 MICHAEL W COLE                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.40669 MICHAEL W MURASKO                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40670 MICHAEL W MURASKO                         VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.40671 MICHAEL W MURASKO                         VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.40672 MICHAEL W MURASKO                         VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928



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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40673 MICHAEL W MURASKO                         VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.40674 MICHAEL WAGENHOFFER                       VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40675 MICHAEL WAGENHOFFER                       VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.40676 MICHAEL WAGENHOFFER                       VARIOUS                              Wildfire               UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                     Litigation
        ZUMMERAMANDA J.                 ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.40677 MICHAEL WAGENHOFFER                       VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.40678 MICHAEL WALDEN                            VARIOUS                              Wildfire               UNDETERMINED
        BRIAN R. STRANGE, ESQ.                                                         Litigation
        (STATE BAR #103252)BRIANNA      ACCOUNT NO.: NOT AVAILABLE
        STRANGE, ESQ. (STATE BAR
        #321882
        STRANGE & BUTLER
        12100 WILSHIRE BOULEVARD,
        SUITE 1900
        LOS ANGELES, CA 90025



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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40679 MICHAEL WALDEN                            VARIOUS                              Wildfire               UNDETERMINED
        RONALD L.M. GOLDMAN, ESQ.                                                      Litigation
        (STATE BAR #33422) DIANE        ACCOUNT NO.: NOT AVAILABLE
        MARGER MOORE, ESQ. (FLA.
        BAR #268364) (PRO HAE VICE
        APPLICATION PENDING)
        BAUM HEDLUND ARISTEI &
        GOLDMAN, P.C.
        10940 WILSHIRE BOULEVARD.,
        17TH FLOOR
        LOS ANGELES, CALIFORNIA
        90024


3.40680 MICHAEL WALDEN                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.40681 MICHAEL WALDEN                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40682 MICHAEL WALDEN                            VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.40683 MICHAEL WAYMAN                            VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                           Litigation
        VICEPENDING)JOHN P. FISKE       ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.40684 MICHAEL WAYMAN                            VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                          Litigation
        208783)ERIKA L. VASQUEZ         ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40685 MICHAEL WAYMAN                            VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                     Litigation
        583 I 6)                        ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.40686 MICHAEL WAYMAN                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
        (SBN 69176)IAN C.               ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.40687 MICHAEL WAYMAN                            VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                             Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.40688 MICHAEL WETZEL                            VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. THOMPSON                                                             Litigation
        THOMPSON LAW OFFICES, P.C.      ACCOUNT NO.: NOT AVAILABLE
        700 AIRPORT BLVD., SUITE 160
        BURLINGAME, CA 94010


3.40689 MICHAEL WHITE                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40690 MICHAEL WHITE                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.40691 MICHAEL WHITE                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.40692 MICHAEL WHITE                              VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.40693 MICHAEL WHITE                              VARIOUS                              Wildfire               UNDETERMINED
        NICHOLAS J.P. WAGNER                                                            Litigation
        #109455LAURA E. BROWN            ACCOUNT NO.: NOT AVAILABLE
        #306035
        WAGNER, JONES, KOPFMAN, &
        ARTENIAN LLP
        1111 HERNDON, STE. 317
        FRESNO, CA 93720


3.40694 MICHAEL WILDMAN                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                        Litigation
        A. BAGHDADI                      ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40695 MICHAEL WILDMAN                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                      Litigation
        111359KRISTINE K.                ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.40696 MICHAEL WILDMAN                            VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                            Litigation
        178658DYLAN HUGHES- BAR          ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40697 MICHAEL WILDMAN                           VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.40698 MICHAEL WILLIAMS                          VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                       Litigation
        J. EBALLAR                      ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024


3.40699 MICHAEL WILLIAMS                          VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.40700 MICHAEL WOOD                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAELS. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.40701 MICHAEL WOOD                              VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                       Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.40702 MICHAEL WOOD                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40703 MICHAEL WOOD                              VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR.,SBN                                                        Litigation
        60768ANGELA JAE CHUN, SBN       ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCAVILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101


3.40704 MICHAEL WOODSON                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40705 MICHAEL WOODSON                           VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.40706 MICHAEL WOODSON                           VARIOUS                              Wildfire               UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                     Litigation
        ZUMMERAMANDA J.                 ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.40707 MICHAEL WOODSON                           VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928




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PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40708 MICHAEL YOUNG                             VARIOUS                              Wildfire               UNDETERMINED
        BRIAN J. HEFFERNAN, ESQ.                                                       Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       ALEXANDRA J. NEWSOM ESQ.
       ENGSTROM, LIPSCOMB &
       LACKA PROFESSIONAL
       CORPORATION
       10100 SANTA MONICA
       BOULEVARD, 12TH FLOOR
       LOS ANGELES, CALIFORNIA
       90067-4107


3.40709 MICHAEL ZUCCOLILLO                        VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.40710 MICHAEL ZUCCOLILLO                        VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40711 MICHAEL ZUCCOLILLO                        VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.40712 MICHAEL ZUCCOLILLO                        VARIOUS                              Wildfire               UNDETERMINED
        J. GARY GWILLIAMRANDALL E.                                                     Litigation
        STRAUSS                         ACCOUNT NO.: NOT AVAILABLE
        GWILLIAM, IVARY, CHIOSSO,
        CAVALLI & BREWER
        1999 HARRISON STREET, SUITE
        1600
        OAKLAND, CA 94612


3.40713 MICHAEL ZUCCOLILLO                        VARIOUS                              Wildfire               UNDETERMINED
        WILLIAM A. DANIELS                                                             Litigation
        DANIELS LAW                     ACCOUNT NO.: NOT AVAILABLE
        15021 VENTURA BLVD., #883
        SHERMAN OAKS, CA 91403




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